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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

    Paul Schroth Wolfe, Yorkville
    Investment I, LLC, a Delaware
    limited liability company, Green
    Sapphire Holdings, Inc., a                Case No.: 24-cv-01538
    Delaware corporation, Alpha
    Carta, Ltd., a foreign corporation,       JURY TRIAL DEMANDED
    Breakers Beach Club, Ltd., a
    foreign corporation, NorthSea,
    LLC, a Wyoming limited liability
    company, and Prairie Private
    Trust Company Ltd., a Cayman
    Island company,

                         Plaintiffs,

                v.

    Steven E. Looper, Paul Schlieve
    a/k/a Paul Whinnery a/k/a Paul
    Schmidt, Cyber App Solutions
    Corp. f/k/a Proton Green, LLC, a
    Nevada corporation, Proton Green,
    LLC, a Wyoming limited liability
    company, Robert G. Brownell
    a/k/a Robert Bigelow, BNW
    Family Office, LLC, a Delaware
    limited liability company, Nathan
    Smith, Charles Mack, Dallas
    Salazar, Robert J. Brownell,
    Sasaginnigak, LLC f/k/a Overall
    Builders, LLC, a Texas limited
    liability company, Global Partners,
    LLC, a Delaware limited liability
    company; and John Doe(s)
    Unidentified Co-Conspirator(s),

                         Defendants.




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                           Second Amended Complaint

   Plaintiffs Paul Schroth Wolfe (“Wolfe”), Yorkville Investment I, LLC, a

   Delaware limited liability company, Green Sapphire Holdings, Inc., a

   Delaware corporation, Alpha Carta, Ltd., a foreign corporation, Breakers

   Beach Club, Ltd., a foreign corporation, NorthSea, LLC, a Wyoming

   limited liability company, Prairie Private Trust Company, Ltd. a foreign

   corporation, and by and through their attorneys, Patterson Law Firm,

   LLC, and for their Second Amended Complaint against Defendants

   Steven E. Looper (“Looper”), Paul Schlieve a/k/a Paul Whinnery a/k/a

   Paul Schmidt (“Schlieve”), Robert G. Brownell a/k/a Robert Bigelow,

   BNW Family Office, LLC, a Delaware limited liability company, Cyber App

   Solutions Corp., a Nevada corporation, Proton Green, LLC, a Wyoming

   limited liability corporation, Nathan Smith, Charles Mack, Dallas

   Salazar, Robert J. Brownell, Sasaginnigak, LLC, f/k/a Overall Builders,

   LLC, a Texas limited liability company, Global Capital Partners, LLC, a

   Delaware LLC, and John Doe(s) Unidentified Co-Conspirator(s) (“Doe”),

   state as follows:

   1. Beginning on or about February 2024, Plaintiffs discovered a series of

   fraudulent schemes in which Defendants Robert G. Brownell, Nathan

   Smith, Steven Looper, Charles Mack, Dallas Salazar, and Paul Schlieve,

   as well as their related entities and others working at their behest,

   conspired to systematically loot money and property of plaintiffs by




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   means of fraud, breach of fiduciary duty, abuse of process, identity theft,

   fictitious sales, fictitious lawsuits, and other wrongful conduct.

   2. By these schemes, the defendants (a) created a purchase contract

   with a fake purchaser; (b) falsified an asbestos report related to this

   property; (c) filed a fictitious lawsuit falsely alleging sex crimes filed with

   the Illinois Circuit Court; (d) published their fictitious Complaint on

   multiple websites with the intent to weaponize the Illinois judicial

   system; (e) set up a false claim for control of two parcels of real estate

   located in St. Barth’s; and (f) set up false loans or loans whose proceeds

   were received by one or more of the defendants.

   3. This is an integrated, ongoing scheme orchestrated by ex-convicts,

   officers terminated for misconduct, and their allies working in concert for

   a common purpose.

                                      Plaintiffs

   4. Plaintiff Wolfe is an experienced financial services professional and

   citizen of DuPage County, Illinois, with a decades-long professional

   association with Co-Plaintiffs.

   5. Plaintiff Yorkville Investment I, LLC, is a Delaware limited liability

   company with its principal place of business in Wheaton, Illinois. It is

   owned by the Prairie II Trust, a Cayman Islands Trust. Its beneficiaries

   are the same as the beneficiaries of the Petro Carta Trust. Plaintiff Prairie

   Private Trust Company, Ltd is the Trustee of the Prairie II Trust.




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   6. Plaintiff Green Sapphire Holdings, Inc. (“Green Sapphire”) is a

   Delaware corporation with its principal place of business in Delaware. It

   was organized for the purpose of investing money and acquiring property

   for the ultimate benefit of the beneficiaries of the Petro Carta Trust.

   7. Plaintiff NorthSea, LLC, a Wyoming LLC, is the Trustee of the Petro

   Carta Trust. The Petro Carta Trust 1 is an express trust organized and

   existing under the laws of the State of Wyoming. The beneficiaries of the

   Petro Carta Trust are four U.S. citizens—a family consisting of a 54-year-

   old woman and her three children. As of January 1, 2023, NorthSea, LLC

   had two directors: Ryan Cicoski and Mark Azzopardi.

   8. As of January 1, 2023, Green Sapphire had two directors--Paul Wolfe

   and Ryan Cicoski. Nathan Smith was removed as a Director of Green

   Sapphire Holdings, Inc. in August, 2021 and replaced by Ryan Cicoski.

   On information and belief that was about the time when Ryan Cicoski

   discovered Nathan Smith’s self-dealing and other misconduct.

   9. As of January 1, 2023, Green Sapphire was the owner of all but one

   of the shares of Access Management, S.A., a French corporation

   headquartered in the Territorial Collectivity of St. Barthelemy (“St.

   Barth’s”).

   10. Access Management, S.A., is the sole owner and record titleholder of

   two parcels of real estate located in St. Barth’s, more particularly


   1
    Petro Carta Trust is, at times, mistakenly referred to interchangeably as “Petra Carta
   Trust” in certain documents and instruments. All references to “Petra Carta Trust” refer
   to the Petro Carta Trust described herein.

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   described as the AE 314 plot of 12,760 m2 in Colombier and the AI 220

   plot of 2,676 M2 in Saint-Jean (the “St. Barth’s Property”). The estimated

   fair market value of the St. Barth’s Property is approximately $30 million.

   11. Plaintiff Alpha Carta, Ltd., is a Cayman Islands corporation with its

   principal place of business in Georgetown, Grand Cayman, Cayman

   Islands, owned by the Alpha Carta Trust. It invests money and manages

   the property of the Alpha Carta Trust. The Alpha Carta Trust is an

   express trust organized and existing under the laws of the Cayman

   Islands to hold legal title to property separately from equitable title and

   to achieve related estate planning purposes for the benefit of its ultimate

   beneficial owner (“UBO”). Prairie Private Trust Company, Ltd. is the

   trustee of the Alpha Carta Trust. It is a Cayman Islands Company with

   its principal place of business in Georgetown, Grand Cayman, Cayman

   Islands.

   12. Plaintiff Breakers Beach Club, Ltd. (“Breakers”) is a Cayman Island

   company formed as a single purpose entity to hold title to certain real

   property located in Grand Cayman, Cayman Islands. Alpha Carta, Ltd

   owns 100% of the shares of Breakers. Breakers is the sole owner and

   record titleholder of four parcels of beachfront real property located in

   Grand Cayman, Cayman Islands, more particularly described as

   Breakers Block 56B, Parcels 14, 15, 16, and 17, totaling approximately

   10 acres (the “Breaker’s Property”). The current estimated fair market

   value of the Breakers Property is approximately $12.5 million.

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                                   Defendants

   13. Defendant Looper is a convicted felon and citizen of Texas residing in

   Travis County. As of October 1, 2022, Steve Looper was the CEO of

   Proton Green, LLC f/k/a Plateau Carbon, LLC (“Proton Green”), a

   Wyoming limited liability company. Proton Green engaged in a reverse

   merger and share exchange on or about July 17, 2023, from which the

   surviving entity was Defendant Cyber App Solutions Corp., a Nevada

   corporation.

   14. Notwithstanding the purported reverse merger, Proton Green has

   continued to hold itself out as a separate entity. As a result, claims are

   brought both against Cyber App Solutions Corp., as successor by merger

   to Proton Green, and Proton Green, to the extent it remains an existing

   entity. Proton and Cyber are collectively referred to as “Cyber.”

   15. On information and belief, Cyber’s principal place of business is in

   Houston, Texas.

   16. Defendant Robert G. Brownell, a/k/a Robert Bigelow (“Brownell”), is

   a convicted felon and a citizen and resident of Travis County, Texas. In

   2015, his twenty-year prison sentence for masterminding a complex

   embezzlement and phony invoice scheme was reduced to ten years

   because he informed on other inmates, with the sentencing Judge

   opining that he was a changed man. The schemes alleged here, however,

   are strikingly similar to Brownell’s prior criminal misconduct.




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   17. Brownell represented that he spoke for and helped manage the affairs

   of the BNW Family Office, LLC, and stated, falsely upon information and

   belief, that this “Family Office” organized as a Delaware limited liability

   company was capitalized, owned, and guided by his brother, a highly

   respected and wealthy attorney. BNW Family Office, LLC provided

   consulting services initially under an oral agreement with Alpha Carta,

   Ltd., in connection with the management of property owned by entities in

   the Family Office Trust Structure (defined below) that were owned or

   controlled by Alpha Carta, Ltd. He performed his early duties well. It is

   clear in retrospect that for whatever reason, Brownell reverted to the type

   of frauds for which he went to prison. He diverted money from the

   entities for his own benefit or to the detriment of the entities. He falsified

   records. He bypassed personnel who might have noticed irregularities or

   opposed transactions in which he was interested. He directed actions

   without approval from proper authorities: the directors, trustees, and

   officers of the entities. He concealed key facts about finances,

   negotiations, and transactions. He conspired with other felons and

   wrongdoers to damage these entities and affiliated parties in the ways set

   forth below, with additional investigations ongoing.

   18. Defendant BNW Family Office, LLC, is a Delaware limited liability

   company. While Brownell represented to plaintiffs that his brother owned

   or helped control this LLC, now plaintiffs believe that it is owned and

   controlled by Defendant Robert G. Brownell.

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   19. BNW also served as an independent contractor for 60 Degrees Group

   SECZ, Ltd. (“60 Degrees”) under Defendant Nathan Smith as CFO until

   January 2022, and thereafter for Ryan Cicoski as director. 60 Degrees is

   a Cayman Islands corporation that provided administrative services to

   the entities owned or controlled by the Alpha Carta Trust, Alpha Carta,

   Ltd., the Petro Carta Trust, NorthSea, LLC, Green Sapphire Holdings,

   Inc., Prairie II Trust and their affiliates (collectively, the “Family Office

   Trust Structure”).

   20. In late 2023, Brownell procured a written consulting agreement

   signed between Alpha Carta and the BNW Family Office, LLC. The BNW

   Family Office, LLC abruptly terminated its consulting engagement just as

   these frauds were being investigated, on or about February 8, 2024.

   Collectively, Robert G. Brownell and BNW Family Office, LLC, will

   hereafter be referred to as Brownell.

   21. Defendant Schlieve is a convicted felon and citizen of Texas residing

   in Williamson County. He met Defendant Brownell in prison and has

   thereafter worked closely with him in connection with Brownell’s

   consulting engagement with 60 Degrees and Alpha Carta, Ltd., doing

   business through a variety of entities or alter egos, including but not

   limited to an entity named The Katunigan Company. On information and

   belief, The Katunigan Company is a Texas corporation.

   22. Defendant Sasaginnigak, LLC f/k/a Overall Builders, LLC,

   (hereinafter “Overall Builders”) is a Texas limited liability company. Upon

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   information and belief, the members of Overall Builders are Paul Schlieve

   and Robert G. Brownell.

   23. Defendant Global Capital Partners, LLC is a Delaware limited liability

   company whose members, on information and belief, are Dustin

   Springett and Tailwind, Ltd.

   24. Defendant Nathan Smith is a citizen of the United States, residing in

   Georgetown, Grand Cayman, Cayman Islands. He was a Director of

   plaintiff Prairie Private Trust Company, Ltd. in its capacity as the trustee

   of the Alpha Carta Trust, and a director of Green Sapphire until August,

   2021, and the sole director of the entity which managed Yorkville

   Investment I, LLC, the sole director of Breakers, and the sole director of

   60 Degrees Group SEZC, Ltd. (“60 Degrees”), and its Chief Financial

   Officer until January, 2022. He now owns and runs Rockwater Capital,

   Ltd.

   25. Smith’s employment with 60 Degrees was terminated and he was

   removed as a director from all of the entities in the Family Office Trust

   Structure for systematic self-dealing, breach of trust, and financial

   misconduct on or about December 31st, 2021.

   26. Defendant Robert J. Brownell is a citizen of Cook County, Illinois and

   the son of Defendant Robert G. Brownell.

   27. Defendant Charles Mack is an attorney licensed by the state of

   Illinois. He was consulted about legal issues by the BNW Family Office,

   Ryan Cicoski, and others, but at all times Mack was working for the best

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    interests of Brownell, the BNW Family Office, Schlieve, Smith, and other

    wrongdoers. He falsely represented the status of negotiations, drafted

    documents to aid wrongdoers, obtained signatures that he knew or

    should have known were inadequate to authorize transactions, and

    recorded documents without authorization. He took direction from

    Brownell. He had his office in the same building as Brownell’s office in

    Northbrook, Illinois. He submitted his invoices to Brownell. Brownell

    paid him and then through the complex bundling of invoices, obtained

    reimbursement from Terra Carta Partners, LLC or related entities,

    sometimes by siphoning funds without authorization from his IOLTA

    account.

    28. Defendant Dallas Salazar is a citizen of Kendall County, Texas.

    29. Plaintiff currently cannot identify the name(s) and address(es) of the

    Doe Defendant(s). The Doe Defendant(s)name and address can be

    obtained through discovery.

                              Jurisdiction and Venue

    30. This Court has jurisdiction over this action pursuant to 28 U.S.C. §

    1331 and supplemental jurisdiction over Plaintiffs’ state law claims

    pursuant to 28 U.S.C. § 1367.

    31. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)

    because the events or omissions giving rise to the claims that are the

    subject of this Complaint occurred in the Northern District of Illinois.

                                    Hale Street

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    32. Plaintiff Yorkville Investment I, LLC (“Yorkville”) holds title to real

    property commonly known as 120 North Hale Street, Wheaton, Illinois

    60187 (the “Hale Property”). Mr. Russell Scott Armstrong (“Scott

    Armstrong”), a close friend of Paul Wolfe, held a 52.99% equity interest in

    the Hale Property.

    33. In September 2022, Defendant Robert G. Brownell, with the knowing

    assistance of Defendant Charles Mack, set up a fictitious purchaser,

    submitted fictitious reports, and engineered a fictitious termination of a

    purchase of the Hale Property and then, having infuriated Armstrong,

    who demanded to be bought out, had Armstrong’s shares purchased at

    an inflated price.

    34. On or about September 23, 2022, Brownell wrote to Ryan Cicoski,

    the director of Yorkville, and represented that “Kissa Capital, LLC”

    (“Kissa”) would be making an offer to purchase the Hale Property within

    the week, which would include a three-day period to review and accept;

    that Kissa was a real estate investment entity for the law firm of Hunton,

    Andrews, Kurth, 200 Park Avenue, New York, NY (“HAK”); that HAK

    employed his brother, F. William Brownell; and that HAK had pension

    fund money to invest. He had frequently in the past invoked his brother’s

    name and HAK as backers/owners/participants in the BNW Family

    Office, LLC, representing that it was worth hundreds of millions of

    dollars.




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    35. In late September 2022, Brownell intentionally misrepresented to

    Ryan Cicoski and Scott Armstrong that a “Real Estate Purchase and Sale

    Agreement” (“PSA”) was submitted by Kissa. This Purchase Agreement

    provided for a purchase price of $5 million, with an earnest money

    deposit of $50,000. The PSA was ostensibly signed by Joseph Filberto.

    36. On information and belief, Brownell forged the signature of Joseph

    Filberto.

    37. The PSA stated all notices, demands, requests, and other

    communications related to the PSA were to be sent to Kissa Capital, LLC,

    1775 York Avenue, New York, NY, “Attn.: Joseph Filberto,” with a copy to

    the law firm of Hunton, Andrews, Kurth (“HAK”), 200 Park Avenue, New

    York, NY, “Attn.: Brett Gross.” Upon information and belief, Gross is the

    co-chair of HAK’s real estate practice group.

    38. On or about October 4, 2022, Ryan Cicoski, who had replaced

    Defendant Nathan Smith acting as Manager of Yorkville as of January,

    2022, executed the PSA.

    39. Defendants Mack and Brownell afterward represented to Cicoski that

    Kissa had signed the PSA and had a genuine interest in purchasing the

    Hale Property.

    40. Defendant Mack wrote to Yorkville attaching a “critical dates

    memorandum” relating to the alleged transaction outlining key dates for

    due diligence and closing, including but not limited to:

                a. A Contract date of October 4, 2022;

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             b. An “earnest money” deposit date of October 7, 2022;

             c. Due diligence expiration date of November 18, 2022; and

             d. Closing date of January 2, 2023.

    41. On or about October 26, 2022, Defendant Mack wrote to Armstrong

    and represented that there was a PSA, that it provided for one due

    diligence period of 45 days, with that period expiring November 18, 2022,

    and a closing date forty-five days thereafter, on January 2, 2023.

    42. On January 2, 2023, however, Defendant Brownell wrote to

    Armstrong and represented that he had received an urgent letter from

    Kissa just prior to close of business, stating that Kissa had found “lead-

    based paint, asbestos, and mold, in addition to the repair of the ceiling . .

    .,” and threatening to terminate the contract unless Yorkville gave Kissa

    an extension to finalize their estimates on correcting these alleged issues.

    Brownell forwarded this letter to Armstrong, ostensibly written on Kissa

    stationary, listing the 1775 York Avenue Address, and “signed” by

    “Joseph Filberto.”

    43. The Letter attached a supposed building inspection report performed

    by “Weber Group Management, Inc.,” (“Weber”) purportedly retained by

    Kissa to perform a limited NESHAPS inspection of the Hale Property (the

    “Report”).

    44. The Report indicated that inspector Michael Di Canio performed the

    asbestos inspection for the Hale Property, and his inspection allegedly




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    revealed asbestos-containing building materials throughout the building

    and was submitted by asbestos inspector Michael D. Herman.

    45. Weber allegedly performed an additional lead-based paint inspection,

    submitting a report by Drake Ottley, licensed lead inspector, on or about

    December 27, 2022, addressed to “Brett Gross, Kissa Capital, LLC” at

    HAK’s 200 Park Avenue, New York, NY address.

    46. The next day, on or about December 28, 2022, Weber purportedly

    submitted a mold report, also addressed to Gross.

    47. On or about January 10, 2023, Kissa purportedly wrote a letter to

    Defendant Mack indicating that it had completed its inspection including

    the estimated cost of remediation. In that letter, Kissa reportedly stated,

    “Now that we have a cost estimate of the rehab and remediation the

    number is far more substantial than we originally estimated . . . Kissa

    Capital, LLC is terminating the Agreement and requesting a return of the

    earnest money deposit . . . Kissa Capital, LLC would consider purchasing

    the Property in its current condition for an amount equal to $4,000,000.”

    This ended the “correspondence.”

    48. All communications between “Kissa” and Yorkville regarding the

    proposed “sale” of the Hale Property were relayed to Yorkville through

    either Defendants Mack or Brownell.

    49. To date, Yorkville’s investigation, which is ongoing, has been unable

    to determine whether, from whom, or how the earnest money payment of

    $50,000.00 from Kissa was deposited or, if deposited, its source and

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    ultimate destination. Despite repeated requests, defendant Mack has

    failed to supply the relevant information, although he has repeatedly

    promised to do so at some future unstated date when he finds the time.

    50. The “Kissa” Letter of January 10, 2023, attached an estimate for

    asbestos remediation dated August 13, 2022, with a purported expiration

    date of August 27, 2022, addressed to Yorkville from Robert J.

    Brownell—Robert G. Brownell’s son—of “Overall Builders, LLC.”

    51. Therefore, the purported August 2022 remediation estimate was

    generated over four months before Kissa’s alleged inspection, and several

    weeks before Robert G. Brownell introduced Kissa to Yorkville as a

    potential buyer for the Hale Property.

    52. The Overall Builders report estimated remediation of asbestos, lead-

    based paint, and mold would cost $342,000.00.

    53. Overall Builders’s registered agent is “Gammon Analytics, LLC.” Its

    managing member is, upon information and belief, Defendant Schlieve.

    54. Gammon Analytics, upon information and belief, is a subsidiary of

    “The Katunigan Company,” a Texas corporation, the President, Secretary,

    and Director of which is Defendant Schlieve.

    55. Upon information and belief, Robert G. Brownell is likewise

    associated with Overall Builders as an employee or agent of Overall

    Builders.




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    56. Yorkville investigated Kissa. It is a Delaware limited liability company

    controlled by a broker identified as Ariel Imas, Kissa’s managing

    member.

    57. Mr. Imas previously lived at the 1775 York Avenue address provided

    in the PSA, but no longer resided there as of February 2024.

    58. Mr. Imas organized Kissa as a holding company for another

    corporation he co-founded, and Kissa was only involved in one previous

    real estate transaction involving a residence in Florida.

    59. Mr. Imas has never heard of Joseph Filberto, and reported that Kissa

    has no employees, and he is its sole member.

    60. Mr. Imas has never heard of Brett Gross or Robert Brownell a/k/a

    Robert Bigelow.

    61. Kissa was never represented by HAK in connection with the PSA.

    62. Therefore, on information and belief, the signature of Joseph Filberto

    on the PSA, January 2, 2023, Letter, and all communications with

    “Joseph Filberto” were forged by Robert G. Brownell or at his direction

    with the actual intent to steal the identity of Kissa in furtherance of a

    scheme to defraud Yorkville and Scott Armstrong.

    63. Yorkville similarly investigated “Weber Group Management, Inc.’s”

    inspection of the Hale Property.

    64. Michael D. Herman, the asbestos inspector with Weber who

    purportedly submitted the December 2022 Report, informed Yorkville




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    that the report provided by “Kissa” via Mack and Brownell had been

    significantly altered from the report Herman prepared.

    65. The correct report Herman prepared found “NO Accessible ACM

    [asbestos-containing materials] Was Found Observed in The Building” in

    any of the materials tested.

    66. While Herman’s inspection also uncovered some lead paint in a

    stairwell of the Hale Property, his correct report opined that it did not

    require remediation.

    67. Herman stated that he had been retained by Robert Brownell—upon

    information and belief, Defendant Robert J. Brownell—to perform an

    asbestos and lead paint inspection at the Hale Property, though he was

    not asked to perform remediation if necessary.

    68. After ‘Kissa” allegedly terminated the PSA, Armstrong was furious

    and demanded that he be bought out of his interest in Yorkville.

    69. Brownell, Mack, and as yet unknown John Does then pivoted to a

    scheme to engineer a deal that obligated Yorkville to purchase

    Armstrong’s equity for an amount greater than the value of his equity

    interest.

    70. Under the agreement engineered by Brownell, Mack, and as yet

    unknown John Does, Yorkville was obligated to pay Scott Armstrong

    $1,258,341 plus accrued but unpaid interest that is due and payable on

    May 1, 2024. See Stock Purchase Agreement, a true and correct copy of

    which is attached hereto as Exhibit A.

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    71. But for the misrepresentations, forgeries, and other deceits, Yorkville

    would never have incurred the contractual obligation to buy out

    Armstrong’s equity interest for a price of $1,258,341.

    72. But for the phony PSA, if Armstrong had demanded to be bought out

    and if plaintiff had acquiesced in this request, the buyout price would

    not have been based on the $5 million purchase price payable under the

    phony PSA, and the buyout price would have been at least $600,000

    less.

                          The 2022 Complaint & Websites

    73. In furtherance of the overall fraudulent schemes Defendants

    conspired to enact upon Plaintiffs as described herein, in August of

    2022, an anonymous party (the “Complainant”) using the alias “Susan

    Essex” filed a complaint against Plaintiff Wolfe in DuPage County, Illinois

    (the “2022 Complaint”), raising a series of scurrilous, denigrating, and

    disparaging allegations regarding Plaintiff Wolfe, including that he

    engaged in criminal activity and adultery.

    74. After filing the 2022 Complaint, the Complainant made no efforts to

    serve—or even notify—Plaintiff Wolfe of the case brought against him,

    nor did “she” make any other efforts to otherwise litigate the case.

    75. On or about October 31, 2022, the case was dismissed for want of

    prosecution. At no point thereafter did the Complainant seek to reinstate

    the matter. In other words, the Complainant was not even interested in

    appearing before the Court regarding their case. In essence, the

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    Complainant filed the false 2022 Complaint, which was devoid of

    substance other than spurious and scandalous allegations, and

    immediately abandoned the claim.

    76. Even though this case was entirely obscure, having undergone no

    responsive pleadings, discovery, motions practice, or even initial case

    management, during October of 2023, an anonymous party obtained and

    published the 2022 Complaint in this case on their First Website, which

    was registered on September 11, 2023, and is dedicated entirely to

    “doxing,” defaming, and otherwise harassing Plaintiff Wolfe and his

    colleagues.

    77. Upon further investigation, the address the Complainant listed on the

    2022 Complaint is a women’s shelter without permanent residents, no

    response to communications was received from the email address listed

    on the 2022 Complaint, and the phone number is fictitious or otherwise

    disconnected.

    78. Given the foregoing, upon information and belief, “Susan Essex” is an

    assumed name under which the responsible individual filed the 2022

    Complaint.

    79. Pursuant to information produced by the registrars of the First

    Website and the email address used to file the 2022 Complaint, the same

    Internet Protocol (IP) Address was used to access/maintain the First

    Website and to access the email account from which the responsible

    individual(s) filed the 2022 Complaint.

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    80. Likewise, pursuant information produced by the registrars of the

    First Website and the email address used to file the 2022 Complaint, the

    same phone number was used to register both the First Website and the

    email account from which the responsible individual(s) filed the 2022

    Complaint.

    81. Given the foregoing, upon information and belief, the individual(s)

    responsible for filing the 2022 Complaint are one and the same as the

    individual(s) responsible for creating and/or posting on the aforesaid

    First Website; the 2022 Complaint was filed under false pretenses, in bad

    faith, without basis in fact whatsoever, as fodder by which the

    individual(s) responsible might disparage Plaintiff Wolfe and the

    performance of his duties with the Family Office Trust Structure on their

    First Website.

    82. The entry on the First Website dedicated to republishing the 2022

    Complaint had generated 20 “comments” as of December 2023.

    83. Upon information and belief, given Plaintiff Wolfe’s status as a

    generally obscure private citizen rather than a public figure, and the

    anonymous nature of the “comments” on the First Website, the aforesaid

    “comments” were generated by the individual(s) responsible for filing and

    republishing the 2022 Complaint.

    84. The entry on the First Website dedicated to republishing the 2022

    Complaint contained personally identifiable information regarding




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    Plaintiff Wolfe without his consent, including his name, telephone

    number, home address, and employment information.

    85. The entry on the First Website dedicated to republishing the 2022

    Complaint encouraged the general public to stalk, harass, and harm

    Plaintiff Wolfe, variously encouraging the public to call his phone number

    and contact him at his home.

    86. Furthermore, the entry on the Website dedicated to republishing the

    2022 Complaint contained extensive inflammatory language and

    accusations against Wolfe, intended and likely to cause rash and

    unwarranted action against him including harassment, stalking, and

    bodily injury to Plaintiff Wolfe and his family.

    87. After discovering the First Website and the 2022 Complaint published

    thereon, Plaintiff Wolfe immediately moved to vacate the dismissal

    entered on October 31, 2022, and sought to have the case sealed to

    prevent the further dissemination of the 2022 Complaint.

    88. Because of the false, vile, scurrilous, defamatory, disparaging, and

    doxing allegations and website comments, on November 27, 2023, the

    Court granted Plaintiff Wolfe’s Motion to Vacate the dismissal entered on

    October 31, 2022, ordered the case sealed, and set the matter for status

    of Defendants’ answer to the 2022 Complaint on January 3, 2024. See

    Order dated November 27, 2023, a true and correct copy of which is

    attached hereto as Exhibit B.




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    89. The Complainant received notice of the November 27, 2023, Order via

    email—delivered to the account used to file the 2022 Complaint—on

    November 29, 2023. See Email from Christine Marte to Plaintiff, a true

    and correct copy of which is attached hereto as Exhibit C. Still, “Essex”

    failed to appear and the case was again dismissed.

    90. The individual(s) responsible for maintaining/accessing the email

    account used to file the 2022 Complaint logged in to the email account at

    11:57 P.M. on November 29, 2023, as well as on 14 occasions thereafter.

    91. Thereafter, on or about January 9, 2024—6 weeks after the Court

    ordered the entire 2022 case sealed—an anonymous party created a

    second website (the “Second Website,” collectively, the “Websites”),

    hosted out of Lithuania, dedicated to republishing the 2022 Complaint.

    92. On or about that same date, the individual(s) responsible for

    maintaining the content of the First Website removed the 2022

    Complaint from the First Website.

    93. The Second Website was apparently created to be “linked” and

    published on the First Website, where it is currently republished and

    appears.

    94. Given the foregoing, upon information and belief,

       a.   the individual(s) responsible for creating the First Website and

    republishing the 2022 Complaint thereon received notice of the

    developments in the 2022 case, despite its status as being sealed;




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       b.   the individual(s) responsible for filing the 2022 Complaint are one

    and the same as the individual(s) responsible for creating and/or posting

    on both Websites; and

       c.   the individual(s) responsible for creating the Websites republished

    the 2022 Complaint on the Second Website in an effort to remove

    themselves from the jurisdictional reach of the Court.

    95. The Second Website, as of the date of this filing, includes 21 false,

    defamatory, and disparaging “comments.”

    96. In addition, the Second Website flagrantly and egregiously

    misappropriates Plaintiff Wolfe’s name and likeness for its own use and

    benefit. Specifically, the Second Website misappropriates Plaintiff Wolfe’s

    name and likeness solely to further the responsible individual(s)’

    apparent vendetta or animosity against Plaintiff and the Family Office

    Trust Structure.

    97. Pursuant to a subpoena from Wolfe, on or about February 2, 2024,

    the First Website’s registrar—Newfold Digital, Inc. (“Newfold”)—produced

    documents to Wolfe related to the identity of the individual(s) responsible

    for creating and maintaining the First Website.

    98. The production from Newfold revealed the First Website was

    registered by an individual purportedly named “David Xanthan.”

    99. Plaintiffs are unaware of an individual named “David Xanthan,” and

    subsequent investigation has revealed no individual by the name of

    “David Xanthan.”

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    100.   Upon information and belief, “David Xanthan” is yet another alias

    under which the responsible individual(s) have sought to conceal their

    misdeeds.

    101.   However, the production from Newfold also revealed the First

    Website was registered under a mailing address of 4531 Park Lane,

    Dallas, TX 75220.

    102.   Subsequent investigation revealed that 4531 Park Lane, until

    January 10, 2023, was the residence of Defendant Steven E. Looper—

    whose company is indebted to Alpha Carta, Ltd., for over $20 million as

    described herein.

    103.   Therefore, upon information and belief, Defendant Steven E.

    Looper is one of the individuals responsible for creating, maintaining,

    and publishing the content on the Websites and one of the individuals

    responsible for filing the 2022 Complaint.

    104.   Upon information and belief, Defendant Steven E. Looper

    participated in the creation, maintenance, and publication of the content

    on the Websites, as well as the filing of the 2022 Complaint, in an effort

    to discredit, defame, and disparage Plaintiffs in furtherance of the

    fraudulent schemes he and his co-conspirators enacted as alleged above.

    105.   Likewise, documents provided by Google, LLC—the registrar and

    host of the email address used to file the 2022 Complaint—revealed a

    recovery email address associated with the email address used to file the

    2022 Complaint that apparently belongs to Defendant Paul Schlieve.

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    106.     The recovery email address given to create the account from

    which the 2022 Complaint was identified as PLSchlieve@gmail.com.

    107.     Paul Schlieve is an individual with whom both Plaintiff Wolfe and

    Defendant Looper are acquainted.

    108.     Following his incarceration, Defendant Schlieve was employed as

    a legal assistant at the firm of Clayborne, Sabo and Wagner in Bellville,

    Illinois.

    109.     Given the foregoing, Defendant Schlieve is sufficiently

    knowledgeable regarding pleadings to have drafted or significantly aided

    in drafting the 2022 Complaint.

    110.     While incarcerated, Defendant Schlieve met Robert G. Brownell.

    During 2016, Defendant Schlieve and Robert G. Brownell began

    providing limited “litigation consulting” services to an entity affiliated

    with one of the Plaintiffs.

    111.     On or about July 3, 2023, Plaintiff Wolfe received an anonymous

    letter threatening Plaintiff Wolfe in connection with a corporate

    transaction with which Plaintiff Wolfe and his employer were associated

    (the “Letter”).

    112.     The Letter echoed baseless accusations similar to those expressed

    by the individual(s) creating the Websites, including but not limited to

    allegations Plaintiff Wolfe:

    a. “personally caused [the Corporation] to conduct its operations
    contrary to affirmative statements in the offering materials;”



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    b. “personally withheld material information from the Board of
    Directors, which, had they known the information, would have prevented
    the failure of [the Corporation] . . .;” and

    c. “made material false statements to the Board of Directors, who relied
    on [Plaintiff’s] false statements in repeating those material false
    statements to investors.”

    113.   Given the foregoing, upon information and belief, the individual(s)

    responsible for sending the Letter are one and the same as the

    individual(s) responsible for filing the 2022 Complaint and publishing the

    Websites.

    114.   The responsible individual(s) sent the Letter from a post office

    located in Drexel, North Carolina.

    115.   Defendant Schlieve is or was the managing member of Overall

    Builders, the company responsible for generating the fraudulent asbestos

    report discussed above, which is also registered to do business in North

    Carolina.

    116.   Overall Builders has a registered address in North Carolina of

    3402 Deal Avenue, Valdese, NC—located only four miles from the post

    office from which the Letter was sent.

    117.   Given the foregoing, upon information and belief, Defendant

    Schlieve performed the actions described above at the behest of Robert

    G. Brownell, his confederate, in furtherance of the overarching

    fraudulent schemes enacted by Brownell and his co-conspirators as

    alleged herein.




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    118.     In addition to seeking to damage Plaintiff Wolfe personally and

    thereby attack his fitness to serve as a Trustee and/or Director of entities

    in the Family Office Trust Structure through the 2022 Complaint and

    Websites’ publication, Defendants acted in a broader effort to

    intentionally harm Plaintiffs and other people associated with the Family

    Office Trust Structure in their abilities to work as financial professionals

    and to depress the value of property the Family Office Trust Structure

    owned.

    119.     Defendants filed the 2022 Complaint and published the Websites

    in a concerted effort to damage Plaintiff Wolfe and his co-Plaintiffs’

    reputation and business relationships, including but not limited to their

    reputation and relationships with banks and other lenders, in order to

    artificially create adverse market conditions and attack Plaintiff Wolfe’s

    fitness to serve as Trustee and/or Director of the Family Office Trust

    Structure’s related entities, and to perpetuate the fraud described above.

    120.     Defendants engaged in a conspiracy to create the impression that

    Wolfe was unfit to serve within the Family Office Trust Structure, in

    order to enrich themselves through the above-described misconduct.

    This was inextricably included in their fraud schemes alleged above to

    prevent Wolfe’s interference therewith by causing him to be removed as

    Trustee and/or Director within the Family Office Trust Structure or be

    otherwise bypassed. It also hampered Plaintiffs’ ability to investigate,

    discover, and rectify Defendants’ misconduct.

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    121.   As part of his professional relationship with Plaintiffs, Defendant

    Schlieve served as the administrator of the website and corporate email

    account of an entity known as Terra Carta Partners, LLC.

    122.   Terra Carta Partners, LLC, is an entity related to the property

    subjected to the larger fraud schemes against Plaintiffs described herein.

    123.   As of the date of this filing, the website for Terra Carta Partners,

    LLC has been removed from the web, and Plaintiff Wolfe’s access to his

    email account associated with Terra Carta Partners has been revoked.

    124.   Given Defendant Schlieve’s role as administrator of the Terra

    Carta website and email accounts, and his control thereof, upon

    information and belief, Defendant Schlieve has removed the Terra Carta

    website and revoked Plaintiff Wolfe’s email access in an ongoing attempt

    to destroy evidence and obscure Defendants’ involvement in the conduct

    alleged herein.

    125.    As the allegations in the 2022 Complaint published on the

    Websites are not only baseless and untrue, but also particularly

    scandalous, offensive, and outrageous, Plaintiff Wolfe has experienced,

    and continues to experience, damage to his reputation and mental well-

    being as a result of the 2022 Complaint’s subsequent publication.

    Moreover, the website participants’ engagement in doxing and incitement

    of doxing represents a danger to Plaintiff Wolfe and his immediate family.




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                                  Green Sapphire

    126.   In or before December 2022, Brownell, Mack, Smith, and

    Springett concocted a loan to own scheme to have Green Sapphire

    allegedly borrow money it could not repay, pledging all stock in Access

    Management, SA, a company it owned, which in turn owned the St.

    Barth’s Property. Using the name Bigelow and falsely claiming to

    represent Green Sapphire and because Access Management was a

    company subject to French law, Brownell engaged French counsel to

    determine how to prepare a stock pledge and how to foreclose on it.

    Despite having been terminated, Defendant Smith nevertheless actively

    communicated with Brownell and Mack and conspired with them and

    others to infiltrate the Family Office Trust Structure and steal the St.

    Barth’s Property.

    127.   Unhappy with the formalities required under French law for such

    a pledge, and with the borrower-friendly procedures to foreclose on such

    a pledge, Brownell, in consultation with Mack, Smith, and John Does,

    then asked Ryan Cicoski, Green Sapphire’s General Counsel, to convert

    Access Management to a Florida corporation. Brownell and John Does

    falsely claimed that a liquidity crisis necessitated the loan. On February

    3, 2023, Defendant Charles Mack filed with the Florida Secretary of State

    “Articles of Domestication” which purport to transform Access

    Management, SA into Access Management, S.A.S., a Florida corporation.




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    See Articles of Domestication (“Domestication”), a true and correct copy

    of which is attached as Exhibit D.

    128.   On or about the same day, Mack drafted and Cicoski, at the

    request of Mack, Brownell, or John Does, executed a “Loan and Security

    Agreement” on behalf of Green Sapphire with an entity known as “Global

    Capital Partners, LLC (the “Global Capital Loan”), a true and correct copy

    of which is attached as Exhibit E.

    129.   Neither the Domestication nor the Global Capital Loan were

    authorized by two directors of Green Sapphire. Cicoski signed both

    documents without notice to or consent of Paul Wolfe, the other Director

    of Green Sapphire, or notice to the Trustee or the UBOs of the Petro

    Carta Trust. Under the bylaws of Green Sapphire, the absence of the

    approval of both directors made the execution of the Domestication and

    the Global Capital Loan ultra vires.

    130.   Under the loan agreement, Global Capital Partners, LLC agreed to

    loan Green Sapphire $10 million for 120 days with interest at the rate of

    30% per annum, Green Sapphire agreed to borrow $10 million and grant

    a security interest in its interest in certain shares of shares of Access

    Management, SA, a French corporation (“French Access”)—record

    titleholder of the St. Barth’s Property—or 100% of the shares of stock of

    Access Management S.A.S., Inc., the Florida corporation (“Florida

    Access”), give a mortgage on the St. Barth’s Property, and to have

    Brownell and Petro Carta Trust guaranty the loan.

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    131.   To date, Ryan Cicoski and Global Capital Partners, LLC have been

    unable or unwilling to produce the fully executed Stock Pledge

    Agreement identified in the Loan and Security Agreement. Plaintiffs have

    been unable to obtain a copy of it from any other source. No Stock Pledge

    Agreement relating to the shares of Access Management, SA has been

    recorded in St. Barth’s in the manner required by French law. On

    information and belief, Mack, an Illinois attorney operating in Illinois,

    prepared and arranged from Illinois a filing of a UCC-1 financing

    statement with the Secretary of States for Delaware and Florida

    purporting to perfect a UCC Article 9 security interest in the shares of

    Access Management S.A.S. Inc. in favor of Global Capital Partners, LLC,

    but no document that actually creates a security interest in any such

    shares has been located, despite requests to Mack.

    132.   The term and interest rate under the Loan and Security

    Agreement was unreasonable and unconscionable given that payment of

    the $10 million debt was secured by guarantees of Petro Carta Trust and

    Brownell and, if the pledged stock agreement and the related

    transactions are valid and legally enforceable, by a security interest on

    shares of a corporation that holds title to real estate with a value of $30

    million.

    133.   Under the Loan and Security Agreement, the proceeds of the $10

    million loan to Green Sapphire were scheduled to be disbursed to Green

    Sapphire in two tranches—the first tranche of $3 million was to occur on

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    January 31, 2023, and the second tranche in the amount of $7 million

    “as soon as possible shortly thereafter,” following the Lender’s receipt of

    an opinion of French counsel. No opinion of French counsel was ever

    obtained.

    134.    Neither Green Sapphire nor any of its related entities ever

    received any portion of the $10 million loan that Global Capital Partners,

    LLC “agreed” to make in connection with the Global Capital Loan.

    135.    On information and belief, and based on Mack’s assertions, if

    any funds belonging to Global Capital Partners, LLC were transferred to

    anyone, they were transferred to Chase Bank in Illinois for credit to the

    IOLTA account held in the name of defendant Charles Mack’s IOLTA

    Trust Account.

    136.   Upon information and belief, this was done by direction of

    Brownell, Smith, Springett, or John Does, and then some of all of the

    funds were transferred to or for the benefit of the BNW Family Office,

    LLC, by Mack.

    137.    Despite repeated requests, Mack has refused to produce the

    IOLTA account statement, the wire transfer confirmations, emails or any

    other documents that could confirm that $10 million was ever delivered

    to any one by Global Capital Partners, LLC in connection with the Global

    Capital Loan and would identify the transferees of any subsequent

    transfers of any funds Mack received from Global Capital Partners, LLC.




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    138.   No one aside from Brownell, Mack, Smith, Springett, and John

    Does was aware of whether any money was actually disbursed by Global

    Capital Partners, LLC pursuant to the Global Capital Loan and, if so, to

    whom any such funds were delivered. For these reasons, plus the fact

    that no $10 million loan was ever recorded on the books and records of

    Green Sapphire and the lack of any evidence that any such loan was ever

    made, Green Sapphire did not repay any such loan on the claimed June

    4, 2023, maturity date.

    139.   In November 2023, Cicoski drafted a “Written Action of Sole

    Shareholder” purporting to remove Paul Wolfe as co-Director of Green

    Sapphire, without informing Wolfe, and presented it to Mark Azzopardi,

    manager of NorthSea, LLC—the Trustee of Petro Carta—as an “urgent”

    document requiring his signature immediately. Azzopardi signed it,

    believing it necessary and proper, so Wolfe was removed as co-Director of

    Green Sapphire. Wolfe had discharged his duties faithfully and well. He

    had given no cause for his removal. As set forth above, however, he had

    been the subject of vicious, vile, and false accusations posted on a

    website Defendants created for that purpose.

    140.   Because of representations and directions of Brownell and John

    Does, Mack was unwilling to oppose Global Capital Partners, LLC’s

    attempts to enforce the stock pledge agreement, and did not notify Mark

    Azzopardi, Paul Wolfe, or any of the UBOs of the Petro Carta Trust that

    Global Capital Partners, LLC was claiming ownership of 100% of the

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    shares of Access Management, S.A.S., Inc., in purported satisfaction of

    the “debt” that Global Capital Partners, LLC alleged that Green Sapphire

    owed it.

    141.   On or about December 15, 2023, Global Capital Partners, LLC, on

    direction of Springett, filed a document with the Florida Secretary of

    State entitled “Amended Articles of Incorporation” that identify Dustin

    Springett as the sole director of Access Management S.A.S, Inc. and state

    that it—not Green Sapphire—was the owner of 100% of its shares.

    142.   On information and belief, agents or brokers engaged by Global

    Capital, Smith, Springett, and John Does have been marketing the St.

    Barth’s property and plan to sell it.

    143.   The St. Barth’s lawyer engaged by Robert “Bigelow” is currently

    demanding payment of 61,000 Euros from Green Sapphire based on an

    Engagement Letter that “Bigelow” signed, fraudulently holding himself

    out as a representative of Green Sapphire.

                     Loan Fraud Involving Proton Green/Cyber

    144.   A certain Forbearance Agreement dated June 20, 2023

    (“Forbearance Agreement”), obligated Alpha Carta, Ltd. to forbear from

    exercising its rights and remedies against Proton Green, LLC under three

    promissory notes issued by Proton Green, LLC (“Notes’) as long as Proton

    Green paid $3 million to Alpha Carta, Ltd. on July 7, 2023, executed and

    delivered a Deed In Lieu of Foreclosure, and paid $2 million per month

    each month starting August 7, 2023 until the total debt of $25.2 million

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    evidenced by the Notes was paid in full in cash. See Forbearance

    Agreement, a true and correct copy of which is attached hereto as Exhibit

    F. Payment of the debts evidenced by the Notes was secured by a first

    priority lien on real property (St. John’s Field, from which Proton Green

    hoped to extract Helium) located in Apache County, Arizona with a fair

    market value in excess of $25 million.

    145.   This Forbearance Agreement followed a series of events by which

    the Notes were dishonored. In April 2022, after Proton Green dishonored

    the Notes, Alpha Carta, Ltd. investigated the reasons why, and

    discovered that defendant Looper, the CEO and Managing Member of

    Proton Green, was a convicted felon, undisclosed to its investors. On the

    day Looper was confronted with this fact, he dissolved Proton Green, but

    the next month set up a new LLC under the old name, all without the

    knowledge of his non-insider investors.

    146.   As of May 1, 2023, a notice of default was served. On June 20,

    2023, Alpha Carta, Ltd., and Proton Green then entered into the

    Forbearance Agreement. One condition of the Forbearance Agreement

    was that Looper would reinstate the original Proton Green and Proton

    Green would execute and deliver a Deed In Lieu of Foreclosure. This

    Deed in Lieu of Foreclosure would have enabled Alpha Carta, Ltd. to take

    full ownership of Proton Green’s St. John Field in satisfaction of some or

    all of the debts evidenced by the Notes in the event that Proton Green

    breached the Forbearance Agreement. On information and belief, the

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    Deed in Lieu of Foreclosure was never delivered. In 2023 defendant Mack

    represented that he had possession of the Deed In Lieu of Foreclosure

    executed and delivered by Proton Green, but he has refused to provide it.

    147.    On information and belief, Proton Green, LLC f/k/a/ Plateau

    Carbon, LLC was reinstated in July 2023. On or about July 23, 2023, a

    reverse merger and share exchange occurred between Proton Green and

    Cyber App Solutions Corp., in which Cyber was the surviving entity, with

    the equity security interest holders, assets, and obligations of Proton

    Green, LLC f/k/a Plateau Carbon, LLC.

    148.   However, as described above, notwithstanding the purported

    reverse merger, Proton Green has at times continued to hold itself out as

    an entity.

    149.   Defendant Looper and defendant Smith had equity interests in

    Plateau Carbon, LLC, Proton Green, LLC and Cyber App Solutions Corp.

    that became the basis for Rockwell Capital, Ltd.’s claim of millions of

    dollars of “assets under management,” that were used to entice

    additional investors to purchase shares of Rockwell Capital, Ltd.

    150.   Defendant Nathan Smith had actual knowledge that Plaintiff

    Breakers had borrowed $4 million in 2021 (“the 2021 loan”) from lenders

    David Holden and Mark Matthews (“Lenders”), each a resident of Cayman

    Islands and each an associate of Smith. The 2021 loan agreement,

    signed by Smith as the sole director of Breakers, contained a reasonable

    interest rate of 12%, later adjusted to 12.5% per annum. Payment of the

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    debt was guaranteed by Alpha Carta, Ltd., the sole shareholder of

    Breakers. Alpha Carta, Ltd.’s guaranty was expressly approved by the

    trustees of the Alpha Carta Trust and supported by appropriate

    resolutions of Alpha Carta, Alpha Carta Trust, and signed by Smith, as

    one of two directors of Prairie Private Trust Company, Ltd., in its capacity

    as the trustee of the Alpha Carta Trust. Notice was given to the UBO of

    the Alpha Carta Trust. The Loan Agreement gave the Lenders an

    explanation of how the loan proceeds would be used and how Breakers

    and Alpha Carta, Ltd. received value in consideration for the loan. The

    loan proceeds were delivered in accordance with the terms of the loan

    agreement and the loan obligation was recorded in the books of

    Breakers.

    151.   In August 2022, Nathan Smith’s replacement as the CFO of 60

    Degrees told the Lenders that Smith’s employment and affiliation with

    Breakers and Alpha Carta, Ltd., had terminated.

    152.   The 2021 loan was paid in full on July 5, 2023.

    153.   Proton Green failed to make the $3 million payment that was due

    under the Forbearance Agreement on July 7, 2023. The next day, on

    July 8, 2023, Smith asked the Lenders for another loan to Breakers and

    promised that Green Sapphire instead of Alpha Carta, Ltd., would

    guarantee it, that it would bear interest at 30% per annum, with a 40%

    default rate, and would mature on October 31, 2023, with the borrower

    having the right to one 90-day extension (the “2023 Loan”).

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    154.   Smith represented that he had a Green Sapphire management

    account bank statement, which was confidential information that should

    not have been retained by him after his termination, much less disclosed

    without authorization. Smith also represented that Green Sapphire

    owned the St. Barth’s Property worth $12.5 million. Smith requested a

    1% fee to be paid by the borrower.

    155.   Smith represented to the Lenders and to Alpha Carta, Ltd.’s

    representative in July 2023 that the funds to repay the loan would come

    from the proceeds of a pending $96 million sale of approximately 330

    acres of real estate located near Austin, Texas that Green Sapphire

    owned and was scheduled to close on October 6, 2023; that he knew the

    Puchasers; and that they were legitimate buyers. Alpha Carta, Ltd.

    representatives that were not part of the conspiracy and fraudulent

    conduct related herein relied on these representations in deciding to

    enter the transaction, and defendants Brownell, Mack, and John Does

    knew this representation was false but intentionally prompted other

    Alpha Carta, Ltd. personnel to believe it.

    156.   The “Purchaser” Smith referred to, TRT Capital Group, LLC.

    (“TRT”) is fictitious. There was a TRT formed in Delaware in March 2023,

    but it was later dissolved. The person named “William White” (by

    coincidence or choice the name of the villain in Casino Royale) who

    ostensibly signed the Purchase Agreement on behalf of TRT, is, if anyone,

    a resident of a hospice in Delaware. The address given in the Purchase

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    Agreement for the fictitious TRT is the same address for Global Capital

    Partners, LLC, the supposed “Lender” in the “Loan and Security

    Agreement” between Green Sapphire and Global Capital Partners, LLC,

    referenced in above paragraphs 127-144.

    157.    Cicoski executed (a) the loan agreement for the 2023 Loan as the

    sole director of Breaker without notice to Paul Wolfe, the other Director of

    Prairie Private Trust Company, trustee of Alpha Carta Trust, or the UBO,

    and (b) the Deed of Guarantee as one of two director of Green Sapphire

    as Guarantor, again without notice to or consent of Wolfe, then still the

    co-director of Green Sapphire, or any UBO. See 2023 Loan Agreement

    and Deed of Guarantee, true and correct copies of which are attached

    hereto as Exhibits G and H, respectively.

    158.   At the time of the 2023 Loan and Deed of Guarantee, Green

    Sapphire’s corporate bylaws required approval by a majority of the board

    of directors of (1) any guarantee of indebtedness in excess of

    $500,000.00, (2) any encumbrance on or security interest in any asset of

    Green Sapphire or its subsidiaries, and (3) any commitment that could

    result in payment of over $50,000.00 without approval of all members of

    Green Sapphire’s executive committee.

    159.   In August of 2023, the executive committee of Green Sapphire

    consisted of Cicoski and Wolfe.

    160.   Cicoski did not seek, and Wolfe did not grant, approval for the

    execution of the 2023 Loan by Breakers or the Deed of Guarantee on

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    behalf of Green Sapphire. Had Wolfe been asked, he would not have

    approved either the 2023 Loan or its guaranty, and Brownell and Smith

    knew this.

    161.   In early August, 2023, Smith delivered “wire instructions” to the

    Lenders instructing them to have the loan proceeds delivered to Charles

    Mack’s IOLTA Account. Smith lacked authority from Breakers to issue

    these wire instructions or, on information and belief, they were provided

    by him based on the instructions from Brownell or a John Doe

    defendant. Mack lacked authority to accept delivery of any funds that

    were ostensibly being “loaned” to Breakers.

    162.   On information and belief, or about August 19th, 2023, the

    Lenders issued a wire transfer payment order directing CIBC to

    electronically transfer immediately available funds in the amount of

    $2,900,000.00 to Mack’s IOLTA account, knowing that the proceeds were

    not going to be used solely for the purpose of providing working capital to

    Breakers as stated in the Loan Agreement. On information and belief, the

    funds in the amount of $2.9 million were credited to the IOLTA Account

    held in the name of Charles Mack on August 19, 2023.

    163.   Mack has thus far refused repeated requests to provide all the

    documents and bank records related to this transaction. But he admitted

    that on August 23rd, 2023, he issued a $2 million wire transfer payment

    order to Chase Bank directing it to transfer immediately available funds

    in the amount of $2 million to CIBC in the Cayman Islands for credit to

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    the account of Alpha Carta, Ltd., describing its purpose as a “loan

    payment” from Cyber to Alpha Carta, Ltd.’s CIBC account in Grand

    Cayman. See Wire Transfer Report, a true and correct copy of which is

    attached hereto as Exhibit I.

    164.   Without providing the relevant records, Mack nevertheless has

           represented that he disbursed:

           a.   $7,231.11 for legal fees;

           b.   $750,00.00 to Defendant Dallas Salazar; and

           c.   $142,768.89 to Global Capital Partners, LLC.

    165.    There is no legitimate business purpose, reasonable basis, or

    rationale for the transfer of the $750,000.00 Charles Mack made to

    Dallas Salazar or the $142,768.89 to Global Capital Partners, and the

    purpose of the alleged transfer of $7,231.11 to an unidentified person

    ostensibly for “legal fees” is under investigation.

    166.    The 2023 Loan included none of the earmarks of legitimacy that

    the 2021 Loan exhibited, including but not limited to the following:

           a.   The proceeds of the 2023 Loan were electronically transferred

    by CIBC in the Cayman Islands to Chase Bank in the United States for

    credit to Mack IOLTA account—a third-party non-borrower who was not

    involved in the 2021 Loan— without any prior written direction from

    Breakers.




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            b.   The interest rate on the 2023 Loan was exorbitant and was far

    higher than market rates as opposed to the commercially reasonable rate

    of the 2021 Loan;

            c.   No formal authentic corporate resolutions were provided;

            d.   Green Sapphire “guaranteed” the 2023 Loan despite lacking a

    formal relationship with Breakers or ownership of any interest in the real

    property owned by Breakers, thereby deriving no benefit from the 2023

    Loan;

            e.   Smith informed the Lenders that the proceeds of the 2023

    Loan would not be used for Breakers even though the Loan Agreement

    expressly provided that the proceeds would be used only for working

    capital for Breakers “and for no other purpose,” whereas the proceeds of

    the 2021 Loan were used for the purposes that were was clearly stated in

    the Loan Agreement.

            f.   The existence of any debt obligation and receipt of any

    proceeds of the 2023 Loan were not recorded on the financial books of

    Breakers, Green Sapphire, or any of their related entities; and

            g.   The proceeds of the 2023 Loan were not received by Breakers

    and were not used for the benefit of Breakers, Green Sapphire, or any of

    their related entities, but were, on information and belief,

    misappropriated by Defendants Nathan Smith, Cyber, Rockwell, Salazar,

    Global Capital Partners, LLC and Looper, for their own benefit.




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    167.   After the reverse merger, Cyber breached the Forbearance

    Agreement by failing to make the $2 million payment due on September

    7, 2023.

    168.    On or about September 20, 2023, one or more of the John Doe

    Defendants proposed a modification to the parties’ Forbearance

    Agreement. Alpha Carta, Ltd.’s sole director was presented with a

    proposed draft loan settlement agreement between “Proton Green, LLC”

    (not Cyber App Solutions Corp.) and Alpha Carta dated as of “September

    ___, 2023” under which “Proton Green, LLC” (not Cyber App Solutions

    Corp.) would promise to pay an additional $5 million in cash, to grant a

    5% overriding royalty interest in revenues derived from Helium

    production on its leaseholds up to $16 million, and to promise for a

    second time to execute and deliver a deed in lieu of foreclosure in

    recordable form with respect to existing leases then encumbered by the

    “Leasehold Deed of Trust” held by Alpha Carta, Ltd. See Draft Loan

    Settlement Agreement, a true and correct copy of which is attached

    hereto as Exhibit J. In exchange, Alpha Carta, Ltd. would agree to release

    the “Leasehold Deed of Trust” it held on Cyber’s valuable leaseholds of

    St. John’s Field in Apache County, Arizona, forego payment of the

    remainder of the debt evidenced by the Notes that were the subject

    matter of the Forbearance Agreement, and grant a mutual release of all

    claims. In the event of “Proton Green, LLC’s” default under the proposed

    Loan Settlement Agreement, Alpha Carta’s obligation to release any

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    claims or the Leasehold Mortgage would be suspended, and Alpha Carta,

    Ltd. would be entitled to exercise of all remedies available by law under

    the Notes, the Forbearance Agreement, and by law.

    169.   While Alpha Carta, Ltd.’s sole director was given a draft copy of

    the proposed Loan Settlement Agreement on September 20, 2023, he was

    informed that neither party had agreed to it, and Alpha Carta, Ltd. lacks

    an executed copy of any such “Loan Settlement Agreement.” To date,

    Ryan Cicoski and Mack have been unwilling or unable to provide a fully

    executed version of this agreement or any other settlement agreement

    between Alpha Carta, Ltd. and Proton Green, LLC or Cyber App Solutions

    Corp. Cyber has refused to provide it despite requests for it and despite

    its oral assertion to Alpha Carta, Ltd. representative Paul Wolfe on

    February 8, 2024, that it owes no money to Alpha Carta, Ltd., because

    all matters between the parties were settled.

    170.   On information and belief, if there were any valid loan settlement

    agreement between Cyber and Alpha Carta, Ltd., it was breached before

    November 2, 2023, by Proton Green, LLC and/or Cyber App Solutions

    Corp. because Alpha Carta, Ltd. has not received the $5 million cash,

    any overriding royalty revenue, or any deed in lieu of foreclosure.

    171.   In the alternative, if there were no signed settlement agreement,

    Cyber owes the full amount of the debt, now in excess of $30 million that

    is evidenced by the Notes.




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    172.   Furthermore, Cyber falsely recorded a Deed of Release and

    Reconveyance to discharge the “Leasehold Deed of Trust” that it had

    previously granted to secure payment of the Notes referenced in the

    Forbearance Agreement. The “Deed of Release and Reconveyance” was

    signed in anticipation of and contingent upon the formation of a final,

    definitive loan settlement agreement. No one from Alpha Carta, Ltd.,

    authorized the Deed of Release and Reconveyance to be delivered or

    recorded until and unless a final settlement agreement was executed by

    both parties and then delivered to Alpha Carta, Ltd.

    173.   As of February 2024, Defendants Brownell, Mack, and Schlieve

    represented to other Alpha Carta Ltd. representatives and its UBO that

    debts in the total amount of more than $24 million were still owed by

    Cyber. In the alternative, this shows either that (a) no loan settlement

    agreement replaced the Forbearance Agreement (also making the

    recordation of the “Deed of Release” a fraud of Cyber or any party that

    recorded it), or (b) that Brownell, Schlieve, Mack, Looper and their John

    Doe coconspirators concealed a settlement and the subsequent recording

    of the Deed of Release in November 2023 from Alpha Carta Ltd and its

    UBO.

    174.   Cyber reports that it reached a Loan Settlement Agreement with

    Alpha Carta, Ltd. to settle the Notes for $8 million on July 31, 2023,

    months before the September 20, 2023 proposal that was not executed or

    agreed to. It claimed that it paid $2 million to Alpha Carta Ltd in August

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    2023 and in November 2023 it paid the remaining $6 million due under

    the terms of the Loan Settlement Agreement that was allegedly formed on

    July 31, 2023, recognizing a gain from the alleged forgiveness of debt of

    almost $18 million. Alpha Carta Ltd. lacks any such Loan Settlement

    Agreement. Alpha Carta Ltd. believes to the contrary that the

    negotiations were unsettled as of September 2023, and Alpha Carta, Ltd.

    has not received $8 million from Cyber. If John Does executed such a

    Loan Settlement Agreement, they did so fraudulently, and Alpha Carta,

    Ltd., has sustained damages of at least $18 million.

                                   Count I – Fraud
                  Yorkville Investment I, LLC v. Robert G. Brownell

    175.    Plaintiff hereby adopts and incorporates the preceding

    paragraphs 1-174 as if fully restated herein.

    176.    Robert G. Brownell knowingly made numerous false statements

    to Yorkville Investment I, LLC including, but not limited to, the following:

       a.   That Kissa was a potential buyer of the Hale Property;

       b.   That Weber Group Management reported asbestos, lead-based

    paint, and mold requiring remediation at the Hale Property; and,

       c.   That remediation of the alleged asbestos at the Hale Property

    would cost nearly $400,000.00.

    177.    Robert G. Brownell made these intentional misrepresentations of

    fact with the intent to induce Yorkville to act in reliance on the truth of

    the matters asserted (a) in an effort to deprive Yorkville Investment I, LLC

    of its assets and resources, (b) as part of his overall effort to create a
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    problematic debt obligation for Plaintiff Yorkville, and (c) generate

    additional controversy that could be publicized on the website in order to

    injure Yorkville and its affiliated entities in the Family Office Trust

    Structure.

    178.     Yorkville Investment I, LLC reasonably relied on Robert G.

    Brownell’s intentional misrepresentations of material fact, including but

    not limited to the misrepresentation that Kissa had executed the PSA

    and was ready, willing and able to purchase the Hale Property for a price

    of $5 million as set forth in the PSA.

    179.     As a result of its reliance on intentional misrepresentations of

    material facts by Brownell, Yorkville Investment I, LLC was damaged

    through incurring expenses on the fabricated Kissa purchase and

    through incurring a debt obligation under the agreement to buy out

    Armstrong’s equity interest in the Hale Property at an overly inflated

    price which is due and payable on May 1, 2024.

    180.     The foregoing actions of Defendant were and continue to be

    willful, wanton, intentional, reckless, and/or done in bad faith in

    violation of Plaintiff’s rights.

    181.     As a direct and proximate result of Defendant Brownell’s

    intentional misrepresentations of material facts, Plaintiff Yorkville has

    suffered and continues to suffer damages in an amount to be determined

    at trial.




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       WHEREFORE, Plaintiff Yorkville Investment I, LLC, hereby prays for

    judgment in its favor and against Defendant Robert G. Brownell in an

    amount in excess of $75,000.00 (Seventy-Five Thousand Dollars)

    together with appropriate punitive damages, costs, interest, and any

    other such relief as this Court deems just and equitable.

                         Count II – Aiding and Abetting Fraud
     Yorkville Investment I, LLC v. Charles Mack, Paul Schlieve, Sasaginnigak,
                 LLC f/k/a Overall Builders, LLC & Robert J. Brownell

    182.   Plaintiff hereby adopts and incorporates the preceding

    paragraphs 1-174 as if fully restated herein.

    183.   At all relevant times herein, Defendants Paul Schlieve, Overall

    Builders, and Robert J. Brownell had actual knowledge that Robert G.

    Brownell had misrepresented or was intending to misrepresent material

    facts about the intended purchase of the Hale Property by Kissa, the

    pretextual asbestos-related property defect status, remediation needs

    and asbestos remediation costs to Plaintiff Yorkville.

    184.   Defendant Charles Mack knew that the documents concerning

    the property defects and remediation submitted were fraudulent or he

    was willfully blind to the fact that the Kissa Purchase Agreement and the

    documents concerning the property defects and remediation that were

    submitted to Yorkville were fabricated and fraudulent, and he

    substantially assisted in the fraud committed by Robert G. Brownell by

    transmitting such documents and sending the “critical dates” email.




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    185.    Defendants Paul Schlieve, Overall Builders, Charles Mack and

    Robert J. Brownell substantially assisted in Robert G. Brownell’s fraud

    and the creation of the artifice of the fictitious purchase of the Hale

    Property by Kissa to Yorkville Investment I, LLC and their substantial

    assistance directly and proximately caused Plaintiff Yorkville to suffer the

    damages alleged above, such that they are jointly and severally liable,

    with Brownell for the damages caused by the fraud described in the

    foregoing paragraphs.

    186.    Defendants Charles Mack, Paul Schlieve, Overall Builders, and

    Robert J. Brownell’s knowing and substantial assistance of Robert G.

    Brownell’s fraud was vexatious and intentionally and deliberately

    harmful to Plaintiff.

        WHEREFORE, Plaintiff Yorkville Investment I, LLC respectfully

    request this Court enter judgment against Defendants Charles Mack,

    Paul Schlieve, Sasaginnigak, LLC f/k/a Overall Builders, LLC and Robert

    J. Brownell, in an amount in excess of $75,000.00 (Seventy-Five

    Thousand Dollars) together with appropriate injunctive relief, punitive

    damages, costs, interest, and award such other relief as this Court

    deems fair and just.

                      Count III – Conspiracy to Commit Fraud
       Yorkville Investment I, LLC v. Robert G. Brownell, Charles Mack, Paul
       Schlieve, Sasaginnigak, LLC f/k/a Overall Builders, LLC and Robert J.
                                      Brownell

    187.    Plaintiff adopts and incorporates the preceding paragraphs 1-174

    as if fully restated herein.

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    188.   Defendants Robert G. Brownell, Charles Mack, Paul Schlieve,

    Overall Builders, and Robert J. Brownell knowingly and voluntarily

    entered into a scheme and agreement to engage in a combination of

    unlawful acts and misconduct, as described herein, including, among

    other acts and omissions, fraudulent conduct regarding the Hale

    Property owned by Plaintiff.

    189.   The intent and purpose of the conspiracy, and the underlying

    combination of unlawful acts and misconduct committed by the

    Defendants, was to sow division between the shareholders of Plaintiff and

    thereafter, drive down the perceived market price of the Hale Property for

    their own subsequent purchase and caused Yorkville to take on

    additional debt obligations that were designed to generate litigation that

    would be publicized on the Websites and cause additional reputational

    injury to Paul Wolfe, Yorkville and all of the entities in the Family Office

    Trust Structure.

    190.   All Defendants had a financial motive and incentive to accomplish

    the foregoing conspiracy.

    191.   The Defendants understood and accepted the foregoing scheme,

    and each agreed to do his respective part, as described herein, to further

    and accomplish the foregoing objectives.

    192.   By entering into this conspiracy, the Defendants permitted,

    encouraged, and induced all of the unlawful acts and misconduct as

    described herein.

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    193.    Defendants committed numerous overt acts in furtherance of

    their conspiracy, including but not limited to the creation and delivery of

    the fictitious Purchase and Sale Agreement ostensibly signed by Kissa to

    Yorkville for signature in early October 2022 by Ryan Cicoski as its

    manager and the subsequent fabrication of the counterfeit report stating

    that there was hazardous asbestos present in the Hale Property which

    needed to be remediated in accordance with the fraudulent remediation

    contract.

    194.    As a direct and proximate result of the Defendants’ unlawful

    conduct, Plaintiff has sustained substantial damages.

        WHEREFORE, Plaintiff Yorkville Investment I, LLC, respectfully

    request this Court enter judgment against Defendants Robert G.

    Brownell, Charles Mack, Paul Schlieve, Sasaginnigak, LLC f/k/a Overall

    Builders, LLC and Robert J. Brownell jointly and severally in an amount

    in excess of $75,000.00 (Seventy-Five Thousand Dollars) together with

    appropriate injunctive relief, punitive damages, costs, interest, and

    award such other relief as this Court deems fair and just.

                            Count IV – Abuse of Process
                Wolfe v. Robert G. Brownell, Schlieve, Looper, & Does

    195.    Plaintiff adopts and incorporates the preceding paragraphs 1-174

    as if fully restated herein.

    196.    Defendants had an ulterior purpose or motive for filing the 2022

    Complaint, including to “dox,” humiliate, intimidate, and/or extort

    Plaintiff Wolfe, damage him professionally, and thereby give pretext for
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    his removal from certain entities within the Family Office Trust

    Structure, rather than pursue a legitimate breach of contract action

    against him, as evidenced by, without limitation:

       a. the particularly scandalous and obscene nature of the allegations
    therein;

       b. Defendants’ filing of the 2022 Complaint under an assumed name
    containing allegations they knew to be false;

      c. Defendants’ use of false contact information in filing the 2022
    Complaint;

       d. Defendants’ complete disinterest and lack of diligence in pursuing
    the claim;

       e. Defendants’ participation in the related conspiracy, breaches of
    fiduciary duties, and fraud described herein; and

      f. Defendants’ republication—including republication on the Second
    Website in blatant violation of a court order—of the 2022 Complaint on
    Websites dedicated to harassing and “doxing” Plaintiff.

    197.   Defendants filed the 2022 Complaint for a purpose not proper in

    the regular prosecution of a breach of contract action, but rather for

    subsequent re-publication on the Websites in order to cause Plaintiff to

    experience severe hardship and damage to his reputation and

    employment, far beyond the purview of the legal process.

    198.   Indeed, the Court and its processes themselves have been abused

    as the means through which Defendants sought to effect character

    assassination and defamation with extreme malice, prejudice, and

    hardship against Plaintiff Wolfe.




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    199.    As a direct and proximate result of Defendants’ abuse of process,

    Plaintiff has suffered, and will continue to suffer, damages in an amount

    to be proven at trial.

        WHEREFORE, Plaintiff Paul Schroth Wolfe hereby prays for judgment

    in his favor and against Defendants Steven Looper, Robert G. Brownell,

    Paul Schlieve, and John Does, unidentified co-conspirators, in an

    amount in excess of $75,000.00 (Seventy-Five Thousand Dollars)

    together with appropriate injunctive relief, punitive damages, costs,

    interest, and any other such relief as this Court deems just and

    equitable.

                           Count V – Malicious Prosecution
                 Wolfe v. Robert G. Brownell, Schlieve, Looper, & Does

    200.    Plaintiff adopts and incorporates the preceding paragraphs 1-174

    as if fully restated herein.

    201.    Defendants instituted the 2022 Complaint as alleged herein and

    as evidenced by their publication of the 2022 Complaint—which was

    entirely obscure and had not even been served on Plaintiff Wolfe, let

    alone litigated in any fashion—on the First Website, receipt of notice

    regarding developments in the sealed 2022 case and subsequent removal

    from the First Website and republication on the Second Website in

    response.

    202.    Defendants lacked probable cause for the institution of the 2022

    Complaint as alleged herein and as evidenced by the fact Defendants

    filed the 2022 Complaint under a false name containing allegations that
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    were not well-ground in fact or warranted by existing law that they knew

    to be false, Defendants’ use of false contact information in filing the 2022

    Complaint with the court, Defendants’ demonstrated lack of interest and

    intent to actually prosecute the claim alleged in the Complaint they filed

    with this court, and Defendants’ creation of the Websites and

    republication of the 2022 Complaint on the Websites.

    203.   Defendants acted with malice in instituting the 2022 Complaint

    as alleged herein and as evidenced by the fact Defendants immediately

    abandoned the claim and subsequently republished the 2022 Complaint

    on the First Website dedicated to doxing, defaming, and harassing

    Plaintiff and his colleagues, removal of the 2022 Complaint on the First

    Website in response to the Court’s Order sealing the 2022 case, and

    subsequent registration of the Second Website in Lithuania and

    republishing of the 2022 Complaint thereon in direct, knowing, and

    contumacious violation of the Court’s November 27, 2023 Order sealing

    the case.

    204.   The 2022 case terminated in Plaintiff’s favor when it was

    dismissed on January 3, 2024.

    205.   As a direct and proximate result of Defendants’ malicious

    prosecution, Plaintiff has suffered special injury well beyond the common

    incident of most lawsuits in that Defendants did not institute the 2022

    Complaint for the good faith purpose of resolving a legal dispute or

    obtaining damages, but rather sought and succeeded to enact a direct

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    interference with Plaintiff’s person and livelihood in furtherance of the

    conspiracy, breaches of fiduciary duties, and fraud described herein.

        WHEREFORE, Plaintiff Paul Schroth Wolfe hereby prays for judgment

    in his favor and against Defendants Steven Looper, Robert G. Brownell,

    Paul Schlieve, and John Does, unidentified co-conspirators, in an

    amount in excess of $75,000.00 (Seventy-Five Thousand Dollars)

    together with appropriate injunctive relief, punitive damages, costs,

    interest, and any other such relief as this Court deems just and

    equitable.

                                 Count VI – Defamation
                 Wolfe v. Robert G. Brownell, Schlieve, Looper, & Does

    206.    Plaintiff adopts and incorporates the preceding paragraphs 1-174

    as if fully restated herein.

    207.    Defendants’ malicious and intentional defamation of Plaintiff

    through the filing, publication and transmission of the 2022 Complaint

    and accusations on the Websites constitute defamation per se as they

    impute with Plaintiff the commission of adultery, the commission of a

    crime, and an inability to perform and/or want of integrity in the

    discharge of his employment duties.

    208.    Defendants made the foregoing defamatory statements with

    knowledge of their falsity and with actual malice so as to justify an award

    of punitive damages given that, as the individuals filing the 2022

    Complaint, Defendants knew Plaintiff had never interacted with “Susan

    Essex” and has certainly never engaged in the conduct Defendants
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    allege, in furtherance of the conspiracy, breaches of fiduciary duties, and

    fraud described herein.

        WHEREFORE, Plaintiff Paul Schroth Wolfe hereby prays for judgment

    in his favor and against Defendants Steven Looper, Robert G. Brownell,

    Paul Schlieve, and John Does, unidentified co-conspirators, in an

    amount in excess of $75,000.00 (Seventy-Five Thousand Dollars)

    together with appropriate injunctive relief, punitive damages, costs,

    interest, and any other such relief as this Court deems just and

    equitable.

                              Count VII – Disparagement
                 Wolfe v. Robert G. Brownell, Schlieve, Looper, & Does

    209.    Plaintiff adopts and incorporates the preceding paragraphs 1-174

    as if fully restated herein.

    210.    Defendants published false and demeaning statements regarding

    the quality of Plaintiff’s professional services on the Websites, in

    furtherance of the conspiracy, breaches of fiduciary duties, and fraud as

    alleged herein.

    211.    Upon information and belief, Defendants made the aforesaid false

    and demeaning statements in an effort to influence the public visiting the

    Websites not to engage Plaintiff’s professional services due to Plaintiff’s

    alleged lack of professional competency and integrity and to create a false

    crisis of solvency and marketability relating to Plaintiffs, in order to

    damage Plaintiff and the entities in the Family Office Trust Structure.



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    212.    Defendants made the aforesaid false and demeaning statements

    with malice as evidenced by the fact Defendants have no known

    connection to or experience with the transactions Defendants

    disparaged, but rather in furtherance of the conspiracy, breaches of

    fiduciary duties, and fraud described herein, and therefore made the

    statements with, at minimum, conscious disregard of whether the

    statements were true or false.

    213.    As a direct and proximate result of Defendants’ disparagement,

    Plaintiff Wolfe has suffered, and will continue to suffer, damages in an

    amount to be proven at trial.

        WHEREFORE, Plaintiff Paul Schroth Wolfe hereby prays for judgment

    in his favor and against Defendants Steven Looper, Robert G. Brownell,

    Paul Schlieve, and John Does, unidentified co-conspirators, in an

    amount in excess of $75,000.00 (Seventy-Five Thousand Dollars)

    together with appropriate injunctive relief, punitive damages, costs,

    interest, and any other such relief as this Court deems just and

    equitable.

        Count VIII – Invasion of Privacy; Public Disclosure of Private Facts
             Wolfe v. Robert G. Brownell, Schlieve, Looper, & Does

    214.    Plaintiff adopts and incorporates the preceding paragraphs 1-174

    as if fully restated herein.

    215.    Defendants gave publicity to private facts concerning Plaintiff

    Wolfe by, inter alia, publishing Plaintiff Wolfe’s address and telephone

    number on the First Website.
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    216.      The facts Defendants published on the First Website were private

    and not public facts regarding Plaintiff Wolfe.

    217.      The publication of the private facts regarding Plaintiff Wolfe as

    alleged herein would be highly offensive to a reasonable person in that

    they were disclosed in a context in which Defendants encouraged the

    public to use the facts to “dox,” harass, and harm Plaintiff Wolfe and his

    family.

    218.      As a direct and proximate result of Defendants’ invasion of

    privacy, Plaintiff Wolfe has suffered, and will continue to suffer, damages

    in an amount to be proven at trial.

        WHEREFORE, Plaintiff Paul Schroth Wolfe hereby prays for judgment

    in his favor and against Defendants Steven Looper, Robert G. Brownell,

    Paul Schlieve, and John Does, unidentified co-conspirators, in an

    amount in excess of $75,000.00 (Seventy-Five Thousand Dollars)

    together with appropriate injunctive relief, punitive damages, costs,

    interest, and any other such relief as this Court deems just and

    equitable.

                                 Count IX – False Light
                 Wolfe v. Robert G. Brownell, Schlieve, Looper, & Does

    219.      Plaintiff adopts and incorporates the preceding paragraphs 1-174

    as if fully restated herein.

    220.      Defendants placed Plaintiff in a false light before the public when

    they knowingly advanced false accusations against him via the 2022

    Complaint and subsequent publication on the Websites as alleged
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    herein, including but not limited to accusations that Plaintiff is an

    adulterer and a criminal.

    221.   Defendants’ statements were made to the public at large given the

    Websites are freely accessible to every individual with internet access

    throughout the world as is the 2022 Complaint itself and the accusations

    therein.

    222.   The false light in which Defendants placed Plaintiff is highly

    offensive to a reasonable person given the allegations specifically accuse

    Plaintiff of “preying” on and “stalking” vulnerable individuals for sexual

    services, of being a danger to the community, of unethical and immoral

    conduct regarding his employment, of adultery, and of criminal conduct.

    223.   As alleged herein, Defendants filed the 2022 Complaint and

    republished the same, along with the accusations on the Websites, with

    actual knowledge that the statements were false and actual malice given

    Defendants filed the 2022 Complaint under a false name, knew Plaintiff

    has never interacted with “Susan Essex” and has certainly never engaged

    in the conduct Defendant alleged.

       WHEREFORE, Plaintiff Paul Schroth Wolfe hereby prays for judgment

    in his favor and against Defendants Steven Looper, Robert G. Brownell,

    Paul Schlieve, and John Does, unidentified co-conspirators, in an

    amount in excess of $75,000.00 (Seventy-Five Thousand Dollars)

    together with appropriate injunctive relief, punitive damages, costs,




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    interest, and any other such relief as this Court deems just and

    equitable.

                 Count X – Violation of the Illinois Right of Publicity Act
                 Wolfe v. Robert G. Brownell, Schlieve, Looper, & Does

    224.    Plaintiff adopts and incorporates the preceding paragraphs 1-174

    as if fully restated herein.

    225.    Defendants’ unauthorized use of Plaintiff’s identity for commercial

    purposes is a violation of the Illinois Right of Publicity Act, 765 ILCS

    1075/1-60.

    226.    Specifically, Defendants made use of Plaintiff’s identity including

    but not limited to the use of his name in the Second Website in

    connection with Plaintiff’s sale of services in an effort to damage Plaintiff

    and the Plaintiff entities and in an effort to harm Plaintiffs’ business

    relationships/reputation, including but not limited to his relationships

    and reputation with banks and other lenders, in, upon information and

    belief, an overarching scheme to defraud and convert funds and other

    property from the entities in the Family Office Trust Structure.

    227.    Defendants’ use of Plaintiff’s identity was unauthorized because

    Defendants did not obtain Plaintiff’s consent to use of his identity in

    connection with the domain name of the Second Website. In fact,

    Defendants actively sought to conceal their involvement in the Websites’

    publication.

    228.    Defendants’ use of Plaintiff’s identity was willful because they

    used Plaintiff’s identity intentionally and with knowledge that its use was
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    not authorized. In fact, Defendants’ entire purpose in filing the 2022

    Complaint and publishing the Websites was to damage Plaintiff for their

    own gain.

    229.    Plaintiff has been damaged by Defendants’ unauthorized use of

    Plaintiff’s identity.

        WHEREFORE, Plaintiff Paul Schroth Wolfe hereby prays for judgment

    in his favor and against Defendants Steven Looper, Robert G. Brownell,

    Paul Schlieve, and John Does, unidentified co-conspirators, in an

    amount in excess of $75,000.00 (Seventy-Five Thousand Dollars)

    together with appropriate injunctive relief, punitive damages, costs,

    interest, and any other such relief as this Court deems just and

    equitable.

              Count XI – Violation of 15 U.S.C. § 1125(d)(1); Cyberpiracy
               Wolfe v. Robert G. Brownell, Schlieve, Looper, & Does

    230.    Plaintiff adopts and incorporates the preceding paragraphs 1-174

    as if fully restated herein.

    231.    Defendants have a bad faith intent to profit from the illicit use of

    Plaintiff’s name in the Second Website as demonstrated by:

       a. Plaintiff’s trademark and intellectual property rights in the use of
    his personal name in the Second Website;

      b. The use of Plaintiff’s legal name in the domain of the Second
    Website;

      c. Defendants’ lack of any bona fide noncommercial use of Plaintiff’s
    name in the Second Website;

       d. Defendants’ demonstrated intent in use of Plaintiff's name to
    harm the goodwill represented by Plaintiff’s name both for Defendants’
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    own commercial gain and with the intent to tarnish and disparage
    Plaintiff’s name; and

       e. Defendants’ provision of material and misleading false contact
    information when registering the domain name, as alleged herein.

    232.   Defendants’ registration, trafficking in, and use of Plaintiff’s

    personal name, which is protected as a mark under 15 U.S.C. § 1125, in

    the domain name of the Second Website therefore constitutes a violation

    of 15 U.S.C. § 1125(d)(1).

       WHEREFORE, Plaintiff Paul Schroth Wolfe hereby prays for judgment

    in his favor and against Defendants Steven Looper, Robert G. Brownell,

    Paul Schlieve, and John Does, unidentified co-conspirators, in an

    amount in excess of $75,000.00 (Seventy-Five Thousand Dollars)

    together with appropriate injunctive relief, punitive damages, costs,

    interest, and any other such relief as this Court deems just and

    equitable.

                      Count XII – Breach of Fiduciary Duty
    Breakers, Green Sapphire, Alpha Carta, Ltd., Prairie Private Trust Company
                          and NorthSea, LLC v. Smith

    233.   Plaintiffs hereby adopt and incorporate the preceding paragraphs

    1-174 as if fully restated herein.

    234.   As former director of Breakers, Green Sapphire, Alpha Carta,

    Ltd., Prairie Private Trust Company, Ltd. in its capacity as Trustee of the

    Alpha Carta Trust, and NorthSea, LLC in its capacity as the Trustee of

    the Petro Carta Trust (collectively, the “Family Office Trust Entities”),

    Defendant Smith owed a fiduciary duty to the Family Office Trust

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    Entities requiring Defendant to not use information learned in the course

    and scope of his tenure as a director of the Trustee of the Alpha Carta

    Trust, his tenure and a director of the Trustee of the Petro Carta Trust,

    his tenure as a director of a number of the Family Office Trust Entities,

    including but not limited to Breakers, Green Sapphire and Alpha Carta,

    Ltd., and his tenure as the CFO of 60 Degrees, for his personal gain or to

    disclose any such information, including the nature, value and locations

    of any assets held by any of the Family Trust Entities, to any third

    person such as Mark Matthews or David Holden.

    235.   Defendant wrongfully used and disclosed confidential information

    concerning the assets owned by Family Office Trust Entities, their

    management structure, internal controls, bank accounts, capital

    structure and financial affairs for his own pecuniary interests and to

    unjustly enrich himself and Rockwater Capital by attempting to broker a

    $2.9 million loan to an entity that was owned, indirectly, by the Alpha

    Carta Trust for whom Smith had been a director of its corporate trustee,

    Prairie Private Trust Company until December 31, 2021.

    236.   Defendant wrongfully used and disclosed confidential information

    concerning the nature, value and location of assets owned by Green

    Sapphire and related Family Office Trust Entities, their management

    structure, internal controls, bank accounts, capital structure and

    financial affairs for his own pecuniary interests and to unjustly enrich

    himself and /or Rockwater Capital by arranging a fictitious $10 million

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    loan by Global Capital Partners, LLC to Green Sapphire and attempting

    to broker a $2.9 million loan to Breakers, payment of which would

    ostensibly be guaranteed by Green Sapphire, which was owned,

    indirectly, by the Petro Carta Trust for whom Smith had been a director

    of its corporate trustee, NorthSea, LLC until December 31, 2021.

    237.    Defendant was obligated by his aforesaid fiduciary duties of

    loyalty to refrain from acting in his own self-interest to the detriment of

    the Family Office Trust Entities or acting in any way to materially

    damage the property held by the trustees of the Alpha Carta Trust, the

    Petro Carta Trust and the Prairie II Trust for the benefit of the UBOs.

    238.    Defendant breached these duties by, without limitation:

       a.   Sharing confidential financial information concerning property

    owned by Green Sapphire with the Lenders without authorization;

       b.   Causing Breakers and Green Sapphire to purportedly enter into

    the fraudulent 2023 Breakers loan and deed of guarantee without

    authorization, using his confidential information concerning the Family

    Office Trust Entities to fabricate the false appearance of authorization;

       c.   Causing the funds transferred by the Lenders in connection with

    the 2023 Loan to be sent to his co-conspirator(s) rather than Alpha

    Carta, Ltd. as was done with the 2021 Loan, depriving Breakers of any

    value in connection with the 2023 Loan;

       d.   Engineering the 2023 Loan using confidential information to

    obtain a fee for himself; and,

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       e.   Engineering the fictitious $10 million loan from Global Capital

    Partners, LLC to Green Sapphire and the related Stock Pledge Agreement

    by which Green Sapphire ostensibly granted a security interest in shares

    of stock in a Florida corporation named Access Management S.A.S., Inc.

    by which Global Capital Partners, LLC claims to take full ownership of

    those shares by means of fraud.

    239.    Upon information and belief, Defendant committed these

    breaches of fiduciary duty and defalcation in a fiduciary capacity in his

    own self-interest to impermissibly enrich himself and his co-conspirators

    at the expense of the trustees of the Alpha Carta Trust, the Petro Carta

    Trust and one or more Family Office Trust Entities, including Breakers,

    Green Sapphire and Alpha Carta, Ltd.

    240.    The foregoing breaches of fiduciary duty were and continue to be

    willful, wanton, intentional, reckless, and/or done in bad faith in

    violation of Plaintiffs’ rights.

    241.    As a direct and proximate result of Defendant’s breaches, the

    trustee of the Alpha Carta Trust and the Petro Carta Trust, and the

    Family Office Trust Entities identified above have suffered and continue

    to suffer damages in an amount to be determined at trial.

        WHEREFORE, Plaintiffs Breakers Beach Club, Ltd., Green Sapphire

    Holdings, Inc., Alpha Carta, Ltd. and Prairie Private Trust Company in its

    capacity as trustee of the Alpha Carta Trust and NorthSea, LLC in its

    capacity as the trustee of the Petro Carta Trust respectfully request this

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    Court enter judgment against Defendant Nathan Smith for damages in

    an amount greater than Seventy-Five Thousand Dollars ($75,000.00)

    plus punitive damages, costs and fees of this suit, impose a constructive

    trust against all ill-gotten gains obtained by Smith, and award such

    other relief as this Court deems fair and just.

                Count XIII – Conspiracy to Breach Fiduciary Duty
    Breakers, Green Sapphire, Alpha Carta, Ltd., Prairie Private Trust Company
     and NorthSea, LLC v. Robert G. Brownell, Nathan Smith, & Charles Mack

    242.    Plaintiffs adopt and incorporate the preceding paragraphs 1-174

    as if fully restated herein.

    243.    Defendants Robert G. Brownell, Nathan Smith, and Charles Mack

    knowingly and voluntarily entered into a scheme and agreement to

    engage in a combination of unlawful acts and misconduct, as described

    herein, including, among other acts and omissions, breach of fiduciary

    duties and aiding and abetting breach of fiduciary duties.

    244.    The intent and purpose of the conspiracy, and the underlying

    combination of unlawful acts and misconduct committed by the

    Defendants, was to purportedly cause Breakers to obtain a loan, obtain

    the $2.9 million proceeds of the 2023 Breakers loan in order to illicitly

    paydown the debt Proton Green owed to Alpha Carta, Ltd., discharge to

    the Leasehold Mortgage/Deed of Trust on St. John’s Field and,

    thereafter, obtain ownership of the Breakers Property and a windfall gain

    on securities issued by Proton Green or Cyber App Solutions Corp. for




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    themselves and one or more John Doe Defendants who identity is

    currently unknown to the Plaintiffs.

    245.   All Defendants had a financial motive and incentive to accomplish

    the foregoing conspiracy.

    246.   The Defendants understood and accepted the foregoing scheme,

    and each agreed to do his respective part, as described herein, to further

    and accomplish the foregoing objectives.

    247.   By entering into this conspiracy, the Defendants permitted,

    encouraged, and induced all of the unlawful acts and misconduct as

    described herein.

    248.   The parties engaged in numerous overt acts in furtherance of the

    conspiracy including, but not limited to, the use of confidential

    knowledge to bypass controls in place in the Family Office Trust

    Structure, causing $2.9 million to be transferred to Charles Mack’s trust

    account without obtaining necessary approvals, causing $2 million to be

    transferred on July 24, 2023 to CIBC for credit to Alpha Carta, Ltd.’s

    account which was falsely described as “Loan payment,” and taking fees

    for the various co-conspirators.

    249.   As a direct and proximate result of the Defendants’ unlawful

    conduct, Breakers, Alpha Carta, Green Sapphire, Prairie Private Trust

    Company, Ltd., and NorthSea, LLC have sustained substantial damages.

       WHEREFORE, Plaintiffs Breakers Beach Club, Ltd., Alpha Carta,

    Ltd., Green Sapphire Holdings, Inc., Prairie Private Trust Company, Ltd.,

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    and NorthSea, LLC, respectfully request this Court enter judgment

    against Defendants Robert G. Brownell, Nathan Smith, and Charles

    Mack in an amount in excess of $75,000.00 (Seventy-Five Thousand

    Dollars) together with appropriate injunctive relief, punitive damages,

    costs, interest, impose a constructive trust against all ill-gotten gains

    obtained by Brownell, Smith and Mack, and award such other relief as

    this Court deems fair and just.

      Count XIV – Conspiracy to Commit Fraud Regarding the 2023 Breakers
                                       Loan
     Breakers and Alpha Carta, Ltd. v. Proton Green, Steven Looper, Robert G.
       Brownell, Nathan Smith, Cyber App Solutions Corp., Charles Mack, &
                                  Dallas Salazar

    250.      Plaintiffs adopt and incorporate the preceding paragraphs 1-174

    as if fully restated herein.

    251.      Defendants Proton Green and Cyber App Solution Corp., by and

    through their agent Steven Looper, Steven Looper, individually, Robert G.

    Brownell, Nathan Smith, individually, Charles Mack, and Dallas Salazar

    knowingly and voluntarily entered into a scheme and agreement to

    engage in a combination of unlawful acts and misconduct, as described

    herein.

    252.      The intent and purpose of the conspiracy, and the underlying

    combination of unlawful acts and misconduct committed by the

    Defendants, was to misappropriate the funds in the amount of $2.9

    million that the Lenders wired to Chase Bank for credit to Charles

    Mack’s IOLTA account and ultimately create the fraudulent impression of


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    paying down Proton Green’s debt to Plaintiffs, to reduce the amount

    owed by Proton Green/Cyber (thereby increasing the value and reducing

    to liabilities of Proton Green/Cyber), avoid any action against Proton

    Green/Cyber as well as induce Alpha Carta, Ltd. to enter into settlement

    negotiations.

    253.   The parties engaged in numerous overt acts in furtherance of the

    conspiracy including, but not limited to, causing $2 million to be

    transferred on July 24, 2023 to CIBC for credit to Alpha Carta, Ltd.’s

    account which was falsely described as “Loan Payment,” falsely claiming

    that Proton Green/Cyber paid the $2 million, falsely describing the Loan

    Settlement Agreement in the 10Q that Cyber App Solutions Corp. filed

    with the SEC on Feb. 15, 2024 and taking fees for the various co-

    conspirators.

    254.   All Defendants had a financial motive and incentive to accomplish

    the foregoing conspiracy.

    255.   The Defendants understood and accepted the foregoing scheme,

    and each agreed to do his respective part, as described herein, to further

    and accomplish the foregoing objectives.

    256.   By entering into this conspiracy, the Defendants permitted,

    encouraged, and induced all of the unlawful acts and misconduct as

    described herein.

    257.   As a direct and proximate result of the Defendants’ unlawful

    conduct, Breakers and Alpha Carta, Ltd. have sustained damage through

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    the contingent liability that Breakers has to the Lenders in the event it is

    found, after expensive and resource consuming litigation, to be liable to

    repay the Lenders $2.9 million plus interest and attorneys’ fees, the

    impairment of Alpha Carta, Ltd.’s lien on the St. John’s Field that

    secures payment of the debt evidenced by the three Proton Green Notes,

    attorneys’ fees both to obtain a judgment against the Lenders declaring

    the 2023 Breakers loan void and declaring the there was no valid and

    enforceable “Loan Settlement Agreement “ between Alpha Carta, Ltd.,

    and Cyber App Solutions Corp. or Proton Green, LLC, or Deed of Release.

        WHEREFORE, Plaintiffs Breakers Beach Club, Ltd. and Alpha Carta,

    Ltd. respectfully request this Court enter judgment against Defendants

    Proton Green, Cyber App Solution Corp., Steven Looper, Robert G.

    Brownell, Nathan Smith, Charles Mack, and Dallas Salazar, in an

    amount in excess of $75,000.00 (Seventy-Five Thousand Dollars),

    punitive damages, costs, interest, impose a constructive trust against all

    ill-gotten gains obtained by Proton Green, Looper, Brownell, Smith, Mack

    and Salazar, and award such other relief as this Court deems fair and

    just.

                                  Count XV –Rescission
            Alpha Carta, Ltd. v. Proton Green and Cyber App Solutions Corp.

    258.      Plaintiffs adopt and incorporate the preceding paragraphs 1-174

    as if fully restated herein.

    259.      Proton Green and Cyber App Solutions Corp., through their agent

    Steven Looper, and in concert with Nathan Smith, Charles Mack, and
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    Robert G. Brownell, engaged in a scheme to make it appear as though

    funds had been paid to Alpha Carta, Ltd. from Proton Green when in fact

    they had been purportedly borrowed from another entity.

    260.   Cyber has now publicly claimed that a valid signed settlement

    agreement dated as of July 31, 2024, relieves it from the millions of

    dollars in liability it owed to Alpha Carta, Ltd.

    261.   Alpha Carta, Ltd. has no signed copy of any such agreement, and

    Proton Green has refused to provide it.

    262.   However, such settlement agreement, provided it exists, must be

    rescinded as it was procured through fraud.

    263.   Additionally, any such settlement agreement was the result of a

    unilateral mistake by Alpha Carta, Ltd. that Proton Green had paid the

    amount due under the terms of any such settlement.

    264.   This mistake was caused through the misrepresentations and

    misdeeds of Proton Green (and its felon CEO) and one or more of the

    Defendants, including Robert G. Brownell, Nathan Smith, Charles Mack,

    and Dallas Salazar.

    265.   Any settlement, as well as the Deed of Release and Reconveyance

    signed by Alpha Carta, Ltd. in conjunction with such settlement, must be

    rescinded.

       WHEREFORE, Plaintiff Alpha Carta, Ltd. prays for judgment in its

    favor and against Defendants Proton Green and Cyber App Solutions

    Corp. for a judgment rescinding any settlement agreement discharging

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    Defendants’ indebtedness to Alpha Carta, Ltd. and the Deed of Release

    and Reconveyance are void, injunctive relief, and any other such relief as

    this Court deems just and equitable.

                            Count XVI – Breach of Contract
           Alpha Carta, Ltd. v. Proton Green and Cyber App Solutions Corp.

    266.     Plaintiffs hereby adopt and incorporate the preceding paragraphs

    1-174 as if fully restated herein.

    267.     In or about July 2022, Alpha Carta, Ltd. purchased a promissory

    note in the original principal amount of $3,513,469 (the “Kip’s Bay

    Note’”) that Proton Green had issued to Kip’s Bay Select L.P. in

    consideration for a loan, payment of which was secured by a first priority

    lien on all the assets of Proton Green including a Leasehold interest on

    real property located in Apache County, Arizona in which there were

    substantial reserves of Helium.

    268.     As of May 1, 2023, Alpha Carta, Ltd. held the Kip’s Bay Note, as

    well as two other promissory notes made by Proton Green payable to

    Alpha Carta, Ltd. (collectively, the “Proton Green Notes”). See Proton

    Green Notes, true and correct copies of which are attached hereto as

    Exhibits K-M, respectively.

    269.     In April 2022, Proton Green failed to pay the debts evidenced by

    the Proton Green Notes as agreed.

    270.     On or about June 20, 2023, Proton Green entered into a

    Forbearance Agreement with Alpha Carta, Ltd. (the “Forbearance

    Agreement”), by which Proton Green agreed to make certain payments to
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    Alpha Carta, Ltd. in order to fulfill its obligations to the same pursuant

    to the Kip’s Bay Note and other Promissory Notes Proton Green executed

    in favor of Alpha Carta. See Ex. F.

    271.     The terms of the Forbearance Agreement obligated Proton Green

    to pay $3 million to Alpha Carta, Ltd. on July 7, 2023 and $2 million a

    month on the seventh (7th) day of each month thereafter until the total

    debt of approximately $25.2 million Proton Green owed to Alpha Carta,

    Ltd. as of June 20, 2023, was paid in full. Id.

    272.     However, Proton Green/Cyber have failed or refused to abide by

    the terms of the Forbearance Agreement and the Proton Green Notes,

    including but not limited to the obligation to immediately execute and

    deliver a Deed in Lieu of Foreclosure in recordable form acceptable to

    Alpha Carta, Ltd., such that Proton Green/Cyber’s debt to Alpha Carta,

    Ltd., in an amount in excess of $25 million is currently unpaid, due and

    owing.

    273.     Cyber is liable for the obligations of Proton Green as a result of

    the reverse merger.

    274.     The Forbearance Agreement and Proton Green Notes are valid

    contracts.

    275.     The Forbearance Agreement required Defendant to pay $3 million

    to Alpha Carta, Ltd. in July 2023 and $2 million a month each month

    thereafter until the total debt of approximately $25.2 million Proton




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    Green/Cyber owed to Alpha Carta, Ltd. as of June 20, 2023, was paid in

    full. Id.

    276.        Despite the express requirements of the Forbearance Agreement,

    Defendants breached the Forbearance Agreement in failing or refusing to

    pay Plaintiff $2 million on September 7, 2023, as required by the terms

    of to the Forbearance Agreement and failing and refusing to execute and

    deliver the required Deed In Lieu of Foreclosure.

    277.        Defendants also breached the Proton Green Notes by failing to

    pay the debt evidenced by the Notes, the exact amount of such debt to be

    determined at trial.

    278.        The failure to pay and the failure to execute and deliver the

    promised Deed In Lieu of Foreclosure are each a material breach of the

    express terms of the Forbearance Agreement and Proton Green Notes.

    279.        Plaintiff has performed or has substantially performed all its

    obligations under the Forbearance Agreement and Proton Green Notes.

    280.        As a result of Defendants’ breaches, Plaintiff has been harmed.

        WHEREFORE, Plaintiff Alpha Carta, Ltd. hereby prays for judgment

    in its favor and against Defendants Proton Green and Cyber App

    Solutions Corp. in an amount in excess of $75,000.00 (Seventy-Five

    Thousand Dollars), costs, interest, and an Order commanding Cyber App

    Solutions Corp. to execute and deliver a recordable Deed in Lieu of

    Foreclosure in a form acceptable to Alpha Carta, Ltd., together with any

    other further relief as this Court deems just and equitable.

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                          Count XVII –Declaratory Judgment
           Alpha Carta, Ltd. v. Proton Green and Cyber App. Solutions Corp.

    281.     Plaintiffs adopt and incorporate the preceding paragraphs 1-174

    as if fully restated herein.

    282.     Proton Green and Cyber App Solutions Corp., through their agent

    Steven Looper, and in concert with Nathan Smith, Charles Mack, and

    Robert G. Brownell, engaged in a scheme to make it appear as though

    funds had been paid to Alpha Carta, Ltd. from Proton Green/Cyber when

    in fact they had been purportedly borrowed from another entity.

    283.     Cyber has now publicly claimed that a valid signed settlement

    agreement dated as of July 31, 2023, relieves it from the obligation to

    pay the, at minimum, $18 million of additional debt that was due and

    owing under the Notes as of July 31, 2023.

    284.     Alpha Carta, Ltd. has no signed copy of any such agreement, and

    Proton Green has refused to provide it.

    285.     However, such settlement agreement, provided it exists, is void as

    it was procured through fraud.

    286.     Additionally, any such agreement, as well as the Deed of Release

    and Reconveyance executed in connection therewith, was not authorized

    to be delivered to Proton Green and Cyber absent the occurrence of a

    condition precedent which did not occur.

    287.     Any settlement, as well as the Deed of Release and Reconveyance

    signed by Alpha Carta, Ltd. in conjunction with such settlement, must be

    declared void.
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    288.    An actual controversy exists between the parties, as Defendants

    contend the settlement and Deed of Release and Reconveyance are valid,

    which assertion Plaintiff denies.

    289.    The resolution of this issue is appropriate and would terminate,

    in whole or in part, the controversy giving rise to this proceeding.

        WHEREFORE, Plaintiff Alpha Carta, Ltd. prays for judgment in its

    favor and against Defendants Proton Green and Cyber App Solutions

    Corp. for a declaration that any settlement agreement discharging Proton

    Green’s indebtedness to Alpha Carta, Ltd. and the Deed of Release and

    Reconveyance are void, injunctive relief, and any other such relief as this

    Court deems just and equitable.

                         Count XVIII –Declaratory Judgment
                      Green Sapphire v. Global Capital Partners

    290.    Plaintiff adopts and incorporates the preceding paragraphs 1-174

    as if fully restated herein.

    291.    Global Capital Partners purported to enter into a Loan and

    Security Agreement with Green Sapphire.

    292.    The loan agreement, as well as any accompanying pledge or other

    documents, were not property authorized by Green Sapphire and are

    therefore void.

    293.    There was no loan made pursuant to the loan agreement and the

    loan agreement is void as Green Sapphire did not receive any

    consideration.



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    294.   Any loan that may have been made under the loan agreement is

    void as it is the product of a fraudulent scheme.

    295.   The attempted domestication of Access Management and the

    attempted acquisition of the shares of Florida Access are also null and

    void, as they are the product of fraud and the fictitious loan agreement

    and stock pledge agreement.

    296.   The loan agreement, as well as any accompanying pledge, Articles

    of Domestication, UCC-1 Financing Statements and other documents,

    must be declared void.

    297.   An actual controversy exists between the parties, as Defendant

    contends the Loan and Security Agreement between Global Capital

    Partners, LLC and Green Sapphire is valid, that funds in the amount $10

    million were actually delivered by Global Capital Partners, LLC to Green

    Sapphire, that the filing of the Articles of Domestication was duly

    authorized and that the Stock Pledge Agreement which purports to grant

    a security interest in Green Sapphire’s interest, if any, in shares of the

    Florida corporation named Access Management S.A.S., Inc. was valid

    and enforceable, all of which Plaintiff denies.

    298.   The resolution of this issue is appropriate and would terminate,

    in whole or in part, the controversy giving rise to this proceeding.

       WHEREFORE, Plaintiff Green Sapphire prays for judgment in their

    favor and against Defendant for a declaration that there never was any

    $10 million loan made by Global Capital Partners to Green Sapphire, and

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    that the Articles of Domestication filed with the Florida Secretary of State

    were not authorized and are not valid and that any related Stock Pledge

    Agreement and related documents, including all UCC-1 financing

    statements are void ab initio, for injunctive relief, and any other such

    relief as this Court deems just and equitable.

                         Count XIX – Breach of Contract
                      Alpha Carta, Ltd. v. BNW Family Office

    299.   Plaintiff hereby adopts and incorporates the preceding

    paragraphs 1-174 as if fully restated herein.

    300.   Alpha Carta, Ltd. and BNW Family Office entered into a

    Professional Services Agreement with a term of January 1, 2023, through

    December 31, 2023, to “provide investment advisory and support

    services.” See Professional Services Agreement, a true and correct copy of

    which is attached hereto as Exhibit N.

    301.   The agreement is a valid contract.

    302.   BNW agreed to “exercise the highest degree of professionalism” in

    the exercise of projects assigned pursuant to the Professional Services

    Agreement. Id., ¶1.

    303.   BNW acted through Robert G. Brownell who, for all actions

    referenced in this count, was acting in the course and scope of his

    relationship with BNW.

    304.   The agreement provided that the “Contractor is not the agent of

    the Company and is not authorized to make any representation,

    contract, or commitment on behalf of the Company.” Id., ¶3.
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    305.    The agreement provides that BNW will not use any proprietary

    information, which includes financial information, investment and fund

    strategies, business plans, and suppliers and customers, among others,

    “in any manner or for any purpose not expressly set forth in this

    Agreement.”

    306.    The agreement provides that there is “no other existing contract

    or duty on Contractor’s part that would conflict with or would be

    inconsistent with this Agreement, unless a copy of such contract or a

    description of such duty is attached to this Agreement as Exhibit B.” Id.,

    ¶4.3.

    307.    The scope of BNW’s authorization, acting through Robert G.

    Brownell, to act as an independent contractor, did not extend to taking

    any action on behalf of Green Sapphire or taking any actions adverse to

    Alpha Carta, Ltd., which is the largest creditor of Green Sapphire.

    308.    Robert G. Brownell fraudulently held himself out a purported

    authorized signatory of Green Sapphire, executed an engagement

    agreement under a fictitious name by which Brownell and Mack hired

    French counsel to advise them on how to obtain an enforceable Stock

    Pledge Agreement and then enforce a security interest against Green

    Sapphire’s shares in Access Management.

    309.    This action was directly contrary to the interests of Alpha Carta,

    Ltd. and was outside the scope of BNW and Brownell’s authority under

    the above-referenced Professional Services Agreement.

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    310.   BNW’s actions by which it orchestrated Green Sapphire’s

    purported pledge of shares and the attempted domestication of Access

    Management SA as a Florida corporation, including arranging the

    fictitious Loan and Security Agreement that it directed Charles Mack to

    draft, and the fictitious Stock Pledge Agreement that it directed Charles

    Mack to draft for the purpose of creating the false impression that Green

    Sapphire had granted a security interest in its interest in shares of

    Access Management S.A.S., Inc. to Global Capital Partners, LLC and the

    mortgage in favor of BNW Family Office, LLC that Brownell recorded

    against the St. Barth’s Property, were an undisclosed conflict of interest

    as BNW the actions which purported to impair the value of Green

    Sapphire’s assets was contrary to the best interest of and Alpha Carta,

    Ltd., and was a slander of title to the St. Barth’s Property and resulted in

    BNW to obtain an interest in the St. Barth’s Property to the detriment of

    Alpha Carta, Ltd. as the largest creditor of Green Sapphire.

    311.   BNW’s actions, through Robert G. Brownell, regarding Proton

    Green and Cyber constitute a breach of the contract.

    312.   Brownell’s actions throughout this Complaint constituted a

    breach of the contract.

    313.   Throughout the course of performance of the contract, BNW acted

    contrary to the best interests of Alpha Carta, Ltd. in trying to devalue the

    property owned by Alpha Carta, Ltd. so that it could fraudulently acquire




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    or knowingly and substantially assist others in fraudulently acquiring

    property owned directly or indirectly by Alpha Carta, Ltd.

    314.   Throughout the contract, BNW engaged in an impermissible

    conflict by acting for its best interest and contrary to the best interests of

    Alpha Carta, Ltd.

    315.   Throughout the contract, BNW used proprietary information to

    unjustly enrich itself to the detriment of Alpha Carta, Ltd.

    316.   Throughout the contract, BNW failed to “exercise the highest

    degree of professionalism” in the exercise of projects assigned pursuant

    to the Professional Services Agreement by taking action directly contrary

    to the best interests of Alpha Carta, Ltd.

    317.   Alpha Carta, Ltd. performed its obligations under the contract to

    the extent not excused by the prior material breach by BNW.

    318.   With the intent to defraud Alpha Carta, BNW submitted fictitious

    or inflated invoices to Alpha Carta, Ltd. or to Terra Carta Partners, LLC

    in connection with the Professional Services Agreement.

    319.   Alpha Carta, Ltd. directly or indirectly paid BMW thousands of

    dollars on account of fictitious or inflated invoices that BNW submitted

    to Alpha Carta, Ltd. or Terra Partners, LLC.

    320.   Alpha Carta, Ltd. has been damaged by the breach, by paying

    fictitious or inflated invoices submitted by BNW and by incurring

    attorney fees needed to attempt to quiet title to the St. Barth’s Property

    and un-do the impairments to Alpha Carta, Ltd.’s assets, including but

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    not limited to its interests as the sole shareholder of Breakers and

    recover the amounts improperly paid by Alpha Carta, Ltd. or Terra Carta

    Partners, LLC to or for the benefit of BNW, by obligations unnecessarily

    incurred which would not have been incurred but for the actions of BNW,

    and as otherwise stated in this Complaint.

       WHEREFORE, Plaintiff Alpha Carta, Ltd., hereby prays for judgment

    in its favor and against Defendant BNW Family Office, LLC in an amount

    in excess of $75,000.00 (Seventy-Five Thousand Dollars), costs, interest,

    and any other such relief as this Court deems just and equitable.




   Dated: July 2, 2024               Respectfully submitted,

                                     /s/Thomas E. Patterson
                                     Thomas E. Patterson
                                     Garret von Schaumberg
                                     Patterson Law Firm, LLC
                                     200 W. Monroe St., Suite 2025
                                     Chicago, Illinois 60606
                                     Tel. 312-223-1699/Fax 312-223-8549
                                     tpatterson@pattersonlawfirm.com
                                     gvonschaumburg@pattersonlawfirm.com
                                     Attorney for Plaintiffs




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                                                                                                   EXHIBIT A

                                             PURCHASE AND SALE AGREEMENT

                   This Purchase and Sale Agreement (this "Agreement") is made and entered into as of
            May 1, 2023 (“Effective Date”), by and between Yorkville Investment I LLC ("Buyer") and
            Scott Armstrong and Barbara Guss (collectively, "Seller").

                                                             RECITALS

                    A.      Seller is the owner of a fifty-two and ninety-nine hundredths percent (52.99%)
            interest in 120 North Hale Street, Wheaton, Illinois (the "Property").

                    B.     Buyer is the owner of a forty-seven and one hundredth percent (47.01%) interest
            in the Property.

                     C.       Buyer is familiar with the assets and operation of the Property.

                   D.      Subject to the terms and conditions of this Agreement, Seller will sell, transfer
            and assign all right title and interest in and to the Property consisting of a fifty-two and ninety-
            nine hundredths percent (52.99%) interest (the "Sale Interests") to Buyer.

                     E.    Buyer is willing to accept the assignment from Seller of the Sale Interests, subject
            to the terms and conditions of this Agreement.

                                                            AGREEMENT

                    NOW, THEREFORE, in consideration of the foregoing and the mutual covenants and
            obligations contained herein, the sufficiency of which is acknowledged by the parties, Buyer and
            Seller agree as follows:

                    1.        Sale of the Sale Interests.

                    (a) Subject to the terms and conditions contained herein, Seller agrees to sell, transfer and
                        assign, and Buyer agrees to accept all right, title and interest of Seller in and to the
                        Sale Interests at the Closing (as defined below) for an amount equal to One Million
                        Two Hundred Fifty-Eight Thousand Three Hundred Forty-One and 00/100 Dollars
                        ($1,258,341.00) (the “Purchase Price”).

                    (b) Concurrently with the execution of this Agreement, Buyer shall pay to Seller an
                        amount equal to One Hundred Thousand and 00/100 Dollars ($100,000.00).

                    (c) On the Fifteenth (15th) of each calendar month thereafter until the payment in full,
                        Buyer shall pay to Seller an amount equal to the interest on the then outstanding
                        balance of the Purchase Price at the rate of Wall Street Journal Prime Rate plus one
                        percent, from time to time.

                    (d) On or before May 1, 2024, Buyer shall pay the balance of the Purchase Price and any
                        accrued and unpaid interest.




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                   (e) From time to time, Buyer may pay any amount towards the outstanding balance with
                       written notice to Seller.

                   (f) For the avoidance of doubt, Buyer is acquiring the issued and outstanding Sale
                       Interests subject to any outstanding liabilities encumbering the Property.

                    2.      Closing.

                    (a)      On May 1, 2023 (“Closing Date”), Seller shall transfer the Sale Interests free and
            clear of all liens, pledges, encumbrances, charges or claims of every kind or nature, to Buyer.

                   (b)    Seller shall deliver the Assignment, attached as Exhibit A, effective as of the
            Closing Date.

                   3.      Representations and Warranties of Seller. Seller hereby represents and warrants
            to Buyer as follows:

                            (a)    Ownership. Seller is the owner of the Sale Interests, beneficially and of
            record, free and clear of any liens and encumbrances. Upon delivery to Buyer of the assignment
            and payment therefore, Buyer shall acquire good and valid title to such interests free and clear of
            all liens and encumbrances.

                            (b)     Reliance on Own Advisors. Seller has relied completely on the advice of,
            or has consulted with, its own tax, investment, legal or other advisors and has not relied on the
            Buyer or any of its respective affiliates, officers, directors, attorneys, accountants or any
            affiliates of any thereof.

                           (c)     Capability to Evaluate. Seller has such knowledge and experience in
            financial and business matters so as to enable it to utilize the information made available to it in
            connection with this Agreement in order to evaluate the merits and risks of selling the interests,
            which are substantial.

                           (d)    Due Diligence. In making the decision to sell, Seller has received and had
            an opportunity to review the books and records, including financial statements and such other
            information as deemed necessary and has had full access to all the information Seller considers
            necessary or appropriate to make an informed decision to sell.

                           (e)    Investment Experience; Fend for Self. Seller is able to fend for himself in
            the transactions contemplated by this Agreement.

                           (f)     Legal Proceedings; Governmental Orders. There are no suits, actions,
            causes of action or legal proceedings (“Action”) pending or, to Seller’s knowledge, threatened
            (a) affecting Seller; or (b) that challenges or seeks to prevent, enjoin, or otherwise delay the
            transactions contemplated by this Agreement. No event has occurred or circumstances exist that
            may give rise to, or serve as a basis for, any such Action. There are no outstanding
            governmental orders and no unsatisfied judgments, penalties or awards against or affecting
            Seller.



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                            (g)     Taxes. Seller has duly and timely filed all tax returns and reports required
            to be filed by the Seller prior to the date of this Agreement.

                          (h)       Authority. Seller has full power and authority to execute, deliver and
            perform its obligations under this Agreement and each of the documents to be executed and
            delivered by it in connection herewith. Seller has duly executed and delivered this Agreement
            and each of the documents to be executed and delivered by it in connection herewith, and each
            constitutes the legal, valid and binding obligation of Seller, enforceable against Seller in
            accordance with its respective terms, except as enforceability may be limited by bankruptcy,
            similar laws relating to debtor relief and general principles of equity.

                            (i)     No Conflicts. The execution, delivery and performance of this Agreement
           and each of documents to be executed and delivered by Seller in connection herewith does not
           and will not: (a) conflict with or violate any applicable law or any order to which Seller is subject;
           or (b) result in the breach of, or constitute a default under, or give to others any rights of
           termination, amendment, acceleration or cancellation of, any contract to which Seller is a party.

                            (j)    Consents. No consent of, or declaration, registration or filing with, or
           notification to, any governmental authority or any other person is required in connection with the
           execution, delivery and performance of this Agreement and each of the documents to be executed
           and delivered by Seller in connection herewith, or the consummation of this Agreement.

                    4.       Representations and Warranties of Buyer. Buyer hereby represents and warrants
            to Seller as follows:

                            (a)     Reliance on Own Advisors. Buyer has relied completely on the advice of,
            or has consulted with, its own tax, investment, legal or other advisors and has not relied on the
            Seller or any of its respective affiliates, officers, directors, attorneys, accountants or any affiliates
            of any thereof.

                           (b)     Capability to Evaluate. Buyer has such knowledge and experience in
            financial and business matters so as to enable it to utilize the information made available to it in
            connection with this Agreement in order to evaluate the merits and risks of purchasing the
            interests, which are substantial.

                          (c)    Due Diligence. In making the decision to purchase, Buyer has received
            and had an opportunity to review and inspect the books and records, including financial
            statements and such other information as deemed necessary and has had full access to all the
            information Buyer considers necessary or appropriate to make an informed decision to purchase.

                           (d)    Investment Experience; Fend for Self. Buyer is able to fend for itself in
            the transactions contemplated by this Agreement.

                           (e)   Legal Proceedings; Governmental Orders. There is no Action pending or,
            to Buyer’s knowledge, threatened (a) affecting Buyer; or (b) that challenges or seeks to prevent,
            enjoin or otherwise delay the transactions contemplated by this Agreement. No event has
            occurred or circumstances exist that may give rise to, or serve as a basis for, any such Action.



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            There are no outstanding governmental orders and no unsatisfied judgments, penalties or awards
            against or affecting Buyer.

                            (f)    Taxes. Buyer has duly and timely filed all tax returns and reports required
            to be filed by the Buyer prior to the date of this Agreement.

                           (g)      Authority. Buyer has full power and authority to execute, deliver and
            perform its obligations under this Agreement and each of the documents to be executed and
            delivered by it in connection herewith. Buyer has duly executed and delivered this Agreement
            and each of the documents to be executed and delivered by it in connection herewith, and each
            constitutes the legal, valid and binding obligation of Buyer, enforceable against Buyer in
            accordance with its respective terms, except as enforceability may be limited by bankruptcy,
            similar laws relating to debtor relief and general principles of equity.

                            (h)      No Conflicts. The execution, delivery and performance of this Agreement
            and each of documents to be executed and delivered by Buyer in connection herewith does not
            and will not: (a) conflict with or violate any applicable law or any order to which Buyer is
            subject; or (b) result in the breach of, or constitute a default under, or give to others any rights of
            termination, amendment, acceleration or cancellation of, any contract to which Buyer is a party.

                            (i)    Consents. No consent of, or declaration, registration or filing with, or
            notification to, any governmental authority or any other person is required in connection with the
            execution, delivery and performance of this Agreement and each of the documents to be
            executed and delivered by Buyer in connection herewith, or the consummation of this
            Agreement.

                    5.      Disclaimer of Representations and Warranties.

                 "As is" Condition. BUYER HEREBY EXPRESSLY ACKNOWLEDGES AND
            AGREES THAT BUYER WILL HAVE AS OF CLOSING, THOROUGHLY INSPECTED AND
            EXAMINED THE BOOKS AND RECORDS, AND ANY OTHER MATERIALS,
            DOCUMENTS OR INVESTIGATIONS, AND THE PHYSICAL CONDITION OF THE
            PROPERTY TO THE EXTENT DEEMED NECESSARY BY BUYER, IN ORDER TO
            ENABLE BUYER TO EVALUATE THE PURCHASE OF THE SALE INTERESTS. BUYER
            FURTHER ACKNOWLEDGES AND AGREES THAT EXCEPT FOR THE
            REPRESENTATIONS AND WARRANTIES SET FORTH IN THIS AGREEMENT, BUYER IS
            RELYING SOLELY UPON THE INSPECTION, EXAMINATION AND EVALUATION
            PERFORMED BY BUYER, AND THAT BUYER IS PURCHASING, AND AT CLOSING
            WILL ACCEPT, THE SALE INTERESTS ON AN "AS IS", "WHERE IS" AND "WITH ALL
            FAULTS" BASIS, WITHOUT REPRESENTATIONS, WARRANTIES AND OR
            COVENANTS, EXPRESS OR IMPLIED OF ANY KIND OR NATURE, EXCEPT FOR THE
            REPRESENTATIONS AND WARRANTIES EXPRESSLY SET FORTH IN THIS
            AGREEMENT.

                    Seller hereby disclaims any and all representations and warranties, express or implied,
            except as expressly stated herein. Buyer shall accept, in full satisfaction of the obligations of
            Seller under this Agreement, the Assignment.



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                    6.      Indemnification.

                    (a)     Seller hereby covenants and agrees to indemnify, save, defend, hold harmless,
            discharge, and release the Buyer, and its successors and assigns from and against any and all
            payments, charges, judgments, assessments, liabilities, obligations, claims, demands, actions,
            losses, damages, penalties, interest or fines, and any and all costs and expenses paid or incurred,
            including attorney fees, costs, fees of experts and any legal or other expenses reasonably incurred
            in connection therewith (collectively, the “Liabilities”), arising from, based upon, related to or
            associated with and to the extent caused by (i) any breach of any representation or warranty of
            the Seller contained in this Agreement; (ii) any failure of Seller to perform or observe any term,
            condition or covenant contained in this Agreement; (iii) any liability related to or involving any
            indebtedness of Seller for the Property (iv) any liability related to or involving the Property
            arising, resulting or incurred from any event that occurred on or prior to the Closing Date; and
            (v) any and all tax liabilities with respect to the Property arising, resulting or incurred on or prior
            to the Closing Date.

                    (b)      Buyer hereby covenants and agrees to indemnify, save, defend, hold harmless,
            discharge, and release the Seller, and its successors and assigns from and against any and all
            Liabilities arising from, based upon, related to or associated with and to the extent caused by (i)
            any breach of any representation or warranty of the Buyer contained in this Agreement; (ii) any
            failure of the Buyer to perform or observe any term, condition or covenant contained in this
            Agreement; (iii) any liability related to or involving any indebtedness of the Buyer for the
            Property; (iv) any liability related to or involving the Property arising, resulting or incurred from
            any event that occurred after the Closing Date; and (v) any and all tax liabilities with respect to
            the Property arising, resulting or incurred after the Closing Date.

                    7.      Miscellaneous.

                   (a)     Without the prior written consent of the other party, no party to this Agreement
            may assign its rights or obligations under this Agreement. The terms and conditions of this
            Agreement shall inure to the benefit of, and be binding upon, the respective successors and
            permitted assigns of the parties hereto.

                    (b)     All notices, requests, demands or other communications hereunder shall be in
            writing and shall be deemed to have been duly given, if delivered in person or by certified mail,
            return receipt requested, postage prepaid to the addresses set forth below. Any party may from
            time to time, by written notice to the other party, designate a different address, which shall be
            substituted for the one specified below for such party. If any notice or other document is sent by
            certified mail, return receipt requested, postage prepaid, properly addressed as aforementioned,
            the same shall be deemed served or delivered three (3) business days after mailing thereof.

                            If to the Seller:        448 West Seminary, Wheaton, Illinois 60187

                            If to Buyer:     1007 N Orange Street, Wilmington, Delaware 19801

                    (c)   Any waiver of the provisions of this Agreement or of a party's rights or remedies
            under this Agreement must be in writing to be effective. Failure, neglect, or delay by a party to



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            enforce the provisions of this Agreement or its rights or remedies at any time, will not be
            construed as a waiver of such party's rights under this Agreement and will not in any way affect
            the validity of the whole or any part of this Agreement or prejudice such party's right to take
            subsequent action. No exercise or enforcement by either party of any right or remedy under this
            Agreement will preclude the enforcement by such party of any other right or remedy under this
            Agreement or that such party is entitled to enforce.

                    (d)    This Agreement contains the entire agreement of the parties with respect to the
            subject matter of this Agreement and supersedes all previous communications, representations,
            understandings, and agreements, either oral or written, between the parties with respect to said
            subject matter. This Agreement may not be amended, except by a writing signed by all parties.

                    (e)    This Agreement will be interpreted and construed in accordance with the laws of
            the State of Illinois, without regard to those principles (statutory or otherwise) pertaining to
            choice of law. The prevailing party in any such dispute shall be entitled to be awarded all court
            costs and expenses and reasonable attorneys' fees and expenses incurred in connection with such
            dispute. If no party prevails entirely, the presiding adjudicator shall award costs, expenses and
            reasonable attorneys' fees and expenses in accordance with the disposition of the matter.

                    (f)     For purposes of interpreting this Agreement, whenever the context requires, the
            singular number will include the plural, and vice versa; the masculine gender will include the
            feminine and neuter genders; the feminine gender will include the masculine and neuter genders;
            and the neuter gender will include the masculine and feminine genders. Any rule of construction
            to the effect that ambiguities are to be resolved against the drafting party will not be applied in
            the construction or interpretation of this Agreement. As used in this Agreement, the words
            "include" and "including" and variations thereof, will not be deemed to be terms of limitation,
            but rather will be deemed to be followed by the words "without limitation." Any reference
            herein to "the parties" means the entities that are parties to this Agreement; any reference to a
            "third party" means a person or an entity that is not a party to this Agreement.

                    (g)    This Agreement and any amendment hereof may be executed in counterparts and
            delivered by PDF, facsimile or other electronic media, each of which so executed will be deemed
            to be an original and such counterparts together will constitute one and the same agreement.

                   (h)     The preamble and recitals set forth at the beginning of this Agreement are hereby
            incorporated into the terms and conditions of this Agreement.

                    (i)      Each party shall do all such acts and shall execute and deliver to the other all such
            certificates, instruments, assignments and other documents and shall do and perform or cause to
            be done all matters and such other things necessary or expedient to be done as either party may
            reasonably request from time to time in order to give full effect to this Agreement.

                   (j)      The parties have participated jointly in the negotiation and drafting of this
            Agreement and, in the event an ambiguity or question of intent or interpretation arises, this
            Agreement shall be construed as jointly drafted by the parties, and no presumption or burden of
            proof shall arise favoring or disfavoring any party by virtue of the authorship of any provision of
            this Agreement.



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                   (k)     Each party shall pay all of its costs and expenses arising out of this transaction,
            including, without limitation, any transfer taxes, the cost of UCC searches and attorney fees

                    9.     Default. If Buyer (a) defaults by failing to pay when due any single installment or
            payment required to be made to Seller under the terms of this Agreement; or (b) defaults in the
            performance of any other covenant or agreement hereof and such default is not cured by Buyer
            within thirty (30) days after written notice to Buyer (unless the default involves a dangerous
            condition which shall be cured immediately), Seller may treat such a default as a breach of this
            Agreement and Seller shall have any one or more of the following remedies in addition to all
            other rights and remedies provided at law or in equity: (i) maintain an action for any unpaid
            installments; or (ii) declare the entire balance due and maintain an action for such amount.

                   Buyer shall pay all reasonable attorneys' fees and costs incurred by Seller in enforcing the
            terms and provisions of this Agreement.

                    All rights and remedies given to Seller shall be distinct, separate and cumulative, and the
            use of one or more thereof shall not exclude or waive any other right or remedy allowed by law,
            unless specifically waived in this Agreement.


                                           [ Signature Page Immediately Follows ]




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                  IN WITNESS WHEREOF, Seller and Buyer have duly executed this Purchase and Sale
            Agreement as of the date first above written.


                                                                 Buyer:
                                                                 Yorkville Investment I LLC


                                                                 Name: Ryan Cicoski
                                                                 Its; manager

                                                                 Seller:



                                                                 Name: Scott Armstrong




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                                                    Assignment of Interest


                                         [See Attached Page Immediately Following]




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                                              ASSIGNMENT OF INTEREST

                    Pursuant and subject to that certain Purchase and Sale Agreement (the "Agreement")
            dated as of ___________, 20___, by and between ______________________ (“Assignor”) and
            ______________________ (“Assignee”), Assignor hereby assigns to Assignee all of its right,
            title and interest in and to its ______ percent (____%) interest in 120 North Hale Street,
            Wheaton, Illinois (“Property”) ON AN "AS IS", "WHERE IS" AND "WITH ALL FAULTS"
            BASIS, WITHOUT REPRESENTATIONS, WARRANTIES AND OR COVENANTS,
            EXPRESS OR IMPLIED OF ANY KIND OR NATURE, EXCEPT FOR THE
            REPRESENTATIONS AND WARRANTIES EXPRESSLY SET FORTH IN THE
            AGREEMENT.

                   Assignor hereby disclaims any and all representations and warranties, express or implied,
            except as expressly stated in the Agreement.

            Dated as of _________________, 20___.

                                                                  __________________________________________
                                                                  __________________________


                                                     ACCEPTANCE
                   Assignee accepts all of the right, title and interest of the interest in the Property as
            assigned as of the date set forth below.

            Dated: as of ______________ ____, 20__

                                                                  __________________________________________
                                                                  __________________________




                                                             10
                                                                     EXHIBIT B
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                                EXHIBIT 1
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                                                                     EXHIBIT C
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                                  EXHIBIT 2
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Garrett Von Schaumburg

From:                             Christine Marte
Sent:                             Wednesday, November 29, 2023 1:37 PM
To:                               Susanessex21@gmail.com
Cc:                               Thomas Patterson; Garrett Von Schaumburg
Subject:                          Wolfe adv. Essex Case# 2022-LA-692 - November 27, 2023 Order
Attachments:                      2023.11.29 Proof of Service of 11-27 Order.pdf; 2023.11.27 Order.pdf



Good afternoon,

Please see attached Order entered on November 27, 2023, in the above referenced matter.
Thank you.

Sincerely,

Christine Marte
Paralegal




200 W. Monroe, Suite 2025
Chicago, Illinois 60606
Dir (312) 750-1816 • Tel (312) 223.1699 ext. 117 • Fax (312) 223.8549
email | website
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                                                                                             EXHIBIT E




                                  LOAN AND SECURJTY AGREEMENT
                                                         By and Between



                                  Green Sapphire Holdings Inc. , a Delaware corporation,
                                                   as Borrower and


                        Global Capital Partners LLC, a Delaware limited liability company,
                                                   as Lender,




                                    Dated:                  As of February 2, 2023

                                    Loan No.:               2023-1001




4873-%59-7070 v. I 074064/00002, 11 :55 AM, 02/02/2023
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                                                               LOAN TERMS

    Note Date:                                             As of February 2, 2023
    Borrower:                                              Green Sapphire Holdings Inc., a Delaware corporation
    Borrower Address:                                       l 007 Orange Street, Wilmington, Delaware 1980 I
    Original Principal Amount:                             $10,000,000.00 to be disbursed in two tranches: (i) First
                                                           Tranche on January 31, 2023 and (ii) Second Tranche as
                                                           soon as possible shortly thereafter
    Applicable Interest Rate :                             Ten Percent (10%) for 120 days
    Maturity Date:                                         June 2, 2023


                                                         FINANCIAL REPORTING

   Due                                                   Reporting
   Quarterly                                             Operating Statements
                                                         Balance Sheet

                                                              GUARANTOR

   Guarantor                                             The Petro Carta Trust dated October 27, 2014
                                                         BNW Family Office, LLC




4873-%59-7070 v. I 074064/00002, I 1:55 AM, 02/02i2023
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                               LOAN AND SECURITY AGREEMENT

                This Loan and Security Agreement (the "Agreement") is made as of February 2,
 2023 , by and among Green Sapphire Holdings Inc., a Delaware corporation, having an address at
 1007 Orange Street, Wilmington, Delaware 19801 ("Borrower"; Organization No. : 4267001), and
 Global Capital Partners LLC, a Delaware limited Iiability company, having an address at 16192
 Coastal Highway, Lewes, Delaware 19958.

                 In consideration of the mutual representations, warranties, covenants and
 agreements contained in this Agreement, the sufficiency of which is hereby acknowledged, the
 parties agree as follows :

                                      Article 1. - DEFINITIONS

                 Section 1.1     DEFINITIONS.

                 For all purposes of this Agreement, except as otherwise expressly required or unless
 the context clearly indicates a contrary intent:

                  "Affiliate" shall mean, as to any Person, any other Person that, directly or indirectly,
 is in control of, is controlled by or is under common control with such Person or is a director or
 officer of such Person or of an Affiliate of such Person. Control shall mean the power, directly or
 indirectly, to direct or cause the direction of the management or business of a Person by ownership,
 contract or otherwise.

                 "Applicable Laws" shall mean all existing and future federal, state and local laws,
 ordinances, governmental rules and regulations or court orders affecting or which may be
 interpreted to affect the Borrower.

                 "Bankruptcy Code" shall mean the United States Bankruptcy Code, 11 U.S.C. §IO I
et seq.,

                "Business Day" shall mean a day on which Lender is open for the conduct of
substantially all of its banking business at its office in the city in which the Note is payable
(excluding Saturdays and Sundays).

                "Casualty" shall mean damage or destruction by fire, earthquake, wind or other
casualty.

                "Collateral" shall have the meaning set forth in Article 3.

             "Debt" shall mean the outstanding principal amount set forth in, and evidenced by,
this Agreement and the Note together with all interest accrued and unpaid thereon and all other
sums due to Lender in respect of the Loan evidenced by the Note, this Agreement or any other
Loan Document.

            "Default" shall mean the occurrence of any event hereunder or under any other
Loan Document which, but for the giving of notice or passage of time, or both, would be an Event
of Default.

                "Default Rate" shall have the meaning set forth in the Note.
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                                   "Environmental Law" shall mean any present and future federal, state and local
                  laws, statutes, ordinances, rules, regulations and the like, as well as common law, relating to
                 protection of human health or the environment, relating to Hazardous Substances, relating to
                 liability for or costs of Remediation or prevention of Releases of Hazardous Substances or relating
                 to liability for or costs of other actual or threatened danger to human health or the environment;
                 including, but not limited to, the following statutes, as amended, any successor thereto, and any
                 regulations promulgated pursuant thereto, and any state or local statutes, ordinances, rules,
                 regulations and the like addressing similar issues: the Comprehensive Environmental Response,
                 Compensation and Liability Act; the Emergency Planning and Community Right-to-Know Act;
                 the Hazardous Substances Transportation Act; the Resource Conservation and Recovery Act
                 (including, without limitation, Subtitle I relating to underground storage tanks); the Solid Waste
                 Disposal Act; the Clean Water Act; the Clean Air Act; the Toxic Substances Control Act; the Safe
                 Drinking Water Act; the Occupational Safety and Health Act; the Federal Water Pollution Control
                 Act; the Federal Insecticide, Fungicide and Rodenticide Act; the Endangered Species Act; the
                 National Environmental Policy Act; the River and Harbors Appropriation Act and the Residential
                 Lead-Based Paint Hazard Reduction Act.

                              "Environmental Liens" shall mean any lien or encumbrance imposed pursuant to
                 any Environmental Law, whether due to the act or omission of Borrower or any other Person.

                                    "Event of Default" shall have the meaning set forth in Section 7 of this Agreement.

                                "Excluded Taxes" shall mean any of the following taxes imposed on or with respect
                 to the Lender or any other recipient of any payment to be made by or on account of any obligation
                 of the Borrower hereunder or any other Loan Document, or required to be withheld or deducted
                 from a payment to any such recipient, (a) income, net profits, or capital taxes imposed on or
                 measured by net income, and franchise taxes imposed by the jurisdiction (or any political
                 subdivision thereof) under the laws of which such recipient is organized or conducts business, in
                 which its principal office is located or in which its applicable lending office is located; and (b)
                 any branch profits taxes or any similar tax imposed by the jurisdiction where the Borrower is
                 located.

                             "French/St. Barthelemy Counsel to Lender" sha!J mean, Pierre Kirscher of SELAS
                St-BARTHLA W, the legal counsel of the Lender advising the Lender under French and St.
                Bartholomew laws.

                               "First Tranche" shall mean the first drawdown under this Loan in an amount of at
                least Three Million United States Dollars ($3,000,000).

                              "Fiscal Year" shall mean each twelve (12) month period commencing on January 1
                and ending on December 31 during the term of the Loan.
                               11
                               GAAP'' shall mean generally accepted accounting principles in the United States
                of America as of the date of the applicable financial report.

                               "Governmental Authority" shall mean any court, board, agency, department,
                commission, office or other authority of any nature whatsoever for any governmental unit (federal,
                state, county, municipal, city, town, special district or otherwise) whether now or hereafter in
                existence.


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               "Guarantor" shall mean The Petro Carta Trust dated October 27, 2014 and BNW
 Family Office LLC, a Delaware limited liability company.

               "Guaranty" shall mean that certain Guaranty of Payment to be issued by each of
 the Guarantors substantially in the form attached hereto as Exhibit B.

                "Hazardous Substance(s)" shall mean any and all substances (whether solid, liquid
 or gas) defined, listed, or otherwise classified as pollutants, hazardous wastes, hazardous
 substances, hazardous materials, extremely hazardous wastes, contaminant or toxic substance or
 words of similar meaning or regulatory effect under any present or future Environmental Laws or
 that may have a negative impact on human health or the environment, including, without
 limitation, petroleum and petroleum products, asbestos and asbestos-containing materials,
 polychlorinated biphenyls, lead, materials containing lead based paint, mold or fungus which may
 pose a risk to human health or the environment, radon, radioactive materials, flammables and
 explosives.

                 "Indemnified Persons" shall mean: (a) Lender; (b) any prior owner or holder of the
 Loan; (c) any subsequent owner or holder of the Loan; (d) any receiver or other fiduciary
 appointed in a foreclosure or other bankruptcy, insolvency, reorganization, conservatorship or
 other relief with respect to debts or similar proceeding; (e) any officers, directors, shareholders,
 partners, members, employees, agents, servants, representatives, contractors, subcontractors,
 affiliates or subsidiaries of any and all of the foregoing; and (f) the heirs, legal representatives,
 successors and assigns of any and all of the foregoing (including, without limitation, any
 successors by merger, consolidation or acquisition of all or a substantial portion of the Indemnified
 Person's assets and business), in all cases whether during the term of the Loan or as part of or
 following a foreclosure.

              "Indemnified Taxes" shall mean (a) Taxes other than Excluded Taxes; and (b) to
the extent not otherwise described in the foregoing Clause (a), Other Taxes. For clarity,
"Indemnified Taxes'' shall include without limitation any U.S. federal withholding Tax which is
imposed on amounts payable to or for the account of Lender under this Agreement or any other
Loan Document.

               "Internal Revenue Code" or "Code" shall mean the Internal Revenue Code of 1986,
26 U.S.C. §1 et seq., as amended, as it may be further amended from time to time, and any
successor statutes thereto, and applicable U.S. Department of Treasury regulations issued pursuant
thereto in temporary or final form.

               "Legal Opinion of French/St. Barthelemy Counsel" shall mean the legal opinion or
advice of French/St. Barthelemy counsel to the Lender confirming the validity of the Pledge and
the perfection of the first priority mortgage on the Properties.

              "Legal Opinion of U.S. Counsel" shall mean the legal opinion or advice of U.S.
Counsel to the Lender confirming the validity of this Agreement, the Note and the other Loan
Documents governed by Delaware law.

                "Legal Requirements" shall mean all obligations imposed by all statutes, laws,
rules, orders, regulations, ordinances, judgments, decrees and injunctions of Governmental
Authorities affecting the Borrower, whether now or hereafter enacted and in force, and all permits,
licenses, authorizations and regulations relating thereto.

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                         "Lien" shall mean any mortgage, deed of trust, lien, pledge, hypothecation,
          assignment, security interest, or any other encumbrance, charge or transfer of, on or affecting
          Borrower, the Collateral, any portion thereof or any interest therein, including, without limitation,
          any conditional sale or other title retention agreement, any financing lease having substantially the
          same economic effect as any of the foregoing, the filing of any financing statement, and
          mechanic's, materialmen's and other similar liens and encumbrances.

                          "Loan" shall mean the loan made by Lender to Borrower pursuant to this
          Agreement.

                        "Loan Amount" shall mean an amount equal to Ten Million and 00/00 Dollars
          ($10,000,000.00).

                         "Loan Documents" shall mean, collectively, this Agreement, the Note, the
          Guaranty, the Pledge and any and al I other documents, agreements and certificates executed and/or
          delivered in connection with the Loan, as the same may be amended, restated, replaced,
          supplemented or otherwise modified from time to time.

                         "Loan to Value Ratio" shall mean the ratio, expressed as a percentage of (i) the
          actual outstanding aggregate amount of the Loan at the time of calculation to (ii) the appraised
          value of the Property based upon an updated appraisal at the time of calculation.

                         "Losses" shall mean any and all claims, suits, liabilities (including, without
         limitation, strict liabilities), actions, proceedings, obligations, debts, damages, losses, costs,
         expenses, fines, penalties, charges, fees, judgments, awards, amounts paid in settlement of
         whatever kind or nature (including but not limited to legal fees and other costs of defense).

                        "Material Adverse Effect" shall mean any event or condition, alone or when taken
         with other events or conditions or conditions existing or occurring concurrently with such event
         or condition has or is reasonably expected to have a detrimental effect on:

                          (a)     the business, operations, conditions (financial or otherwise), assets,
         liabilities, prospects or properties of Borrower;

                         (b)    the validity or enforceability of this Agreement or any other Loan
         Document;

                         (c)   the ability of Borrower to pay or perform the obligations;

                         (d)   the Collateral, the liens of Lender in and to the Collateral or the priority of
         Lender's liens, or

                        (e)    the ability of Lender to enforce its rights and remedies under this
         Agreement.

                        "Maturity Date" shall mean June 2, 2023.

                         "Note" shall mean that certain promissory note of even date herewith in the
         principal amount of Ten Million and 00/00 Dollars ($10,000,000.00), made by Borrower in favor
         of Lender, as the same may be amended, restated, replaced, supplemented or otherwise modified
         from time to time, substantially in the form attached hereto as Exhibit A.

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                 "Obligations" shall mean:

                   (a)     payment of the indebtedness from Borrower to Lender and all other
  liabilities and obligations of every kind or nature whatsoever of Borrower to Lender;

                 (b)     the payment of all amounts advanced by Lender to preserve and protect the
  Collateral and defend its rights in the Collateral; and

                 (c)     observance and performance of all of Borrower's other obligations to
  perform acts or refrain from taking any action under this Agreement, the Note and the other Loan
  Documents.

               "Organizational Documents" shall mean the charter, articles of incorporation and
 bylaws and any other agreements affecting the rights, limitations, preferences or obligations of an
 owner with respect to the entity.

                "Other Taxes" shall mean any and all present or future stamp, recording, filing,
 documentary or similar taxes or any other excise or property taxes, charges or similar levies arising
 from any payment made hereunder or under any other Loan Document or from the execution,
 delivery or enforcement of, or performance under or otherwise with respect to, this Agreement or
 any other Loan Document.

                "Permitted Liens" shall mean collectively:

                (a)     the Lien and security interests created by the Loan Documents;

                (b)     Liens, if any, for Taxes imposed by any Governmental Authority not yet
 due or delinquent.

                "Person" shall mean any individual, corporation, partnership, joint venture, limited
 liability company, estate, trust, unincorporated association, any federal, state, county or municipal
 government or any bureau, department or agency thereof and any fiduciary acting in such capacity
 on behalf of any of the foregoing.

                "Pledge" shall mean that certain Pledge Agreement between the Borrower and the
 Lender providing for a pledge of the Pledged Interests under French Law, substantially in the form
 attached hereto as Exhibit C.

                "Pledged Interests" shall mean the shares of stock of Access Management, SAS.

               "Property" or "Properties" shall mean two real estate properties owned by Access
Management, SAS, in the island of St. Barthelemy, the Caribbean, including one villa and land in
Plot AE 314 in Colombier and the land parcel in Plot Al 220 in Saint-Jean, identified in more detail
in Exhibit D.

               "Release" of any Hazardous Substance shall mean any release, deposit, discharge,
emission, leaking, spilling, seeping, migrating, injecting, pumping, pouring, emptying, escaping,
dumping, disposing or other movement of Hazardous Substances.




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                                 "Remediation" shall mean:

                                (a)    any response, remedial, removal, or corrective action, any activity to
                 cleanup, detoxify, decontaminate, contain or otherwise remediate any Hazardous Substance;

                                 (b)     any actions to prevent, cure or mitigate any Release of any Hazardous
                 Substance;

                               (c)      any action to comply with any Environmental Laws or with any permits
                 issued pursuant thereto; or

                              (d)     any inspection, investigation, study, monitoring, assessment, audit,
                 sampling and testing, laboratory or other analysis, or evaluation relating to any Hazardous
                 Substances.

                                 "Scheduled Payment Date" shall have the meaning set forth in the Note.

                               "Second Tranche" shall mean the second and final drawdown under this Loan in an
                 amount of at up to Seven Million United States Dollars ($7,000,000).

                              "Subsidiary" shall mean Access Management SAS, an entity wholly owned by
                 Borrower and organized under French law.

                               "Taxes" shall mean any and all present or future income, stamp, property, and/or
                other taxes, levies, imposts, duties, deductions, charges, fees or withholdings imposed, levied,
                withheld or assessed by any Governmental Authority, together with any interest, additions to tax
                or penalties imposed thereon and with respect thereto.

                                "Transfer" shall mean any direct or indirect sale, conveyance, mortgaging, grant,
                alienation, encumbrance, pledge, assignment or other transfer of the shares of stock, membership
                or limited liability company interests, or partnership interests of Borrower or any part thereof, or
                interest therein, or agreement to do any of the foregoing, whether voluntary or involuntary, and
                shall be deemed to include:

                                (a)    an installment sales agreement wherein Borrower agrees to sell for a price
                to be paid in installments;

                                (b)    if Borrower or any general partner or managing member (or if no managing
                member, any member or non-member manager) of Borrower is a corporation, any merger or
                consolidation, the voluntary or involuntary sale, conveyance, transfer or pledge of such
                corporation's stock (or the stock of any corporation directly or indirectly controlling such
                corporation by operation of law or otherwise) or the creation or issuance of new stock such that,
                in any such event, an aggregate of more than forty-nine percent (49%) of such corporation's stock
                shall be transferred, whether in one or a series of transactions;

                                (c)     if Borrower or any general partner or managing member (or if no managing
                member, any member or non-member manager) of Borrower is a limited or general partnership or
                joint venture, any merger or consolidation, the change, removal, resignation or addition of a
                general partner or joint venturer or the transfer or pledge of the partnership interest of any general
                partner or joint venturer or any profits or proceeds relating to such partnership or joint venture
                interest;
                                                                  6




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                  (d)    if Borrower or any general partner or managing member of Borrower is a
 limited liability company with a managing member, any merger or consolidation, the change,
 removal, resignation or addition of a managing member or the transfer of the membership interest
 of a managing member or any profits or proceeds relating to such managing membership interest
 or the transfer, change, removal, resignation or addition of any member such that an aggregate of
 more than forty-nine percent (49%) of the membership interests in such limited liability company
 shall be transferred, whether in one or a series of transactions; and

                  (e)   if Borrower or any general partner or managing member of Borrower is a
 limited liability company without a managing member, any merger or consolidation, the change,
 removal, resignation or addition of any non-member manager whatsoever, or the transfer, change,
 removal, resignation or addition of any member such that an aggregate of more than forty-nine
 percent (49%) of the membership interests in such limited liability company shall be transferred,
 whether in one or a series of transactions.

                  "UCC" or "Uniform Commercial Code" shall mean the Uniform Commercial Code
 as in effect in the State of Delaware.

                "U.S. Counsel to Lender" shall mean, Nelson Mullins, legal counsel to the Lender
 advising the Lender on Delaware law aspects of the Loan Documents governed by Delaware law.

                                   Article 2. - LOAN TERMS

                Section 2.1    AGREEMENT TO BORROW AND LEND.

                 (a)    Borrower agrees to borrow from Lender and Lender agrees to lend to
 Borrower an amount equal to the Loan Amount in two tranches, the First Tranche to occur on
 January 31, 2023 and the Second Tranche to occur as soon as possible shortly thereafter, on the
 terms of and subject to the conditions of the Loan Documents including, without limitation Lender
 receiving the Legal Opinion of French/St. Barthelemy Counsel and the Legal Opinion of U.S.
 Counsel.

               (b)     The Loan Amount shall be used by Borrower for refinancing maturing debt
of the Borrower, general working capital and financing expenses.

               Section 2.2    PAYMENTS, MATURITY.

              (a)    Payments, Generally. Payments of principal and interest shall be due and
payable by Borrower to Lender as provided in the Note. The outstanding principal balance and all
accrued and unpaid interest and any other amounts due under the Loan Documents shall be due
and payable on the Maturity Date, if not sooner paid.

                 (b)     Prepayments. During the term, the Loan may be repaid or prepaid, in whole
but not in part, at any time and from time to time in strict accordance with the terms of the Note.

               Section 2.3    INTEREST RATE.

                (a)    Interest Rate. The Loan shall bear interest at a rate of Ten Percent (10%)
for One Hundred and Twenty (120) days as set forth in the Note. [nterest shall be calculated on
the basis of a 360-day year for the actual days elapsed.


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                  (b)    Default Rate. In the event that, and for so long as, any Event of Default
 shall have occurred, and to the extent permitted by law, all accrued and unpaid interest, the
 outstanding principal balance and any other amounts due under the Loan Documents shall accrue
 interest at the Default Rate, calculated from the date such payment was due without any grace or
 cure periods contained herein.

                (c)      Late Payment. If Borrower fails to pay any installment of interest or
 principal within five (5) days from the date when due, Borrower shall pay a late charge as provided
 in the Note.

                  Section 2.4    USURY LA ws. It is the intention of Borrower and Lender to conform
 strictly to usury and similar laws relating to interest which may from time to time be in force, and
 all agreements between Lender and Borrower, whether now existing or hereafter arising and
 whether oral or written, are hereby expressly limited so that in no contingency or event whatsoever,
 whether by acceleration of maturity hereof or otherwise, shall the amount paid or agreed to be paid
 in the aggregate to Lender as interest under the Loan Documents, or in any other document
 evidencing, securing or pertaining to the Debt, exceed the maximum permissible amount under
 applicable usury or such other laws (the "Maximum Amount"). If from any possible construction
 of any document, interest would otherwise be payable under any Loan Document in excess of the
 Maximum Amount, or in the event for any reason whatsoever any payment by or act of Borrower
 pursuant to the terms or requirements of any Loan Document shall result in the payment of interest
 which would exceed the Maximum Amount, then any such construction shall be subject to the
 provisions of this Section, and ipso facto such document shall be automatically reformed, without
the necessity of the execution of any amendment or new document, so that the obligation of
Borrower to pay interest or perform such act or requirement shall be reduced to the limit authorized
 under Applicable Laws, and in no event shall Borrower be obligated to pay any interest, perform
any act, or be bound by any requirement which would result in the payment of interest in excess
of the Maximum Amount. Any amount received by Lender in excess of the Maximum Amount
shall, without further agreement or notice between or by any party hereto, be deemed applied to
reduce the principal amount of the Note immediately upon receipt of such moneys by Lender, with
the same force and effect as though Borrower had specifically designated such sums to be applied
to principal prepayment. The provisions of this Section shall supersede any inconsistent provision
of this Agreement or any other Loan Document.

                                Article 3. - SECURITY INTEREST

          Section 3.1     GRANT OF SECURITY INTEREST. As security for (i) all indebtedness,
 obligations and liabilities of Borrower to Lender arising under, or in connection with, the Loan
 and the Loan Agreement, whether now existing or hereafter arising; (ii) all obligations and
 liabilities of Borrower to Lender arising under or in connection with this Agreement, whether now
existing or hereafter arising; (iii) any and all sums paid by Lender in order to preserve the Collateral
or its security interest therein; (iv) in the event of any proceeding for the collection or enforcement
of any indebtedness, obligations or liabilities of Borrower referred to in clause (i), the expenses of
retaking, holding, collection, preparing for sale, selling or otherwise disposing of or realizing on
the Collateral, or of any exercise by Lender of its rights or remedies under this Agreement, together
with attorneys' fees and expenses and court costs; and (v) all indemnity obligations of Borrower
to Lender pursuant to this Agreement (collectively the "Obligations"), Borrower grants Lender a
continuing first-priority security interest in, lien on and right of set-off against, and assigns to
Lender as security, all of Borrower's right, title and interest in, to and under the following property


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  and interests in property, whether now owned or hereafter acquired or existing and wherever
  located, (collectively, the "Collateral"):

          (a)     all of Borrower's right, title and interest in and to the Pledged Interests, and the
  certificates representing the Pledged Interests;

         (b)     any and all rights and remedies of Borrower under the Organizational Documents,
 including the right to enforce any and all representations, warranties, covenants, obligations,
 agreements and indemnities of any party thereto made to or for the benefit of, or that otherwise
 inure to the benefit of, Borrower;

        (c)    All books and records (including credit files, computer programs, printouts and
other computer materials and records) of Borrower pertaining to any of the foregoing; and

         (d)    Borrower's right, title and interest in and to the profits and losses of Borrower and
Borrower's right as a shareholder of Subsidiary to receive dividends or distributions of Subsidiary's
assets, upon complete or partial liquidation or otherwise.

         Section 3.2    DELIVERY OF CERTIFICATES, INSTRUMENTS; FINANCING STATEMENT.

         (a)     Concurrently with this Agreement, Borrower shall deliver to Lender all original
 certificates, instruments and other documents evidencing or representing the Collateral
 accompanied by duly executed instruments of transfer in blank.

         (b)     Borrower authorizes Lender to file any financing statement or financing statement
 amendment required by Lender to establish or maintain the validity, perfection and priority of the
 security interest granted herein.

          (c)   From time to time, Lender may, but is not required to, perform any agreement or
 obligation of Borrower hereunder which Borrower shall fail to perform and take any action Lender
 deems necessary for the maintenance and preservation of any of its Collateral or its security
 interest.

        Section 3.3       RELEASE OF SECURITY INTEREST At such time as (a) the Loan has been
paid in full, (b) all the Obligations have been satisfied, and (c) the Loan Agreement shall have been
terminated, Lender shall take all steps necessary to release the security interest in the Co!Iateral
granted hereunder, free and clear of any lien created hereunder in favor of Lender. Upon such
termination, at the cost and expense of Borrower, Lender shall execute a satisfaction of this
Agreement and such instruments, documents or agreements as are necessary or desirable to
terminate, discharge and remove of record any documents constituting public notice of this
Agreement and the security interests and assignment granted hereunder and shall deliver or cause
to be delivered to Borrower the certificate(s) representing the Pledged Interests.

         Section 3.4     BORROWER REMAINS LIABLE.                  Anything herein to the contrary
notwithstanding, (a) Borrower shall remain liable under Organizational Documents to the extent
set forth therein to perform all of its respective duties and obligations thereunder to the same extent
as if this Agreement had not been executed; (b) the exercise by Lender of any of the rights
hereunder shall not release any Borrower from any of its duties or obligations under the
Organizational Documents; and (c) Lender shall not have any obligation or liability under the
Organizational Documents by reason of this Agreement, nor shall Lender be obligated to perform
any of the obligations or duties of Borrower thereunder or to take any action to collect or enforce
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  any claim for payment assigned hereunder; provided that Lender and any other transferee of the
  Collateral shall take the same subject to the Organizational Documents.

         Section 3.5       ADDITIONAL COLLATERAL As additional collateral for the payment of any
 and all indebtedness and obligations of Borrower, Borrower shall cause Subsidiary to mortgage,
 grant, bargain, pledge, assign, warrant, transfer and convey to Lender, and grant a security interest
 to Lender in all right, title and interest of Subsidiary in and to the Property. Within thirty (30) days
 of the date of this Agreement, Borrower shall have such first lien mortgage properly recorded or
 registered in the records of St. Barthelemy and provide a copy of such recorded or mortgage and
 any attestations or affirmations as may be reasonably required by Lender affirming the first lien
 position of the mortgage on the Property and due and proper execution of all related documents.

          Article 4. - REPRESENTATIONS AND WARRANTIES OF BORROWER

               To induce Lender to make the Loan and to enter into this Agreement, Borrower
 hereby represents and warrants to Lender:

                 Section 4.1    LEGAL STATUS AND AUTHORITY.           Borrower:

                  (a)    is duly organized, validly existing and in good standing under the laws of
 its state of organization or incorporation;

                 (b)    is duly qualified to transact business and is in good standing in each
 jurisdiction in which the character of the properties owned or leased by Borrower or the nature of
 its business makes such qualification necessary;

                (c)     has all necessary approvals, governmental and othei-wise, and full power
 and authority to carry on its business as now conducted and proposed to be conducted; and

                 (d)    has full power, authority and legal right to execute the Loan Documents,
 and to grant, bargain, sell, pledge, assign, warrant, transfer and convey the Collateral pursuant to
 the terms hereof and to keep and observe all of the terms of the Loan Documents on Borrower's
 part to be performed.

                Section 4.2     STATUS OF BORROWER.

                (a)    Borrower's exact legal name and organizational identification number, if
any, assigned by the state of incorporation or organization is correctly set forth on the first page of
this Agreement, other Loan Documents and on any UCC-1 Financing Statements filed in
connection with the Loan. Borrower is an organization of the type specified and is incorporated
in or organized under the laws of the state specified on the first page of this Agreement. Borrower's
principal place of business and the place where Borrower keeps its books and records, has been
for the preceding four months (or, if less, the entire period of the existence of Borrower) is the
address of Borrower set forth on the first page of this Agreement.

               (b)     Borrower is not directly engaged in any joint venture or partnership with
any other Person.




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                 Section 4.3     VALIDITY OF DOCUMENTS.

                  (a)     The execution, delivery and performance of the Loan Documents and the
 borrowing evidenced by the Note: (i) are within the power of Borrower; (ii) have been authorized
 by all requisite action; (iii) have received all necessary approvals and consents, corporate,
 governmental or otherwise; (iv) will not violate, conflict with, result in a breach of or constitute
 (with notice or lapse of time, or both) a default under any provision of law, any order or judgment
 of any court or governmental authority, or any indenture, agreement or other instrument to which
 Borrower is a party or by which it or any of its assets is or may be bound or affected; (v) will not
 result in the creation or imposition of any lien, charge or encumbrance whatsoever upon any of its
 assets, except the lien and security interest created hereby; and (vi) will not require any
 authorization or license from, or any filing with, any Governmental Authority or other body
 (except for Uniform Commercial Code filings relating to the security interest created hereby).

                  (b)   The Loan Documents constitute the legal, valid and binding obligations of
 Borrower, enforceable against Borrower in accordance with their respective terms, except as may
 be limited by: (i) bankruptcy, insolvency or other similar laws affecting the rights of creditors
 generally; and (ii) general principles of equity (regardless of whether considered in a proceeding
 in equity or at law).

                Section 4.4      LITIGATION. There is no material action, suit or proceeding,
 judicial, administrative or otherwise (including any condemnation or similar proceeding), pending
 or, to the best of Borrower's knowledge, threatened or contemplated against, or affecting,
 Borrower, Borrower's business or any Guarantor, except Other than that certain litigation regarding
 Indigo Ridge Development Partners LLC and initiated by the filing by Sagita 1601, LLC on
 August 28, 2019 of an Original Petition in the 368th District Court of Williamson County, Texas,
 in Cause No. 19-131 0-C368 (the "Indigo Ridge Litigation").

                Section 4.5     FINANCIAL CONDITION.      Borrower:

               (a)     is solvent, and no bankruptcy, reorganization, insolvency or similar
 proceeding under any state or federal law with respect to Borrower has been initiated or threatened;
 and

                (b)     has received reasonably equivalent value for the granting of the Loan.

               Section 4.6   BUSINESS PURPOSES. The proceeds of the Loan will be used by
Borrower solely for business purposes and not for personal, family, household or agricultural
purposes. No part of the proceeds of the Loan will be used for the purpose of purchasing or
acquiring any "margin stock" within the meaning of Regulation U of the Board of Governors of
the Federal Reserve System or for any other purpose which would be inconsistent with such
Regulation U or any other Regulations of such Board of Governors, or for any purposes prohibited
by Legal Requirements or by the terms and conditions of the Loan Documents.

               Section 4. 7   TAXES. Borrower and any Guarantor have filed all federal, state,
county, municipal, and city income and other Tax returns required to have been filed by them and
have paid al1 Taxes and related liabilities which have become due pursuant to such returns or
pursuant to any assessments received by them. Neither Borrower nor any Guarantor knows of any
basis for any additional assessment in respect of any such Taxes and related liabilities for prior
years.

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                 Section 4.8     TITLE TO PROPERTIES.

                 (a)     Borrower has good and marketable title to its properties and assets,
 including the Collateral, and the properties and assets reflected in the financial statements are not
 subject to any Liens other than the Permitted Liens. Borrower has not agreed or consented to cause
 any of its properties or assets (whether now owned or in the future acquired) to be subject to any
 Liens other than the Permitted Liens.

                (b)     Borrower is the sole owner of all of the Collateral, beneficially and of
 record, free and clear of any liens other than the liens created hereunder. The Collateral is not
 subject to any option to purchase or similar rights of any kind or any voting trust, lock-up
 agreement or similar arrangement.

                 (c)    Borrower shall defend its title to the Collateral against all claims of all
 persons.

                  Section 4.9     COMPLIANCE WITH LA w. Borrower is not in violation of any Legal
 Requirements which could have a Material Adverse Effect on Borrower. Borrower has obtained
 all licenses, permits, franchises and other governmental authorization necessary for the ownership
 of its properties and assets, including the Collateral, and the conduct of its business.

                 Section 4.10 PERFECTION.. Upon (a) the execution and delivery of this
 Agreement, (b) the delivery of the certificates evidencing the Borrower's interests in the
 Subsidiary, and (c) the filing of a UCC-1 financing statement against Borrower and naming Lender
 as the secured party in the office of the Secretary of State of the Borrower's state of incorporation
 or organization, Lender will have a valid, perfected, continuing, first-priority security interest in
 the Collateral.

                Section 4.11 INTELLECTUAL PROPERTY. All patents, trademarks, service marks,
 copyrights, design rights, tradenames, assumed names, trade secrets and licenses owned or utilized
 by Borrower are valid and have been duly filed with all appropriate Governmental Authorities and
 Borrower is not aware of any objection or challenge to their validity.

               Section 4.12 ENVIRONMENTAL             REPRESENTATIONS         AND     WARRANTIES.
 Borrower represents and warrants, that:

               (a)    there is no past or present non-compliance with Environmental Laws, or
with permits issued pursuant thereto; and

              (b)    Borrower does not know of, and has not received, any written or oral notice
or other communication from any Person relating to Hazardous Substances or Remediation
thereof, of possible liability of any Person pursuant to any Environmental Law, other
environmental conditions, or any actual or potential administrative or judicial proceedings in
connection with any of the foregoing.

                Section 4.13 No CHANGE IN FACTS OR CIRCUMSTANCES. All information in the
application for the Loan submitted to Lender and in all financial statements, reports, certificates
and other documents submitted in connection with the loan application or in satisfaction of the
terms thereof, are accurate, complete and correct in all material respects. There has been no
adverse change in any condition, fact, circumstance or event that would make any such information
inaccurate, incomplete or otherwise materially misleading.
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                Section 4.14 DISCLOSURE. Borrower has disclosed to Lender all material facts
 and has not failed to disclose any material fact that could cause any representation or warranty
 made herein to be materially misleading or have a Material Adverse Effect on Borrower or
 Borrower's business.

                Section 4.15    LEGAL STATUS OF SUBSIDIARY. Subsidiary:

                  (a)    is duly organized, validly existing and in good standing under the laws of
 its jurisdiction of organization or incorporation;

                 (b)     is duly qualified to transact business and is in good standing in each
 jurisdiction in which the character of the properties owned or leased by Borrower or the nature of
 its business makes such qualification necessary; and

                 (c)    has all necessary approvals, governmental and otherwise, and full power
 and authority to carry on its business as now conducted and proposed to be conducted

                Section 4.16    SUBSIDIARY ASSETS

                 (a)    Subsidiary has good and marketable title to its Property and assets and are
 not subject to any Liens other than the Permitted Liens. Subsidiary has not agreed or consented to
 cause any of its Property or assets (whether now owned or in the future acquired) to be subject to
 any Liens other than the Permitted Liens.

                 (b)     Subsidiary is the sole owner of all of the Property, beneficially and of
 record, free and clear of any liens other than the liens created hereunder.

                Section 4.17 THIRD PARTY REPRESENTATIONS. Each of the representations and
the warranties made by each Guarantor herein or in any of the other Loan Documents is true and
correct in all material respects.

Borrower recognizes and acknowledges that in accepting the Loan Documents, Lender is expressly
and primarily relying on the truth and accuracy of the warranties and representations set forth in
this Article 4 without any obligation to investigate and notwithstanding any investigation by
Lender; that such reliance existed on the part of Lender prior to the date hereof; that the warranties
and representations are a material inducement to Lender in accepting the Loan Documents; and
that Lender would not be willing to make the Loan in the absence of the warranties and
representations as set forth in this Article 4.

                             Article 5. - BORROWER COVENANTS

               Section 5.1     MAINTENANCE OF COLLATERAL.

               (a)     Borrower shall not create, permit or suffer to exist, and will defend the
Collateral against and take such other action as is necessary to remove, any lien on the Collateral.

                (b)   Borrower shall safeguard and protect all Collateral and shall not allow any
material default for which it is responsible to occur under any Collateral, and shall fully perform
or cause to be performed when due all of its respective obligations under the Collateral



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                (c)     Borrower shall not permit the merger or consolidation of the Subsidiary or
 the issuance of additional shares, options, warrants or convertible obligations or notes with respect
 to the Subsidiary.

                 (d)     Borrower shall not, without the written consent of Lender, which consent
 shall be granted or withheld in Lender's sole discretion sell, assign, pledge, grant any lien on,
 transfer, dispose of or otherwise encumber the Collateral or any part thereof, including, without
 limitation, entering into any lock-up, voting trust or any other arrangement with respect to the
 Collateral that adversely affects the interests of the Lender, as determined by the Lender in
 Lender's sole discretion.

                 (e)     Borrower shall not, without the written consent of Lender, which consent
 shall be granted or withheld in Lender's sole discretion cause the Subsidiary to (I) sell, lease assign,
 pledge, grant any lien on, transfer, dispose of or otherwise encumber the Property owned by the
 Subsidiary or any part thereof, (II) alter, amend or otherwise change the zoning, classification or
 designation for use of the Property owned by the Subsidiary or any part thereof or (III) develop or
 construct any structure on the Property owned by the Subsidiary or any part thereof.

                 (f)      Borrower shall obtain (at its sole cost) updated appraisal reports for each of
 the Properties from an independent third-party appraisal firm in St. Barthelemy, including a
 reliance letter authorizing the Lender to rely on such appraisal reports, and deliver such reports
 and reliance letters to the Borrower as soon as possible after the First Tranche but in no event later
 than forty-five (45) days thereafter. If the Loan to Value Ratio is below forty percent (40%), the
 Borrower shal1 be required to give additional co11ateral to secure the Loan in the form acceptable
 to the Lender in its sole discretion.

                 Section 5.2   RIGHTS OF BORROWER. Unless an Event of Default either (i) has
 occurred or (ii) as a result of the exercise or taking of any action or after giving effect to a
 distribution will occur, Borrower shall be entitled to (a) exercise any and all voting and other
consensual rights pertaining to the Collateral or any part thereof for any purpose not inconsistent
with the terms of this Agreement, provided that Borrower shal1 not exercise or refrain from
exercising any such right if such action would have a Material Adverse Effect on the value of the
Collateral or the benefits of this Agreement and (b) receive and use, free and clear of any lien
created hereby or any security interest granted by Borrower to Lender hereunder, for any purpose
any distributions actually made, and any allocations actually made, with respect to the Collateral
(whether as a distribution of net cash flow or otherwise), provided that distributions payable other
than in cash shall be delivered to Lender and shall be additional security for the Loan.

                Section 5.3    BUSINESS CONDUCTED. Borrower shall and shal1 cause Subsidiary
to continue in the business currently conducted by it using its best efforts to maintain its customers
and goodwill. Borrower shall and shall cause Subsidiary to not, directly or indirectly, engage in
any line of business substantially different from the line of business conducted by Borrower or
Subsidiary as of the date of this Agreement. Borrower shall cause Subsidiary to change its
domicile to Florida, United States of America prior to granting the mortgages on the Properties in
a manner reasonable satisfactory to French/St. Barthelemy Counsel to Lender and U.S. Counsel to
Lender.

               Section 5.4     PAYMENT OF TAXES, ETC.



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                 (a)    Borrower shall promptly pay all Taxes when due and furnish to Lender upon
 request receipted bills of the appropriate taxing authority or other documentation reasonably
 satisfactory to Lender evidencing the payment thereof. Borrower shall not suffer and shall
 promptly cause to be paid and discharged any lien or charge whatsoever which may be or become
 a lien or charge against the Collateral.

                 (b)   After prior written notice to Lender, Borrower, at its own expense, may
 contest by appropriate legal proceeding, promptly initiated and conducted in good faith and with
 due diligence, the amount or validity or application in whole or in part of any of the Taxes or any
 claims or judgments of mechanics, material men, suppliers or vendors or any Iien therefor, provided
 that:

                        (i)     no Event of Default has occurred and is continuing hereunder or
                                under any of the other Loan Documents;

                       (ii)     Borrower is not prohibited from doing so under the provisions of
                                any other agreement affecting Borrower;

                       (iii)    such proceeding shall suspend the collection of the disputed amount
                                from Borrower (and Borrower shall furnish such security as may be
                                required in the proceeding for such purpose), or Borrower shall have
                                bonded over or paid all of the disputed amount under protest;

                       (iv)    the Collateral will not be in danger of being sold, forfeited,
                               terminated, canceled or lost; and

                       (v)     Borrower shall have deposited with Lender adequate reserves for the
                               payment of the disputed amount, together with all interest and
                               penalties thereon, unless Borrower has bonded over or paid all of
                               the disputed amount under protest.

              Section 5.5     PAYMENT OF LEASEHOLD OBLIGATIONS. Borrower shall at all
times pay when due, its rental obligations under all leases which it is a tenant or lessee and shall
comply in all material respects with all other terms of any lease and keep them in full force and
effect.

                Section 5.6    COMPLIANCE WITH LAWS.              Borrower shall and shall cause
Subsidiary to promptly comply with all Legal Requirements. Borrower shall give prompt notice
to Lender of the receipt by Borrower of any notice related to a violation of any Legal Requirements
and of the commencement of any proceedings or investigations which relate to compliance with
Legal Requirements.

                Borrower shall have the right, after prior written notice to Lender, to contest by
appropriate legal proceedings diligently conducted in good faith, without cost or expense to
Lender, the validity or application of any Legal Requirements and to suspend compliance
therewith if permitted under Legal Requirements, provided:

                      (i)      failure to comply therewith may not subject Borrower or Lender to
                               any civil or criminal liability;


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                        (ii)     prior to and during such contest, Borrower shall furnish to Lender
                                 security reasonably satisfactory to Lender against loss or injury by
                                 reason of such contest or non-compliance with such Legal
                                 Requirements;

                        (iii)    no Event of Default shall exist during such proceedings, and such
                                 contest shall not otherwise violate any of the provisions of any of
                                 the Loan Documents; and

                        (iv)     such contest shall not subject the Collateral to any lien or
                                 encumbrance the enforcement of which is not suspended by such
                                 contest or otherwise affect the priority of the lien of Lender.

                Section 5.7      BOOKS AND RECORDS.

                 (a)     Borrower and Guarantor, shall keep adequate books and records of account
 in accordance with GAAP or in accordance with other methods acceptable to Lender in its sole
 discretion, consistently applied and shall furnish to Lender the following, which shall be prepared,
 dated and certified by Borrower (or by Guarantor, to the extent such items relate to Guarantor) as
 true, correct and complete in the form required by Lender, unless otherwise specified below:

                       (i)      quarterly operating statements of the Borrower, detailing the
                                revenues received, the expenses incurred and the net operating
                                income before and after debt service (principal and interest) and
                                containing appropriate year to date information, within thirty (30)
                                days after the end of each fiscal quarter;

                       (ii)     quarterly balance sheets of Borrower within thirty (30) days after
                                the end of each fiscal quarter;

                       (iii)    an annual operating statement of the Borrower detailing the total
                                revenues received, total expenses incurred, total cost of all capital
                                improvements, total debt service and total cash flow, prepared, dated
                                and certified by independent certified public accountants acceptable
                                to Lender within ninety (90) days after the close of each fiscal year
                                of Borrower;

                       (iv)     an annual balance sheet and profit and loss statement of Borrower
                                and any Guarantors within ninety (90) days after the close of each
                                fiscal year of Borrower and Guarantors prepared, dated and certified
                                by independent certified public accountants acceptable to Lender, as
                                the case may be; and

                       (v)      such other financial statements, and such other information and
                                reports as may, from time to time, be required by Lender.

               (b)     Borrower and any Guarantor shall furnish Lender with such other additional
financial or management information (including State and Federal Tax returns) as may, from time
to time, be reasonably required by Lender in form and substance satisfactory to Lender, in
reasonable detail and certified by Borrower as true, correct and complete.

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                 (c)     Following the occurrence of an Event of Default, or if Lender has reason to
 believe that any item furnished under this Section is materially inaccurate or misleading, Lender
 shall have the right, but not the obligation, to obtain any of the financial statements and other items
 required to be provided under this Section by means of an audit by an independent certified public
 accountant selected by Lender, in which event Borrower agrees to pay, or to reimburse Lender for,
 any expense of such audit and further agrees to provide all necessary information to said
 accountant and otherwise to cooperate in the performance of such audit.

                Section 5.8    PERFORMANCE OF OTHER AGREEMENTS. Borrower shall observe
 and perform each and every term to be observed or performed by Borrower pursuant to the terms
 of any agreement or instrument affecting or pertaining to Borrower or the Collateral or given by
 Borrower to Lender for the purpose of further securing an Obligation and any amendments,
 modifications or changes thereto.

               Section 5.9    INSURANCE. (a) Borrower shall and shall cause Subsidiary to
 maintain or cause to be maintained insurance with respect to its business and properties in such
 amounts, deductibles and coverages as Lender shall reasonably require, including without
 limitation:

                        (i)     insurance against loss or damage by Casualty;

                        (ii)    commercial general liability insurance;

                        (iii)   business interruption insurance;

                        (iv)    product liability;

                       (v)      bond against larceny or embezzlement; and

                       (vi)     worker's compensation insurance.

All insurance policies shall be issued by financially responsible insurers. Borrower shall furnish
Lender with copies of all policies and renewals of such policies at least thirty (30) days prior to
any expiration date and appropriate loss payable endorsements in form and substance satisfactory
to Lender naming Lender as a co-insured and loss-payee as its interests may appear. All insurance
policies shall contain a provision that such policies may not be cancelled or amended or failed to
be renewed without at least thirty (30) days prior written notice to Lender.

               (b)      If any of the Collateral shall be damaged or destroyed, in whole or in part,
by Casualty, Borrower shall give prompt notice of such damage to Lender and shall promptly
commence and diligently prosecute the proof of loss and the replacement, restoration or repair of
any of the Collateral so damaged or destroyed. Borrower shall pay all costs of replacing, restoring
or repairing any Collateral so damaged or destroyed, whether or not such costs are covered by
insurance. Lender may but shall not be obligated to make proof of loss if not made promptly by
Borrower. Borrower shall adjust all claims for insurance proceeds in consultation with, and
approval of, Lender; provided, however, if an Event of Default has occurred and is continuing,
Lender shall have the exclusive right to participate in the adjustment of all claims for insurance
proceeds.

               Section 5.10 ACCESS TO PROPERTY. Borrower shall permit Lender, its agents
and representatives to inspect the Collateral and the Property of Subsidiary at reasonable hours
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  upon reasonable advance notice and shall provide Lender, its agents and representatives all
  documents relating to the Collateral or the Property of the Subsidiary as reasonably requested by
  Lender.

                 Section 5.11 LITIGATION. Borrower shall give prompt notice of any litigation or
 governmental proceeding pending or threatened against Borrower, Subsidiary or Guarantor which
 might materially adversely affect Borrower's, Subsidiary's or Guarantor's condition, financial or
 otherwise, or the Collateral, in excess of Twenty-Five Thousand and 00/100 Dollars ($25,000.00).

                Section 5.12 DIVlDENDS, DISTRIBUTIONS AND MANAGEMENT FEES.                      Except
 with the express written consent of Lender, Borrower shall not:

                 (a)    declare or pay any dividends or other distributions with respect to, purchase,
 redeem or otherwise acquire for value any of its outstanding stock, partnership interests or
 membership interests or return any capital of its shareholders, partners, members or managers.
 Notwithstanding the foregoing, provided that an Event of Default does not exist or after giving
 effect to the dividend or distribution will exist, Borrower may make a dividend or distribution in
 an amount not to exceed the amount either of the federal and state income Taxes due and owing
 by the shareholders of Borrower, if it is an S corporation as defined in the Code, the partners or
 the members for the most recently ended fiscal year or for estimated federal and state income
 Taxes for the current fiscal year due and owing by the shareholders, partners or members of
 Borrower; and

                 (b)    pay management fees or fees of a similar nature to any Guarantor or person
 affiliated with Guarantor.

                 Section 5.13 SINGLE PURPOSE ENTITY/SEPARATENESS. Until the Debt has been
 paid in full, Borrower has not and will not:

                  (a)    merge into or consolidate with any Person, or dissolve, terminate, liquidate
 in whole or in part, transfer or otherwise dispose of all or substantially all of its assets or change
 its legal structure;

                (b)     create or own any new subsidiary;

                (c)     commingle its assets with the assets of any other Person;

              (d)     establish any new credit facilities, engage in any debt restructure, or
accelerate payment of any existing debt;

                (e)     enter into any contract or agreement with any general partner, member,
shareholder, principal, guarantor of the obligations of Borrower, or any Affiliate of the foregoing,
except upon terms and conditions that are intrinsically fair, commercially reasonable and
substantially similar to those that would be available on an arm's-length basis with unaffiliated
third patties;

               (t)     assume or guaranty the debts of any other Person, hold itself out to be
responsible for the debts of any other Person, or otherwise pledge its assets for the benefit of any
other Person or hold out its credit as being available to satisfy the obligations of any other Person;
and

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                (g)     make any loans or advances to any Person.

                Section 5.14    CHANGE OF NAME, IDENTITY OR STRUCTURE.

                Borrower shall not change or permit to be changed:

                (a)     Borrower's name;

                (b)     Borrower's identity (including its trade name or names);

                (c)     Borrower's principal place of business set forth on the first page of this
 Agreement;

                (d)     the corporate, partnership, limited liability company or other organizational
 structure of Borrower;

                (e)     Borrower's state of incorporation or organization;

                (f)     Borrower's organizational identification number; or

                (g)    Borrower's management, officers or board of directors,

without in each case notifying Lender of such change in writing at least thirty (30) days prior to
the effective date of such change and, in the case of a change in Borrower's structure or
management officers or board of directors, without first obtaining the prior written consent of
Lender. Borrower authorizes Lender to file any financing statement or financing statement
amendment required by Lender to establish or maintain the validity, perfection and priority of the
security interest granted herein. At the request of Lender, Borrower shall execute a certificate in
form satisfactory to Lender listing the trade names under which Borrower intends to operate and
representing and warranting that Borrower does business under no other trade name. If Borrower
does not now have an organizational identification number and later obtains one, or if the
organizational identification number assigned to Borrower subsequently changes, Borrower shall
promptly notify Lender of such organizational identification number or change.

                Section 5.15 BUSINESS AND OPERATIONS. Borrower will qualify to do business
and will remain in good standing under the laws of each state as and to the extent the same are
required for the ownership, maintenance, management and operation of is business.

               Section 5.16    ENVIRONMENTAL COVENANTS. Borrower covenants and agrees
that:

             (a)    all uses and operations by Borrower, shall be in compliance with all
Environmental Laws and permits issued pursuant thereto;

              (b)    there shall be no Hazardous Substances in, on, or under any Property of the
Borrower, except those that are both:

                      (i)      in compliance with all Environmental Laws and, if required, with
                               permits issued pursuant thereto; and

                      (ii)     fully disclosed to Lender in writing or are used by Borrower in the
                               ordinary course of their business.
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                  (c)    Borrower shall, at its sole cost and expense, perform any environmental site
 assessment or other investigation of environmental conditions, pursuant to any reasonable written
 request of Lender if Lender has reason to suspect that a Release of a Hazardous Substance might
 have occurred (including, without limitation, sampling, testing and analysis of soil, water, air,
 building materials and other materials and substances whether solid, liquid or gas), and share with
 Lender the reports and other results thereof, and Lender and other Indemnified Parties shall be
 entitled to rely on such reports and other results thereof;

                (d)     Borrower shall, at its sole cost and expense, comply with all reasonable
 written requests of Lender to:

                        (i)      reasonably effectuate Remediation of any condition (including,
                                 without limitation, a Release of a Hazardous Substance);

                        (ii)     comply with any Environmental Law;

                        (iii)    comply with any directive from any Governmental Authority; and

                        (iv)    take any other reasonable action necessary or appropriate for
                                protection of human health or the environment.

                 (e)    Borrower shall not do any act that materially increases the dangers to human
 health or the environment, poses an unreasonable risk of hann to any Person, impairs or may impair
 the value of the Collateral, is contrary to any requirement of any insurer, constitutes a public or
 private nuisance or constitutes waste; and

                (f)    Borrower immediately upon becoming aware of the same shall notify
 Lender in writing of:

                       (i)      any presence or Releases or threatened Releases of Hazardous
                                Substances;

                       (ii)     any non-compliance with any Environmental Laws related in any
                                way to Borrower's properties;

                       (iii)    any required or proposed Remediation of environmental conditions;
                                and

                       (iv)     any written or oral notice or other communication of which
                                Borrower becomes aware from any source whatsoever (including,
                                without limitation, a governmental entity) relating in any way to
                                Hazardous Substances or Remediation thereof, possible liability of
                                any Person pursuant to any Environmental Law, other
                                environmental conditions, or any actual or potential administrative
                                or judicial proceedings.

                                     Article 6. - TRANSFERS

               Section 6.1      TRANSFERS BY BORROWER.




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                 Except with the prior written consent of Lender, which may be withheld or denied
  in Lender's sole discretion, Borrower shall not permit any Transfer.

                                Article 7. -DEFAULTS; REMEDIES

                Section 7.1     DEFAULTS. The occurrence of one or more of the following events
 shall be an event of default ("Event of Default"):

                 (a)     If any portion of the Debt is not paid when due;

                 (b)    If any other Obligation is not performed in accordance with the terms and
 conditions of this Agreement and the other Loan Documents;

                 (c)     The occurrence of a transfer prohibited by this Agreement;

                (d)   If any representation or warranty contained herein or in any other Loan
 Document or if any of the information contained in any documentation provided to Lender by
 Borrower in conjunction with the Loan shall not be true and accurate in all material respects as of
 the date made;

                (e)    If there shall occur a Material Adverse Change in the financial condition or
 in the business of Borrower or if Lender in good faith deems itself insecure as a result of acts or
 events bearing upon the financial condition of Borrower.

                (f)     If any one or more of Borrower or Guarantor shall:

                        (i)     file a voluntary petition in bankruptcy or for relief under the
                                Bankruptcy Act or any similar state or federal law;

                        (ii)    file a pleading in any proceeding admitting insolvency;

                        (iii)   not have vacated within sixty (60) days after the filing against
                                Borrower or Guarantor of any involuntary proceeding under the
                                Bankruptcy Act or similar state or federal law;

                        (iv)    have a substantial part of any one or more of their assets attached,
                                seized, subjected to a writ or distress warrant, or levied upon, unless
                                such attachment, seizure, writ, warrant or levy is vacated within
                                sixty (60) days;

                        (v)     make an assignment for the benefit of creditors or shall consent to
                                the appointment of a receiver or trustee or liquidator of all or a major
                                part of its property; or

                       (vi)     not have vacated any order appointing a receiver, trustee or of any
                                Borrower or Guarantor or all or a major part of any such person's
                                property.

               (g)     If a notice of lien, levy or assignment is filed or recorded with respect to all
or any of the assets of Borrower by the United States government or any department, agency or
instrumentality thereof or by any state, county, municipal or other governmental agency, or if any

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 Taxes or debts owing at any time or times hereafter to any one of them becomes a lien or
 encumbrances upon any of Borrower's assets and any of the foregoing is not released, bonded or
 otherwise secured to Lender's reasonable satisfaction within sixty (60) days after the same becomes
 a lien or encumbrance;

                (h)      If Borrower shall continue to be in default under any other term, covenant
 or condition of this Agreement not specified above, for thirty (30) days after notice to Borrower
 from Lender, provided however, if such default cannot reasonably be cured within such thirty (30)
 day period and Borrower shall have commenced to cure such default within the thirty day (30)
 period and Borrower shall thereafter diligently and expeditiously proceed to cure for such
 additional time as is reasonably necessary but not to exceed sixty (60) days.

                 Section 7.2    RIGHT OF ENFORCEMENT. Upon the occurrence of an Event of
 Default, Lender shall have and may exercise any and all rights of enforcement and remedies
 afforded to Lender pursuant to this Agreement, the Note, and the other Loan Documents, together
 with any and all other rights and remedies otherwise provided and available to Lender by law or
 equity, including without limitation:

               (a)    terminate the Loan, whereupon all outstanding obligations shall become
 immediately due and payable;

               (b)     setoff or apply any property of Borrower held by Lender to reduce the
 outstanding obligation;

               (c)    notify or cause Borrower to notify, at its sole cost and expense, any or all of
 the Account Debtors that the Accounts have been assigned to Lender and that all future payments
 on the Accounts should be paid directly and solely to Lender as directed;

                 (d)     exercise any and all rights of enforcement and remedies available under the
 UCC either as of the date of this Agreement or as of any Event of Default, and in conjunction with,
 in addition to, or substitution for those rights, Lender may, in its absolute discretion:

                       (i)     enter upon any premises of Borrower to take possession of,
                               assemble and collect and carry away the Collateral; and/or

                       (ii)    require Borrower at Borrower's sole cost to assemble the Collateral
                               and make it available at a place Lender designates which is
                               convenient to allow Lender to take possession or dispose of the
                               Collateral; and/or

                       (iii)   waive any Event of Default or remedy any Event of Default in any
                               reasonable manner, without waiving its rights and remedies upon
                               such Event of Default and without waiving any other prior or
                               subsequent Event of Default.

Lender shall not be liable for failure to assemble and collect the Collateral or any part thereof or
to enforce any rights hereunder or under any agreement relating to the Collateral, or for any act or
omission on the part of Lender, its officers, agents or employees, except willful misconduct.

               Section 7.3  RIGHTS OF SALE. Borrower agrees that if an Event of Default
occurs under this Agreement, Lender may, at its option, sell and dispose of the Collateral at one
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  or more public or private sales upon giving Borrower not less than ten (I 0) days' written notice of
  the time and place of each such public sale or the time, place, terms and conditions of each such
  private sale, which notice or notices Borrower hereby agrees are commercially reasonable within
  the meaning of the UCC. Lender, or any other party which is the highest bidder, shall have the
 right to purchase the Collateral being offered at any public sale free from any right of redemption,
  if any, in Borrower, which right of redemption is hereby expressly waived. Lender as highest
 bidder at any public sale may apply any unpaid po1tion of the Debt on account of or in full
 satisfaction of the purchase price. Lender, if it is not the purchaser, shall have the right to apply
 the net proceeds of any such public or private sale (after paying all of its reasonable costs and
 expenses of every kind and nature incidental thereto including, without limitation, attorney's fees
 and legal expenses and expenses incidental to preparing for sale, selling and the like), to payment
 of the Debt. Only after so applying such net proceeds and after the payment by Lender of any other
 sums required to be paid pursuant to any existing or future provision of law including, without
 limitation, the UCC, shall Lender be obligated to account to Borrower for the surplus, if any,
 resulting from any public or private sale. If any deficiency on the Debt shall remain after all of the
 Collateral has been disposed of at such public or private sale or sales and after applying the net
 proceeds of each such sale as provided in this Section 7.3, Borrower shall pay such deficiency to
 Lender.

                 Section 7.4    MISCELLANEOUS RIGHTS OF LENDER.

                 (a)    Borrower hereby waives any and all legal requirements that Lender institute
  any action or proceeding at law or in equity against Borrower or exhaust its remedies in respect of
 any other security held by Lender as a condition precedent to exercising its rights and remedies as
 to the Collateral pursuant to the provisions of this Agreement. Borrower waives any defenses
 caused by reason of any disability or other defense of any person, or by reason of the cessation
 from any cause whatsoever of the liability of any other person. Borrower authorizes Lender,
 without notice or demand and without affecting Borrower's liability or Lender's rights hereunder
 or on the Debt, from time to time: (i) to take and hold security other than the Collateral for the
 payment of the Debt or any part thereof, and exchange, enforce, waive and release the Collateral,
 or any part thereof or any rights, remedies, securities or liens of Borrower with respect to the
 Collateral, or any such other security; (ii) to apply the Collateral or any other security and direct
 the order or manner of sale thereof as Lender in its discretion may determine; and (iii) to endorse
 Borrower's name to any notes, checks, drafts, bills of exchange, commercial paper or other
 instruments.

               (b)    Lender may proceed against all or a portion of the Collateral. All rights and
remedies under this Agreement or otherwise available to law or equity may be pursued
concurrently or otherwise at such time and in such order as Lender may determine in its sole
discretion without impairing or otherwise affecting the other rights and remedies of Lender.

                Section 7.5     RIGHT TO CURE DEFAULTS. Upon the occurrence of any Event of
Default or if Borrower fails to make any payment or to do any act as herein provided, Lender may,
but without any obligation to do so and without notice to or demand on Borrower and without
releasing Borrower from any obligation hereunder, make or do the same in such manner and to
such extent as Lender may deem necessary to protect the security hereof, including without
limitation: (a) obtain insurance covering any part of the Collateral; (b) discharge any Taxes, liens
or other encumbrances at any time levied or placed on any Collateral in violation of this
Agreement; and (c) pay for the preservation and maintenance of any Collateral. Lender is
authorized to appear in, defend, or bring any action or proceeding to protect its interest in the
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  Collateral or to foreclose or collect the Loan, and the cost and expense thereof (including
  reasonable attorneys' fees to the extent permitted by law), with interest at the Default Rate, shall
  constitute a portion of the Loan and be secured by this Agreement and shall be due and payable to
  Lender upon demand. All such costs and expenses incurred by Lender in remedying such Event
  of Default or such failed payment or act or in appearing in, defending, or bringing any such action
  or proceeding shall bear interest at the Default Rate, for the period from that the incurrence of such
  cost or expense by Lender to the date of payment to Lender.

                 Section 7.6     APPOINTMENT OF LENDER AS BORROWER'S LAWFUL AITORNEY.
  Upon the occurrence and during the continuance of an Event of Default, Borrower irrevocably
 designates, makes, constitutes and appoints Lender (and all Persons designated by Lender) as its
 true and lawful attorney (and agent-in-fact) to take the following actions: (a) at such time or times
 hereafter as Lender or its agent in its sole discretion may determine, in Borrower's or Lender's
 name, to endorse Borrower's name on any checks, notes, drafts, instruments, documents or any
 other payment relating to the Collateral and/or proceeds of the Collateral which come into the
 possession of Lender or come under Lender's control; (b) to the extent permitted by applicable
 law, to sign Borrower's name on any documents (including financing statements and continuations
 thereof) necessary or desirable for the purpose of maintaining or achieving the perfection of a
 security interest in the Collateral; (c) to the extent permitted by law, to sign Borrower's name to
 any document necessary or appropriate in order to permit Lender to fully exercise its rights and
 remedies; and (d) at such time or times hereafter as Lender or its agent in their sole discretion may
 determine in Borrower's or Lender's name to exercise any voting rights or other rights of consent
 or approval. The power of attorney granted under this Section, and any other power of attorney
 granted under this Agreement, shall be irrevocable and coupled with an interest.

                                      Article 8. - INDEMNITY

                 Section 8.1    INDEMNITY. Borrower hereby indemnifies the Indemnified Persons
 against, and agrees to hold each such Indemnified Person harmless from, any and all losses, claims,
 damages and liabilities, including claims brought by Borrower, any member, manager agent,
 representative or employee of Borrower, any Guarantor, or any other Person, and expenses relating
 to such claims, including reasonable counsel fees and expenses, incurred by such Indemnified
 Person arising out of any claim, litigation, investigation or proceeding (whether or not such
 Indemnified Person is a party thereto) relating to any transactions, services or matters that are the
 subject of this Agreement or the other Loan Documents; provided, however, that such indemnity
 shall not apply to any such losses, claims, damages, or liabilities or related expenses determined
 by a court of competent jurisdiction to have arisen from the gross negligence or willful misconduct
 of such Indemnified Person. The agreements of Borrower in this Section shall be in addition to
 any liability that Borrower may otherwise have under other provision of this Agreement and/or
 applicable law or in equity. All amounts due under this Section shall be payable as incurred upon
 written demand therefor.

                                       Article 9. - WAIVERS

                Section 9.1    MARSHALLrNG AND OTHER MATTERS. Borrower hereby waives,
to the fullest extent permitted by law, the benefit of all appraisement, valuation, stay, extension,
reinstatement and redemption laws now or hereafter in force and all rights of marshalling in the
event of any sale hereunder of the Collateral or any part thereof or any interest therein. Further,
Borrower hereby expressly waives any and all rights of redemption from sale under any order or
decree of foreclosure on behalf of Borrower, and on behalf of each and every person acquiring any
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  interest in or title to the Collateral or any portion subsequent to the date of this Agreement and on
  behalf of all persons to the extent permitted by applicable law.

                 Section 9.2   WAIVER OF NOTICE. Borrower shall not be entitled to any notices
 of any nature whatsoever from Lender except with respect to matters for which this Agreement
 specifically and expressly provides for the giving of notice by Lender to Borrower and except with
 respect to matters for which Lender is required by Applicable Laws to give notice, and Borrower
 hereby expressly waives the right to receive any notice from Lender with respect to any matter for
 which this Agreement does not specifically and expressly provide for the giving of notice by
 Lender to Borrower.

                 Section 9.3    WAIVER OF STATUTE OF LIMITATIONS . To the fullest extent
 permitted by law, Borrower hereby expressly waives and releases the pleading of any statute of
 limitations as a defense to payment of the Debt or performance of its other Obi igations.

                 Section 9.4     MODIFICATION, WAIVER IN WRITING.               No modification,
 amendment, extension, discharge, termination or waiver of any provision of this Agreement, or of
 the Note, or of any other Loan Document, nor consent to any departure by Borrower therefrom,
 shall in any event be effective unless the same shall be in a writing signed by the party against
 whom enforcement is sought, and then such waiver or consent shall be effective only in the specific
 instance, and for the purpose, for which given. Except as otherwise expressly provided herein, no
 notice to, or demand on Borrower, shall entitle Borrower to any other or future notice or demand
 in the same, similar or other circumstances.

                 Section 9.5    DELAY NOT A WAIVER. Neither any failure nor any delay on the
 part of Lender in insisting upon strict performance of any term, condition, covenant or agreement,
 or exercising any right, power, remedy or privilege under this Agreement, the Note or under any
 other Loan Document, or any other instrument given as security therefor, shall operate as or
 constitute a waiver thereof, nor shall a single or partial exercise thereof preclude any other future
 exercise, or the exercise of any other right, power, remedy or privilege. In particular, and not by
 way of limitation, by accepting payment after the due date of any amount payable under this
 Agreement, the Note or any other Loan Document, Lender shall not be deemed to have waived
 any right either to require prompt payment when due of all other amounts due under this
 Agreement, the Note or the other Loan Documents, or to declare a default for failure to effect
 prompt payment of any such other amount.

          Section 9.6 WAIVER OF TRIAL BY JURY. BORROWER AND LENDER
EACH AGREES NOT TO ELECT A TRIAL BY JURY OF ANY ISSUE TRIABLE OF
RIGHT BY JURY AND WAIVES ANY RIGHT TO TRIAL BY JURY FULLY TO THE
EXTENT THAT ANY SUCH RIGHT SHALL NOW OR HEREAFTER EXIST WITH
REGARD TO THE LOAN DOCUMENTS, OR ANY CLAIM, COUNTERCLAIM OR
OTHER ACTION ARISING IN CONNECTION THEREWITH. TIDS WAIVER OF
RIGHT TO TRIAL BY JURY IS GIVEN KNOWINGLY AND VOLUNTARILY BY
BORROWER AND LENDER AND IS INTENDED TO ENCOMPASS INDIVIDUALLY
EACH INSTANCE AND EACH ISSUE AS TO WIDCH THE RIGHT TO A TRIAL BY
JURY WOULD OTHERWISE ACCRUE. EACH OF LENDER AND BORROWER IS
AUTHORIZED TO FILE A COPY OF THIS PARAGRAPH IN ANY PROCEEDING AS
CONCLUSIVE EVIDENCE OF THIS WAIVER BY BORROWER AND LENDER.



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                  Section 9.7    WAIVER OF COUNTERCLAIM. Borrower hereby waives the right to
  assert a counterclaim, other than a compulsory counterclaim, in any action or proceeding brought
  against it by Lender or its agents.

                Section 9.8    WAIVER OF DEFENSE TO SUBROGATION. Borrower hereby waives
 the right to assert any defense or counterclaim against any Guarantor to its right to collect or
 recover from Borrower under a right of subrogation or similar right however denominated, in any
 action or proceeding brought against it by Guarantor.

                              Article 10. - CERTAIN TAX PROVISIONS

                Section 10.1     TAX INDEMNITY.

                (a)    Any and all payments by or on account of any obligation of the Borrower
 hereunder or under any other Loan Document shall be made free and clear of and without reduction
 or withholding for any Taxes; provided, however, that if the Borrower is required by applicable
 law (as determined based on the written opinion of legal counsel to Borrower) to deduct or
 withhold any Taxes from such payments, then the following provisions shall apply:

                       (i)       lf such Tax is an Indemnified Tax, then the amount payable by the
                                 Borrower shall be increased so that after making all required
                                 deductions or withholdings (including deductions or withholdings
                                 applicable to additional amounts payable under this Section), the
                                 Lender receives an amount equal to the amount it would have
                                 received had no such deductions or withholdings been made; and

                       (ii)      The Borrower shall make such deductions and timely pay and remit
                                 the full amount deducted to the relevant Governmental Authority in
                                 accordance with applicable law.

              (b)    In addition, the Borrower shall timely pay any Other Taxes to the relevant
 Governmental Authority in accordance with applicable law.

                (c)     Without limiting the other provisions of this Agreement, the Borrower shall
indemnify the Lender, within ten (10) days after written demand therefor, for the full amount of
any Indemnified Taxes or Other Taxes (including without limitation Jndemnified Taxes or Other
Taxes imposed on or attributable to amounts payable hereunder) paid by the Lender on or with
respect to an amount payable by the Borrower under or in respect of this Agreement or under any
other Loan Document together with any penalties, interest and reasonable expenses arising in
connection therewith and with respect thereto, whether or not such Indemnified Taxes or Other
Taxes were correctly or legally imposed or asserted by the relevant Governmental Authority. A
certificate from the Lender as to the amount of such payment or liability delivered to the Borrower
shall be conclusive absent manifest error.

               (d)   Promptly after any payment of Indemnified Taxes or Other Taxes by the
Borrower to a Governmental Authority (but in any event within twenty (20) days after the date of
such payment), the Borrower shall deliver to the Lender the original or certified copy of a receipt
issued by such Governmental Authority evidencing such payment, a copy of the relevant return
reporting such payment, or other evidence of such payment reasonably satisfactory to the Lender.


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                 (e)     If the Lender determines, in its reasonable discretion, that it has received a
  refund of any Taxes or Other Taxes as to which it has been indemnified by the Borrower or with
  respect to which the Borrower has paid additional amounts pursuant to this Section, it shall pay
 and remit such refunded amount (or the amount of any credit in lieu of refund) to the Borrower
 (but only to the extent of indemnity payments made, or additional amounts paid, by the Borrower
 under this Section with respect to the Taxes or Other Taxes giving rise to such refund (or credit in
 lieu of refund)), net of all out-of-pocket expenses of the Lender, and without interest (other than
 any interest paid by the relevant Governmental Authority with respect to such refund (or credit in
 lieu of refund)); provided that the Borrower, upon the written request of the Lender, agrees to
 repay the amount paid over to the Borrower (plus any interest, penalties or other charges imposed
 by the relevant Governmental Authority) to the Lender in the event the Lender is required to repay
 such refund (or credit in lieu of refund) to such Governmental Authority. Notwithstanding the
 foregoing, the Lender shall not be required to make available to the Borrower or any other person
 or entity the Lender's Tax returns or any other information relating to its Taxes that it deems
 confidential.

                Section 10.2    ADDITIONAL DELIVERIES.

                 (a)    Certain Closing Deliveries. Concurrently with the execution and delivery
 of this Agreement, the Lender has delivered to the Borrower (a) a duly executed U.S. Tax
 Compliance Certificate; and (b) a duly executed Form W-8BEN-E, Certificate of Status of
 Beneficial Owner for United States Tax Withholding and Reporting (Entities) (the foregoing
 collectively, the "Lender' s Closing Certificates").

                 (b)    Certain Deliveries after Closing. To the extent necessary or expedient to
 establish or memorialize any entitlement of Lender to an exemption from, or reduction in the rate
 of, the imposition, deduction or withholding of any Indemnified Taxes with respect to payments
 hereunder or under any other Loan Document, Lender shall deiiver to the Borrower, at the time or
 times reasonably requested by the Borrower, such properly completed and duly executed
documentation as will permit such payments to be made without imposition, deduction or
withholding of such Indemnified Taxes or at a reduced rate. Notwithstanding anything to the
contrary in the preceding sentence, however, the completion, execution and delivery of such
documentation (other than such documentation set forth in Paragraphs (i) through (iv) below) shall
not be required if in the Lender's reasonable judgment the completion, execution or delivery of
such documentation would materially prejudice the legal or commercial position of the Lender or
subject the Lender to any material unreimbursed cost or expense. Without limiting the foregoing,
to the extent that Lender is legally entitled to do so, Lender shall deliver to the Borrower,
whichever of the following is applicable in connection with any change in the information set forth
in the Lender's Closing Certificates:

                       (i)     Executed copies of a current Form W-8BEN-E and a current U.S.
                               Tax Compliance Certificate (certifying that Lender is not (A) a
                               "bank" within the meaning of Section 88l(c)(3)(A) of the Code, (B)
                               a "1 0 percent shareholder" of the Borrower within the meaning of
                               Sections 871 (h)(3)(B) of the Code, or (C) a "controlled foreign
                               corporation" related to the Borrower described in Section
                               88l(c)(3)(C) of the Code (a "US Tax Compliance Certificate");

                       (ii)    If claiming the benefits of an income Tax treaty to which the United
                               States is a party, an executed copy of (A) Form W-8BEN or Form
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                                   W-8BEN-E establishing an exemption from, or reduction of, U.S.
                                   federal withholding Tax pursuant to the "interest" article of such
                                   treaty for payments of interest under any Loan Document; and (B)
                                   Form W-8BEN or Form W-8BEN-E establishing an exemption
                                   from, or reduction of, US federal withholding Tax pursuant to the
                                   "business profits" or "other income" article of such Tax treaty for
                                   any other applicable payments under any Loan Document;

                         (iii)     An executed copy of Form W-8ECI, Certificate of Foreign Person's
                                   Claim That Income Is Effectively Connected with the Conduct of a
                                   Trade or Business in the United States;

                         (iv)      If no longer the beneficial owner of a payment received under any
                                   of the Loan Documents, an executed copy of Form W-8IMY,
                                  accompanied by IRS Form W-8ECI, Form W-8BEN, or Form W-
                                   BEN-E, a U.S. Tax Compliance Certificate, Form W-9, or other
                                  certification forms from each beneficial owner, as applicable;
                                  provided that if the Lender becomes a partnership and one or more
                                  direct or indirect partners of Lender are claiming the portfolio
                                  interest exemption, Lender may provide on behalf of each such
                                  direct or indirect partner a certificate to the effect that (A) neither
                                  the Lender nor its direct or indirect partners is a "bank" within the
                                  meaning of Section 88l(c)(3)(A) of the Code, (B) none of its direct
                                  or indirect partners is a "IO percent shareholder" of the Borrower
                                  within the meaning of Sections 871 (h)(3)(B) and 88 I (c)(3)(B) of the
                                  Code, and (C) none of its direct or indirect partners is a "controlled
                                  foreign corporation" described in Section 881(c)(3)(C) of the Code;
                                  or

                        (v)       Executed copies of any other form required by applicable law to
                                  claim an exemption from or a reduction in U.S. withholding Tax
                                  duly completed together with such additional documentation as may
                                  be required by applicable law to permit the Borrower to determine
                                  the withholding or deduction required to be made.

                Section I 0.3 The provisions of this Article 10 shall survive indefinitely after the
 execution, delivery, and performance of this Agreement and the repayment of the Loan and the
 performance of all the Borrower's and its affiliates' obligations under the Loan Documents.

                                 Article 11. - GENERAL PROVISIONS

                 Section 11.1 NOTICES. Any notice, demand or other communication which any
part hereto may desire or may be required to give to any other party under this Agreement or the
other Loan Documents shall be in writing, and shall be deemed given: (a) if and when personally
delivered; (b) upon receipt if sent by any nationally recognized overnight courier addressed to a
party at its address set forth below; or (c) upon receipt if deposited in United States certified mail,
postage prepaid, or at such other place as such party may have designated to all other parties by
notice in writing in accordance with this Section:



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                 Ifto Borrower:                 Green Sapphire Holdings Inc.
                                                l 007 Orange Street
                                                Wilmington DE 19801

                                                Email: Rcicoski@60deg.com



                 with a copy to:                Mack Law Group
                                                1363 Shermer Road, Suite 210
                                                Northbrook Illinois 60062
                                                Telephone: 847.239.7212
                                                Email: Charles@mlgcounsel.net
                                                Attention: Charles Mack, Esq.


                 If to Lender:                  Global Capital Partners LLC
                                                16192 Coastal Highway, Lewes, Delaware 19958


                with a copy to:                Nelson Mullins
                                               2 S. Biscayne Blvd., 2l5t floor
                                               Miami, FL 33131
                                               E-mail: jackson.hwu@nelsonmullins.com
                                               Attention: Jackson Hwu, Esq.

 Except as otherwise specifically required herein, notice of the exercise of any right or option
 granted to Lender by this Agreement is not required to be given. Failure to deliver copies of notice
 shall not render the notice invalid.

                Section 11.2 EXPENSES. The Borrower shall be liable for payment of all
reasonable costs incurred by Lender in connection with making the Loan, the preparation,
execution and delivery of this Agreement and the other Loan Documents, the enforcement of the
Loan Documents and Lender's rights and remedies thereunder, including, without limitation,
reasonable attorneys' fees and costs, and consultants' fees and costs, recording fees, title insurance
premiums, environmental assessment fees and appraisal fees, all transactional fees, legal and other
professional fees incurred by the Lender or the Agent including, without limitation, formation
costs and expenses for the Lender and related entities as required to effect this Loan, legal fees of
U.S. Counsel to the Lender, legal fees of French/St. Barthelemy Counsel to the Lender, including
any expenses incurred to file the UCC-1 and any other filings in connection with the Pledge, as
well as any fees and expenses charged or incurred by the Notaire in St. Barthelemy to register the
mortgages on the Properties.

                Section 11.3 ENTIRE AGREEMENT, AMENDMENTS AND WAIVERS.                    This
Agreement and the other Loan Documents contain the entire agreement and understanding of the
parties hereto with respect to the subject matter hereof and may not be amended, modified or
discharged, nor may any of their terms be waived, except by an instrument in writing signed by
the party to be bound thereby.

              Section 11.4 FURTHER ASSURANCES. Borrower will, at the cost of Borrower,
and without expense to Lender, do, execute, acknowledge and deliver all and every further acts,
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  deeds, conveyances, deeds of trust, mortgages, assignments, security agreements, control
  agreements, notices of assignments, transfers and assurances, financing statements, and other
  documents or instruments as Lender shall, from time to time, reasonably require, for the better
  assuring, conveying, assigning, transferring, and confirming unto Lender the Property and rights
  hereby mortgaged, deeded, granted, bargained, sold, conveyed, confirmed, pledged, assigned,
  warranted and transferred or intended now or hereafter so to be, or which Borrower may be or may
  hereafter become bound to convey or assign to Lender, or for carrying out the intention or
  faci Iitating the performance of the terms of this Agreement or for filing, registering or recording,
  or for complying with all Legal Requirements. Borrower, on demand, will execute and deliver,
 and in the event it shall fail to so execute and deliver, hereby authorizes Lender to execute in the
  name of Borrower or without the signature of Borrower to the extent Lender may lawfully do so,
 one or more financing statements and financing statement amendments to evidence more
 effectively, perfect and maintain the priority of the security interest of Lender in the Collateral.
 Borrower grants to Lender an irrevocable power of attorney coupled with an interest for the
 purpose of exercising and perfecting any and all rights and remedies available to Lender at law
 and in equity, including without limitation, such rights and remedies available to Lender pursuant
 to this Section 1 I .4.

                Section 11.5 No THIRD PARTY BENEFITS; BINDING EFFECT. Except for those
 persons and entities expressly entitled to indemnification under this Agreement, who shall be
 beneficiaries of and shall have the right to enforce such indemnity, this Agreement is for the sole
 and exclusive benefit of the parties hereto and their respective permitted successors and permitted
 assigns, and no third party is intended to or shall have any rights hereunder. The terms and
 provisions hereof shall be binding upon and inure to the benefit of the parties hereto and their
 respective permitted successors and successors assigns.

                Section 1 I .6 ASSIGNMENT BY BORROWER. Borrower shall not assign any of its
 rights or delegate any of its obligations under this Agreement, the Note, or any other Loan
 Document.

                Section 11. 7   ASSIGNMENT BY LENDER.

                (a)     It is the parties' intent that all payments of interest and of any original issue
discount (each such term withing the meaning of Section 881 of the Code) under this Agreement
and the other Loan Documents to Lender shall qualify for and meet the withholding exemption for
portfolio interest under Section 88l(c) of the Code. In furtherance thereof, the Borrower shall
establish and maintain in its books and records a register (the "Loan Register"), which shall (i)
identify the Lender as the sole holder of the Loan and Note as of the date of execution hereof; (ii)
set forth any subsequent assignments and transfers of any interest in the Loan and Note made in
accordance with this Section 11. 7; and (iii) itemize the then-current owners of the Loan effective
upon the consummation of any such assignment and transfer. The Loan Register as of the date of
execution of this Agreement is attached hereto as Exhibit A. The Borrower shall provide a copy
of the Loan Register to the Lender as the Lender may request in writing from time to time.

                (b)     The parties hereby agree that Lender's rights, entitlements, and interests
under this Agreement and the other Loan Documents, including without limitation the right to
receive payments of principal and interest hereunder, may be assigned and transferred only through
a book entry made in the Loan Register by the Borrower. In the event that the Lender proposes to
assign or transfer all or any part of its interest in the Loan, the Lender shall give at least ten (I 0)
days advance written notice thereof to the Borrower, specifying the interest to be assigned and
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  transferred (the "Subject Transfer"). The Lender shall include with any such notice: (i) executed
  copies of all of the instruments of assignment and other documents by which the Lender shall
  effectuate the assignment and transfer; (ii) a certified copy of the articles of incorporation or other
  constitutive document(s) of the assignee, or a copy of the passport of any individual assignee; and
 (iii) such documents and instruments described in Section I0.2(b)(i) - (v) with respect to the
 assignee as may pertain thereto. The Lender shall deliver or cause to be delivered to the Borrower
 such additional documents and information as reasonably and promptly requested by the Borrower
 in order to identify the identity and tax residence of the assignee as the prospective owner of the
 interest in the Loan to be assigned and transferred. After the completion of such delivery(ies),
 upon the consummation of the Subject Transfer, the Borrower shall update the Loan Register to
 reflect the assignment and transfer of the Subject Interest and the then-current ownership of all
 interests in the Loan. Any asserted or purported assignment or transfer by the Lender of any
 interest in the Loan which does not conform to this Section 11.7 shall be null and void ab initio.

                 (c)    It is the parties' intent that the Loan and the obligations thereunder shall be
 in "registered form" (within the meaning of Section 881(c) of the Code) at all times. The Borrower
 and the Lender shall cooperate promptly with any written requests either may make in connection
 with the review, maintenance, and revision of the Loan Register as may be reasonably necessary
 or expedient to establish and maintain the Loan and the obligations thereunder in such registered
 form. The Loan and the obligations thereunder shall not be convertible into or converted to an
 unregistered form.

               Section 11.8 COUNTERPARTS. This Agreement and any document or instrument
 executed pursuant thereto may be executed in any number of counterparts, each of which shall be
 deemed an original, but all of which together shall constitute one and the same instrument.

                Section 11.9 GOVERNING LAW. This Agreement shall be governed by and
 construed in accordance with the laws of the State of Delaware, in which the transactions
 contemplated herein were negotiated, the Note and other Loan Documents were executed and
 delivered, and where the principal offices of Lender are located.

                Section 11.10 TIME OF THE ESSENCE. Time is of the essence of this Agreement.

                Section 11.11 SEVERABILITY. If any provision of this Agreement shall be
judicially or administratively held invalid or unenforceable for any reason, such holding shall not
be deemed to affect, alter, modify or impair in any way any other provision hereof.

           Section 11.12 JURISDICTION AND VENUE. BORROWER AND ANY
GUARANTOR HEREBY AGREE THAT ALL ACTIONS OR PROCEEDINGS
INITIATED BY BORROWER OR ANY GUARANTOR AND ARISING DIRECTLY OR
INDIRECTLY OUT OF THIS AGREEMENT SHALL BE LITIGATED IN THE
SUPERIOR COURT OF NEW CASTLE COUNTY, DELAWARE, OR, THE UNITED
STATES DISTRICT COURT FOR THE DISTRICT OF DELAWARE OR, IF LENDER
INITIATES SUCH ACTION, ANY COURT IN WHICH LENDER SHALL INITIATE
SUCH ACTION AND WHICH HAS JURISDICTION.          BORROWER AND ANY
GUARANTOR HEREBY EXPRESSLY SUBMIT AND CONSENT IN ADVANCE TO
SUCH JURISDICTION IN ANY ACTION OR PROCEEDING COMMENCED BY
LENDER IN ANY OF SUCH COURTS, AND HEREBY WAIVE PERSONAL SERVICE
OF THE SUMMONS AND COMPLAINT, OR OTHER PROCESS OR PAPERS ISSUED
HEREIN, AND AGREE THAT SERVICE OF SUCH SUMMONS AND COMPLAINT OR

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 OTHER PROCESS OR PAPERS MAY BE MADE BY REGISTERED OR CERTIFIED
 MAIL ADDRESSED TO BORROWER AND ANY GUARANTOR AT THE ADDRESS TO
 WHICH NOTICES ARE TO BE SENT PURSUANT TO TIDS AGREEMENT.
 BORROWER AND ANY GUARANTOR WAIVE ANY CLAIM THAT THE SUPERIOR
 COURT OF NEW CASTLE COUNTY, DELAWARE, OR THE UNITED STATES
 DISTRICT COURT FOR THE DISTRICT OF DELAWARE IS AN INCONVENIENT
 FORUM OR AN IMPROPER FORUM BASED ON LACK OF VENUE. SHOULD
 BORROWER OR ANY GUARANTOR, AFTER BEING SO SERVED, FAIL TO APPEAR
 OR ANSWER TO ANY SUMMONS, COMPLAINT, PROCESS OR PAPERS SO SERVED
 WITHIN THE NUMBER OF DAYS PRESCRIBED BY LAW AFTER THE MAILING
 THEREOF, BORROWER AND ANY GUARANTOR SHALL BE DEEMED IN DEFAULT
 AND AN ORDER AND/OR JUDGMENT MAY BE ENTERED BY LENDER AGAINST
 BORROWER AND/OR ANY GUARANTOR AS DEMANDED OR PRAYED FOR IN
 SUCH SUMMONS, COMPLAINT, PROCESS OR PAPERS. THE EXCLUSIVE CHOICE
 OF FORUM FOR BORROWER SET FORTH IN THIS PARAGRAPH SHALL NOT BE
 DEEMED TO PRECLUDE THE ENFORCEMENT, BY LENDER, OF ANY JUDGMENT
 OBTAINED IN ANY OTHER FORUM OR THE TAKING, BY LENDER, OF ANY
 ACTION TO ENFORCE THE SAME IN ANY OTHER APPROPRIATE JURISDICTION,
 BORROWER HEREBY WAIVE THE RIGHT, IF ANY, TO COLLATERALLY ATTACK
 ANY SUCH JUDGMENT OR ACTION.

                 Section l] .13 ACKNOWLEDGMENTS. Borrower hereby acknowledges that (a) it
 has been advised by counsel in the negotiation, execution and delivery of this Agreement and the
 other Loan Documents; (b) neither Lender nor anyone associated with Lender has any fiduciary
 relationship with or fiduciary duty to Borrower arising out of or in connection with this Agreement
 or any of the other Loan Documents, and the relationship between Lender, and Borrower, in
 connection herewith or therewith is solely that of debtor and creditor; and (c) no joint venture or
 partnership is created hereby or by the other Loan Documents or otherwise exists by virtue of the
 transaction contemplated hereby among the parties.

              Section I I .14 CONFLICTS. In the event of any conflict between the terms of this
 Agreement and the terms of any of the other Loan Documents, the terms of this Agreement shall
 control.

                            [ SIGNATURE PAGE IMMEDIATELY FOLLOWS]




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                IN WITNESS WHEREOF, Borrower and Lender have caused this Loan and
  Security Agreement to be duly signed and delivered as of the day and year first above written.

                                             BORROWER:

                                             Green Sapphire Holdings Inc., a Delaware
                                             corporation




                                            LENDER:

                                            Global Capital Partners LLC, a Delaware limited
                                            liability company


                                            By:
                                            Name:
                                            Its:




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                                        Acknowledgement


  Access Management SAS acknowledges that the pledge of shares is permitted in accordance with
  the provisions of the charter document and acknowledges the pledge by Green Sapphire Holdings
  Inc. and Lender's security interest in the Collateral consisting of all of the shares of Access
  Management SAS and its rights with respect thereto described in this Agreement.

 Access Management SAS represents and warrants that Access Management SAS owns the
 Property and that such Property owned by Access Management SAS is owned free and clear of
 any and all liens, charges or encumbrances.



                                             Access Management SAS

                                             By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                             Name: - - - - - - - - - - - - - -
                                             1ts:
                                                   ----------------




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                                    Exhibit A

                                  Form of Note

                                  (see attached)




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                                    Exhibit B

                                Form of Guaranty

                                  (see attached)




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                                              Exhibit C

                                           Form of Pledge

                                            (see attached)




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                                         Exhibit D

                                 Description of Properties


    1) One villa and land in St. Barthelemy commonly known as Villa Mona. located at the AE
       3 I 4 plot of 12,760 m2 in Colom bier on the island of SAINT BARTHELEMY (97133).


    2) The AI 220 plot of2,676 m2 located in Saint-Jean on the island of SAINT BARTHELEMY
       (97133).




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                                                                                       EXHIBIT F

                                      Forbearance Agreement


       This Forbearance Agreement (“Agreement “) is made as of June 20, 2023 by and between
Alpha Carta, Ltd. and Proton Green LLC as follows:

        Reference is made to (i) Second Amended and Restated Promissory Convertible Note, dated
as of February 18, 2022, made by Proton Green LLC (the “Company”) in favor of Kips Bay Select
LP in the principal amount of $3,513,469.00 (as amended and as assigned to Alpha Carta, Ltd., the
“Kips Bay Note”), which amended and restated the Amended and Restated Promissory Convertible
Note, dated as of December 23, 2021, made by the Company in favor of Kips Bay Select LP in the
principal amount of $3,513,469.00, which amended and restated the Promissory Convertible Note,
dated as of September 21, 2021, made by the Company in favor of Kips Bay Select LP in the principal
amount of $2,692,308.00; (ii) the Amended and Restated Promissory Convertible Note, dated as of
February 18, 2022, made by the Company in favor of Alpha Carta, Ltd. (“Alpha Carta”) in the
principal amount of $1,846,153.84, (as amended, the “December Note”), which amended and
restated the Promissory Convertible Note, dated as of December 23, 2021, made by the Company in
favor of Alpha Carta in the principal amount of $1,846,153.84; and (iii) the Amended and Restated
Promissory Convertible Note, dated as of February 18, 2022, made by the Company in favor of Alpha
Carta in the principal amount of $4,307,692.31 (as amended, the “January Note”), which amended
and restated the Promissory Convertible Note, dated as of January 11, 2022, made by the Company
in favor of Alpha Carta in the principal amount of $4,307,692.31 (all of such notes collectively, as
amended, the “Notes”) and secured by that certain Leasehold Deed of Trust and Fixture Filing dated
as of ____, 2021 and recorded as document number 2021 – 006949 with the Recorder of Deeds of
Apache County, Arizona on August 9, 2021 and rerecorded dated January 30, 2022 as document
number 2022 – 01394 on February 22, 2022 (“Leasehold Deed of Trust”) and that certain Security
Agreement dated as of December 23, 2021 (“Security Agreement”), as amened by that certain
Amendment Agreement, dated as of April 7, 2022, by and among Kips Bay Select LP, Alpha Carta
and the Company (the “Second Amendment”), and that certain Letter from Alpha Carta to the
Company dated February 1, 2023 and as agreed to in an Affidavit Regarding Loan Documents, dated
February 1, 2023, by the Company (“Affidavit”) .

       Capitalized terms used herein without definition shall have the meanings assigned to them in
the Notes or the other Security Documents as defined therein. The Notes, Leasehold Deed of Trust,
Security Agreement, Security Documents, Securities Purchase Agreements and other Transaction
Documents, along with any amendments thereto, are referred to as the Loan Documents.

       The Company acknowledged defaults or Events of Default as set forth in the Affidavit.

       As of today’s date, the Company has not paid the Notes in full or satisfied or remedied any of
the conditions in the Affidavit.

       Company irrevocably acknowledges and agrees that the following defaults or Events of
Default occurred under the Loan Documents; Failure to pay the Loan in full at the Maturity Date
and dissolution of the Company.
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        Subject to the satisfaction of the conditions set forth below, notwithstanding anything to the
contrary in the Notes and any other of the Security Documents, and subject to the terms and conditions
hereof, Alpha Carta shall forbear from exercising any of its rights and remedies under the Notes, the
other Security Documents, the Loan Documents and applicable law (including without limitation
under the Uniform Commercial Code) as follows:

       (a) Payments. The Company shall make the following payments:

           (1) On or before July 7, 2023, an amount equal to Three Million and 00/100 Dollars
               ($3,000,000.00); and
           (2) On the seventh day of each calendat month thereafter, an amount equal to Two Million
               and 00/100 Dollars ($2,000,000.00) until the Notes are paid in full,.

           All payments shall be applied first to expenses, including attorneys fees, Consultants (as
           hereinafter defined) and other fees, and expenses incurred by Alpha Carta in connection
           with the Loan, this Agreement or preserving or protecting the Collateral, second to
           ourstanding fees due under the Loan Documents, third, to accrued and unpaid interest due
           under the Loan Documents at the interest rate as stated threrein and fourth, to the then
           outstanding principal amount.

           If any portion of the debt is not paid prior to the tenth day following the date when due
           shall be an event of default ("Event of Default").

       (b) Notice of Materal Adverse Change. As required under the Loan Documents, Company
           shall provide written notice of any material adverse change to the business, the leases, or
           the financial condition of the Company within two (2) days of the occurrence of any such
           event.

       (c) In addition to the reporting required under the Loan Documents, Company shall provide
           to Alpha Carta the following reports:

           (1) volume production reports from each well at the property on a weekly basis by
               Wednesday of the following week
           (2) Accounts Receivable schedule on a monthly basis within ten (10) days of the end of
               each calendar month
           (3) report of payment of royalties, working interest or volume production payments made
               with each party and the amount so specified on a monthly basis within ten (10) days
               of the end of each calendar month
           (4) income statement on a monthly basis within ten (10) days of the end of each calendar
               month

       (d) On or before July 7, 2023, Company shall deliver to Alpha Carta (a) evidence reasonably
           satisfactory to Alpha Carta that the Company is in existence and good standing in
           Wyoming and continues to hold good title to the Collateral, along with copies of the
           Company’s organizational documents (including articles of organization and operating



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           agreement) or (b) a plan, reasonably satisfactory to Alpha Carta, for promptly bringing
           the Company into existence and good standing in Wyoming and for holding good title to
           the assets of the Company

       (e) On or before July 20, 2023, Company shall deliver to Alpha Carta a deed in lieu of
           foreclosure in recordable form and satisfactory to Alpha Carta, in its sole discretion, with
           respect to the leases encumbered by that certain Leasehold Deed of Trust.

        A default under the Loan Documents shall occur immediately if Company breaches, or
defaults in the performance of, any of the provisions or obligations of this Agreement. Upon the
occurrence of a default, the agreement of the Alpha Carta to forbear pursuant to the terms hereof
shall immediately terminate without notice to the Company, and Alpha Carta shall be free to
exercise immediately, without notice to the Company, any and all rights and remedies against the
Company provided under the Loan Agreement, the other Loan Documents and applicable law. In
addition, Company waives presentment, demand, notice of default or any other notice of any kind.

        Alpha Carta hereby reserves all rights and remedies available to it at law or equity, including
without limitation pursuant to Article IV of the Leasehold Deed of Trust or pursuant to the Notes or
any other Security Documents, including, but not limited to (a) taking such steps as may be
appropriate to foreclose the lien created by the Leasehold Deed of Trust to secure payment or
performance of all or any part of the obligations under the Loan Documents, (b) reducing any claim
against Company to judgment to the fullest extent permitted by the Loan Documents or (c) exercising
any and all other rights or remedies afforded by the Notes, Leasehold Deed of Trust, Security
Agreement or the other Loan Documents, or at law or in equity or otherwise, including without
limitation, seeking the appointment of a receiver.

        In addition to any other rights and remedies available to Alpha Carta under the Loan
Documents or applicable law upon the occurrence of a default hereunder or under the Loan
Documents, Company agrees, acknowledges, consents and stipulates that the occurrence of the
default constitutes and provides the requisite cause under any applicable law, including the laws
of State of Arizona, justifying the immediate recordation of the deed in lieu of foreclosure.
Company further stipulates and agrees that upon the occurrence of a default, it waives and is
estopped from asserting any defenses to the immediate recordation of the deed in lieu of
foreclosure.

       In addition to any other rights and remedies available to Alpha Carta under the Loan
Documents or applicable law upon the occurrence of a default hereunder, Company agrees,
acknowledges, consents and stipulates that the occurrence of the default constitutes and provides
the requisite cause under any applicable law, including the laws of State of Arizona, justifying the
immediate appointment of a receiver to, among other things, manage the business and affairs of
Company. Company further stipulates and agrees that upon the occurrence of a default, it waives
and is estopped from asserting any defenses to the immediate appointment of a receiver.

       Notwithstanding anything to the contrary in this Agreement, the Loan Documents or
applicable law, if any payment made to, or other amount of value received by, Alpha Carta on



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account of the Obligations or Indebtedness is avoided, rescinded, set aside, or must otherwise be
returned by Alpha Carta, or a demand for any of the foregoing is made, whether in a case under
the Bankruptcy Code, or a similar proceeding under any otherwise applicable law, the indebtedness
or obligations intended to be repaid or satisfied thereby shall be reinstated (the “Reinstated
Amount”), along with any liens or mortgages securing such Reinstated Amount, without any
further action by any Party and shall be enforceable against each of the Companys and the
Collateral.

        Company waives, to the fullest extent permitted by law, the benefit of all appraisement,
valuation, stay, extension, reinstatement and redemption laws now or hereafter in force and all
rights of marshalling in the event of any sale hereunder of the Property or any part thereof or any
interest therein. Further, Company hereby expressly waives any and all rights of redemption from
sale under any order or decree of foreclosure on behalf of Company, and on behalf of each and
every person acquiring any interest in or title to the Property subsequent to the date of this
Agreement and on behalf of all persons to the extent permitted by applicable law.

        Company waives the right to assert a counterclaim, other than a compulsory counterclaim,
in any action or proceeding brought against it by Alpha Carta or its agents.

        Company waives and relinquishes to the fullest extent permitted by law, any and all rights
to assert any claim or otherwise contest, oppose, impair, limit or file any pleading in opposition to
and is estopped from contesting any action brought by Alpha Carta to exercise any of its rights
or remedies unser the Loan Documents.

        Company acknowledges that as a consequence of the existing defaults and the terms of the
Loan Documents and this Agreement, Alpha Carta is entitled to enforce its remedies with regard
to the Collateral under Article 9 of the UCC or otherwise without notice to Company, such notice
having been waived and relinquished. Company consents to Alpha Carta’s acceptance of the
Collateral in full or partial satisfaction of the Indebtedness, as determined by Alpha Carta pursuant
to a writing Alpha Carta delivers to Company, with the amount of the indebtedness satisfied to be
determined by Alpha Carta at the time of acceptance.

        Company will cooperate fully with representatives of any consultant, financial advisor or
similar entity or person (a “Consultant”) engaged by Alpha Carta to assess and address matters
germane to Company's performance under the Loan Documents, including, without limitation, any
business operations. Companys further agree that they shall pay the fees and expenses of any
Consultant.

        In the event of the filing of any petition for bankruptcy relief filed by or against Company
(a “Bankruptcy Filing”), Company consents to the entry of an order granting Alpha Carta relief
from the automatic stay of Section 362 of the Bankruptcy Code and shall not assert or request any
other party to assert that the automatic stay provided by Section 362 of the Bankruptcy Code shall
operate or be interpreted to stay, interdict, condition, reduce, or inhibit the ability of Alpha Carta
to enforce any rights it has under the Loan Documents or any other rights Alpha Carta has against
Company or against any property owned by any Company. Without limiting the generality of the


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foregoing, Company acknowledges and agrees, and is estopped from contesting, that cause for
relief from the automatic stay shall exist if Company is subject to a Bankruptcy Filing.

        Company, on its own behalf and on behalf of its respective representatives, partners,
agents, employees, servants, officers, directors, shareholders, subsidiary, affiliated and related
companies, heirs, successors and assigns (collectively, the “Borrowing Group”) hereby releases
and forever discharges Alpha Carta, and its officers, directors, subsidiary, affiliated and related
companies, agents, consultants, attorneys, servants, employees, shareholders, representatives,
successors and assigns (collectively, the “Alpha Carta Group”) of and from all manner of actions,
cause and causes of action, suits, debts, sums of money, accounts, reckonings, bonds, bills,
specialties, covenants, contracts, controversies, agreements, promises, obligations, liabilities,
costs, expenses, losses, damages, judgments, executions, claims and demands of whatsoever kind
or nature, in law or in equity, whether known or unknown, concealed or hidden, foreseen, or
unforeseen, contingent or actual, liquidated or unliquidated, arising out of or relating to any of the
Loan Documents, the transactions relating thereto, this Agreement, the transactions contemplated
in this Agreement, and/or any financial accommodations extended or denied by Alpha Carta to
Companys, that any of the Borrowing Group, jointly or severally, have had, now have or hereafter
can, shall or may have against the Alpha Carta Group, directly or indirectly, through the date
hereof. Company acknowledges and agrees that Alpha Carta is specifically relying upon the
representations, warranties, covenants and agreements contained herein and that such
representations, warranties, covenants and agreements constitute a material inducement to Alpha
Carta entering into this Agreement and the transactions contemplated herein. Company represents
and warrants to Alpha Carta and the Alpha Carta Group that the Borrowing Group has not
assigned, conveyed or otherwise transferred, either directly or indirectly, in whole or in part, any
of the claims against the Alpha Carta Group to be released herein.

        Company agrees to indemnify and hold each entity in the Alpha Carta Group harmless with
respect to any and all liabilities, claims, obligations, losses, penalties, actions, judgments, suits,
costs, expenses or disbursements of any kind or nature whatsoever incurred by each entity in the
Alpha Carta Group, or any of them, whether direct, indirect or consequential, as a result of or
arising from or relating to any proceeding, whether threatened or initiated, asserting any claim for
legal or equitable remedy under any statutes, regulations or common law principles arising from
or in connection with the negotiation, preparation, execution, delivery, performance,
administration and enforcement of the Loan Documents, this Agreement or any other document
executed in connection herewith. The foregoing indemnity shall survive the payment in full of the
obligations owed to Alpha Carta and the termination of this Agreement and the Loan Documents.

        Company irrevocably (i) consents to this Agreement; (ii) ratifies, reaffirms and
acknowledges full liability for all of the obligations under the Loan Documents (“Obligations”),
including the amount of the indebtedness, the respective payments and performance obligations,
contingent or otherwise, under the Loan Documents and any subordination agreements and
intercreditor agreements relating to the indebtedness or the obligations; (iii) ratifies and reaffirms
and acknowledges full liability and enforceability for all security interests, mortgages, and liens
granted for the benefit of Alpha Carta and confirms and agrees that such security interests,
mortgages, and liens hereafter secure all of the Obligations and the full amount of the indebtedness,



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(iv) acknowledges and agrees that except as set forth herein, each of the Loan Documents remains
in full force and effect and is hereby ratified and reaffirmed, (v) reaffirms, remakes as true as of
the date hereof and ratifies each of the representations, warranties and covenants in the Loan
Documents, (vi) acknowledges and agrees that it has no setoffs, defenses, crossclaims, demands,
counterclaims or rights that can be asserted to or, if asserted would, impair or otherwise limit or
reduce Alpha Carta’s rights under the Loan Documents or to seek affirmative relief or damages
against Alpha Carta, (vii) acknowledges and agrees that in entering into this Agreement it is not
relying upon any statement, representation or action of Alpha Carta or its agents, (viii)
acknowledges and agrees that Alpha Carta has a duly perfected first priority security interest in
and lien upon all of the Collateral; (ix) agrees, covenants and acknowledges that, except as
expressly set forth herein, the execution of this Agreement shall not operate as a waiver or
modification of any right, power or remedy of Alpha Carta, constitute a waiver of any defaults or
other provision of any of the Loan Documents or serve to effect a novation of any Obligations
owed to Alpha Carta or any Loan Document; and (x) acknowledges that any obligations of Alpha
Carta under this Agreement are in the nature of a conditional forbearance only, and that Alpha
Carta has made no agreement or commitment to provide additional forbearance, to modify further
or to extend the Loan Documents.

     WAIVER OF JURY TRIAL. EACH OF THE PARTIES HERETO IRREVOCABLY
WAIVES ANY AND ALL RIGHT IT MIGHT HAVE TO A TRIAL BY JURY IN ANY
ACTION, PROCEEDING OR CLAIM OF ANY NATURE RELATING TO THIS
AGREEMENT, THE LOAN AGREEMENT, ANY OF THE LOAN DOCUMENTS OR
ANY TRANSACTION CONTEMPLATED IN ANY OF SUCH DOCUMENTS. EACH OF
THE PARTIES ACKNOWLEDGES AND AGREES THAT THE FOREGOING WAIVER
IS KNOWING AND VOLUNTARY.

       Company acknowledges that: (a) it has been represented by counsel of their own choosing
throughout the negotiation, preparation and execution of this Agreement; (b) it has exercised
independent judgment with respect the negotiation, preparation and execution of this Agreement,
and the consummation of the transactions contemplated hereby; and (c) it has not relied upon
Alpha Carta or on counsel for Alpha Carta for any advice with respect to the negotiation,
preparation or execution of this Agreement; any principle of contract construction which favors or
disfavors the party whose attorneys have drafted a contract or a provision thereof shall not be
applied to this Agreement.

        This Agreement, the Loan Agreement and the Loan Documents contain the final, complete
and exclusive expression of the understandings by and between the Company and the Alpha Carta
with respect to the subject matter of this Agreement.

       Company acknowledges and agrees that the benefits to it as a result of this Agreement are
substantial and of great value and that such benefits are new and are sufficient and reasonably
equivalent consideration for each and every one of their respective obligations and agreements
under this Agreement.




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       Company shall promptly execute and/ordeliver any other agreements or documents and
take such other actions Alpha Carta deems necessary, in the exercise of its sole discretion, to
achieve the objectives of this Agreement.

        Company acknowledges that Alpha Carta has acted at all times only as a creditor to
Company within the normal and usual scope of the activities normally undertaken by a creditor
and in no event has Alpha Carta attempted to exercise any control over Company or its business
or affairs. Company acknowledges and agrees that at no time shall Alpha Carta owe any fiduciary
or other enhanced duty to Company and Company disavows the existence of creation of a fiduciary
or enhanced duty, particularly when Alpha Carta is exercising any of the rights granted pursuant
to this Agreement or the Loan Documents.

        This Agreement may be executed in any number of counterparts and by the different parties
hereto on separate counterparts, each complete set of which, when so executed and delivered by
the parties, constituting an original but all such counterparts together constituting but one and the
same instrument. Delivery of an executed counterpart of a signature page to this Agreement by
facsimile or electronic transmission shall be effective as delivery of a manually executed
counterpart. Any party so executing this Agreement by facsimile shall promptly deliver a
manually executed counterpart, provided that any failure to do so shall not affect the validity of
the counterpart executed by facsimile transmission.

        In witness whereof, the undersigned have executed this Forbearance Agreement as of the
date first above written

                                              Alpha Carta, Ltd.

                                                      By:
                                                      Name:
                                                      Title:


                                              Proton Green LLC

                                                      By:
                                                      Name:     Steven E. Looper
                                                      Title:    Managing Member




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                                                                     EXHIBIT G
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                                                                    EXHIBIT H
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                                                                                   EXHIBIT I

Breakers Beach Club Loan        Disbursement


      Loan Amount               $ 2,900,000.00

      Legal Fees                $     7,231.11

      Net Loan Proceeds         $ 2,892,768.89

      Disbursements

      Alpha Carta               $ 2,000,000.00

      Salazar                   $   750,000.00

      Global Capital Partners   $   142,768.89   Balance of $250,000 was from Access Management Loan

      SubTotal                  $ 2,892,768.89
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                                                                                         EXHIBIT J

                                    Loan Settlement Agreement
       This Loan Settlement Agreement (“Agreement”) is made by and between Alpha Carta,
Ltd. (“Lender”) and Proton Green LLC, a Wyoming limited liability company (“Borrower”) as
of September __, 2023 (the “Effective Date”).
        Whereas, Lender, directly and as successor in interest, has made a loan to Borrower in the
original aggregate amount of Nine Million Six Hundred Sixty-Seven Thousand Three Hundred
Fifteen and 15/100 Dollars ($9,667,315.15) (the “Loan”).
         Whereas, the Loan is evidenced by (i) Second Amended and Restated Promissory Convertible
Note, dated as of February 18, 2022, made by Borrower in favor of Kips Bay Select LP in the principal
amount of $3,513,469.00 (as amended and as assigned to Lender, the “Kips Bay Note”), which
amended and restated the Amended and Restated Promissory Convertible Note, dated as of December
23, 2021, made by the Borrower in favor of Kips Bay Select LP in the principal amount of
$3,513,469.00, which amended and restated the Promissory Convertible Note, dated as of September
21, 2021, made by the Borrower in favor of Kips Bay Select LP in the principal amount of
$2,692,308.00; (ii) the Amended and Restated Promissory Convertible Note, dated as of February 18,
2022, made by the Borrower in favor of Lender in the principal amount of $1,846,153.84, (as
amended, the “December Note”), which amended and restated the Promissory Convertible Note,
dated as of December 23, 2021, made by the Borrower in favor of Lender in the principal amount of
$1,846,153.84; and (iii) the Amended and Restated Promissory Convertible Note, dated as of
February 18, 2022, made by the Borrower in favor of Lender in the principal amount of $4,307,692.31
(as amended, the “January Note”), which amended and restated the Promissory Convertible Note,
dated as of January 11, 2022, made by the Borrower in favor of Lender in the principal amount of
$4,307,692.31 (all of such notes collectively, as amended, the “Notes”) and secured by that certain
Leasehold Deed of Trust and Fixture Filing dated as of ____, 2021 and recorded as document number
2021 – 006949 with the Recorder of Deeds of Apache County, Arizona on August 9, 2021 and
rerecorded dated January 30, 2022 as document number 2022 – 01394 on February 22, 2022
(“Leasehold Deed of Trust”) and that certain Security Agreement dated as of December 23, 2021
(“Security Agreement”), as amended by that certain Amendment Agreement, dated as of April 7,
2022, by and among Kips Bay Select LP, Lender and the Borrower (the “Second Amendment”), and
that certain Letter from Lender to the Borrower dated February 1, 2023 and as agreed to in an Affidavit
Regarding Loan Documents, dated February 1, 2023, by the Borrower (“Affidavit”).
      Whereas, the Loan is in default as numerous Events of Default have occurred, and the
Borrower has acknowledged such Events of Default.
        Whereas, Borrower and Lender have entered into that certain Forbearance Agreement dated
as of June 20, 2023 (the “Forbearance Agreement”).
       Whereas, Borrower has made the initial payment as required under the Forbearance
Agreement in the amount of Three Million and 00/10 Dollars ($3,000,000), but such payment was
not made on a timely basis.
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      Whereas, Borrower has made the second payment as required under the Forbearance
Agreement in the amount of Two Million and 00/10 Dollars ($2,000,000), but such payment was not
made on a timely basis.
        Whereas, Borrower has not complied with the terms of the Forbearance Agreement by, among
other events, not tendering to Lender the deed in lieu of foreclosure for the Leasehold Deed of Trust.
          Whereas, Borrower and Lender wish to resolve and settle any differences between them.
          Now, therefore, Borrower and Lender agree as follows:
        1.      Indebtedness under the Loan. The Parties hereby acknowledge that as of July 31,
2023, the amount due and payable under the Loan, including all interest, fees, costs and expenses
      1

arising thereunder or relating thereto is in the amount of Twenty-Six Million Eight Hundred Fifty-
One Thousand One Hundred Eighty-Five and 72/100 Dollars ($26,851,185.72) (the “Remaining
Indebtedness”), and that such amount is not subject to any Borrower’s claims, offsets, demands,
damages, suits, assertions, cross-complaints, causes of action or debts of any kind or nature
whatsoever, whether known or unknown, and whenever or howsoever arising, that can be asserted
to reduce or eliminate the Borrower’s liability to repay the Remaining Indebtedness or seek any
affirmative relief or damages of any kind and or nature (collectively, the “Offsets”) from Lender
or its Affiliates (defined below). To the extent such Offsets exist, they are fully, forever and
irrevocably waived and released by Borrower.
          2.     Payment by Borrower.
          Borrower shall pay Lender (the “Settlement Consideration”) an amount equal to [Twenty-
          Two Million and 00/100 Dollars] as follows:
           a. Buyer shall pay Lender the sum of Five Million and 00/100 Dollars ($5,000,000.00)
              payable on the Effective Date concurrently with the execution of this Agreement (the
              “Cash Portion”).
           b. On the Effective Date, Borrower shall grant to Lender a five percent (5%) overriding
              royalty interest (the “ORRI”) pursuant to a conveyance document in the form as set
              forth on Exhibit A (the “ORRI Conveyance”), which ORRI shall terminate upon the
              receipt by Seller of [Sixteen Million and 00/100 Dollars ($16,000,000)]2 under the
              ORRI Conveyance. The ORRI Conveyance shall be duly recorded in the appropriate
              jurisdiction.3 [It shall be a breach of this paragraph 2(b) if the aggregate total of
              $17,000,000 is not received by Lender by the __ year anniversary of the Effective
              Date.]


1 Should this be updated to August 31, 2023 or the Effective Date?


2 Increase this to capture more of the total amount owed as of the Effective Date?


3 The current draft of ORRI Conveyance is not in recordable form.
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          c. All payments shall be made by wire transfer to an account designated by Lender. The
             Settlement Consideration is in addition to any payment or payments previously made
             by or on behalf of Borrower.
          d. In order to secure Lender’s rights hereunder, upon the Effective Date, Borrower shall
             deliver to Lender a deed in lieu of foreclosure in recordable form and satisfactory to
             Lender, in its sole discretion, with respect to the leases encumbered by the Leasehold
             Deed of Trust (the “Deed in Lieu of Foreclosure”).
        3.      Satisfaction of the Loan. Lender agrees to accept the Settlement Consideration in
full satisfaction of the Loan and the Remaining Indebtedness. Subject to paragraph 7 hereof,
Lender agrees that (a) from and after the date of this Agreement, no interest, fees, costs or expenses
on the Loan and Remaining Indebtedness shall accrue, and (b) as of the date of the payment of the
Settlement Consideration in full (including future payments with respect to the ORRI in
accordance with paragraph 2(b) and the ORRI Conveyance), (i) the Loan shall be deemed paid in
full by the Borrower, and (ii) Lender shall deliver a recordable release of the Leasehold Deed of
Trust.4
        4.     Taxes. Each Party shall be solely responsible for, and is legally bound to make
payment of, any taxes determined to be due and owing (including penalties and interest related
thereto) by it to any federal, state or local taxing authority as a result of the Settlement
Consideration.
        5.      Protective Covenants. Until the amounts payable under the ORRI Conveyance (and
paragraph 2(b) hereof) have been paid in full, Borrower shall not (a) make any changes in the
operation of the business of the Borrower, which involves the production of minerals or gases from
the leaseholds, or (b) grant any other royalty interests or working interests in the minerals or gases
to be extracted from the leaseholds without the prior written consent of Lender. In addition, until
the amounts payable under the ORRI Conveyance (and paragraph 2(b) hereof) have been paid in
full, Borrower shall maintain the leaseholds in good standing.

         6.      Mutual Release. The Parties, on behalf of themselves, and on behalf of their
predecessors, successors, direct and indirect parent companies, direct and indirect subsidiary
companies, companies under common control with any of the foregoing, affiliates and assigns,
and its and their past, present and future officers, directors, shareholders, interest holders,
members, partners, attorneys, agents, employees, managers, representatives, assigns and
successors in interest, and all persons acting by, through, under or in concert with them
(collectively and each of them, the “Affiliates”) hereby release and discharge the other Party and
its Affiliates from any and all known or unknown charges, complaints, claims, grievances,
liabilities, obligations, promises, agreements, controversies, damages, actions, causes of action,
suits, rights, demands, costs, losses, debts, penalties, fees and expenses (including Offsets and
attorneys’ fees and costs actually incurred), of any nature whatsoever, known or unknown, which
either Party has, or may have had, against the other Party, whether or not apparent or yet to be


4 I do not believe that there are original, paper Notes, which were originally delivered electronically.
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discovered, or which may hereafter develop and for any acts or omissions related to or arising from
the Loan (the “Claims”); provided, however, that for the avoidance of doubt the foregoing release
and discharge excludes any Claims arising out of or relating to (i) any default under or breach of
any provision, agreement, obligation or covenant under this Agreement or the ORRI Conveyance,
or (ii) the investment and purchase by Green Sapphire Holdings, Inc. (“Green Sapphire”) of
interests in Borrower or any rights or Claims that Green Sapphire may have as a member of
Borrower that do not arise out of or relate directly to the Loan (collectively, the “Excluded
Claims”).

        This Agreement resolves any Claim or cause of action for relief related to or arising from
the Loan that is, or could have been alleged, no matter how characterized, including, without
limitation, compensatory damages, damages for breach of contract, bad faith damages, reliance
damages, liquidated damages, costs and attorneys’ fees.

         7.      In the event of a default under or breach of any provision, agreement, obligation or
covenant under this Agreement or the ORRI Conveyance by Borrower, the settlement and release
of the Loan pursuant to this Agreement shall be null and void and no force and effect, the Loan
and the indebtedness, including principal and accrued interest, fees and other amounts due under
the Loan, shall be deemed reinstated for all purposes, and Lender may apply any payments
received to interest, principal, default interest, fees and/or costs as Lender in its sole discretion
determines. Until such time as the Settlement Consideration in full (including the full payment of
the maximum amount of payments payable with respect to the ORRI in accordance with paragraph
2(b) and the ORRI Conveyance) is received, Lender hereby reserves all rights and remedies
available to it at law or equity, including without limitation pursuant to Article IV of the Leasehold
Deed of Trust or pursuant to the Notes or any other Security Documents, including, but not limited to
(a) taking such steps as may be appropriate to foreclose the lien created by the Leasehold Deed of
Trust to secure payment or performance of all or any part of the obligations under the Loan
documents, (b) reducing any claim against Borrower to judgment to the fullest extent permitted by
the Loan Documents, (c) exercising any and all other rights or remedies afforded by the Notes,
Leasehold Deed of Trust, Security Agreement or the other Loan Documents, or at law or in equity or
otherwise, including without limitation, seeking the appointment of a receiver, or (d) exercise any and
all rights under the ORRI Conveyance and Lender shall not be obligated to release or terminate the
ORRI.

        In addition to any other rights and remedies available to Lender under the Loan documents,
ORRI Conveyance or applicable law upon the occurrence of a default hereunder or under the Loan
documents or ORRI Conveyance, Borrower agrees, acknowledges, consents and stipulates that the
occurrence of the default constitutes and provides the requisite cause under any applicable law,
including the laws of State of Arizona, justifying the immediate recordation of the Deed in Lieu
of Foreclosure. Borrower further stipulates and agrees that upon the occurrence of a default, it
waives and is estopped from asserting any defenses to the immediate recordation of the Deed in
Lieu of Foreclosure.

       8.     Reinstatement of Indebtedness. If the Settlement Consideration, or any part of the
Settlement Consideration (including any amounts payable in accordance with paragraph 2(b) and
the ORRI Conveyance), is set aside, rescinded, recovered, or required to be returned by Lender for
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any reason, including, without limitation, the bankruptcy, insolvency, or reorganization of any
person: (a) the Loan and the indebtedness, including principal and accrued interest, fees and other
amounts due under the Loan shall for all purposes be reinstated to the extent of any such amount
returned; and (b) in the case of the bankruptcy, receivership or other reorganization of Borrower,
the Loan and the indebtedness, including principal and accrued interest, fees and other amounts
due under the Loan, shall be reinstated in full for purposes of any claim or defense of Lender in
any such proceeding.

       9.      Governing Law. This Agreement is made and entered into within and shall be
governed by, construed, interpreted and enforced in accordance with the laws of the State of Texas,
without regard to the principles of conflicts of laws.

       10.     Entire Agreement. The recitals set forth at the beginning of this Agreement are
incorporated by reference and made a part of this Agreement. This Agreement constitutes the entire
agreement and understanding of the Parties and supersedes all prior negotiations and/or
agreements, proposed or otherwise, written or oral, concerning the subject matter hereof.
Furthermore, no modification of this Agreement shall be binding unless in writing and signed by
each of the Parties hereto.
       11.     Counterparts. This Agreement may be executed by the Parties in counterparts, each
of which shall be deemed an original, but all of which together shall constitute one and the same
instrument.
       12.     Binding Agreement. The Parties intend this Agreement to be legally binding upon
and shall inure to the benefit of each of them and their respective successors, assigns, executors,
administrators, heirs and estates.
        13.     Authority to Execute Agreement. Each Party warrants and represents that the
person signing this Agreement on its behalf has authority to bind that Party and that the Party’s
execution of this Agreement is not in violation of any by-law, operating agreements, covenants
and/or other restrictions placed upon them by their respective organizational documents or any
other agreements with or among their owners. Each Party represents and warrants to the other
Party, as to any released Claim, that it is the sole and absolute owner thereof, free and clear of all
the rights and interest of any other person therein, and that it has the right and authority to release
each such released Claim.
        14.      Further Assurances. Each party shall do and perform, or cause to be done and
performed, all such further acts and things, and shall execute and deliver all such other agreements,
certificates, instruments and documents, as the other party may reasonably request in order to carry
out the intent and accomplish the purposes of this Agreement and the consummation of the
transactions contemplated hereby.
                              [ Signature Page Immediately Follows ]
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        In witness whereof, the undersigned have executed this Loan Settlement Agreement as of
the date first above written.
                                           Alpha Carta, Ltd.


                                           By:
                                           Name:
                                           Title:


                                           Proton Green LLC


                                           By:
                                           Name:
                                           Title:
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                                              Exhibit A
                      Form of Conveyance of Overriding Royalty Interest
Effective [ ________________________ ] (the “Effective Date”), for and in consideration of good
and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, Proton
Green LLC, a Wyoming limited liability company (“Assignor”) does hereby assign, transfer, grant
and convey to Alpha Carta, Ltd.(“Assignee”), its successors and assigns, as of the Effective Date
at 12:01 a.m. (local time), an overriding royalty interest (the “Overriding Royalty Interest”) in and
to each of the interests described on Exhibit ”A” attached hereto and made a part hereof (the
“Interests”) equal to five percent (5%), up to Sixteen Million and 00/100 Dollars ($16,000,000.00),
of Assignor’s right, title and interest in the Interests which were acquired by Assignor by virtue of
the assignments and/or agreements set forth on Exhibit “A” attached hereto and by this reference
made a part hereof (the “Conveyances”). This Conveyance of Overriding Royalty Interest is
subject to the terms and conditions of that certain Loan Settlement Agreement. In the event of a
conflict between the terms of this Conveyance of Overriding Royalty Interest and the terms of the
Loan Settlement Agreement, the terms of the Loan Settlement Agreement shall control.
Assignor is entitled, through the assignments and agreement identified in Exhibit “A”, to a portion
of the overriding royalty interest transferred by the instrument identified on Exhibit “B”, but
Assignor has not acquired record title to that interest. Any record title which Assignor hereafter
acquires in a portion of the overriding royalty interest transferred by the instrument identified on
Exhibit “B”, to which Assignor becomes entitled through the assignments or agreement identified
in Exhibit “A”, shall be considered an Interest for the purpose of this Conveyance of Overriding
Royalty Interest, and the Overriding Royalty Interest herein assigned shall extend to any such
subsequently acquired Interest.
The Overriding Royalty Interest shall be paid in accordance with and in the same manner as the
terms and provisions of the assignments and conveyances in the chain of title out of which the
Overriding Royalty Interest arises. Assignee shall be responsible for and bear all ad valorem,
production, and severance taxes chargeable against the Overriding Royalty Interest, provided that
all such taxes shall be paid for Assignee by Assignor out of production attributable to Assignee’s
Overriding Royalty Interest.
If Assignor owns a working interest, or similar interest, in any properties out of which the Interests
or Overriding Royalty Interest are derived, Assignor may conduct and carry on, or may contract
for, the exploration, development, maintenance and operation of any such properties, in any
manner it so desires, without regard to the Overriding Royalty Interest and without any liability to
Assignee. In addition, Assignor may transfer and dispose of, and may take or omit to take any
other action with respect to, all or any of its Interests from time to time in any such manner. For
the avoidance of doubt, (a) Assignor shall have no obligation to conduct any drilling operations or
take any other action upon or with respect to any property subject to the Overriding Royalty
Interest or lands pooled therewith, or to continue to operate any well or to operate or maintain in
force or attempt to maintain in force any lease thereon, including by payment of delay rentals,
shut-in royalties, compensatory royalties or other payments or by the drilling of any wells upon
any such lease, or in any other manner, and the extent and duration of all operations, as well as the
preservation of any such lease by delay rental payments or otherwise, shall be at the sole discretion
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of Assignor, and (b) Assignor shall have the right at any time to surrender, abandon or otherwise
terminate any such lease in whole or in part without any liability to Assignee.
Assignor shall make all determinations with respect to the exploration, development, maintenance
and operation of any property subject to the Overriding Royalty Interest using the same criteria (or
criteria less favorable to the property subject to the Overriding Royalty Interest) as it would use
were such property not subject to the Overriding Royalty Interest (that is, Assignor shall not favor
properties subject to the Overriding Royalty Interest over properties not subject to the Overriding
Royalty Interest when allocating Assignor’s resources in the exploration, development,
maintenance and operation of its properties).
Assignee grants Assignor the right, without further approval by Assignee, to pool the Overriding
Royalty Interest, or portions thereof, with other lands or leases to form one or more pooled units.
As to each pooled unit so created, the overriding royalty interest assigned to Assignee shall be
reduced in accordance with the terms of any applicable lease, pooling agreement or unit agreement.
This Conveyance of Overriding Royalty Interest shall inure to the benefit of and be binding on the
parties and their respective heirs, legal representatives, successors and permitted assigns. Except
as provided below, Assignee may only transfer or dispose of all or any portion of the Overriding
Royalty Interest (a) with the prior written consent of Assignor, which it may withhold in its sole
discretion, and (b) after allowing Assignor a preferential purchase right on the following terms. If
at any time Assignee desires to transfer or dispose of all or any portion of the Overriding Royalty
Interest, Assignee must first give to Assignor written notice thereof stating: (a) the amount of the
Overriding Royalty Interest offered by Assignee; (b) the form of consideration (which shall be
either cash or a promissory note containing reasonable and customary terms) at which such
Overriding Royalty Interest is offered (the “Offered Price”); (c) the name and address of the
proposed transferee from which Assignee has a bona fide offer to purchase the Overriding Royalty
Interest; (d) the proposed time of closing and payment for the Overriding Royalty Interest; and
(e) any other relevant material terms of the proposed sale. Upon receipt of such notice, Assignor
will have a right to purchase all or any portion of the offered Overriding Royalty Interest within
30 days of receipt of such notice at a purchase price equal to the Offered Price or such other price
as may be agreed upon by Assignor and Assignee.
The restrictions contained in the preceding paragraph shall not apply to Assignee’s transfer of the
entire ownership of the Overriding Royalty Interest to (1) any member of the immediate family of
Assignee (2) any trust or other estate planning entity whose principal beneficiary or beneficiaries
are Assignee and/or one or more members of the immediate family of Assignee or (3) an affiliate
of or entity under the common control of Assignee; provided that, prior to such transfer, the
transferee agrees to be bound in writing by the restrictions on transfer contained herein or in any
assignment, conveyance or other instrument or document executed by Assignee in connection with
Assignee’s purchase of the Overriding Royalty Interest, and that any transfers of interests in such
entity holding the Overriding Royalty Interest shall be subject to the same transfer restrictions as
the Overriding Royalty Interest. Assignee’s heirs, legal representatives, successors and permitted
assigns shall be bound by and comply with said transfer restrictions.
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Assignor makes no, and disclaims any, warranty of title or otherwise as to the Overriding
Royalty Interest. Assignee accepts the Overriding Royalty Interest without warranty of title
or otherwise. Assignor makes no, and disclaims any, warranty of any kind, express or
implied, as to the accuracy or completeness of any data, information or estimates provided
to Assignee by Assignor. Assignor makes no, and disclaims any, warranty of any kind,
express or implied, as to the condition of any equipment, materials or facilities associated
with the Interests (or with any properties out of which the Interests or the Overriding
Royalty Interest are derived), including without limitation any warranty as to
merchantability or fitness for a particular purpose. Assignee acknowledges such disclaimers.
This Conveyance of Overriding Royalty Interest shall be construed in accordance with, and
enforced under, the laws of the State of Texas, without regard to choice of law rules of any
jurisdiction.
        Assignor and Assignee have executed this Conveyance of Overriding Royalty Interest as
of the Effective Date.




 Proton Green LLC, a Wyoming limited Alpha Carta, Ltd
 liability company
 By: _________________________________         By: _________________________________
 Name:                                         Name:
 ________________________________              ________________________________
 Title:                                        Title:
 _________________________________             _________________________________
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                                                                                    EXHIBIT K
                                                                                 Execution Version


NEITHER THE ISSUANCE AND SALE OF THE SECURITIES REPRESENTED BY
THIS CERTIFICATE NOR THE SECURITIES INTO WHICH THESE SECURITIES
ARE CONVERTIBLE HAVE BEEN REGISTERED UNDER THE SECURITIES ACT OF
1933, AS AMENDED, OR APPLICABLE STATE SECURITIES LAWS. THE
SECURITIES MAY NOT BE OFFERED FOR SALE, SOLD, TRANSFERRED OR
ASSIGNED (I) IN THE ABSENCE OF (A) AN EFFECTIVE REGISTRATION
STATEMENT FOR THE SECURITIES UNDER THE SECURITIES ACT OF 1933, AS
AMENDED, OR (B) AN OPINION OF COUNSEL SELECTED BY THE HOLDER, IN A
GENERALLY ACCEPTABLE FORM, THAT REGISTRATION IS NOT REQUIRED
UNDER SAID ACT, OR (II) UNLESS SOLD PURSUANT TO RULE 144 OR RULE 144A
UNDER SAID ACT. NOTWITHSTANDING THE FOREGOING, THE SECURITIES
MAY BE PLEDGED IN CONNECTION WITH A BONA FIDE MARGIN ACCOUNT OR
OTHER LOAN OR FINANCING ARRANGEMENT SECURED BY THE SECURITIES.
ANY TRANSFEREE OF THIS NOTE SHOULD CAREFULLY REVIEW THE TERMS
OF THIS NOTE. THE PRINCIPAL AMOUNT REPRESENTED BY THIS NOTE AND,
ACCORDINGLY, THE SECURITIES ISSUABLE UPON CONVERSION HEREOF MAY
BE LESS THAN THE AMOUNTS SET FORTH ON THE FACE HEREOF.

Reference is hereby made to the Amended and Restated Promissory Convertible Note, dated as of
December 23, 2021, made by the Company in favor of Kips Bay Select LP in the principal amount
of $3,513,469.00 (as amended, the “Prior Note”), which amended and restated the Promissory
Convertible Note, dated as of September 21, 2021, made by the Company in favor of Kips Bay
Select LP in the principal amount of $2,692,308.00 (the “Original Note”). The Company and the
Holder (as defined below) hereby agree that the Prior Note (and the Original Note) shall be
superseded, amended and restated to read in its entirety as follows:

                                     PROTON GREEN LLC

                          SECOND AMENDED AND RESTATED
                          PROMISSORY CONVERTIBLE NOTE

Issuance Date: September 21, 2021                    Principal Amount: U.S. $3,513,469.00
Date of Note: February 18, 2022

                FOR VALUE RECEIVED, Proton Green LLC (formerly known as Plateau
Carbon, LLC) (the “Company”) pursuant to this Second Amended and Restated Promissory
Convertible Note (the “Note”), hereby promises to pay to Kips Bay Select LP, its designee or
registered assigns (the “Holder”), in cash, the principal amount of US $3,513,469.00 (as reduced
pursuant to the terms hereof pursuant to redemption, conversion or otherwise, the “Principal” or
the “Principal Amount”, after giving effect to a 35% original issue discount) on April 7, 2022
(the “Maturity Date”), subject to earlier acceleration, conversion, redemption or otherwise (in
each case in accordance with the terms hereof). Certain capitalized terms used herein are defined
in Section 26. This Note is issued pursuant to that certain Securities Purchase Agreement dated
September 21, 2021, by and among the Company and the Holder (the “Purchase Agreement”),
and capitalized terms not defined herein will have the meanings set forth in the Purchase
Agreement.
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               (1) PAYMENTS OF PRINCIPAL; AMENDMENT FEE; PREPAYMENT.

                (a)     On the Maturity Date, the Company shall pay to the Holder (i) the Principal
Amount in cash, together with (ii) Interest (as defined below) thereon calculated from the date
hereof in accordance with the provisions of this Note, plus (iii) an amendment and extension fee
in the amount of $300,000.00 (the “Amendment Fee”), provided, however, that the Holder shall
have the right in its sole discretion to be repaid with 100% of the proceeds (“Proceeds”) of the
following: (1) sale of the Company’s assets, (2) any merger, sale or other transaction resulting in
the holders of the Company’s Common Stock prior to such merger or other transaction ceasing to
own at least 50% of the Common Stock, (3) issuances of the Company’s Debt, and/or (4) issuances
of the Company’s equity. Notwithstanding the foregoing, (i) in the event that on the Maturity Date
the Company does not have sufficient funds to repay this Note and the Other Notes in full, the
Company shall be prohibited from repaying the Principal Amount, Interest and Amendment Fee
of this Note in full and shall instead repay the Holders of each of the Notes a pro rata portion of
the Principal Amount, Interest and Amendment Fees of each of the Notes based on the proportion
that each of the Notes bears to the aggregate Principal Amount, Interest and Amendment Fee of
all of the Notes, and (ii) unless a Holder of either of the Other Notes declines its right to be repaid
with Proceeds, any Proceeds shall be applied to repay a pro rata portion of the Principal Amount,
Interest and Amendment Fee of each of the Notes based on the proportion that each of the Notes
bears to the aggregate Principal Amount, Interest and Amendment Fee of all of the Notes. All
payments shall be applied first to the Amendment Fee, then to accrued Interest and thereafter to
the Principal Amount.

               (b)     Interest shall accrue on the unpaid Principal Amount outstanding until the
Maturity Date at a rate equal to one and one-half percent (1.5%) per month. The accrued interest
on the Principal Amount of this Note shall not compound, and is referred to herein as the
“Interest”. Such Interest shall be computed for the actual number of days elapsed in a month
consisting of 28, 30 or 31 days, as the case may be.

               (c)     The Company may, at any time and from time to time without premium or
penalty, prepay all or any portion of the outstanding Principal Amount of, and Interest on, and
Amendment Fee of this Note. Any partial payment will be credited first to the Amendment Fee,
then to accrued and unpaid Interest and the balance, if any, to the then outstanding Principal
Amount.

               (2)     RANKING; SECURITY.

              (a)    The parties agree that this Note shall rank (i) pari passu with the
indebtedness under the Other Notes and (ii) senior to all other existing and future debt of the
Company.

               (b)     Payment of this Note and all other obligations, fees, and expenses due to
the Holder pursuant to this Note and the Purchase Agreement (the “Secured Obligations”) will
be secured at all times by (i) valid, enforceable first priority mortgages and/or deeds of trust on
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and covering all real property interests presently owned and hereafter acquired by the Company,
and all assets and personal property relating thereto (the “Mortgaged Properties”), and (ii) valid,
enforceable first priority security interests on and covering all of the other assets of the Company
(the “Other Assets”).

                (c)      Within five (5) business days of a request by the Holder, the Company shall
deliver to the Holder (i) mortgages and/or deeds of trust, in appropriate and recordable form under
Arizona law and reasonably satisfactory in form and substance to the Holder, executed by the
Company, with respect to the Mortgaged Properties (“Deeds of Trust”), which shall create a first
priority lien on such Mortgaged Properties and which shall be promptly recorded in the recorder’s
office of the appropriate county, and (ii) appropriate instruments granting valid, enforceable first
priority security interests on and covering all of the Other Assets, in appropriate and recordable
form and reasonably satisfactory in form and substance to the Holder, executed by the Company,
with respect to the Other Assets (the “Other Instruments” and, collectively with the Deeds of Trust,
the “Security Documents”). Thereafter, the Company shall cause the Mortgaged Properties now
owned or hereafter acquired by it to be subject at all times to a first priority, perfected lien in favor
of the Holder to secure the Secured Obligations, and the Company shall provide any filings and
deliveries reasonably requested by the Holder in connection therewith to perfect the security
interests therein, all in form and substance reasonably satisfactory to the Holder.

               (d)      The Holder acknowledges that the security interests granted in the
Mortgaged Properties and the Other Assets to the Holder to secure the Secured Obligations are
also being granted to the holders of the Others Notes to secure the obligations of the Company
under such Other Notes, and that such all of such security interests shall be for the ratable benefit
of the Holders of all of the Notes. The form and substance of the Security Documents shall reflect
such ratable benefit term.

                (3) CONVERSION OF NOTE. Following the Issuance Date, as set out above, this
Note shall be convertible into shares of Common Stock on the terms and conditions set forth in
this Section 3.

                     (a) Optional Conversion Right. Holder has the right to convert all or part of
the Principal Amount at the Company’s valuation of $250,000,000.00 into fully paid and
nonassessable shares of Common Stock in accordance with Section 3(c), at the Conversion Rate
(as defined below) (the “Conversion Date”). The Company shall not issue any fraction of a share
of Common Stock upon any conversion. If the issuance would result in the issuance of a fraction
of a share of Common Stock, the Company shall round such fraction of a share of Common Stock
up to the nearest whole share. The Company shall pay any and all transfer, stamp and similar taxes
that may be payable with respect to the issuance and delivery of Common Stock upon conversion
of any Conversion Amount. The Holder shall have the right to deliver an effective conversion
notice at any time until 11:59 pm on the chosen date and it shall be immediately effective.

                    (b) Conversion Rate. The number of shares of Common Stock issuable upon
conversion of any Conversion Amount pursuant to Section 3(a) shall be determined by dividing
(x) such Conversion Amount by (y) the Conversion Price (the “Conversion Rate”).
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                           (i) “Conversion Amount” means the sum of the portion of the
    Principal to be converted, redeemed or otherwise with respect to which this determination
    is being made.

                           (ii) “Conversion Price” means $0.0599. Subsequent to the
    effective date of the registration statement registering for resale the Conversions Shares
    and the Warrant Shares pursuant to the Purchase Agreement, if the closing sale price of the
    Common Stock averages less than the then Conversion Price over a period of ten (10)
    consecutive trading days, the Conversion Price shall reset to such average price. If the 10-
    day volume weighted average price of the Common Stock continues to be less than the
    Conversion Price then the Conversion Price should reset to such 10-day average price.

               (c)   Mechanics of Optional Conversion and Adjustment:

                          (i)     Registration; Book-Entry. The Company shall maintain a
                                  register (the “Register”) for the recordation of the holder of
                                  the Note and the Principal amount of the Note held by the
                                  holder (the “Registered Note”). The entries in the Register,
                                  made in good faith, shall be conclusive and binding for all
                                  purposes absent manifest error. The Company and the holder
                                  of the Note shall treat each Person whose name is recorded
                                  in the Register as the owner of the Note for all purposes,
                                  including, without limitation, the right to receive payments
                                  of Principal, if any, hereunder, notwithstanding notice to the
                                  contrary. Upon its receipt of a request to assign or sell all or
                                  part of the Registered Note by the Holder, the Company shall
                                  record the information contained therein in the Register and
                                  issue one or more new Registered Notes in the same
                                  aggregate Principal amount as the Principal amount of the
                                  surrendered Registered Note to the designated assignee or
                                  transferee pursuant to Section 10. Notwithstanding anything
                                  to the contrary in this Section 3(c)(i), the Holder may assign
                                  any Note or any portion thereof to an Affiliate of such Holder
                                  or a Related Fund of such Holder without delivering a
                                  request to assign or sell such Note to the Company and the
                                  recordation of such assignment or sale in the Register (a
                                  “Related Party Assignment”); provided, that (x) the
                                  Company may continue to deal solely with such assigning or
                                  selling Holder unless and until such Holder has delivered a
                                  request to assign or sell such Note or portion thereof to the
                                  Company for recordation in the Register; (y) the failure of
                                  such assigning or selling Holder to deliver a request to assign
                                  or sell such Note or portion thereof to the Company shall not
                                  affect the legality, validity, or binding effect of such
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                                  assignment or sale and (z) such assigning or selling Holder
                                  shall, acting solely for this purpose as a non-fiduciary agent
                                  of the Company, maintain a register (the “Related Party
                                  Register”) comparable to the Register on behalf of the
                                  Company, and any such assignment or sale shall be effective
                                  upon recordation of such assignment or sale in the Related
                                  Party Register. Notwithstanding anything to the contrary set
                                  forth herein, upon conversion of any portion of this Note in
                                  accordance with the terms hereof, the Holder shall not be
                                  required to physically surrender this Note to the Company
                                  unless the Holder has provided the Company with prior
                                  written notice (which notice may be included in a
                                  Conversion Notice) requesting reissuance of this Note upon
                                  physical surrender of this Note. The Holder and the
                                  Company shall maintain records showing the Principal,
                                  converted and the dates of such conversions or shall use such
                                  other method, reasonably satisfactory to the Holder and the
                                  Company, so as not to require physical surrender of this Note
                                  upon conversion.

                          (ii) Intentionally omitted.

                       (iii) Holder may convert any or all of this Note into shares of
    Common Stock at any time.

              (d)     Limitations on Conversions.

                        (i) Beneficial Ownership. In case that the Holder becomes subject to the
           filing or reporting obligations under Regulation 13D-G of the Exchange Act due to
           (i) the conversion of this Note, or any other share issuance hereunder, or (ii) the
           changes to the beneficial ownership of the Holder (together with the Attribution
           Parties) in the Company, including but not limited to the changes to such beneficial
           ownership due to the conversion or share issuance hereunder, the Holder shall
           timely file such schedules or forms with the United States Securities and Exchange
           Commission (the “Commission”) as required under Regulation 13D-G of the
           Exchange Act. For purposes of this paragraph, beneficial ownership and all
           calculations (including, without limitation, with respect to calculations of
           percentage ownership) shall be determined in accordance with Regulation 13D-G
           and the rules and regulations promulgated thereunder. The obligations contained in
           this paragraph shall apply to a successor Holder of this Note. For any reason at any
           time, upon the written or oral request of the Holder, the Company shall within one
           (1) Business Day confirm orally and in writing to the Holder the number of shares
           of Common Stock then outstanding, including by virtue of any prior conversion or
           exercise of convertible or exercisable securities into Common Stock, including,


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               without limitation, pursuant to this Note or securities issued pursuant to the
               Purchase Agreement.

                           (ii) Principal Market Regulation. Unless permitted by the applicable
               rules and regulations of the Principal Market, the Company shall not issue any
               shares of Common Stock upon conversion of this Note if the issuance of such shares
               of Common Stock would exceed the aggregate number of shares of Common Stock
               which the Company may issue upon exercise or conversion (as the case may be) of
               the Note without breaching the Company’s obligations under the rules or
               regulations of the Principal Market (the number of shares which may be issued
               without violating such rules and regulations, the “Exchange Cap”).
               Notwithstanding the foregoing, such limitation shall not apply in the event that the
               Company (A) obtains the approval of its stockholders as required by the applicable
               rules of the Principal Market for issuances of shares of Common Stock in excess of
               such amount or (B) obtains a written opinion from outside counsel to the Company
               that such approval is not required, which opinion shall be reasonably satisfactory
               to the Holder. In the event that any Holder shall sell or otherwise transfer any of
               such Holder’s Note, the Exchange Cap restrictions set forth herein shall continue
               to apply to the Note and such transferee.

                       (e) Disputes. In the event of a dispute as to the number of shares of Common
Stock issuable to the Holder in connection with a conversion of this Note, the Company shall issue
to the Holder the number of shares of Common Stock not in dispute and resolve such dispute in
accordance with Section 16.

                     (f) Automatic Conversion. In the event the Company completes a
Fundamental Transaction or completes a listing of its Common Stock onto a national stock
exchange, Holder agrees to convert the OID into Common Stock of the Company at the Conversion
Price. The remaining Principal Amount, Amendment Fee and Interest will remain outstanding,
unless the Holder elects to convert such Principal Amount, Amendment Fee and Interest into
Common Stock of the Company.

               (4)    The Company hereby covenants and agrees as follows:

                      (a) Sale of Assets. During the thirty (30) days from the date of this Note,
                          with the exception of moving certain of its assets to any of its
                          subsidiaries, the Company shall not sell any material assets.

                      (b) Additional Debt. While this Note is outstanding, the Company shall not
                          incur any additional indebtedness for borrowed money, other than any
                          indebtedness that is Permitted Indebtedness.

               (5)    RIGHTS UPON EVENT OF DEFAULT.



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                        (a) Event of Default. Each of the following events shall constitute an “Event
of Default”; provided, however, that, except in the case of the Events of Default listed in Sections
5(a)(i), or 5(a)(ix) below, the Company shall have five (5) business days after notice of default
from the Holder to cure such Event of Default unless a lesser number of days is required pursuant
to the provisions of this Section 5.

                              (i) Failure to Pay Principal. The Company fails to pay the Principal,
       Amendment Fee or Interest due under this Note or any of the Other Notes at the Maturity
       Date (or the maturity date of any of the Other Notes, if the maturity date under the Other
       Notes is different from the Maturity Date), liquidated damages and other amounts thereon
       when due on the Note or any of the Other Notes, whether at maturity, upon acceleration or
       otherwise.

                               (ii) Conversion and the Shares. The Company (i) fails to issue
       Conversion Shares to the Holder (or announces or threatens in writing that it will not honor
       its obligation to do so) upon exercise by the Holder of the conversion rights of the Holder
       in accordance with the terms of the Note, (ii) fails to transfer or cause its transfer agent to
       transfer (issue) (electronically or in certificated form) any certificate for the Conversion
       Shares issuable to the Holder upon conversion of or otherwise pursuant to the Note as and
       when required by the Note, or (iii) the Company directs its transfer agent not to transfer or
       delays, impairs, and/or hinders its transfer agent in transferring (or issuing) (electronically
       or in certificated form) any certificate for the Conversion Shares issuable to the Holder
       upon conversion of or otherwise pursuant to the Note as and when required by the Note, or
       fails to remove (or directs its transfer agent not to remove or impairs, delays, and/or hinders
       its transfer agent from removing) any restrictive legend (or to withdraw any stop transfer
       instructions in respect thereof) on any certificate for any Conversion Shares issued to the
       Holder upon conversion of or otherwise pursuant to the Note as and when required by the
       Note (or makes any written announcement, statement or threat that it does not intend to
       honor the obligations described in this paragraph) and any such failure shall continue
       uncured (or any written announcement, statement or threat not to honor its obligations shall
       not be rescinded in writing) for five (5) business days after the Holder shall have delivered
       a Notice of Conversion. It is an obligation of the Company to remain current in its
       obligations to its transfer agent. It shall be an Event of Default of the Note, if a conversion
       of the Note is delayed, hindered or frustrated due to a balance owed by the Company to its
       transfer agent. If at the option of the Holder, the Holder advances any funds to the
       Company’s transfer agent in order to process a conversion, such advanced funds shall be
       paid by the Company to the Holder within forty eight (48) hours of a demand from the
       Holder. If Borrower is unable to do so, they shall have an opportunity to cure within five
       (5) business days.

                              (iii) Breach of Agreements and Covenants. The Company breaches
       any material agreement, covenant or other material term or condition contained in the
       Purchase Agreement, the Note or in any agreement, statement or certificate given in writing
       pursuant hereto or in connection herewith or therewith, and such breach results in a material
       adverse effect on the business or assets of the Company.
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                            (iv) Breach of Representations and Warranties. Any representation
    or warranty of the Company made in the Purchase Agreement or the Note, or in any
    agreement, statement or certificate given in writing pursuant hereto or in connection
    herewith or therewith shall be false or misleading in any material respect when made and
    the breach of which has (or with the passage of time will have) a Material Adverse Effect
    on the rights of the Holder with respect to the Note or the Purchase Agreement. In the event
    of such a breach, the Company shall have an opportunity to cure within two (2) business
    days.

                         (v) Receiver or Trustee. The Company or any subsidiary of the
    Company shall make an assignment for the benefit of creditors, or apply for or consent to
    the appointment of a receiver or trustee for it or for a substantial part of its property or
    business, or such a receiver or trustee shall otherwise be appointed. Under such
    circumstances, the Company shall have an opportunity to cure within sixty (60) days.

                           (vi) Judgments. Any money judgment, writ or similar process shall
    be entered or filed against the Company or any subsidiary of the Company or any of its
    property or other assets for more than $100,000, and shall remain unvacated, unbonded or
    unstayed for a period of twenty (20) days unless otherwise consented to by the Holder,
    which consent will not be unreasonably withheld.

                          (vii) Bankruptcy. Bankruptcy, insolvency, reorganization or
    liquidation proceedings or other proceedings, voluntary or involuntary, for relief under any
    bankruptcy law or any law for the relief of debtors shall be instituted by or against the
    Company or any subsidiary of the Company. Under such circumstances, the Company shall
    have an opportunity to cure within sixty (60) days.

                           (viii) Delisting or Trading of Common Stock. The Company shall
    fail to maintain the listing or quotation of its Common Stock minimally on a Trading
    Market.

                           (ix) Failure to Comply with the Exchange Act. The Company shall
    fail to comply with the reporting requirements of the Exchange Act and/or the Company
    shall cease to be subject to the reporting requirements of the Exchange Act.

                         (x) Liquidation. Any dissolution, liquidation, or winding up of
    Borrower or any substantial portion of its business or assets.

                          (xi) Cessation of Operations. Any cessation of operations by
    Borrower or Borrower admits it is otherwise generally unable to pay its debts as such debts
    become due, provided, however, that any disclosure of the Company’s ability to continue
    as a “going concern” shall not be an admission that the Company cannot pay its debts as
    they become due.


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                          (xii) Intentionally omitted.

                          (xiii) Intentionally omitted.

                          (xiv) Other Obligations. The occurrence of any default under any
    agreement or obligation of the Company that is not cured within ten (10) days that could
    reasonably be expected to have a Material Adverse Effect.

                           (xv) Default under Transaction Documents or Other Material
    Agreement. A default or event of default (subject to any grace or cure period provided in
    the applicable agreement, document or instrument) shall occur under (A) this Note, the
    warrant or the securities purchase agreement or any of the other agreements entered into
    by the parties related to the purchase of this Note (collectively, the “Transaction
    Documents”), or (B) the Other Notes or any other material agreement, lease, document or
    instrument to which Company or any Subsidiary is obligated (and not covered by clause
    (vi) below), which in the case of subsection (B) would reasonably be expected to have a
    Material Adverse Effect.

                          (xvi) Default under Mortgage or Other Agreement of Indebtedness.
    Company or any Subsidiary shall default on any of its obligations under any mortgage,
    credit agreement or other facility, indenture agreement, factoring agreement or other
    instrument under which there may be issued, or by which there may be secured or
    evidenced, any indebtedness for borrowed money or money due under any long term
    leasing or factoring arrangement that (a) involves an obligation greater than $100,000,
    whether such indebtedness now exists or shall hereafter be created, and (b) results in such
    indebtedness becoming or being declared due and payable prior to the date on which it
    would otherwise become due and payable.

                          (xvii) Intentionally omitted.

                          (xviii) Failure to Meet the Requirements under Rule 144. Company
    does not meet the current public information requirements under Rule 144.

                           (xix) Failure to Maintain Intellectual Property. The failure by
    Company or any material Subsidiary to maintain any material intellectual property rights,
    personal, real property, equipment, leases or other assets which are necessary to conduct
    its business (whether now or in the future) and such breach is not cured with twenty (20)
    days after written notice to the Company from the Holder.

                          (xx) Trading Suspension. A Commission or judicial stop trade order
    or suspension from a Trading Market.

                          (xxi) Intentionally omitted.



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                             (xxii) Failure to Provide Required Notification of a Material Event.
        A failure by Company to notify Holder of any material event of which Company is
        obligated to notify Holder pursuant to the terms of this Note or any other Transaction
        Document.

                                (xxiii) Invalidity or Unenforceability of Transaction Documents.
        Any material provision of any Transaction Document shall at any time for any reason
        (other than pursuant to the express terms thereof) cease to be valid and binding on or
        enforceable against the Company, or the validity or enforceability thereof shall be
        contested by Company, or a proceeding shall be commenced by Company or any
        governmental authority having jurisdiction over Company or Holder, seeking to establish
        the invalidity or unenforceability thereof, or Company shall deny in writing that it has any
        liability or obligation purported to be created under any Transaction Document.

                                (xxiv) Intentionally omitted.

                         (b) Redemption Right. At any time after the Holder becoming aware of an
Event of Default, the Required Holders may require the Company to redeem (an “Event of Default
Redemption”) all or any portion of the Notes by delivering written notice thereof (the “Event of
Default Redemption Notice”) to the Company, which Event of Default Redemption Notice shall
indicate the portion of this Note and the Other Notes the Required Holders are electing to require
the Company to redeem. Each portion of this Note and the Other Notes subject to redemption by
the Company pursuant to this Section 5(b) shall be redeemed by the Company in cash by wire
transfer of immediately available funds at a price equal to (i) the Principal Amount, plus (ii) all
Interest then accrued on the Principal Amount from the date of the Note to the Event of Default,
plus (iii) the Amendment Fee, plus (iv) interest on the Principal Amount calculated from the Event
of Default at the greater of the Default Interest Rate or the maximum rate permitted under
applicable law (the “Event of Default Redemption Price”), plus (v) liquidated damages of
$750,000, plus (vi) an amount in cash equal to 1% of the Event of Default Redemption Price for
each 30 day period during which redemptions fail to be made; provided, however, in the event that
the Company does not have sufficient funds to pay 100% of the relevant Event of Default
Redemption Price to the Holders of all of the Notes, the Company shall pay a pro rata portion of
the Event of Default Redemption Price to each such Holder based on the proportion that the
Principal Amount of each of the Notes bears to the aggregate Principal Amount of all of the Notes.
To the extent redemptions required by this Section 5(b) are deemed or determined by a court of
competent jurisdiction to be prepayments of the Note by the Company, such redemptions shall be
deemed to be voluntary prepayments. Notwithstanding anything to the contrary in this Section 5,
but subject to Section 3(b)(ii) and 3(d), until the Event of Default Redemption Price payable in
respect of each of the Notes (together with any interest thereon) is paid in full, the Conversion
Amount submitted for redemption under this Section 5(b) (together with any interest thereon) may
be converted, in whole or in part, by the Holder into Common Stock pursuant to Section 3. The
parties hereto agree that in the event of the Company's redemption of any portion of the Note under
this Section 5(b), the Holder's damages would be uncertain and difficult to estimate because of the
parties' inability to predict future interest rates and the uncertainty of the availability of a suitable
substitute investment opportunity for the Holder. Accordingly, any Event of Default redemption
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premium due under this Section 5(b) is intended by the parties to be, and shall be deemed, a
reasonable estimate of the Holder's actual loss of its investment opportunity and not as a penalty.
               (6)    RIGHTS UPON FUNDAMENTAL TRANSACTION.

                       (a) If, at any time while this Note is outstanding, (i) the Company effects a
Fundamental Transaction, then, upon any subsequent conversion of this Note, the Holder shall
have the right to receive, for each Conversion Share that would have been issuable upon such
conversion immediately prior to the occurrence of such Fundamental Transaction, the same kind
and amount of securities, cash or property as it would have been entitled to receive upon the
occurrence of such Fundamental Transaction if it had been, immediately prior to such Fundamental
Transaction, the holder of one (1) share of Common Stock (the “Alternate Consideration”). For
purposes of any such conversion, the determination of the Conversion Price shall be appropriately
adjusted to apply to such Alternate Consideration based on the amount of Alternate Consideration
issuable in respect of one (1) share of Common Stock in such Fundamental Transaction, and the
Company shall apportion the Conversion Price among the Alternate Consideration in a reasonable
manner reflecting the relative value of any different components of the Alternate Consideration. If
holders of Common Stock are given any choice as to the securities, cash or property to be received
in a Fundamental Transaction, then the Holder shall be given the same choice as to the Alternate
Consideration it receives upon any conversion of this Debenture following such Fundamental
Transaction. To the extent necessary to effectuate the foregoing provisions, any successor to the
Company or surviving entity in such Fundamental Transaction shall issue to the Holder a new
debenture consistent with the foregoing provisions and evidencing the Holder’s right to convert
such debenture into Alternate Consideration. The terms of any agreement pursuant to which a
Fundamental Transaction is effected shall include terms requiring any such successor or surviving
entity to comply with the provisions of this Section 6(a) and insuring that this Note (or any such
replacement security) will be similarly adjusted upon any subsequent transaction analogous to a
Fundamental Transaction.

          (7) DISTRIBUTION OF ASSETS; RIGHTS UPON ISSUANCE OF PURCHASE
RIGHTS AND OTHER CORPORATE EVENTS.

                        (a) Distribution of Assets. If the Company shall declare or make any
dividend or other distributions of its assets (or rights to acquire its assets) to any or all holders of
shares of Common Stock, by way of return of capital or otherwise (including without limitation,
any distribution of cash, stock or other securities, property, options, evidence of Indebtedness or
any other assets by way of a dividend, spin off, reclassification, corporate rearrangement, scheme
of arrangement or other similar transaction) (the “Distributions”), then the Holder will be entitled
to such Distributions as if the Holder had held the number of shares of Common Stock acquirable
upon complete conversion of this Note (without taking into account any limitations or restrictions
on the convertibility of this Note) immediately prior to the date on which a record is taken for such
Distribution or, if no such record is taken, the date as of which the record holders of Common
Stock are to be determined for such Distributions and the portion of such Distribution shall be held
in abeyance for the Holder.



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                       (b) Purchase Rights. If at any time the Company grants, issues or sells any
Options, Convertible Securities or rights to purchase stock, warrants, securities or other property
pro rata to the record holders of any class of Common Stock (the “Purchase Rights”), then the
Holder will be entitled to acquire or receive, as applicable, upon the terms applicable to such
Purchase Rights, the aggregate Purchase Rights which the Holder could have acquired if the
Holder had held the number of shares of Common Stock acquirable upon complete conversion of
this Note (without taking into account any limitations or restrictions on the convertibility of this
Note) immediately prior to the date on which a record is taken for the grant, issuance or sale of
such Purchase Rights, or, if no such record is taken, the date as of which the record holders of
shares of Common Stock are to be determined for the grant, issue or sale of such Purchase Rights.

                         (c) Other Corporate Events. In addition to and not in substitution for any
other rights hereunder, prior to the occurrence or consummation of any Fundamental Transaction
pursuant to which holders of shares of Common Stock are entitled to receive securities, cash, assets
or other property with respect to or in exchange for shares of Common Stock (a “Corporate
Event”), the Company shall make appropriate provision to ensure that, and any applicable
Successor Entity or Successor Entities shall ensure that, and it shall be a required condition to the
occurrence or consummation of such Corporate Event that, the Holder will thereafter have the right
to receive upon conversion of this Note at any time after the occurrence or consummation of the
Corporate Event, shares of Common Stock or Successor Capital Stock or, if so elected by the
Holder, cash in lieu of the shares of Common Stock (or other securities, cash, assets or other
property) purchasable upon the conversion of this Note prior to such Corporate Event, such shares
of stock, securities, cash, assets or any other property whatsoever (including warrants or other
purchase or subscription rights and any shares of Common Stock) which the Holder would have
been entitled to receive upon the occurrence or consummation of such Corporate Event or the
record, eligibility or other determination date for the event resulting in such Corporate Event, had
this Note been converted immediately prior to such Corporate Event or the record, eligibility or
other determination date for the event resulting in such Corporate Event (without regard to any
limitations on conversion of this Note). Provision made pursuant to the preceding sentence shall
be in a form and substance satisfactory to the Holder. The provisions of this Section 7 shall apply
similarly and equally to successive Corporate Events.


               (8)     RIGHTS UPON ISSUANCE OF OTHER SECURITIES.

                (A) Adjustment of Conversion Price upon Subdivision or Combination of Common
       Stock. If the Company at any time on or after the Issuance Date subdivides (by any stock
       split, stock dividend, recapitalization or otherwise) one or more classes of its outstanding
       shares of Common Stock into a greater number of shares, the Conversion Price in effect
       immediately prior to such subdivision will be proportionately reduced. If the Company at
       any time on or after the Issuance Date combines (by combination, reverse stock split or
       otherwise) one or more classes of its outstanding shares of Common Stock into a smaller
       number of shares, the Conversion Price in effect immediately prior to such combination
       will be proportionately increased.


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              (B) Voluntary Adjustment by Company. The Company may at any time during the
       term of this Note, with the prior written consent of the Holder, reduce the then current
       Conversion Price to any amount and for any period of time deemed appropriate by the
       Board of Directors of the Company.

               (9) NONCIRCUMVENTION. The Company hereby covenants and agrees that the
Company will not, by amendment of its Certificate of Incorporation, Bylaws or through any
reorganization, transfer of assets, consolidation, merger, scheme of arrangement, dissolution, issue
or sale of securities, or any other voluntary action, avoid or seek to avoid the observance or
performance of any of the terms of this Note, and will at all times in good faith carry out all of the
provisions of this Note and take all action as may be required to protect the rights of the Holder of
this Note.

               (10)    Intentionally omitted.

               (11) VOTING RIGHTS. The Holder shall have no voting rights as the holder of
this Note, except as required by law and as expressly provided in this Note.

               (12)    COVENANTS.

                       (a) Incurrence of Indebtedness. So long as this Note is outstanding, the
Company shall not, and the Company shall not permit any of its Subsidiaries to, directly or
indirectly, incur or guarantee, assume or suffer to exist any Indebtedness, other than Permitted
Indebtedness.

                        (b) Existence of Liens. So long as this Note is outstanding, the Company
shall not, and the Company shall not permit any of its Subsidiaries to, directly or indirectly, allow
or suffer to exist any Liens other than Permitted Liens.

                       (c) Change in Nature of Business. The Company shall not make, or permit
any of its Subsidiaries to make, any change in the nature of its business. The Company shall not
modify its corporate structure or purpose.

                        (d) Intellectual Property. The Company shall not, and the Company shall
not permit any of its Subsidiaries, directly or indirectly, to encumber or allow any Liens on, any
of its own or its licensed copyright rights, copyright applications, copyright registrations and like
protections in each work of authorship and derivative work, whether published or unpublished,
any patents, patent applications and like protections, including improvements, divisions,
continuations, renewals, reissues, extensions, and continuations-in-part of the same, trademarks,
service marks and, to the extent permitted under applicable law, any applications therefor, whether
registered or not, and the goodwill of the business of the Company and its Subsidiaries connected
with and symbolized thereby, know-how, operating manuals, trade secret rights, rights to
unpatented inventions, and any claims for damage by way of any past, present, or future
infringement of any of the foregoing, other than Permitted Liens.


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                        (e) Preservation of Existence, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, its existence, rights and
privileges, and become or remain, and cause each of its Subsidiaries to become or remain, duly
qualified and in good standing in each jurisdiction in which the character of the properties owned
or leased by it or in which the transaction of its business makes such qualification necessary.

                       (f) Maintenance of Properties, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, all of its properties which
are necessary or useful in the proper conduct of its business in good working order and condition,
ordinary wear and tear excepted, and comply, and cause each of its Subsidiaries to comply, at all
times with the provisions of all leases to which it is a party as lessee or under which it occupies
property, so as to prevent any loss or forfeiture thereof or thereunder.

                       (g) Maintenance of Insurance. The Company shall maintain, and cause each
of its Subsidiaries to maintain insurance with responsible and reputable insurance companies or
associations (including, without limitation, comprehensive general liability, hazard, rent and
business interruption insurance) with respect to its properties (including all real properties leased
or owned by it) and business, in such amounts and covering such risks as is required by any
governmental authority having jurisdiction with respect thereto or as is carried generally in
accordance with sound business practice by companies in similar businesses similarly situated.

                        (h) Transactions with Affiliates. The Company shall not, nor shall it permit
any of its Subsidiaries to, enter into, renew, extend or be a party to, any transaction or series of
related transactions (including, without limitation, the purchase, sale, lease, transfer or exchange
of property or assets of any kind or the rendering of services of any kind) with any Affiliate, except
in the ordinary course of business in a manner and to an extent consistent with past practice and
necessary or desirable for the prudent operation of its business, for fair consideration and on terms
no less favorable to it or its Subsidiaries than would be obtainable in a comparable arm's length
transaction with a Person that is not an Affiliate thereof.

                       (i) Corporate Changes. The Company shall not change its corporate name,
legal form or jurisdiction of formation without twenty (20) days’ prior written notice to Holder.
Company shall not enter into or be party to a Fundamental Transaction unless in violation of
Section 6 hereof. Company shall not relocate its chief executive office or its principal place of
business unless it has provided prior written notice to Holder.

                       (j) Reserved.

                       (k) Charter Amendments. The Company shall not amend its charter
documents, including, without limitation, its certificate of incorporation and bylaws, in any manner
that materially and adversely affects any rights of the Holder.

                      (l) Repurchase. The Company shall not repay, repurchase or offer to repay,
repurchase or otherwise acquire more than a de minimis number of shares of its Common Stock


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or common stock equivalents other than as to the Conversion Shares as permitted or required under
the Transaction Documents.

                      (m) Redemption. The Company shall not redeem, defease, repurchase,
repay or make any payments in respect of, by the payment of cash or cash equivalents (in whole
or in part, whether by way of open market purchases, tender offers, private transactions or
otherwise), all or any portion of any Indebtedness (other than the Note if on a pro-rata basis),
whether by way of payment in respect of principal of (or premium, if any) or interest on, such
Indebtedness, the foregoing restriction shall also apply to Permitted Indebtedness from and after
the occurrence of an Event of Default.

                         (n) Declaration. The Company shall not declare or make any dividend or
other distribution of its assets or rights to acquire its assets to holders of shares of Common Stock,
by way of return of capital or otherwise including, without limitation, any distribution of cash,
stock or other securities, property or options by way of a dividend, spin off, reclassification,
corporate rearrangement, scheme of arrangement or other similar transaction.

                        (o) The Company shall not enter into any agreement with respect to any of
the foregoing.

              (13)     TRANSFER. This Note and any shares of Common Stock issued upon
conversion of this Note may be offered, sold, assigned or transferred according to the Purchase
Agreement.

                 (14)   REISSUANCE OF THIS NOTE.

                     (a) Transfer. If this Note is to be transferred, the Holder shall instruct the
Company who the new Holder will be and this Note will be automatically cancelled. The
Company will issue and deliver the new Note within two (2) days of such notice.

                        (b) Lost, Stolen or Mutilated Note. Upon receipt by the Company of
evidence reasonably satisfactory to the Company of the loss, theft, destruction or mutilation of this
Note, and, in the case of loss, theft or destruction, of any indemnification undertaking by the Holder
to the Company in customary form and, in the case of mutilation, upon surrender and cancellation
of this Note, the Company shall execute and deliver to the Holder a new Note (in accordance with
Section 14(d)) representing the then outstanding Principal amount of the Note.

                      (c) Note Exchangeable for Different Denominations. This Note is
exchangeable, upon the surrender hereof by the Holder at the principal office of the Company, for
a new Note or Notes (in accordance with Section 14(d) representing in the aggregate the
outstanding Principal of this Note, and each such new Note will represent such portion of such
outstanding Principal as is designated by the Holder at the time of such surrender.

                      (d) Issuance of New Notes. Whenever the Company is required to issue a
new Note pursuant to the terms of this Note, such new Note (i) shall be of like tenor with this Note,
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(ii) shall represent, as indicated on the face of such new Note, the Principal remaining outstanding
(or in the case of a new Note being issued pursuant to Section 14(a) or Section 14(c), the Principal
designated by the Holder which, when added to the principal represented by the other new Notes
issued in connection with such issuance, does not exceed the Principal remaining outstanding
under this Note immediately prior to such issuance of new Notes), (iii) shall have an issuance date,
as indicated on the face of such new Note, which is the same as the Issuance Date of this Note,
(iv) shall have the same rights and conditions as this Note, and (v) shall represent accrued and
unpaid Interest on the Principal and Interest of this Note, from the Issuance Date.

                (15) REMEDIES, CHARACTERIZATIONS, OTHER OBLIGATIONS,
BREACHES AND INJUNCTIVE RELIEF. The remedies provided in this Note shall be
cumulative and in addition to all other remedies available under this Note and any of the other
Transaction Documents, at law or in equity (including a decree of specific performance and/or
other injunctive relief), and nothing herein shall limit the Holder's right to pursue actual and
consequential damages for any failure by the Company to comply with the terms of this Note.
Amounts set forth or provided for herein with respect to payments, conversion, redemption and
the like (and the computation thereof) shall be the amounts to be received by the Holder and shall
not, except as expressly provided herein, be subject to any other obligation of the Company (or the
performance thereof). The Company acknowledges that a breach by it of its obligations hereunder
will cause irreparable harm to the Holder and that the remedy at law for any such breach may be
inadequate. The Company therefore agrees that, in the event of any such breach or threatened
breach, the Holder shall be entitled, in addition to all other available remedies, to an injunction
restraining any breach, without the necessity of showing economic loss and without any bond or
other security being required.

                (16) PAYMENT OF COLLECTION, ENFORCEMENT AND OTHER COSTS. If
(a) this Note is placed in the hands of an attorney for collection or enforcement or is collected or
enforced through any legal proceeding or the Holder otherwise takes action to collect amounts due
under this Note or to enforce the provisions of this Note or (b) there occurs any bankruptcy,
reorganization, receivership of the Company or other proceedings affecting Company creditors'
rights and involving a claim under this Note, then the Company shall pay the costs and expenses
incurred by the Holder for such collection, enforcement or action or in connection with such
bankruptcy, reorganization, receivership or other proceeding, including, but not limited to,
attorneys' fees and disbursements.

                (17) CONSTRUCTION; HEADINGS. This Note shall be deemed to be jointly
drafted by the Company and the Holder and shall not be construed against any person as the drafter
hereof. The headings of this Note are for convenience of reference and shall not form part of, or
affect the interpretation of, this Note.

                (18) FAILURE OR INDULGENCE NOT WAIVER. No failure or delay on the part
of the Holder in the exercise of any power, right or privilege hereunder shall operate as a waiver
thereof, nor shall any single or partial exercise of any such power, right or privilege preclude other
or further exercise thereof or of any other right, power or privilege.


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                (19) DISPUTE RESOLUTION. In the case of a dispute as to the determination of
the arithmetic calculation of the Conversion Rate, the Conversion Price or any Redemption Price,
the Company shall submit the disputed determinations or arithmetic calculations via facsimile or
electronic mail within one (1) Business Days of receipt, or deemed receipt, of the Conversion
Notice or Redemption Notice or other event giving rise to such dispute, as the case may be, to the
Holder. If the Holder and the Company are unable to agree upon such determination or calculation
within two (2) Business Days of such disputed determination or arithmetic calculation being
submitted to the Holder, then the Company shall, within two (2) Business Days submit via
facsimile or electronic mail the disputed arithmetic calculation of the Conversion Rate, Conversion
Price or any Redemption Price to an independent, outside accountant, selected by the Holder and
approved by the Company, such approval not to be unreasonably withheld, conditioned or delayed.
The Company, at the Company's expense, shall cause the accountant to perform the determinations
or calculations and notify the Company and the Holder of the results no later than five (5) Business
Days from the time it receives the disputed determinations or calculations. Such accountant's
determination or calculation shall be binding upon all parties absent demonstrable error.

               (20)    NOTICES; PAYMENTS.

                        (a) Notices. All notices, demands, requests, consents, approvals, and other
communications required or permitted hereunder shall be in writing and, unless otherwise
specified herein, shall be (i) personally served, (ii) deposited in the mail, registered or certified,
return receipt requested, postage prepaid, (iii) delivered by reputable air courier service with
charges prepaid, or (iv) transmitted by hand delivery, telegram, facsimile, or electronic mail,
addressed as set forth below or to such other address as such party shall have specified most
recently by written notice. Any notice or other communication required or permitted to be given
hereunder shall be deemed effective (a) upon hand delivery or delivery by facsimile, with accurate
confirmation generated by the transmitting facsimile machine, at the address or number designated
below (if delivered on a business day during normal business hours where such notice is to be
received), or the first business day following such delivery (if delivered other than on a business
day during normal business hours where such notice is to be received), or (b) upon receipt, when
sent by electronic mail (provided confirmation of transmission is electronically generated and keep
on file by the sending party), or (c) on the second business day following the date of mailing by
express courier service, fully prepaid, addressed to such address, or upon actual receipt of such
mailing, whichever shall first occur. The addresses for such communications shall be: (i) if to
Borrower, to: Proton Green LLC at 4531 Park Lane, Dallas, Texas 75220, Steven E. Looper,
sel@protongreen.com; (ii) if to the Holder, to: the address and fax number indicated on the
Purchase Agreement. Without limiting the generality of the foregoing, the Company shall give
written notice to the Holder (i) immediately upon any adjustment of the Conversion Price, setting
forth in reasonable detail, and certifying, the calculation of such adjustment and (ii) at least twenty
(20) days prior to the date on which the Company closes its books or takes a record (A) with
respect to any dividend or distribution upon the Common Stock, (B) with respect to any pro rata
subscription offer to holders of Common Stock or (C) for determining rights to vote with respect
to any Fundamental Transaction, dissolution or liquidation, provided in each case that such
information shall be made known to the public prior to or in conjunction with such notice being
provided to the Holder.
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                       (b) Payments. Whenever any payment of cash is to be made by the
Company to any Person pursuant to this Note, such payment shall be made in lawful money of the
United States of America by a check drawn on the account of the Company and sent via overnight
courier service to such Person at such address as previously provided to the Company in writing;
provided, that the Holder may elect to receive a payment of cash via wire transfer of immediately
available funds by providing the Company with prior written notice setting out such request and
the Holder's wire transfer instructions. Whenever any amount expressed to be due by the terms of
this Note is due on any day, which is not a Business Day, the same shall instead be due on the next
succeeding day, which is a Business Day.

               (21) CANCELLATION. After all Principal and other amounts at any time owed on
this Note have been paid in full, this Note shall automatically be deemed canceled, shall be
surrendered to the Company for cancellation and shall not be reissued.

               (22) WAIVER OF NOTICE. To the extent permitted by law, the Company hereby
waives demand, notice, protest and all other demands and notices in connection with the delivery,
acceptance, performance, default or enforcement of this Note.

                 (23) GOVERNING LAW; JURISDICTION; JURY TRIAL. All questions
concerning the construction, validity, enforcement and interpretation of this Note shall be
governed by and construed and enforced in accordance with the internal laws of the State of New
York, without regard to the principles of conflicts of law thereof. The Company agrees that all
legal proceedings concerning the interpretations, enforcement and defense of the transactions
contemplated by this Note (whether brought against the Company, the Holder or their respective
affiliates, directors, officers, shareholders, employees or agents) shall be commenced exclusively
in the state and federal courts sitting in the City of New York, County of New York. The Company
hereby irrevocably submits to the exclusive jurisdiction of the state and federal courts sitting in
the City of New York, Borough of Manhattan for the adjudication of any dispute hereunder or in
connection herewith or with any transaction contemplated hereby or discussed herein, and hereby
irrevocably waives, and agrees not to assert in any suit, action or proceeding, any claim that it is
not personally subject to the jurisdiction of any such court, that such suit, action or proceeding is
improper or is an inconvenient venue for such proceeding. The Company hereby irrevocably
waives personal service of process and consents to process being served in any such suit, action or
proceeding by mailing a copy thereof via registered or certified mail or overnight delivery (with
evidence of delivery) to it at the address in effect for notices to it under the Purchase Agreement
and agrees that such service shall constitute good and sufficient service of process and notice
thereof. Nothing contained herein shall be deemed to limit in any way any right to serve process
in any other manner permitted by law. If the Company or a Holder shall commence an action or
proceeding to enforce any provisions of the Note, then the prevailing party in such action or
proceeding shall be reimbursed by the other party for its reasonable attorneys’ fees and other costs
and expenses incurred with the investigation, preparation and prosecution of such action or
proceeding. IN ANY ACTION, SUIT, OR PROCEEDING IN ANY JURISDICTION
BROUGHT BY ANY PARTY AGAINST ANY OTHER PARTY, THE COMPANY
KNOWINGLY AND INTENTIONALLY, TO THE GREATEST EXTENT PERMITTED
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BY APPLICABLE LAW, HEREBY ABSOLUTELY, UNCONDITIONALLY,
IRREVOCABLY AND EXPRESSLY WAIVES FOREVER TRIAL BY JURY.

                (24) SEVERABILITY. If any provision of this Note is prohibited by law or
otherwise determined to be invalid or unenforceable by a court of competent jurisdiction, the
provision that would otherwise be prohibited, invalid or unenforceable shall be deemed amended
to apply to the broadest extent that it would be valid and enforceable, and the invalidity or
unenforceability of such provision shall not affect the validity of the remaining provisions of this
Note so long as this Note as so modified continues to express, without material change, the original
intentions of the parties as to the subject matter hereof and the prohibited nature, invalidity or
unenforceability of the provision(s) in question does not substantially impair the respective
expectations or reciprocal obligations of the parties or the practical realization of the benefits that
would otherwise be conferred upon the parties. The parties will endeavor in good faith negotiations
to replace the prohibited, invalid or unenforceable provision(s) with a valid provision(s), the effect
of which comes as close as possible to that of the prohibited, invalid or unenforceable provision(s).

               (25) DISCLOSURE. Upon receipt or delivery by the Company of any notice in
accordance with the terms of this Note, unless the Company has in good faith determined that the
matters relating to such notice do not constitute material, nonpublic information relating to the
Company or its Subsidiaries, the Company shall within one (1) Business Day after any such receipt
or delivery publicly disclose such material, nonpublic information on a Current Report on Form
6-K or otherwise. In the event that the Company believes that a notice contains material, nonpublic
information relating to the Company or its Subsidiaries, the Company so shall indicate to such
Holder contemporaneously with delivery of such notice, and in the absence of any such indication,
the Holder shall be allowed to presume that all matters relating to such notice do not constitute
material, nonpublic information relating to the Company or its Subsidiaries.

                (26) CERTAIN DEFINITIONS. For purposes of this Note, the following terms
shall have the following meanings:

                         (a) “Affiliate” means, with respect to any Person, any other Person that
directly or indirectly controls, is controlled by, or is under common control with, such Person, it
being understood for purposes of this definition that “control” of a Person means the power directly
or indirectly either to vote 10% or more of the stock having ordinary voting power for the election
of directors of such Person or direct or cause the direction of the management and policies of such
Person whether by contract or otherwise.

                       (b) “Attribution Parties” means, collectively, the following Persons and
entities: (i) any investment vehicle, including, any funds, feeder funds or managed accounts,
currently, or from time to time after the Issuance Date, directly or indirectly managed or advised
by the Holder's investment manager or any of its Affiliates or principals, (ii) any direct or indirect
Affiliates of the Holder or any of the foregoing, (iii) any Person acting or who could be deemed to
be acting as a Group together with the Holder or any of the foregoing and (iv) any other Persons
whose beneficial ownership of the Company's Common Stock would or could be aggregated with


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the Holder's and the other Attribution Parties for purposes of Regulation 13D-G of the Exchange
Act.

                        (c) “Bloomberg” means Bloomberg Financial Markets.

                        (d) “Closing Date” shall have the meaning ascribed to such term in the
Purchase Agreement.

                         (e) “Closing Bid Price” and “Closing Sale Price” means, for any security
as of any date, the last closing bid price and last closing trade price, respectively, for such security
on the Principal Market, as reported by Bloomberg, or, if the Principal Market begins to operate
on an extended hours basis and does not designate the closing bid price or the closing trade price,
as the case may be, then the last bid price or last trade price, respectively, of such security prior to
4:00 p.m., New York Time, as reported by Bloomberg, or, if the Principal Market is not the
principal securities exchange or trading market for such security, the last closing bid price or last
trade price, respectively, of such security on the principal securities exchange or trading market
where such security is listed or quoted for trading as reported by Bloomberg, or if the foregoing
do not apply, the last closing bid price or last trade price, respectively, of such security in the over-
the-counter market on the electronic bulletin board for such security as reported by Bloomberg,
or, if no closing bid price or last trade price, respectively, is reported for such security by
Bloomberg, the average of the bid prices, or the ask prices, respectively, of any market makers for
such security as reported in the OTC Link or “pink sheets” by OTC Markets Group Inc. (formerly
Pink OTC Markets Inc.). If the Closing Bid Price or the Closing Sale Price cannot be calculated
for a security on a particular date on any of the foregoing bases, the Closing Bid Price or the
Closing Sale Price, as the case may be, of such security on such date shall be the fair market value
as mutually determined by the Company and the Holder. If the Company and the Holder are unable
to agree upon the fair market value of such security, then such dispute shall be resolved pursuant
to Section 19. All such determinations to be appropriately adjusted for any stock dividend, stock
split, stock combination, reclassification or similar transaction during the applicable calculation
period.

                       (f) “Common Stock” the common stock of the Company, par value $0.001
per share, and any other class of securities into which such securities may hereafter be reclassified
or changed.

                      (g) “Convertible Securities” means any stock or securities (other than
Options) directly or indirectly convertible into or exercisable or exchangeable for shares of
Common Stock.

                        (h) “Default Interest Rate” means 18% per annum.

                        (i) “Equity Interests” means (a) all shares of capital stock (whether
denominated as common capital stock or preferred capital stock), equity interests, beneficial,
partnership or membership interests, joint venture interests, participations or other ownership or
profit interests in or equivalents (regardless of how designated) of or in a Person (other than an
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individual), whether voting or non-voting and (b) all securities convertible into or exchangeable
for any of the foregoing and all warrants, options or other rights to purchase, subscribe for or
otherwise acquire any of the foregoing, whether or not presently convertible, exchangeable or
exercisable.

                     (j) “Exchange Act” means the Securities Exchange Act of 1934, as
amended, and the rules and regulations promulgated thereunder.

                        (k) “Fundamental Transaction” means (A) that the Company shall,
directly or indirectly, including through Subsidiaries, Affiliates or otherwise, in one or more
related transactions, (i) consolidate or merge with or into (whether or not the Company is the
surviving corporation) another Subject Entity, or (ii) sell, assign, transfer, convey or otherwise
dispose of all or substantially all of the properties or assets of the Company or any of its “significant
subsidiaries” (as defined in Rule 1-02 of Regulation S-X) to one or more Subject Entities, or (iii)
make, or allow one or more Subject Entities to make, or allow the Company to be subject to or
have its Common Stock be subject to or party to one or more Subject Entities making, a purchase,
tender or exchange offer that is accepted by the holders of at least either (x) 50% of the outstanding
shares of Common Stock, (y) 50% of the outstanding shares of Common Stock calculated as if any
shares of Common Stock held by all Subject Entities making or party to, or Affiliated with any
Subject Entities making or party to, such purchase, tender or exchange offer were not outstanding;
or (z) such number of shares of Common Stock such that all Subject Entities making or party to,
or Affiliated with any Subject Entity making or party to, such purchase, tender or exchange offer,
become collectively the beneficial owners (as defined in Rule 13d-3 under the Exchange Act) of
at least 50% of the outstanding shares of Common Stock, or (iv) consummate a stock purchase
agreement or other business combination (including, without limitation, a reorganization,
recapitalization, spin-off or scheme of arrangement) with one or more Subject Entities whereby
such Subject Entities, individually or in the aggregate, acquire, either (x) at least 50% of the
outstanding shares of Common Stock, (y) at least 50% of the outstanding shares of Common Stock
calculated as if any shares of Common Stock held by all the Subject Entities making or party to,
or Affiliated with any Subject Entity making or party to, such stock purchase agreement or other
business combination were not outstanding; or (z) such number of shares of Common Stock such
that the Subject Entities become collectively the beneficial owners (as defined in Rule 13d-3 under
the Exchange Act) of at least 50% of the outstanding shares of Common Stock, or (v) reorganize,
recapitalize or reclassify its Common Stock, (B) that the Company shall, directly or indirectly,
including through Subsidiaries, Affiliates or otherwise, in one or more related transactions allow
any Subject Entity individually or the Subject Entities in the aggregate to be or become the
“beneficial owner” (as defined in Rule 13d-3 under the Exchange Act), directly or indirectly,
whether through acquisition, purchase, assignment, conveyance, tender, tender offer, exchange,
reduction in outstanding shares of Common Stock, merger, consolidation, business combination,
spin-off, scheme of arrangement, reorganization, recapitalization or reclassification or otherwise
in any manner whatsoever, of either (x) at least 50% of the aggregate ordinary voting power
represented by issued and outstanding Common Stock, (y) at least 50% of the aggregate ordinary
voting power represented by issued and outstanding Common Stock not held by all such Subject
Entities as of the date of this Note calculated as if any shares of Common Stock held by all such
Subject Entities were not outstanding, or (z) a percentage of the aggregate ordinary voting power
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represented by issued and outstanding shares of Common Stock or other equity securities of the
Company sufficient to allow such Subject Entities to effect a statutory short form merger or other
transaction requiring other stockholders of the Company to surrender their shares of Common
Stock without approval of the stockholders of the Company or (C) directly or indirectly, including
through Subsidiaries, Affiliates or otherwise, in one or more related transactions, the issuance of
or the entering into any other instrument or transaction structured in a manner to circumvent, or
that circumvents, the intent of this definition in which case this definition shall be construed and
implemented in a manner otherwise than in strict conformity with the terms of this definition to
the extent necessary to correct this definition or any portion of this definition which may be
defective or inconsistent with the intended treatment of such instrument or transaction.

                        (l) “GAAP” means United States generally accepted accounting principles,
consistently applied.

                     (m) “Group” means a “group” as that term is used in Regulation 13D-G of
the Exchange Act and as defined in Rule 13d-5 thereunder.

                      (n) “Holiday” means a day other than a Business Day or on which trading
does not take place on the Principal Market.

                        (o) RESERVED

                        (p) “Market Price” shall mean the lowest Closing Bid Price on the Closing
Date.
                        (q) “OID” shall mean the Original Issue Discount, which is 35%.

                        (r) “Notes” means this Note and the Other Notes.

                     (s) “Options” means any rights, warrants or options to subscribe for or
purchase shares of Common Stock or Convertible Securities.

                        (t) “Other Notes” means (i) the Amended and Restated Promissory
Convertible Note, dated as of the date hereof, made by the Company in favor of Alpha Carta, Ltd.
in the principal amount of $1,846,153.84 (the “AC Note”), and (ii) the Amended and Restated
Promissory Convertible Note, dated as of the date hereof, made by the Company in favor of Alpha
Carta, Ltd. in the principal amount of $4,307,692 (the “2022 AC Note”).

                       (u) “Parent Entity” of a Person means an entity that, directly or indirectly,
controls the applicable Person, including such entity whose common capital stock or equivalent
equity security is quoted or listed on a Trading Market (or, if so elected by the Holder, any other
market, exchange or quotation system), or, if there is more than one such Person or such entity,
the Person or entity designated by the Holder or in the absence of such designation, such Person
or such entity with the largest public market capitalization as of the date of consummation of the
Fundamental Transaction.


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                      (v) “Permitted Indebtedness” means (i) Indebtedness evidenced by this
Note and the Other Notes; (ii) debt incurred to make acquisitions; (iii) trade payables incurred in
the ordinary course of business consistent with past practice, (iv) unsecured indebtedness not in
excess of $1,000,000 in the aggregate, and (v) Indebtedness secured by Permitted Liens.

                         (w) “Permitted Liens” means (i) any Lien for taxes not yet due or
delinquent or being contested in good faith by appropriate proceedings for which adequate reserves
have been established in accordance with GAAP, (ii) any statutory Lien arising in the ordinary
course of business by operation of law with respect to a liability that is not yet due or delinquent,
(iii) any Lien created by operation of law, such as materialmen's liens, mechanics' liens and other
similar liens, arising in the ordinary course of business with respect to a liability that is not yet due
or delinquent or that are being contested in good faith by appropriate proceedings, (iv) Liens (A)
upon or in any equipment acquired or held by the Company or any of its Subsidiaries to secure the
purchase price of such equipment or Indebtedness incurred solely for the purpose of financing the
acquisition or lease of such equipment, or (B) existing on such equipment at the time of its
acquisition, provided that the Lien is confined solely to the property so acquired and improvements
thereon, and the proceeds of such equipment, (v) Liens incurred in connection with the extension,
renewal or refinancing of the Indebtedness secured by Liens of the type described in clause (iv)
above, provided that any extension, renewal or replacement Lien shall be limited to the property
encumbered by the existing Lien and the principal amount of the Indebtedness being extended,
renewed or refinanced does not increase, (vi) leases or subleases and licenses and sublicenses
granted to others in the ordinary course of the Company's business, not interfering in any material
respect with the business of the Company and its Subsidiaries taken as a whole, (vii) Liens in favor
of customs and revenue authorities arising as a matter of law to secure payments of custom duties
in connection with the importation of goods, (viii) Liens arising from judgments, decrees or
attachments in circumstances not constituting an Event of Default under Section 4(a)(viii) and (ix)
liens listed on Schedule 27(v) hereto, and (ix) Liens arising pursuant to the terms of the Notes.

                        (x) “Principal Market” means the OTCQB tier of the OTC Markets.

                    (y) “Redemption Dates” means, collectively, the Event of Default
Redemption Dates, and the Optional Redemption Dates, each of the foregoing, individually, a
Redemption Date.

                     (z) “Redemption Notices” means, collectively, the Event of Default
Redemption Notices, and the Optional Redemption Notices, each of the foregoing, individually, a
Redemption Notice.

                       (aa) “Redemption Price” means, 125% of the outstanding principal amount
of the Note together with accrued Interest thereon, which after an Event of Default shall be
calculated at the Default Rate.

                    (bb) “Related Fund” means, with respect to any Person, a fund or account
managed by such Person or an Affiliate of such Person.


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                       (cc) “Required Holders” means any two (2) Holders of the Notes.

                       (dd) “Rule 144” shall have the meaning ascribed to such term in the
Purchase Agreement.

                       (ee) “SEC” means the United States Securities and Exchange Commission.

                       (ff) “Securities Act” means the Securities Act of 1933, as amended, and the
rules and regulations promulgated thereunder.

                       (gg) “Subject Entity” means any Person, Persons or Group or any Affiliate
or associate of any such Person, Persons or Group.

                        hh) “Successor Entity” means one or more Person or Persons (or, if so
elected by the Holder, the Company or Parent Entity) formed by, resulting from or surviving any
Fundamental Transaction or one or more Person or Persons (or, if so elected by the Holder, the
Company or the Parent Entity) with which such Fundamental Transaction shall have been entered
into.
                        (ii) “Trading Market” means any of the following markets or exchanges
on which the Common Stock is listed or quoted for trading on the date in question: the NYSE
American, the Nasdaq Capital Market, the Nasdaq Global Market, the Nasdaq Global Select
Market, the New York Stock Exchange, OTCQB or OTCQX (or any successors to any of the
foregoing).
                        (jj) “VWAP” means, for any date, the price determined by the first of the
following clauses that applies: (a) if the Common Stock is then listed or quoted on a Trading
Market, the daily volume weighted average price of the Common Stock for such date (or the
nearest preceding date) on the Trading Market on which the Common Stock is then listed or quoted
as reported by Bloomberg L.P. (based on a Trading Day from 9:30 a.m. New York City time to
4:02 p.m. New York City time); (b) if the Common Stock is not then listed or quoted for trading
on a Trading Market and if prices for the Common Stock are then reported on the OTC Pink (or a
similar organization or agency succeeding to its functions of reporting prices), the most recent bid
price per share of the Common Stock so reported; or (c) in all other cases, the fair market value of
a share of Common Stock as determined by an independent appraiser selected in good faith by the
Holders of a majority in interest of the Note then outstanding and reasonably acceptable to the
Company, the fees and expenses of which shall be paid by the Company.


                                    [Signature Page Follows]




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              IN WITNESS WHEREOF, the Company has caused this Second Amended and
Restated Note to be duly executed as of the 18th day of February, 2022.


                                                              Proton Green LLC,
                                                              formerly known as Plateau
                                                              Carbon, LLC

                                                              By: _______________________
                                                              Name:
                                                              Title:


AGREED AND APPROVED:


KIPS BAY SELECT LP


By:____________________________
  Name: Roman Rogol
  Title: CFO




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                                          EXHIBIT I
                                      PROTON GREEN LLC
                                      CONVERSION NOTICE

Reference is made to the Second Amended and Restated Promissory Convertible Note (the
“Note”) issued to Kips Bay Select LP (together with its designee or registered assigns, the
“Holder”) by Proton Green LLC (formerly known as Plateau Carbon, LLC) (the “Company”). In
accordance with and pursuant to the Note, the undersigned hereby elects to convert the Conversion
Amount (as defined in the Note) of the Note indicated below into shares of Common Stock of the
Company, par value $ 0.0001 per share (the “Common Stock”) of the Company, as of the date
specified below.

         Date of
         Conversion:

         Aggregate Conversion Amount to be
         converted:

Please confirm the following information:

         Conversion Price:


         Number of shares of Common Stock to
         be issued:

Please issue the Common Stock into which the Note is being converted in the following name and
to the following address:

         Issue to:

         Facsimile Number and Electronic

         Mail:

         Authorization:
                      By:
                             Title:

Dated:
         Account
         Number:
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    (if electronic book entry transfer)
    Transaction Code
    Number:
    (if electronic book entry transfer)




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                                                                                       EXHIBIT L
                                                                                   Execution Version


NEITHER THE ISSUANCE AND SALE OF THE SECURITIES REPRESENTED BY
THIS CERTIFICATE NOR THE SECURITIES INTO WHICH THESE SECURITIES
ARE CONVERTIBLE HAVE BEEN REGISTERED UNDER THE SECURITIES ACT OF
1933, AS AMENDED, OR APPLICABLE STATE SECURITIES LAWS. THE
SECURITIES MAY NOT BE OFFERED FOR SALE, SOLD, TRANSFERRED OR
ASSIGNED (I) IN THE ABSENCE OF (A) AN EFFECTIVE REGISTRATION
STATEMENT FOR THE SECURITIES UNDER THE SECURITIES ACT OF 1933, AS
AMENDED, OR (B) AN OPINION OF COUNSEL SELECTED BY THE HOLDER, IN A
GENERALLY ACCEPTABLE FORM, THAT REGISTRATION IS NOT REQUIRED
UNDER SAID ACT, OR (II) UNLESS SOLD PURSUANT TO RULE 144 OR RULE 144A
UNDER SAID ACT. NOTWITHSTANDING THE FOREGOING, THE SECURITIES
MAY BE PLEDGED IN CONNECTION WITH A BONA FIDE MARGIN ACCOUNT OR
OTHER LOAN OR FINANCING ARRANGEMENT SECURED BY THE SECURITIES.
ANY TRANSFEREE OF THIS NOTE SHOULD CAREFULLY REVIEW THE TERMS
OF THIS NOTE. THE PRINCIPAL AMOUNT REPRESENTED BY THIS NOTE AND,
ACCORDINGLY, THE SECURITIES ISSUABLE UPON CONVERSION HEREOF MAY
BE LESS THAN THE AMOUNTS SET FORTH ON THE FACE HEREOF.

Reference is hereby made to the Promissory Convertible Note, dated as of December 23, 2021,
made by the Company in favor of Alpha Carta, Ltd. in the principal amount of $1,846,153.84 (as
amended, the “Original Note”). The Company and the Holder (as defined below) hereby agree
that the Original Note shall be superseded, amended and restated to read in its entirety as follows:

                                      PROTON GREEN LLC

          AMENDED AND RESTATED PROMISSORY CONVERTIBLE NOTE

Issuance Date: December 23, 2021                      Principal Amount: U.S. $1,846,153.84
Date of Note: February 18, 2022

               FOR VALUE RECEIVED, Proton Green LLC (formerly known as Plateau
Carbon, LLC) (the “Company”) pursuant to this Amended and Restated Promissory Convertible
Note (the “Note”), hereby promises to pay to Alpha Carta, Ltd., its designee or registered assigns
(the “Holder”), in cash, the principal amount of US $1,846,153.84 (as reduced pursuant to the
terms hereof pursuant to redemption, conversion or otherwise, the “Principal” or the “Principal
Amount”, after giving effect to a 35% original issue discount) on April 7, 2022 (the “Maturity
Date”), subject to earlier acceleration, conversion, redemption or otherwise (in each case in
accordance with the terms hereof). Certain capitalized terms used herein are defined in Section 26.
This Note is issued pursuant to that certain Securities Purchase Agreement dated December 23,
2021, by and among the Company and the Holder (the “Purchase Agreement”), and capitalized
terms not defined herein will have the meanings set forth in the Purchase Agreement.

               (1) PAYMENTS OF PRINCIPAL; AMENDMENT FEE; PREPAYMENT.

             (a)     On the Maturity Date, the Company shall pay to the Holder (i) the Principal
Amount in cash, together with (ii) Interest (as defined below) thereon calculated from the date
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hereof in accordance with the provisions of this Note, plus (iii) an amendment and extension fee
in the amount of $150,000.00 (the “Amendment Fee”), provided, however, that the Holder shall
have the right in its sole discretion to be repaid with 100% of the proceeds (“Proceeds”) of the
following: (1) sale of the Company’s assets, (2) any merger, sale or other transaction resulting in
the holders of the Company’s Common Stock prior to such merger or other transaction ceasing to
own at least 50% of the Common Stock, (3) issuances of the Company’s Debt, and/or (4) issuances
of the Company’s equity. Notwithstanding the foregoing, (i) in the event that on the Maturity Date
the Company does not have sufficient funds to repay this Note and the Other Notes in full, the
Company shall be prohibited from repaying the Principal Amount, Interest and Amendment Fee
of this Note in full and shall instead repay the Holders of each of the Notes a pro rata portion of
the Principal Amount, Interest and Amendment Fee of each of the Notes based on the proportion
that each of the Notes bears to the aggregate Principal Amount, Interest and Amendment Fee of
all of the Notes, and (ii) unless a Holder of either of the Other Notes declines its right to be repaid
with Proceeds, any Proceeds shall be applied to repay a pro rata portion of the Principal Amount,
Interest and Amendment Fee of each of the Notes based on the proportion that each of the Notes
bears to the aggregate Principal Amount, Interest and Amendment Fee of all of the Notes. All
payments shall be applied first to the Amendment Fee, then to accrued Interest and thereafter to
the Principal Amount.

               (b)     Interest shall accrue on the unpaid Principal Amount outstanding until the
Maturity Date at a rate equal to one and one-half percent (1.5%) per month. The accrued interest
on the Principal Amount of this Note shall not compound, and is referred to herein as the
“Interest”. Such Interest shall be computed for the actual number of days elapsed in a month
consisting of 28, 30 or 31 days, as the case may be.

               (c)     The Company may, at any time and from time to time without premium or
penalty, prepay all or any portion of the outstanding Principal Amount of, and Interest on, and
Amendment Fee of, this Note. Any partial payment will be credited first to the Amendment Fee,
then to accrued and unpaid Interest and the balance, if any, to the then outstanding Principal
Amount.

               (2)     RANKING; SECURITY.

              (a)    The parties agree that this Note shall rank (i) pari passu with the
indebtedness under the Other Notes and (ii) senior to all other existing and future debt of the
Company.

                (b)     Payment of this Note and all other obligations, fees, and expenses due to
the Holder pursuant to this Note and the Purchase Agreement (the “Secured Obligations”) will
be secured at all times by (i) valid, enforceable first priority mortgages and/or deeds of trust on
and covering all real property interests presently owned and hereafter acquired by the Company,
and all assets and personal property relating thereto (the “Mortgaged Properties”), and (ii) valid,
enforceable first priority security interests on and covering all of the other assets of the Company
(the “Other Assets”).


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                (c)      Within five (5) business days of a request by the Holder, the Company shall
deliver to the Holder (i) mortgages and/or deeds of trust, in appropriate and recordable form under
Arizona law and reasonably satisfactory in form and substance to the Holder, executed by the
Company, with respect to the Mortgaged Properties (“Deeds of Trust”), which shall create a first
priority lien on such Mortgaged Properties and which shall be promptly recorded in the recorder’s
office of the appropriate county, and (ii) appropriate instruments granting valid, enforceable first
priority security interests on and covering all of the Other Assets, in appropriate and recordable
form and reasonably satisfactory in form and substance to the Holder, executed by the Company,
with respect to the Other Assets (the “Other Instruments” and, collectively with the Deeds of Trust,
the “Security Documents”). Thereafter, the Company shall cause the Mortgaged Properties now
owned or hereafter acquired by it to be subject at all times to a first priority, perfected lien in favor
of the Holder to secure the Secured Obligations, and the Company shall provide any filings and
deliveries reasonably requested by the Holder in connection therewith to perfect the security
interests therein, all in form and substance reasonably satisfactory to the Holder.

               (d)      The Holder acknowledges that the security interests granted in the
Mortgaged Properties and the Other Assets to the Holder to secure the Secured Obligations are
also being granted to the holders of the Others Notes to secure the obligations of the Company
under such Other Notes, and that such all of such security interests shall be for the ratable benefit
of the Holders of all of the Notes. The form and substance of the Security Documents shall reflect
such ratable benefit term.

                (3) CONVERSION OF NOTE. Following the Issuance Date, as set out above, this
Note shall be convertible into shares of Common Stock on the terms and conditions set forth in
this Section 3.

                     (a) Optional Conversion Right. Holder has the right to convert all or part of
the Principal Amount at the Company’s valuation of $250,000,000.00 into fully paid and
nonassessable shares of Common Stock in accordance with Section 3(c), at the Conversion Rate
(as defined below) (the “Conversion Date”). The Company shall not issue any fraction of a share
of Common Stock upon any conversion. If the issuance would result in the issuance of a fraction
of a share of Common Stock, the Company shall round such fraction of a share of Common Stock
up to the nearest whole share. The Company shall pay any and all transfer, stamp and similar taxes
that may be payable with respect to the issuance and delivery of Common Stock upon conversion
of any Conversion Amount. The Holder shall have the right to deliver an effective conversion
notice at any time until 11:59 pm on the chosen date and it shall be immediately effective.

                    (b) Conversion Rate. The number of shares of Common Stock issuable upon
conversion of any Conversion Amount pursuant to Section 3(a) shall be determined by dividing
(x) such Conversion Amount by (y) the Conversion Price (the “Conversion Rate”).

                               (i) “Conversion Amount” means the sum of the portion of the
        Principal to be converted, redeemed or otherwise with respect to which this determination
        is being made.


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                           (ii) “Conversion Price” means $0.0599. Subsequent to the
    effective date of the registration statement registering for resale the Conversions Shares
    and the Warrant Shares pursuant to the Purchase Agreement, if the closing sale price of the
    Common Stock averages less than the then Conversion Price over a period of ten (10)
    consecutive trading days, the Conversion Price shall reset to such average price. If the 10-
    day volume weighted average price of the Common Stock continues to be less than the
    Conversion Price then the Conversion Price should reset to such 10-day average price.

               (c)   Mechanics of Optional Conversion and Adjustment:

                          (i)     Registration; Book-Entry. The Company shall maintain a
                                  register (the “Register”) for the recordation of the holder of
                                  the Note and the Principal amount of the Note held by the
                                  holder (the “Registered Note”). The entries in the Register,
                                  made in good faith, shall be conclusive and binding for all
                                  purposes absent manifest error. The Company and the holder
                                  of the Note shall treat each Person whose name is recorded
                                  in the Register as the owner of the Note for all purposes,
                                  including, without limitation, the right to receive payments
                                  of Principal, if any, hereunder, notwithstanding notice to the
                                  contrary. Upon its receipt of a request to assign or sell all or
                                  part of the Registered Note by the Holder, the Company shall
                                  record the information contained therein in the Register and
                                  issue one or more new Registered Notes in the same
                                  aggregate Principal amount as the Principal amount of the
                                  surrendered Registered Note to the designated assignee or
                                  transferee pursuant to Section 10. Notwithstanding anything
                                  to the contrary in this Section 3(c)(i), the Holder may assign
                                  any Note or any portion thereof to an Affiliate of such Holder
                                  or a Related Fund of such Holder without delivering a
                                  request to assign or sell such Note to the Company and the
                                  recordation of such assignment or sale in the Register (a
                                  “Related Party Assignment”); provided, that (x) the
                                  Company may continue to deal solely with such assigning or
                                  selling Holder unless and until such Holder has delivered a
                                  request to assign or sell such Note or portion thereof to the
                                  Company for recordation in the Register; (y) the failure of
                                  such assigning or selling Holder to deliver a request to assign
                                  or sell such Note or portion thereof to the Company shall not
                                  affect the legality, validity, or binding effect of such
                                  assignment or sale and (z) such assigning or selling Holder
                                  shall, acting solely for this purpose as a non-fiduciary agent
                                  of the Company, maintain a register (the “Related Party
                                  Register”) comparable to the Register on behalf of the
                                  Company, and any such assignment or sale shall be effective
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                                  upon recordation of such assignment or sale in the Related
                                  Party Register. Notwithstanding anything to the contrary set
                                  forth herein, upon conversion of any portion of this Note in
                                  accordance with the terms hereof, the Holder shall not be
                                  required to physically surrender this Note to the Company
                                  unless the Holder has provided the Company with prior
                                  written notice (which notice may be included in a
                                  Conversion Notice) requesting reissuance of this Note upon
                                  physical surrender of this Note. The Holder and the
                                  Company shall maintain records showing the Principal,
                                  converted and the dates of such conversions or shall use such
                                  other method, reasonably satisfactory to the Holder and the
                                  Company, so as not to require physical surrender of this Note
                                  upon conversion.

                          (ii) Intentionally omitted.

                       (iii) Holder may convert any or all of this Note into shares of
    Common Stock at any time.

              (d)     Limitations on Conversions.

                        (i) Beneficial Ownership. In case that the Holder becomes subject to the
           filing or reporting obligations under Regulation 13D-G of the Exchange Act due to
           (i) the conversion of this Note, or any other share issuance hereunder, or (ii) the
           changes to the beneficial ownership of the Holder (together with the Attribution
           Parties) in the Company, including but not limited to the changes to such beneficial
           ownership due to the conversion or share issuance hereunder, the Holder shall
           timely file such schedules or forms with the United States Securities and Exchange
           Commission (the “Commission”) as required under Regulation 13D-G of the
           Exchange Act. For purposes of this paragraph, beneficial ownership and all
           calculations (including, without limitation, with respect to calculations of
           percentage ownership) shall be determined in accordance with Regulation 13D-G
           and the rules and regulations promulgated thereunder. The obligations contained in
           this paragraph shall apply to a successor Holder of this Note. For any reason at any
           time, upon the written or oral request of the Holder, the Company shall within one
           (1) Business Day confirm orally and in writing to the Holder the number of shares
           of Common Stock then outstanding, including by virtue of any prior conversion or
           exercise of convertible or exercisable securities into Common Stock, including,
           without limitation, pursuant to this Note or securities issued pursuant to the
           Purchase Agreement.

                      (ii) Principal Market Regulation. Unless permitted by the applicable
           rules and regulations of the Principal Market, the Company shall not issue any
           shares of Common Stock upon conversion of this Note if the issuance of such shares
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               of Common Stock would exceed the aggregate number of shares of Common Stock
               which the Company may issue upon exercise or conversion (as the case may be) of
               the Note without breaching the Company’s obligations under the rules or
               regulations of the Principal Market (the number of shares which may be issued
               without violating such rules and regulations, the “Exchange Cap”).
               Notwithstanding the foregoing, such limitation shall not apply in the event that the
               Company (A) obtains the approval of its stockholders as required by the applicable
               rules of the Principal Market for issuances of shares of Common Stock in excess of
               such amount or (B) obtains a written opinion from outside counsel to the Company
               that such approval is not required, which opinion shall be reasonably satisfactory
               to the Holder. In the event that any Holder shall sell or otherwise transfer any of
               such Holder’s Note, the Exchange Cap restrictions set forth herein shall continue
               to apply to the Note and such transferee.

                       (e) Disputes. In the event of a dispute as to the number of shares of Common
Stock issuable to the Holder in connection with a conversion of this Note, the Company shall issue
to the Holder the number of shares of Common Stock not in dispute and resolve such dispute in
accordance with Section 16.

                     (f) Automatic Conversion. In the event the Company completes a
Fundamental Transaction or completes a listing of its Common Stock onto a national stock
exchange, Holder agrees to convert the OID into Common Stock of the Company at the Conversion
Price. The remaining Principal Amount, Amendment Fee and Interest will remain outstanding,
unless the Holder elects to convert such Principal Amount, Amendment Fee and Interest into
Common Stock of the Company.

               (4)     The Company hereby covenants and agrees as follows:

                       (a) Sale of Assets. During the thirty (30) days from the date of this Note,
                           with the exception of moving certain of its assets to any of its
                           subsidiaries, the Company shall not sell any material assets.

                       (b) Additional Debt. While this Note is outstanding, the Company shall not
                           incur any additional indebtedness for borrowed money, other than any
                           indebtedness that is Permitted Indebtedness.

               (5)     RIGHTS UPON EVENT OF DEFAULT.

                        (a) Event of Default. Each of the following events shall constitute an “Event
of Default”; provided, however, that, except in the case of the Events of Default listed in Sections
5(a)(i), or 5(a)(ix) below, the Company shall have five (5) business days after notice of default
from the Holder to cure such Event of Default unless a lesser number of days is required pursuant
to the provisions of this Section 5.



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                           (i) Failure to Pay Principal. The Company fails to pay the Principal,
    Amendment Fee or Interest due under this Note or any of the Other Notes at the Maturity
    Date (or the maturity date of any of the Other Notes, if the maturity date under the Other
    Notes is different from the Maturity Date), liquidated damages and other amounts thereon
    when due on the Note or any of the Other Notes, whether at maturity, upon acceleration or
    otherwise.

                            (ii) Conversion and the Shares. The Company (i) fails to issue
    Conversion Shares to the Holder (or announces or threatens in writing that it will not honor
    its obligation to do so) upon exercise by the Holder of the conversion rights of the Holder
    in accordance with the terms of the Note, (ii) fails to transfer or cause its transfer agent to
    transfer (issue) (electronically or in certificated form) any certificate for the Conversion
    Shares issuable to the Holder upon conversion of or otherwise pursuant to the Note as and
    when required by the Note, or (iii) the Company directs its transfer agent not to transfer or
    delays, impairs, and/or hinders its transfer agent in transferring (or issuing) (electronically
    or in certificated form) any certificate for the Conversion Shares issuable to the Holder
    upon conversion of or otherwise pursuant to the Note as and when required by the Note, or
    fails to remove (or directs its transfer agent not to remove or impairs, delays, and/or hinders
    its transfer agent from removing) any restrictive legend (or to withdraw any stop transfer
    instructions in respect thereof) on any certificate for any Conversion Shares issued to the
    Holder upon conversion of or otherwise pursuant to the Note as and when required by the
    Note (or makes any written announcement, statement or threat that it does not intend to
    honor the obligations described in this paragraph) and any such failure shall continue
    uncured (or any written announcement, statement or threat not to honor its obligations shall
    not be rescinded in writing) for five (5) business days after the Holder shall have delivered
    a Notice of Conversion. It is an obligation of the Company to remain current in its
    obligations to its transfer agent. It shall be an Event of Default of the Note, if a conversion
    of the Note is delayed, hindered or frustrated due to a balance owed by the Company to its
    transfer agent. If at the option of the Holder, the Holder advances any funds to the
    Company’s transfer agent in order to process a conversion, such advanced funds shall be
    paid by the Company to the Holder within forty eight (48) hours of a demand from the
    Holder. If Borrower is unable to do so, they shall have an opportunity to cure within five
    (5) business days.

                           (iii) Breach of Agreements and Covenants. The Company breaches
    any material agreement, covenant or other material term or condition contained in the
    Purchase Agreement, the Note or in any agreement, statement or certificate given in writing
    pursuant hereto or in connection herewith or therewith, and such breach results in a material
    adverse effect on the business or assets of the Company.

                          (iv) Breach of Representations and Warranties. Any representation
    or warranty of the Company made in the Purchase Agreement or the Note, or in any
    agreement, statement or certificate given in writing pursuant hereto or in connection
    herewith or therewith shall be false or misleading in any material respect when made and
    the breach of which has (or with the passage of time will have) a Material Adverse Effect
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    on the rights of the Holder with respect to the Note or the Purchase Agreement. In the event
    of such a breach, the Company shall have an opportunity to cure within two (2) business
    days.

                         (v) Receiver or Trustee. The Company or any subsidiary of the
    Company shall make an assignment for the benefit of creditors, or apply for or consent to
    the appointment of a receiver or trustee for it or for a substantial part of its property or
    business, or such a receiver or trustee shall otherwise be appointed. Under such
    circumstances, the Company shall have an opportunity to cure within sixty (60) days.

                           (vi) Judgments. Any money judgment, writ or similar process shall
    be entered or filed against the Company or any subsidiary of the Company or any of its
    property or other assets for more than $100,000, and shall remain unvacated, unbonded or
    unstayed for a period of twenty (20) days unless otherwise consented to by the Holder,
    which consent will not be unreasonably withheld.

                          (vii) Bankruptcy. Bankruptcy, insolvency, reorganization or
    liquidation proceedings or other proceedings, voluntary or involuntary, for relief under any
    bankruptcy law or any law for the relief of debtors shall be instituted by or against the
    Company or any subsidiary of the Company. Under such circumstances, the Company shall
    have an opportunity to cure within sixty (60) days.

                           (viii) Delisting or Trading of Common Stock. The Company shall
    fail to maintain the listing or quotation of its Common Stock minimally on a Trading
    Market.

                           (ix) Failure to Comply with the Exchange Act. The Company shall
    fail to comply with the reporting requirements of the Exchange Act and/or the Company
    shall cease to be subject to the reporting requirements of the Exchange Act.

                         (x) Liquidation. Any dissolution, liquidation, or winding up of
    Borrower or any substantial portion of its business or assets.

                          (xi) Cessation of Operations. Any cessation of operations by
    Borrower or Borrower admits it is otherwise generally unable to pay its debts as such debts
    become due, provided, however, that any disclosure of the Company’s ability to continue
    as a “going concern” shall not be an admission that the Company cannot pay its debts as
    they become due.

                           (xii) Intentionally omitted.

                           (xiii) Intentionally omitted.




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                          (xiv) Other Obligations. The occurrence of any default under any
    agreement or obligation of the Company that is not cured within ten (10) days that could
    reasonably be expected to have a Material Adverse Effect.

                           (xv) Default under Transaction Documents or Other Material
    Agreement. A default or event of default (subject to any grace or cure period provided in
    the applicable agreement, document or instrument) shall occur under (A) this Note, the
    warrant or the securities purchase agreement or any of the other agreements entered into
    by the parties related to the purchase of this Note (collectively, the “Transaction
    Documents”), or (B) the Other Notes or any other material agreement, lease, document or
    instrument to which Company or any Subsidiary is obligated (and not covered by clause
    (vi) below), which in the case of subsection (B) would reasonably be expected to have a
    Material Adverse Effect.

                          (xvi) Default under Mortgage or Other Agreement of Indebtedness.
    Company or any Subsidiary shall default on any of its obligations under any mortgage,
    credit agreement or other facility, indenture agreement, factoring agreement or other
    instrument under which there may be issued, or by which there may be secured or
    evidenced, any indebtedness for borrowed money or money due under any long term
    leasing or factoring arrangement that (a) involves an obligation greater than $100,000,
    whether such indebtedness now exists or shall hereafter be created, and (b) results in such
    indebtedness becoming or being declared due and payable prior to the date on which it
    would otherwise become due and payable.

                          (xvii) Intentionally omitted.

                          (xviii) Failure to Meet the Requirements under Rule 144. Company
    does not meet the current public information requirements under Rule 144.

                           (xix) Failure to Maintain Intellectual Property. The failure by
    Company or any material Subsidiary to maintain any material intellectual property rights,
    personal, real property, equipment, leases or other assets which are necessary to conduct
    its business (whether now or in the future) and such breach is not cured with twenty (20)
    days after written notice to the Company from the Holder.

                          (xx) Trading Suspension. A Commission or judicial stop trade order
    or suspension from a Trading Market.

                          (xxi) Intentionally omitted.

                         (xxii) Failure to Provide Required Notification of a Material Event.
    A failure by Company to notify Holder of any material event of which Company is
    obligated to notify Holder pursuant to the terms of this Note or any other Transaction
    Document.


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                                (xxiii) Invalidity or Unenforceability of Transaction Documents.
        Any material provision of any Transaction Document shall at any time for any reason
        (other than pursuant to the express terms thereof) cease to be valid and binding on or
        enforceable against the Company, or the validity or enforceability thereof shall be
        contested by Company, or a proceeding shall be commenced by Company or any
        governmental authority having jurisdiction over Company or Holder, seeking to establish
        the invalidity or unenforceability thereof, or Company shall deny in writing that it has any
        liability or obligation purported to be created under any Transaction Document.

                                (xxiv) Intentionally omitted.

                         (b) Redemption Right. At any time after the Holder becoming aware of an
Event of Default, the Required Holders may require the Company to redeem (an “Event of Default
Redemption”) all or any portion of the Notes by delivering written notice thereof (the “Event of
Default Redemption Notice”) to the Company, which Event of Default Redemption Notice shall
indicate the portion of this Note and the Other Notes the Required Holders are electing to require
the Company to redeem. Each portion of this Note and the Other Notes subject to redemption by
the Company pursuant to this Section 5(b) shall be redeemed by the Company in cash by wire
transfer of immediately available funds at a price equal to (i) the Principal Amount, plus (ii) all
Interest then accrued on the Principal Amount from the date of the Note to the Event of Default,
plus (iii) the Amendment Fee, plus (iv) interest on the Principal Amount calculated from the Event
of Default at the greater of the Default Interest Rate or the maximum rate permitted under
applicable law (the “Event of Default Redemption Price”), plus (v) liquidated damages of
$750,000, plus (vi) an amount in cash equal to 1% of the Event of Default Redemption Price for
each 30 day period during which redemptions fail to be made; provided, however, in the event that
the Company does not have sufficient funds to pay 100% of the relevant Event of Default
Redemption Price to the Holders of all of the Notes, the Company shall pay a pro rata portion of
the Event of Default Redemption Price to each such Holder based on the proportion that the
Principal Amount of each of the Notes bears to the aggregate Principal Amount of all of the Notes.
To the extent redemptions required by this Section 5(b) are deemed or determined by a court of
competent jurisdiction to be prepayments of the Note by the Company, such redemptions shall be
deemed to be voluntary prepayments. Notwithstanding anything to the contrary in this Section 5,
but subject to Section 3(b)(ii) and 3(d), until the Event of Default Redemption Price payable in
respect of each of the Notes (together with any interest thereon) is paid in full, the Conversion
Amount submitted for redemption under this Section 5(b) (together with any interest thereon) may
be converted, in whole or in part, by the Holder into Common Stock pursuant to Section 3. The
parties hereto agree that in the event of the Company's redemption of any portion of the Note under
this Section 5(b), the Holder's damages would be uncertain and difficult to estimate because of the
parties' inability to predict future interest rates and the uncertainty of the availability of a suitable
substitute investment opportunity for the Holder. Accordingly, any Event of Default redemption
premium due under this Section 5(b) is intended by the parties to be, and shall be deemed, a
reasonable estimate of the Holder's actual loss of its investment opportunity and not as a penalty.
                 (6)     RIGHTS UPON FUNDAMENTAL TRANSACTION.



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                       (a) If, at any time while this Note is outstanding, (i) the Company effects a
Fundamental Transaction, then, upon any subsequent conversion of this Note, the Holder shall
have the right to receive, for each Conversion Share that would have been issuable upon such
conversion immediately prior to the occurrence of such Fundamental Transaction, the same kind
and amount of securities, cash or property as it would have been entitled to receive upon the
occurrence of such Fundamental Transaction if it had been, immediately prior to such Fundamental
Transaction, the holder of one (1) share of Common Stock (the “Alternate Consideration”). For
purposes of any such conversion, the determination of the Conversion Price shall be appropriately
adjusted to apply to such Alternate Consideration based on the amount of Alternate Consideration
issuable in respect of one (1) share of Common Stock in such Fundamental Transaction, and the
Company shall apportion the Conversion Price among the Alternate Consideration in a reasonable
manner reflecting the relative value of any different components of the Alternate Consideration. If
holders of Common Stock are given any choice as to the securities, cash or property to be received
in a Fundamental Transaction, then the Holder shall be given the same choice as to the Alternate
Consideration it receives upon any conversion of this Debenture following such Fundamental
Transaction. To the extent necessary to effectuate the foregoing provisions, any successor to the
Company or surviving entity in such Fundamental Transaction shall issue to the Holder a new
debenture consistent with the foregoing provisions and evidencing the Holder’s right to convert
such debenture into Alternate Consideration. The terms of any agreement pursuant to which a
Fundamental Transaction is effected shall include terms requiring any such successor or surviving
entity to comply with the provisions of this Section 6(a) and insuring that this Note (or any such
replacement security) will be similarly adjusted upon any subsequent transaction analogous to a
Fundamental Transaction.

          (7) DISTRIBUTION OF ASSETS; RIGHTS UPON ISSUANCE OF PURCHASE
RIGHTS AND OTHER CORPORATE EVENTS.

                        (a) Distribution of Assets. If the Company shall declare or make any
dividend or other distributions of its assets (or rights to acquire its assets) to any or all holders of
shares of Common Stock, by way of return of capital or otherwise (including without limitation,
any distribution of cash, stock or other securities, property, options, evidence of Indebtedness or
any other assets by way of a dividend, spin off, reclassification, corporate rearrangement, scheme
of arrangement or other similar transaction) (the “Distributions”), then the Holder will be entitled
to such Distributions as if the Holder had held the number of shares of Common Stock acquirable
upon complete conversion of this Note (without taking into account any limitations or restrictions
on the convertibility of this Note) immediately prior to the date on which a record is taken for such
Distribution or, if no such record is taken, the date as of which the record holders of Common
Stock are to be determined for such Distributions and the portion of such Distribution shall be held
in abeyance for the Holder.

                       (b) Purchase Rights. If at any time the Company grants, issues or sells any
Options, Convertible Securities or rights to purchase stock, warrants, securities or other property
pro rata to the record holders of any class of Common Stock (the “Purchase Rights”), then the
Holder will be entitled to acquire or receive, as applicable, upon the terms applicable to such
Purchase Rights, the aggregate Purchase Rights which the Holder could have acquired if the
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Holder had held the number of shares of Common Stock acquirable upon complete conversion of
this Note (without taking into account any limitations or restrictions on the convertibility of this
Note) immediately prior to the date on which a record is taken for the grant, issuance or sale of
such Purchase Rights, or, if no such record is taken, the date as of which the record holders of
shares of Common Stock are to be determined for the grant, issue or sale of such Purchase Rights.

                         (c) Other Corporate Events. In addition to and not in substitution for any
other rights hereunder, prior to the occurrence or consummation of any Fundamental Transaction
pursuant to which holders of shares of Common Stock are entitled to receive securities, cash, assets
or other property with respect to or in exchange for shares of Common Stock (a “Corporate
Event”), the Company shall make appropriate provision to ensure that, and any applicable
Successor Entity or Successor Entities shall ensure that, and it shall be a required condition to the
occurrence or consummation of such Corporate Event that, the Holder will thereafter have the right
to receive upon conversion of this Note at any time after the occurrence or consummation of the
Corporate Event, shares of Common Stock or Successor Capital Stock or, if so elected by the
Holder, cash in lieu of the shares of Common Stock (or other securities, cash, assets or other
property) purchasable upon the conversion of this Note prior to such Corporate Event, such shares
of stock, securities, cash, assets or any other property whatsoever (including warrants or other
purchase or subscription rights and any shares of Common Stock) which the Holder would have
been entitled to receive upon the occurrence or consummation of such Corporate Event or the
record, eligibility or other determination date for the event resulting in such Corporate Event, had
this Note been converted immediately prior to such Corporate Event or the record, eligibility or
other determination date for the event resulting in such Corporate Event (without regard to any
limitations on conversion of this Note). Provision made pursuant to the preceding sentence shall
be in a form and substance satisfactory to the Holder. The provisions of this Section 7 shall apply
similarly and equally to successive Corporate Events.

               (8)     RIGHTS UPON ISSUANCE OF OTHER SECURITIES.

                (A) Adjustment of Conversion Price upon Subdivision or Combination of Common
       Stock. If the Company at any time on or after the Issuance Date subdivides (by any stock
       split, stock dividend, recapitalization or otherwise) one or more classes of its outstanding
       shares of Common Stock into a greater number of shares, the Conversion Price in effect
       immediately prior to such subdivision will be proportionately reduced. If the Company at
       any time on or after the Issuance Date combines (by combination, reverse stock split or
       otherwise) one or more classes of its outstanding shares of Common Stock into a smaller
       number of shares, the Conversion Price in effect immediately prior to such combination
       will be proportionately increased.

              (B) Voluntary Adjustment by Company. The Company may at any time during the
       term of this Note, with the prior written consent of the Holder, reduce the then current
       Conversion Price to any amount and for any period of time deemed appropriate by the
       Board of Directors of the Company.



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               (9) NONCIRCUMVENTION. The Company hereby covenants and agrees that the
Company will not, by amendment of its Certificate of Incorporation, Bylaws or through any
reorganization, transfer of assets, consolidation, merger, scheme of arrangement, dissolution, issue
or sale of securities, or any other voluntary action, avoid or seek to avoid the observance or
performance of any of the terms of this Note, and will at all times in good faith carry out all of the
provisions of this Note and take all action as may be required to protect the rights of the Holder of
this Note.

               (10)    Intentionally omitted.

               (11) VOTING RIGHTS. The Holder shall have no voting rights as the holder of
this Note, except as required by law and as expressly provided in this Note.

               (12)    COVENANTS.

                       (a) Incurrence of Indebtedness. So long as this Note is outstanding, the
Company shall not, and the Company shall not permit any of its Subsidiaries to, directly or
indirectly, incur or guarantee, assume or suffer to exist any Indebtedness, other than Permitted
Indebtedness.

                        (b) Existence of Liens. So long as this Note is outstanding, the Company
shall not, and the Company shall not permit any of its Subsidiaries to, directly or indirectly, allow
or suffer to exist any Liens other than Permitted Liens.

                       (c) Change in Nature of Business. The Company shall not make, or permit
any of its Subsidiaries to make, any change in the nature of its business. The Company shall not
modify its corporate structure or purpose.

                        (d) Intellectual Property. The Company shall not, and the Company shall
not permit any of its Subsidiaries, directly or indirectly, to encumber or allow any Liens on, any
of its own or its licensed copyright rights, copyright applications, copyright registrations and like
protections in each work of authorship and derivative work, whether published or unpublished,
any patents, patent applications and like protections, including improvements, divisions,
continuations, renewals, reissues, extensions, and continuations-in-part of the same, trademarks,
service marks and, to the extent permitted under applicable law, any applications therefor, whether
registered or not, and the goodwill of the business of the Company and its Subsidiaries connected
with and symbolized thereby, know-how, operating manuals, trade secret rights, rights to
unpatented inventions, and any claims for damage by way of any past, present, or future
infringement of any of the foregoing, other than Permitted Liens.

                        (e) Preservation of Existence, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, its existence, rights and
privileges, and become or remain, and cause each of its Subsidiaries to become or remain, duly
qualified and in good standing in each jurisdiction in which the character of the properties owned
or leased by it or in which the transaction of its business makes such qualification necessary.
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                       (f) Maintenance of Properties, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, all of its properties which
are necessary or useful in the proper conduct of its business in good working order and condition,
ordinary wear and tear excepted, and comply, and cause each of its Subsidiaries to comply, at all
times with the provisions of all leases to which it is a party as lessee or under which it occupies
property, so as to prevent any loss or forfeiture thereof or thereunder.

                       (g) Maintenance of Insurance. The Company shall maintain, and cause each
of its Subsidiaries to maintain insurance with responsible and reputable insurance companies or
associations (including, without limitation, comprehensive general liability, hazard, rent and
business interruption insurance) with respect to its properties (including all real properties leased
or owned by it) and business, in such amounts and covering such risks as is required by any
governmental authority having jurisdiction with respect thereto or as is carried generally in
accordance with sound business practice by companies in similar businesses similarly situated.

                        (h) Transactions with Affiliates. The Company shall not, nor shall it permit
any of its Subsidiaries to, enter into, renew, extend or be a party to, any transaction or series of
related transactions (including, without limitation, the purchase, sale, lease, transfer or exchange
of property or assets of any kind or the rendering of services of any kind) with any Affiliate, except
in the ordinary course of business in a manner and to an extent consistent with past practice and
necessary or desirable for the prudent operation of its business, for fair consideration and on terms
no less favorable to it or its Subsidiaries than would be obtainable in a comparable arm's length
transaction with a Person that is not an Affiliate thereof.

                       (i) Corporate Changes. The Company shall not change its corporate name,
legal form or jurisdiction of formation without twenty (20) days’ prior written notice to Holder.
Company shall not enter into or be party to a Fundamental Transaction unless in violation of
Section 6 hereof. Company shall not relocate its chief executive office or its principal place of
business unless it has provided prior written notice to Holder.

                       (j) Reserved.

                       (k) Charter Amendments. The Company shall not amend its charter
documents, including, without limitation, its certificate of incorporation and bylaws, in any manner
that materially and adversely affects any rights of the Holder.

                      (l) Repurchase. The Company shall not repay, repurchase or offer to repay,
repurchase or otherwise acquire more than a de minimis number of shares of its Common Stock
or common stock equivalents other than as to the Conversion Shares as permitted or required under
the Transaction Documents.

                     (m) Redemption. The Company shall not redeem, defease, repurchase,
repay or make any payments in respect of, by the payment of cash or cash equivalents (in whole
or in part, whether by way of open market purchases, tender offers, private transactions or
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otherwise), all or any portion of any Indebtedness (other than the Note if on a pro-rata basis),
whether by way of payment in respect of principal of (or premium, if any) or interest on, such
Indebtedness, the foregoing restriction shall also apply to Permitted Indebtedness from and after
the occurrence of an Event of Default.

                         (n) Declaration. The Company shall not declare or make any dividend or
other distribution of its assets or rights to acquire its assets to holders of shares of Common Stock,
by way of return of capital or otherwise including, without limitation, any distribution of cash,
stock or other securities, property or options by way of a dividend, spin off, reclassification,
corporate rearrangement, scheme of arrangement or other similar transaction.

                        (o) The Company shall not enter into any agreement with respect to any of
the foregoing.

              (13)     TRANSFER. This Note and any shares of Common Stock issued upon
conversion of this Note may be offered, sold, assigned or transferred according to the Purchase
Agreement.

                 (14)   REISSUANCE OF THIS NOTE.

                     (a) Transfer. If this Note is to be transferred, the Holder shall instruct the
Company who the new Holder will be and this Note will be automatically cancelled. The
Company will issue and deliver the new Note within two (2) days of such notice.

                        (b) Lost, Stolen or Mutilated Note. Upon receipt by the Company of
evidence reasonably satisfactory to the Company of the loss, theft, destruction or mutilation of this
Note, and, in the case of loss, theft or destruction, of any indemnification undertaking by the Holder
to the Company in customary form and, in the case of mutilation, upon surrender and cancellation
of this Note, the Company shall execute and deliver to the Holder a new Note (in accordance with
Section 14(d)) representing the then outstanding Principal amount of the Note.

                      (c) Note Exchangeable for Different Denominations. This Note is
exchangeable, upon the surrender hereof by the Holder at the principal office of the Company, for
a new Note or Notes (in accordance with Section 14(d) representing in the aggregate the
outstanding Principal of this Note, and each such new Note will represent such portion of such
outstanding Principal as is designated by the Holder at the time of such surrender.

                          (d) Issuance of New Notes. Whenever the Company is required to issue a
new Note pursuant to the terms of this Note, such new Note (i) shall be of like tenor with this Note,
(ii) shall represent, as indicated on the face of such new Note, the Principal remaining outstanding
(or in the case of a new Note being issued pursuant to Section 14(a) or Section 14(c), the Principal
designated by the Holder which, when added to the principal represented by the other new Notes
issued in connection with such issuance, does not exceed the Principal remaining outstanding
under this Note immediately prior to such issuance of new Notes), (iii) shall have an issuance date,
as indicated on the face of such new Note, which is the same as the Issuance Date of this Note,
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(iv) shall have the same rights and conditions as this Note, and (v) shall represent accrued and
unpaid Interest on the Principal and Interest of this Note, from the Issuance Date.

                (15) REMEDIES, CHARACTERIZATIONS, OTHER OBLIGATIONS,
BREACHES AND INJUNCTIVE RELIEF. The remedies provided in this Note shall be
cumulative and in addition to all other remedies available under this Note and any of the other
Transaction Documents, at law or in equity (including a decree of specific performance and/or
other injunctive relief), and nothing herein shall limit the Holder's right to pursue actual and
consequential damages for any failure by the Company to comply with the terms of this Note.
Amounts set forth or provided for herein with respect to payments, conversion, redemption and
the like (and the computation thereof) shall be the amounts to be received by the Holder and shall
not, except as expressly provided herein, be subject to any other obligation of the Company (or the
performance thereof). The Company acknowledges that a breach by it of its obligations hereunder
will cause irreparable harm to the Holder and that the remedy at law for any such breach may be
inadequate. The Company therefore agrees that, in the event of any such breach or threatened
breach, the Holder shall be entitled, in addition to all other available remedies, to an injunction
restraining any breach, without the necessity of showing economic loss and without any bond or
other security being required.

                (16) PAYMENT OF COLLECTION, ENFORCEMENT AND OTHER COSTS. If
(a) this Note is placed in the hands of an attorney for collection or enforcement or is collected or
enforced through any legal proceeding or the Holder otherwise takes action to collect amounts due
under this Note or to enforce the provisions of this Note or (b) there occurs any bankruptcy,
reorganization, receivership of the Company or other proceedings affecting Company creditors'
rights and involving a claim under this Note, then the Company shall pay the costs and expenses
incurred by the Holder for such collection, enforcement or action or in connection with such
bankruptcy, reorganization, receivership or other proceeding, including, but not limited to,
attorneys' fees and disbursements.

                (17) CONSTRUCTION; HEADINGS. This Note shall be deemed to be jointly
drafted by the Company and the Holder and shall not be construed against any person as the drafter
hereof. The headings of this Note are for convenience of reference and shall not form part of, or
affect the interpretation of, this Note.

                (18) FAILURE OR INDULGENCE NOT WAIVER. No failure or delay on the part
of the Holder in the exercise of any power, right or privilege hereunder shall operate as a waiver
thereof, nor shall any single or partial exercise of any such power, right or privilege preclude other
or further exercise thereof or of any other right, power or privilege.

                (19) DISPUTE RESOLUTION. In the case of a dispute as to the determination of
the arithmetic calculation of the Conversion Rate, the Conversion Price or any Redemption Price,
the Company shall submit the disputed determinations or arithmetic calculations via facsimile or
electronic mail within one (1) Business Days of receipt, or deemed receipt, of the Conversion
Notice or Redemption Notice or other event giving rise to such dispute, as the case may be, to the
Holder. If the Holder and the Company are unable to agree upon such determination or calculation
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within two (2) Business Days of such disputed determination or arithmetic calculation being
submitted to the Holder, then the Company shall, within two (2) Business Days submit via
facsimile or electronic mail the disputed arithmetic calculation of the Conversion Rate, Conversion
Price or any Redemption Price to an independent, outside accountant, selected by the Holder and
approved by the Company, such approval not to be unreasonably withheld, conditioned or delayed.
The Company, at the Company's expense, shall cause the accountant to perform the determinations
or calculations and notify the Company and the Holder of the results no later than five (5) Business
Days from the time it receives the disputed determinations or calculations. Such accountant's
determination or calculation shall be binding upon all parties absent demonstrable error.

               (20)    NOTICES; PAYMENTS.

                        (a) Notices. All notices, demands, requests, consents, approvals, and other
communications required or permitted hereunder shall be in writing and, unless otherwise
specified herein, shall be (i) personally served, (ii) deposited in the mail, registered or certified,
return receipt requested, postage prepaid, (iii) delivered by reputable air courier service with
charges prepaid, or (iv) transmitted by hand delivery, telegram, facsimile, or electronic mail,
addressed as set forth below or to such other address as such party shall have specified most
recently by written notice. Any notice or other communication required or permitted to be given
hereunder shall be deemed effective (a) upon hand delivery or delivery by facsimile, with accurate
confirmation generated by the transmitting facsimile machine, at the address or number designated
below (if delivered on a business day during normal business hours where such notice is to be
received), or the first business day following such delivery (if delivered other than on a business
day during normal business hours where such notice is to be received), or (b) upon receipt, when
sent by electronic mail (provided confirmation of transmission is electronically generated and keep
on file by the sending party), or (c) on the second business day following the date of mailing by
express courier service, fully prepaid, addressed to such address, or upon actual receipt of such
mailing, whichever shall first occur. The addresses for such communications shall be: (i) if to
Borrower, to: Proton Green LLC at 4531 Park Lane, Dallas, Texas 75220, Steven E. Looper,
sel@protongreen.com; (ii) if to the Holder, to: the address and fax number indicated on the
Purchase Agreement. Without limiting the generality of the foregoing, the Company shall give
written notice to the Holder (i) immediately upon any adjustment of the Conversion Price, setting
forth in reasonable detail, and certifying, the calculation of such adjustment and (ii) at least twenty
(20) days prior to the date on which the Company closes its books or takes a record (A) with
respect to any dividend or distribution upon the Common Stock, (B) with respect to any pro rata
subscription offer to holders of Common Stock or (C) for determining rights to vote with respect
to any Fundamental Transaction, dissolution or liquidation, provided in each case that such
information shall be made known to the public prior to or in conjunction with such notice being
provided to the Holder.

                       (b) Payments. Whenever any payment of cash is to be made by the
Company to any Person pursuant to this Note, such payment shall be made in lawful money of the
United States of America by a check drawn on the account of the Company and sent via overnight
courier service to such Person at such address as previously provided to the Company in writing;
provided, that the Holder may elect to receive a payment of cash via wire transfer of immediately
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available funds by providing the Company with prior written notice setting out such request and
the Holder's wire transfer instructions. Whenever any amount expressed to be due by the terms of
this Note is due on any day, which is not a Business Day, the same shall instead be due on the next
succeeding day, which is a Business Day.

               (21) CANCELLATION. After all Principal and other amounts at any time owed on
this Note have been paid in full, this Note shall automatically be deemed canceled, shall be
surrendered to the Company for cancellation and shall not be reissued.

               (22) WAIVER OF NOTICE. To the extent permitted by law, the Company hereby
waives demand, notice, protest and all other demands and notices in connection with the delivery,
acceptance, performance, default or enforcement of this Note.

                 (23) GOVERNING LAW; JURISDICTION; JURY TRIAL. All questions
concerning the construction, validity, enforcement and interpretation of this Note shall be
governed by and construed and enforced in accordance with the internal laws of the State of New
York, without regard to the principles of conflicts of law thereof. The Company agrees that all
legal proceedings concerning the interpretations, enforcement and defense of the transactions
contemplated by this Note (whether brought against the Company, the Holder or their respective
affiliates, directors, officers, shareholders, employees or agents) shall be commenced exclusively
in the state and federal courts sitting in the City of New York, County of New York. The Company
hereby irrevocably submits to the exclusive jurisdiction of the state and federal courts sitting in
the City of New York, Borough of Manhattan for the adjudication of any dispute hereunder or in
connection herewith or with any transaction contemplated hereby or discussed herein, and hereby
irrevocably waives, and agrees not to assert in any suit, action or proceeding, any claim that it is
not personally subject to the jurisdiction of any such court, that such suit, action or proceeding is
improper or is an inconvenient venue for such proceeding. The Company hereby irrevocably
waives personal service of process and consents to process being served in any such suit, action or
proceeding by mailing a copy thereof via registered or certified mail or overnight delivery (with
evidence of delivery) to it at the address in effect for notices to it under the Purchase Agreement
and agrees that such service shall constitute good and sufficient service of process and notice
thereof. Nothing contained herein shall be deemed to limit in any way any right to serve process
in any other manner permitted by law. If the Company or a Holder shall commence an action or
proceeding to enforce any provisions of the Note, then the prevailing party in such action or
proceeding shall be reimbursed by the other party for its reasonable attorneys’ fees and other costs
and expenses incurred with the investigation, preparation and prosecution of such action or
proceeding. IN ANY ACTION, SUIT, OR PROCEEDING IN ANY JURISDICTION
BROUGHT BY ANY PARTY AGAINST ANY OTHER PARTY, THE COMPANY
KNOWINGLY AND INTENTIONALLY, TO THE GREATEST EXTENT PERMITTED
BY APPLICABLE LAW, HEREBY ABSOLUTELY, UNCONDITIONALLY,
IRREVOCABLY AND EXPRESSLY WAIVES FOREVER TRIAL BY JURY.

               (24) SEVERABILITY. If any provision of this Note is prohibited by law or
otherwise determined to be invalid or unenforceable by a court of competent jurisdiction, the
provision that would otherwise be prohibited, invalid or unenforceable shall be deemed amended
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to apply to the broadest extent that it would be valid and enforceable, and the invalidity or
unenforceability of such provision shall not affect the validity of the remaining provisions of this
Note so long as this Note as so modified continues to express, without material change, the original
intentions of the parties as to the subject matter hereof and the prohibited nature, invalidity or
unenforceability of the provision(s) in question does not substantially impair the respective
expectations or reciprocal obligations of the parties or the practical realization of the benefits that
would otherwise be conferred upon the parties. The parties will endeavor in good faith negotiations
to replace the prohibited, invalid or unenforceable provision(s) with a valid provision(s), the effect
of which comes as close as possible to that of the prohibited, invalid or unenforceable provision(s).

               (25) DISCLOSURE. Upon receipt or delivery by the Company of any notice in
accordance with the terms of this Note, unless the Company has in good faith determined that the
matters relating to such notice do not constitute material, nonpublic information relating to the
Company or its Subsidiaries, the Company shall within one (1) Business Day after any such receipt
or delivery publicly disclose such material, nonpublic information on a Current Report on Form
6-K or otherwise. In the event that the Company believes that a notice contains material, nonpublic
information relating to the Company or its Subsidiaries, the Company so shall indicate to such
Holder contemporaneously with delivery of such notice, and in the absence of any such indication,
the Holder shall be allowed to presume that all matters relating to such notice do not constitute
material, nonpublic information relating to the Company or its Subsidiaries.

                (26) CERTAIN DEFINITIONS. For purposes of this Note, the following terms
shall have the following meanings:

                         (a) “Affiliate” means, with respect to any Person, any other Person that
directly or indirectly controls, is controlled by, or is under common control with, such Person, it
being understood for purposes of this definition that “control” of a Person means the power directly
or indirectly either to vote 10% or more of the stock having ordinary voting power for the election
of directors of such Person or direct or cause the direction of the management and policies of such
Person whether by contract or otherwise.

                       (b) “Attribution Parties” means, collectively, the following Persons and
entities: (i) any investment vehicle, including, any funds, feeder funds or managed accounts,
currently, or from time to time after the Issuance Date, directly or indirectly managed or advised
by the Holder's investment manager or any of its Affiliates or principals, (ii) any direct or indirect
Affiliates of the Holder or any of the foregoing, (iii) any Person acting or who could be deemed to
be acting as a Group together with the Holder or any of the foregoing and (iv) any other Persons
whose beneficial ownership of the Company's Common Stock would or could be aggregated with
the Holder's and the other Attribution Parties for purposes of Regulation 13D-G of the Exchange
Act.

                       (c) “Bloomberg” means Bloomberg Financial Markets.

                       (d) “Closing Date” shall have the meaning ascribed to such term in the
Purchase Agreement.
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                         (e) “Closing Bid Price” and “Closing Sale Price” means, for any security
as of any date, the last closing bid price and last closing trade price, respectively, for such security
on the Principal Market, as reported by Bloomberg, or, if the Principal Market begins to operate
on an extended hours basis and does not designate the closing bid price or the closing trade price,
as the case may be, then the last bid price or last trade price, respectively, of such security prior to
4:00 p.m., New York Time, as reported by Bloomberg, or, if the Principal Market is not the
principal securities exchange or trading market for such security, the last closing bid price or last
trade price, respectively, of such security on the principal securities exchange or trading market
where such security is listed or quoted for trading as reported by Bloomberg, or if the foregoing
do not apply, the last closing bid price or last trade price, respectively, of such security in the over-
the-counter market on the electronic bulletin board for such security as reported by Bloomberg,
or, if no closing bid price or last trade price, respectively, is reported for such security by
Bloomberg, the average of the bid prices, or the ask prices, respectively, of any market makers for
such security as reported in the OTC Link or “pink sheets” by OTC Markets Group Inc. (formerly
Pink OTC Markets Inc.). If the Closing Bid Price or the Closing Sale Price cannot be calculated
for a security on a particular date on any of the foregoing bases, the Closing Bid Price or the
Closing Sale Price, as the case may be, of such security on such date shall be the fair market value
as mutually determined by the Company and the Holder. If the Company and the Holder are unable
to agree upon the fair market value of such security, then such dispute shall be resolved pursuant
to Section 19. All such determinations to be appropriately adjusted for any stock dividend, stock
split, stock combination, reclassification or similar transaction during the applicable calculation
period.

                       (f) “Common Stock” the common stock of the Company, par value $0.001
per share, and any other class of securities into which such securities may hereafter be reclassified
or changed.

                      (g) “Convertible Securities” means any stock or securities (other than
Options) directly or indirectly convertible into or exercisable or exchangeable for shares of
Common Stock.

                        (h) “Default Interest Rate” means 18% per annum.

                        (i) “Equity Interests” means (a) all shares of capital stock (whether
denominated as common capital stock or preferred capital stock), equity interests, beneficial,
partnership or membership interests, joint venture interests, participations or other ownership or
profit interests in or equivalents (regardless of how designated) of or in a Person (other than an
individual), whether voting or non-voting and (b) all securities convertible into or exchangeable
for any of the foregoing and all warrants, options or other rights to purchase, subscribe for or
otherwise acquire any of the foregoing, whether or not presently convertible, exchangeable or
exercisable.

                     (j) “Exchange Act” means the Securities Exchange Act of 1934, as
amended, and the rules and regulations promulgated thereunder.
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                        (k) “Fundamental Transaction” means (A) that the Company shall,
directly or indirectly, including through Subsidiaries, Affiliates or otherwise, in one or more
related transactions, (i) consolidate or merge with or into (whether or not the Company is the
surviving corporation) another Subject Entity, or (ii) sell, assign, transfer, convey or otherwise
dispose of all or substantially all of the properties or assets of the Company or any of its “significant
subsidiaries” (as defined in Rule 1-02 of Regulation S-X) to one or more Subject Entities, or (iii)
make, or allow one or more Subject Entities to make, or allow the Company to be subject to or
have its Common Stock be subject to or party to one or more Subject Entities making, a purchase,
tender or exchange offer that is accepted by the holders of at least either (x) 50% of the outstanding
shares of Common Stock, (y) 50% of the outstanding shares of Common Stock calculated as if any
shares of Common Stock held by all Subject Entities making or party to, or Affiliated with any
Subject Entities making or party to, such purchase, tender or exchange offer were not outstanding;
or (z) such number of shares of Common Stock such that all Subject Entities making or party to,
or Affiliated with any Subject Entity making or party to, such purchase, tender or exchange offer,
become collectively the beneficial owners (as defined in Rule 13d-3 under the Exchange Act) of
at least 50% of the outstanding shares of Common Stock, or (iv) consummate a stock purchase
agreement or other business combination (including, without limitation, a reorganization,
recapitalization, spin-off or scheme of arrangement) with one or more Subject Entities whereby
such Subject Entities, individually or in the aggregate, acquire, either (x) at least 50% of the
outstanding shares of Common Stock, (y) at least 50% of the outstanding shares of Common Stock
calculated as if any shares of Common Stock held by all the Subject Entities making or party to,
or Affiliated with any Subject Entity making or party to, such stock purchase agreement or other
business combination were not outstanding; or (z) such number of shares of Common Stock such
that the Subject Entities become collectively the beneficial owners (as defined in Rule 13d-3 under
the Exchange Act) of at least 50% of the outstanding shares of Common Stock, or (v) reorganize,
recapitalize or reclassify its Common Stock, (B) that the Company shall, directly or indirectly,
including through Subsidiaries, Affiliates or otherwise, in one or more related transactions allow
any Subject Entity individually or the Subject Entities in the aggregate to be or become the
“beneficial owner” (as defined in Rule 13d-3 under the Exchange Act), directly or indirectly,
whether through acquisition, purchase, assignment, conveyance, tender, tender offer, exchange,
reduction in outstanding shares of Common Stock, merger, consolidation, business combination,
spin-off, scheme of arrangement, reorganization, recapitalization or reclassification or otherwise
in any manner whatsoever, of either (x) at least 50% of the aggregate ordinary voting power
represented by issued and outstanding Common Stock, (y) at least 50% of the aggregate ordinary
voting power represented by issued and outstanding Common Stock not held by all such Subject
Entities as of the date of this Note calculated as if any shares of Common Stock held by all such
Subject Entities were not outstanding, or (z) a percentage of the aggregate ordinary voting power
represented by issued and outstanding shares of Common Stock or other equity securities of the
Company sufficient to allow such Subject Entities to effect a statutory short form merger or other
transaction requiring other stockholders of the Company to surrender their shares of Common
Stock without approval of the stockholders of the Company or (C) directly or indirectly, including
through Subsidiaries, Affiliates or otherwise, in one or more related transactions, the issuance of
or the entering into any other instrument or transaction structured in a manner to circumvent, or
that circumvents, the intent of this definition in which case this definition shall be construed and
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implemented in a manner otherwise than in strict conformity with the terms of this definition to
the extent necessary to correct this definition or any portion of this definition which may be
defective or inconsistent with the intended treatment of such instrument or transaction.

                        (l) “GAAP” means United States generally accepted accounting principles,
consistently applied.

                     (m) “Group” means a “group” as that term is used in Regulation 13D-G of
the Exchange Act and as defined in Rule 13d-5 thereunder.

                      (n) “Holiday” means a day other than a Business Day or on which trading
does not take place on the Principal Market.

                        (o) RESERVED

                        (p) “Market Price” shall mean the lowest Closing Bid Price on the Closing
Date.
                        (q) “Notes” means this Note and the Other Notes.

                        (r) “OID” shall mean the Original Issue Discount, which is 35%.

                     (s) “Options” means any rights, warrants or options to subscribe for or
purchase shares of Common Stock or Convertible Securities.

                       (t) “Other Notes” means (i) the Second Amended and Restated Promissory
Convertible Note, dated as of the date hereof, made by the Company in favor of Kips Bay Select
LP in the principal amount of $3,513,469.00 (the “Kips Bay Note”), and (ii) the Amended and
Restated Promissory Convertible Note, dated as of the date hereof, made by the Company in favor
of Alpha Carta, Ltd. in the principal amount of $4,307,692.31 (the “AC Note”).

                       (u) “Parent Entity” of a Person means an entity that, directly or indirectly,
controls the applicable Person, including such entity whose common capital stock or equivalent
equity security is quoted or listed on a Trading Market (or, if so elected by the Holder, any other
market, exchange or quotation system), or, if there is more than one such Person or such entity,
the Person or entity designated by the Holder or in the absence of such designation, such Person
or such entity with the largest public market capitalization as of the date of consummation of the
Fundamental Transaction.

                      (v) “Permitted Indebtedness” means (i) Indebtedness evidenced by this
Note and the Other Notes; (ii) debt incurred to make acquisitions; (iii) trade payables incurred in
the ordinary course of business consistent with past practice, (iv) unsecured indebtedness not in
excess of $1,000,000 in the aggregate, and (v) Indebtedness secured by Permitted Liens.

                      (w) “Permitted Liens” means (i) any Lien for taxes not yet due or
delinquent or being contested in good faith by appropriate proceedings for which adequate reserves
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have been established in accordance with GAAP, (ii) any statutory Lien arising in the ordinary
course of business by operation of law with respect to a liability that is not yet due or delinquent,
(iii) any Lien created by operation of law, such as materialmen's liens, mechanics' liens and other
similar liens, arising in the ordinary course of business with respect to a liability that is not yet due
or delinquent or that are being contested in good faith by appropriate proceedings, (iv) Liens (A)
upon or in any equipment acquired or held by the Company or any of its Subsidiaries to secure the
purchase price of such equipment or Indebtedness incurred solely for the purpose of financing the
acquisition or lease of such equipment, or (B) existing on such equipment at the time of its
acquisition, provided that the Lien is confined solely to the property so acquired and improvements
thereon, and the proceeds of such equipment, (v) Liens incurred in connection with the extension,
renewal or refinancing of the Indebtedness secured by Liens of the type described in clause (iv)
above, provided that any extension, renewal or replacement Lien shall be limited to the property
encumbered by the existing Lien and the principal amount of the Indebtedness being extended,
renewed or refinanced does not increase, (vi) leases or subleases and licenses and sublicenses
granted to others in the ordinary course of the Company's business, not interfering in any material
respect with the business of the Company and its Subsidiaries taken as a whole, (vii) Liens in favor
of customs and revenue authorities arising as a matter of law to secure payments of custom duties
in connection with the importation of goods, (viii) Liens arising from judgments, decrees or
attachments in circumstances not constituting an Event of Default under Section 4(a)(viii) and (ix)
liens listed on Schedule 27(v) hereto, and (ix) Liens arising pursuant to the terms of the Notes.

                        (x) “Principal Market” means the OTCQB tier of the OTC Markets.

                    (y) “Redemption Dates” means, collectively, the Event of Default
Redemption Dates, and the Optional Redemption Dates, each of the foregoing, individually, a
Redemption Date.

                     (z) “Redemption Notices” means, collectively, the Event of Default
Redemption Notices, and the Optional Redemption Notices, each of the foregoing, individually, a
Redemption Notice.

                       (aa) “Redemption Price” means, 125% of the outstanding principal amount
of the Note together with accrued interest thereon, which after an Event of Default shall be
calculated at the Default Rate.

                    (bb) “Related Fund” means, with respect to any Person, a fund or account
managed by such Person or an Affiliate of such Person.

                        (cc) “Required Holders” means any two (2) Holders of the Notes.

                        (dd) “Rule 144” shall have the meaning ascribed to such term in the
Purchase Agreement.

                        (ee) “SEC” means the United States Securities and Exchange Commission.


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                       (ff) “Securities Act” means the Securities Act of 1933, as amended, and the
rules and regulations promulgated thereunder.

                       (gg) “Subject Entity” means any Person, Persons or Group or any Affiliate
or associate of any such Person, Persons or Group.

                        (hh) “Successor Entity” means one or more Person or Persons (or, if so
elected by the Holder, the Company or Parent Entity) formed by, resulting from or surviving any
Fundamental Transaction or one or more Person or Persons (or, if so elected by the Holder, the
Company or the Parent Entity) with which such Fundamental Transaction shall have been entered
into.
                        (ii) “Trading Market” means any of the following markets or exchanges
on which the Common Stock is listed or quoted for trading on the date in question: the NYSE
American, the Nasdaq Capital Market, the Nasdaq Global Market, the Nasdaq Global Select
Market, the New York Stock Exchange, OTCQB or OTCQX (or any successors to any of the
foregoing).
                        (jj) “VWAP” means, for any date, the price determined by the first of the
following clauses that applies: (a) if the Common Stock is then listed or quoted on a Trading
Market, the daily volume weighted average price of the Common Stock for such date (or the
nearest preceding date) on the Trading Market on which the Common Stock is then listed or quoted
as reported by Bloomberg L.P. (based on a Trading Day from 9:30 a.m. New York City time to
4:02 p.m. New York City time); (b) if the Common Stock is not then listed or quoted for trading
on a Trading Market and if prices for the Common Stock are then reported on the OTC Pink (or a
similar organization or agency succeeding to its functions of reporting prices), the most recent bid
price per share of the Common Stock so reported; or (c) in all other cases, the fair market value of
a share of Common Stock as determined by an independent appraiser selected in good faith by the
Holders of a majority in interest of the Note then outstanding and reasonably acceptable to the
Company, the fees and expenses of which shall be paid by the Company.


                                    [Signature Page Follows]




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               IN WITNESS WHEREOF, the Company has caused this Amended and Restated
Note to be duly executed as of the 18th day of February, 2022.


                                                Proton Green LLC,
                                                formerly known as Plateau
                                                Carbon, LLC

                                                By: _______________________
                                                Name:
                                                Title:


AGREED AND APPROVED:


ALPHA CARTA, LTD.


By:____________________________
  Name Mark Azzopardi
  Title: Director




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                                           EXHIBIT I
                                       PROTON GREEN LLC
                                       CONVERSION NOTICE

Reference is made to the Amended and Restated Promissory Convertible Note (the “Note”) issued
to Alpha Carta, Ltd. (together with is designee or registered assigns, the “Holder”) by Proton
Green LLC (formerly known as Plateau Carbon, LLC) (the “Company”). In accordance with and
pursuant to the Note, the undersigned hereby elects to convert the Conversion Amount (as defined
in the Note) of the Note indicated below into shares of Common Stock of the Company, par value
$ 0.0001 per share (the “Common Stock”) of the Company, as of the date specified below.

         Date of
         Conversion:

         Aggregate Conversion Amount to be
         converted:

Please confirm the following information:

         Conversion Price:


         Number of shares of Common Stock to
         be issued:

Please issue the Common Stock into which the Note is being converted in the following name and
to the following address:

         Issue to:

         Facsimile Number and Electronic

         Mail:

         Authorization:
                      By:
                              Title:

Dated:
         Account
         Number:
         (if electronic book entry transfer)


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    Transaction Code
    Number:
    (if electronic book entry transfer)




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                                                                                      EXHIBIT M
                                                                                   Execution Version


NEITHER THE ISSUANCE AND SALE OF THE SECURITIES REPRESENTED BY
THIS CERTIFICATE NOR THE SECURITIES INTO WHICH THESE SECURITIES
ARE CONVERTIBLE HAVE BEEN REGISTERED UNDER THE SECURITIES ACT OF
1933, AS AMENDED, OR APPLICABLE STATE SECURITIES LAWS. THE
SECURITIES MAY NOT BE OFFERED FOR SALE, SOLD, TRANSFERRED OR
ASSIGNED (I) IN THE ABSENCE OF (A) AN EFFECTIVE REGISTRATION
STATEMENT FOR THE SECURITIES UNDER THE SECURITIES ACT OF 1933, AS
AMENDED, OR (B) AN OPINION OF COUNSEL SELECTED BY THE HOLDER, IN A
GENERALLY ACCEPTABLE FORM, THAT REGISTRATION IS NOT REQUIRED
UNDER SAID ACT, OR (II) UNLESS SOLD PURSUANT TO RULE 144 OR RULE 144A
UNDER SAID ACT. NOTWITHSTANDING THE FOREGOING, THE SECURITIES
MAY BE PLEDGED IN CONNECTION WITH A BONA FIDE MARGIN ACCOUNT OR
OTHER LOAN OR FINANCING ARRANGEMENT SECURED BY THE SECURITIES.
ANY TRANSFEREE OF THIS NOTE SHOULD CAREFULLY REVIEW THE TERMS
OF THIS NOTE. THE PRINCIPAL AMOUNT REPRESENTED BY THIS NOTE AND,
ACCORDINGLY, THE SECURITIES ISSUABLE UPON CONVERSION HEREOF MAY
BE LESS THAN THE AMOUNTS SET FORTH ON THE FACE HEREOF.

Reference is hereby made to the Promissory Convertible Note, dated as of January 11, 2022, made
by the Company in favor of Alpha Carta, Ltd. in the principal amount of $4,307,692.31 (as
amended, the “Original Note”). The Company and the Holder (as defined below) hereby agree
that the Original Note shall be superseded, amended and restated to read in its entirety as follows:

                                      PROTON GREEN LLC

          AMENDED AND RESTATED PROMISSORY CONVERTIBLE NOTE

Issuance Date: January 11, 2022                       Principal Amount: U.S. $4,307,692.31
Date of Note: February 18, 2022

                FOR VALUE RECEIVED, Proton Green LLC (formerly known as Plateau
Carbon, LLC) (the “Company”) pursuant to this Amended and Restated Promissory Convertible
Note (the “Note”), hereby promises to pay to Alpha Carta, Ltd., its designee or registered assigns
(the “Holder”), in cash, the principal amount of US $4,307,692.31 (as reduced pursuant to the
terms hereof pursuant to redemption, conversion or otherwise, the “Principal” or the “Principal
Amount”, after giving effect to a 35% original issue discount) on April 7, 2022 (the “Maturity
Date”), subject to earlier acceleration, conversion, redemption or otherwise (in each case in
accordance with the terms hereof). Certain capitalized terms used herein are defined in Section 26.
This Note is issued pursuant to that certain Securities Purchase Agreement dated January 11, 2022,
by and among the Company and the Holder (the “Purchase Agreement”), and capitalized terms
not defined herein will have the meanings set forth in the Purchase Agreement.

               (1) PAYMENTS OF PRINCIPAL; AMENDMENT FEE; PREPAYMENT.

             (a)     On the Maturity Date, the Company shall pay to the Holder (i) the Principal
Amount in cash, together with (ii) Interest (as defined below) thereon calculated from the date
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hereof in accordance with the provisions of this Note, plus (iii) an amendment and extension fee
in the amount of $150,000.00 (the “Amendment Fee”), provided, however, that the Holder shall
have the right in its sole discretion to be repaid with 100% of the proceeds (“Proceeds”) of the
following: (1) sale of the Company’s assets, (2) any merger, sale or other transaction resulting in
the holders of the Company’s Common Stock prior to such merger or other transaction ceasing to
own at least 50% of the Common Stock, (3) issuances of the Company’s Debt, and/or (4) issuances
of the Company’s equity. Notwithstanding the foregoing, (i) in the event that on the Maturity Date
the Company does not have sufficient funds to repay this Note and the Other Notes in full, the
Company shall be prohibited from repaying the Principal Amount, Interest and Amendment Fee
of this Note in full and shall instead repay the Holders of each of the Notes a pro rata portion of
the Principal Amount, Interest and Amendment Fee of each of the Notes based on the proportion
that each of the Notes bears to the aggregate Principal Amount, Interest and Amendment Fee of
all of the Notes, and (ii) unless a Holder of either of the Other Notes declines its right to be repaid
with Proceeds, any Proceeds shall be applied to repay a pro rata portion of the Principal Amount,
Interest and Amendment Fee of each of the Notes based on the proportion that each of the Notes
bears to the aggregate Principal Amount, Interest and Amendment Fee of all of the Notes. All
payments shall be applied first to the Amendment Fee, then to accrued Interest and thereafter to
the Principal Amount.

               (b)     Interest shall accrue on the unpaid Principal Amount outstanding until the
Maturity Date at a rate equal to one and one-half percent (1.5%) per month. The accrued interest
on the Principal Amount of this Note shall not compound, and is referred to herein as the
“Interest”. Such Interest shall be computed for the actual number of days elapsed in a month
consisting of 28, 30 or 31 days, as the case may be.

               (c)     The Company may, at any time and from time to time without premium or
penalty, prepay all or any portion of the outstanding Principal Amount of, and Interest on, and
Amendment Fee of this Note. Any partial payment will be credited first to the Amendment Fee,
then to accrued and unpaid Interest and the balance, if any, to the then outstanding Principal
Amount.

               (2)     RANKING; SECURITY.

              (a)    The parties agree that this Note shall rank (i) pari passu with the
indebtedness under the Other Notes and (ii) senior to all other existing and future debt of the
Company.

                (b)     Payment of this Note and all other obligations, fees, and expenses due to
the Holder pursuant to this Note and the Purchase Agreement (the “Secured Obligations”) will
be secured at all times by (i) valid, enforceable first priority mortgages and/or deeds of trust on
and covering all real property interests presently owned and hereafter acquired by the Company,
and all assets and personal property relating thereto (the “Mortgaged Properties”), and (ii) valid,
enforceable first priority security interests on and covering all of the other assets of the Company
(the “Other Assets”).


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                (c)      Within five (5) business days of a request by the Holder, the Company shall
deliver to the Holder (i) mortgages and/or deeds of trust, in appropriate and recordable form under
Arizona law and reasonably satisfactory in form and substance to the Holder, executed by the
Company, with respect to the Mortgaged Properties (“Deeds of Trust”), which shall create a first
priority lien on such Mortgaged Properties and which shall be promptly recorded in the recorder’s
office of the appropriate county, and (ii) appropriate instruments granting valid, enforceable first
priority security interests on and covering all of the Other Assets, in appropriate and recordable
form and reasonably satisfactory in form and substance to the Holder, executed by the Company,
with respect to the Other Assets (the “Other Instruments” and, collectively with the Deeds of Trust,
the “Security Documents”). Thereafter, the Company shall cause the Mortgaged Properties now
owned or hereafter acquired by it to be subject at all times to a first priority, perfected lien in favor
of the Holder to secure the Secured Obligations, and the Company shall provide any filings and
deliveries reasonably requested by the Holder in connection therewith to perfect the security
interests therein, all in form and substance reasonably satisfactory to the Holder.

               (d)      The Holder acknowledges that the security interests granted in the
Mortgaged Properties and the Other Assets to the Holder to secure the Secured Obligations are
also being granted to the holders of the Others Notes to secure the obligations of the Company
under such Other Notes, and that such all of such security interests shall be for the ratable benefit
of the Holders of all of the Notes. The form and substance of the Security Documents shall reflect
such ratable benefit term.

                (3) CONVERSION OF NOTE. Following the Issuance Date, as set out above, this
Note shall be convertible into shares of Common Stock on the terms and conditions set forth in
this Section 3.

                     (a) Optional Conversion Right. Holder has the right to convert all or part of
the Principal Amount at the Company’s valuation of $250,000,000.00 into fully paid and
nonassessable shares of Common Stock in accordance with Section 3(c), at the Conversion Rate
(as defined below) (the “Conversion Date”). The Company shall not issue any fraction of a share
of Common Stock upon any conversion. If the issuance would result in the issuance of a fraction
of a share of Common Stock, the Company shall round such fraction of a share of Common Stock
up to the nearest whole share. The Company shall pay any and all transfer, stamp and similar taxes
that may be payable with respect to the issuance and delivery of Common Stock upon conversion
of any Conversion Amount. The Holder shall have the right to deliver an effective conversion
notice at any time until 11:59 pm on the chosen date and it shall be immediately effective.

                    (b) Conversion Rate. The number of shares of Common Stock issuable upon
conversion of any Conversion Amount pursuant to Section 3(a) shall be determined by dividing
(x) such Conversion Amount by (y) the Conversion Price (the “Conversion Rate”).

                               (i) “Conversion Amount” means the sum of the portion of the
        Principal to be converted, redeemed or otherwise with respect to which this determination
        is being made.


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                           (ii) “Conversion Price” means $0.0599. Subsequent to the
    effective date of the registration statement registering for resale the Conversions Shares
    and the Warrant Shares pursuant to the Purchase Agreement, if the closing sale price of the
    Common Stock averages less than the then Conversion Price over a period of ten (10)
    consecutive trading days, the Conversion Price shall reset to such average price. If the 10-
    day volume weighted average price of the Common Stock continues to be less than the
    Conversion Price then the Conversion Price should reset to such 10-day average price.

               (c)   Mechanics of Optional Conversion and Adjustment:

                          (i)     Registration; Book-Entry. The Company shall maintain a
                                  register (the “Register”) for the recordation of the holder of
                                  the Note and the Principal amount of the Note held by the
                                  holder (the “Registered Note”). The entries in the Register,
                                  made in good faith, shall be conclusive and binding for all
                                  purposes absent manifest error. The Company and the holder
                                  of the Note shall treat each Person whose name is recorded
                                  in the Register as the owner of the Note for all purposes,
                                  including, without limitation, the right to receive payments
                                  of Principal, if any, hereunder, notwithstanding notice to the
                                  contrary. Upon its receipt of a request to assign or sell all or
                                  part of the Registered Note by the Holder, the Company shall
                                  record the information contained therein in the Register and
                                  issue one or more new Registered Notes in the same
                                  aggregate Principal amount as the Principal amount of the
                                  surrendered Registered Note to the designated assignee or
                                  transferee pursuant to Section 10. Notwithstanding anything
                                  to the contrary in this Section 3(c)(i), the Holder may assign
                                  any Note or any portion thereof to an Affiliate of such Holder
                                  or a Related Fund of such Holder without delivering a
                                  request to assign or sell such Note to the Company and the
                                  recordation of such assignment or sale in the Register (a
                                  “Related Party Assignment”); provided, that (x) the
                                  Company may continue to deal solely with such assigning or
                                  selling Holder unless and until such Holder has delivered a
                                  request to assign or sell such Note or portion thereof to the
                                  Company for recordation in the Register; (y) the failure of
                                  such assigning or selling Holder to deliver a request to assign
                                  or sell such Note or portion thereof to the Company shall not
                                  affect the legality, validity, or binding effect of such
                                  assignment or sale and (z) such assigning or selling Holder
                                  shall, acting solely for this purpose as a non-fiduciary agent
                                  of the Company, maintain a register (the “Related Party
                                  Register”) comparable to the Register on behalf of the
                                  Company, and any such assignment or sale shall be effective
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                                  upon recordation of such assignment or sale in the Related
                                  Party Register. Notwithstanding anything to the contrary set
                                  forth herein, upon conversion of any portion of this Note in
                                  accordance with the terms hereof, the Holder shall not be
                                  required to physically surrender this Note to the Company
                                  unless the Holder has provided the Company with prior
                                  written notice (which notice may be included in a
                                  Conversion Notice) requesting reissuance of this Note upon
                                  physical surrender of this Note. The Holder and the
                                  Company shall maintain records showing the Principal,
                                  converted and the dates of such conversions or shall use such
                                  other method, reasonably satisfactory to the Holder and the
                                  Company, so as not to require physical surrender of this Note
                                  upon conversion.

                          (ii) Intentionally omitted.

                       (iii) Holder may convert any or all of this Note into shares of
    Common Stock at any time.

              (d)     Limitations on Conversions.

                        (i) Beneficial Ownership. In case that the Holder becomes subject to the
           filing or reporting obligations under Regulation 13D-G of the Exchange Act due to
           (i) the conversion of this Note, or any other share issuance hereunder, or (ii) the
           changes to the beneficial ownership of the Holder (together with the Attribution
           Parties) in the Company, including but not limited to the changes to such beneficial
           ownership due to the conversion or share issuance hereunder, the Holder shall
           timely file such schedules or forms with the United States Securities and Exchange
           Commission (the “Commission”) as required under Regulation 13D-G of the
           Exchange Act. For purposes of this paragraph, beneficial ownership and all
           calculations (including, without limitation, with respect to calculations of
           percentage ownership) shall be determined in accordance with Regulation 13D-G
           and the rules and regulations promulgated thereunder. The obligations contained in
           this paragraph shall apply to a successor Holder of this Note. For any reason at any
           time, upon the written or oral request of the Holder, the Company shall within one
           (1) Business Day confirm orally and in writing to the Holder the number of shares
           of Common Stock then outstanding, including by virtue of any prior conversion or
           exercise of convertible or exercisable securities into Common Stock, including,
           without limitation, pursuant to this Note or securities issued pursuant to the
           Purchase Agreement.

                      (ii) Principal Market Regulation. Unless permitted by the applicable
           rules and regulations of the Principal Market, the Company shall not issue any
           shares of Common Stock upon conversion of this Note if the issuance of such shares
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               of Common Stock would exceed the aggregate number of shares of Common Stock
               which the Company may issue upon exercise or conversion (as the case may be) of
               the Note without breaching the Company’s obligations under the rules or
               regulations of the Principal Market (the number of shares which may be issued
               without violating such rules and regulations, the “Exchange Cap”).
               Notwithstanding the foregoing, such limitation shall not apply in the event that the
               Company (A) obtains the approval of its stockholders as required by the applicable
               rules of the Principal Market for issuances of shares of Common Stock in excess of
               such amount or (B) obtains a written opinion from outside counsel to the Company
               that such approval is not required, which opinion shall be reasonably satisfactory
               to the Holder. In the event that any Holder shall sell or otherwise transfer any of
               such Holder’s Note, the Exchange Cap restrictions set forth herein shall continue
               to apply to the Note and such transferee.

                       (e) Disputes. In the event of a dispute as to the number of shares of Common
Stock issuable to the Holder in connection with a conversion of this Note, the Company shall issue
to the Holder the number of shares of Common Stock not in dispute and resolve such dispute in
accordance with Section 16.

                     (f) Automatic Conversion. In the event the Company completes a
Fundamental Transaction or completes a listing of its Common Stock onto a national stock
exchange, Holder agrees to convert the OID into Common Stock of the Company at the Conversion
Price. The remaining Principal Amount, Amendment Fee and Interest will remain outstanding,
unless the Holder elects to convert such Principal Amount, Amendment Fee and Interest into
Common Stock of the Company.

               (4)     The Company hereby covenants and agrees as follows:

                       (a) Sale of Assets. During the thirty (30) days from the date of this Note,
                           with the exception of moving certain of its assets to any of its
                           subsidiaries, the Company shall not sell any material assets.

                       (b) Additional Debt. While this Note is outstanding, the Company shall not
                           incur any additional indebtedness for borrowed money, other than any
                           indebtedness that is Permitted Indebtedness.

               (5)     RIGHTS UPON EVENT OF DEFAULT.

                        (a) Event of Default. Each of the following events shall constitute an “Event
of Default”; provided, however, that, except in the case of the Events of Default listed in Sections
5(a)(i), or 5(a)(ix) below, the Company shall have five (5) business days after notice of default
from the Holder to cure such Event of Default unless a lesser number of days is required pursuant
to the provisions of this Section 5.



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                           (i) Failure to Pay Principal. The Company fails to pay the Principal,
    Amendment Fee or Interest due under this Note or any of the Other Notes at the Maturity
    Date (or the maturity date of any of the Other Notes, if the maturity date under the Other
    Notes is different from the Maturity Date), liquidated damages and other amounts thereon
    when due on the Note or any of the Other Notes, whether at maturity, upon acceleration or
    otherwise.

                            (ii) Conversion and the Shares. The Company (i) fails to issue
    Conversion Shares to the Holder (or announces or threatens in writing that it will not honor
    its obligation to do so) upon exercise by the Holder of the conversion rights of the Holder
    in accordance with the terms of the Note, (ii) fails to transfer or cause its transfer agent to
    transfer (issue) (electronically or in certificated form) any certificate for the Conversion
    Shares issuable to the Holder upon conversion of or otherwise pursuant to the Note as and
    when required by the Note, or (iii) the Company directs its transfer agent not to transfer or
    delays, impairs, and/or hinders its transfer agent in transferring (or issuing) (electronically
    or in certificated form) any certificate for the Conversion Shares issuable to the Holder
    upon conversion of or otherwise pursuant to the Note as and when required by the Note, or
    fails to remove (or directs its transfer agent not to remove or impairs, delays, and/or hinders
    its transfer agent from removing) any restrictive legend (or to withdraw any stop transfer
    instructions in respect thereof) on any certificate for any Conversion Shares issued to the
    Holder upon conversion of or otherwise pursuant to the Note as and when required by the
    Note (or makes any written announcement, statement or threat that it does not intend to
    honor the obligations described in this paragraph) and any such failure shall continue
    uncured (or any written announcement, statement or threat not to honor its obligations shall
    not be rescinded in writing) for five (5) business days after the Holder shall have delivered
    a Notice of Conversion. It is an obligation of the Company to remain current in its
    obligations to its transfer agent. It shall be an Event of Default of the Note, if a conversion
    of the Note is delayed, hindered or frustrated due to a balance owed by the Company to its
    transfer agent. If at the option of the Holder, the Holder advances any funds to the
    Company’s transfer agent in order to process a conversion, such advanced funds shall be
    paid by the Company to the Holder within forty eight (48) hours of a demand from the
    Holder. If Borrower is unable to do so, they shall have an opportunity to cure within five
    (5) business days.

                           (iii) Breach of Agreements and Covenants. The Company breaches
    any material agreement, covenant or other material term or condition contained in the
    Purchase Agreement, the Note or in any agreement, statement or certificate given in writing
    pursuant hereto or in connection herewith or therewith, and such breach results in a material
    adverse effect on the business or assets of the Company.

                          (iv) Breach of Representations and Warranties. Any representation
    or warranty of the Company made in the Purchase Agreement or the Note, or in any
    agreement, statement or certificate given in writing pursuant hereto or in connection
    herewith or therewith shall be false or misleading in any material respect when made and
    the breach of which has (or with the passage of time will have) a Material Adverse Effect
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    on the rights of the Holder with respect to the Note or the Purchase Agreement. In the event
    of such a breach, the Company shall have an opportunity to cure within two (2) business
    days.

                         (v) Receiver or Trustee. The Company or any subsidiary of the
    Company shall make an assignment for the benefit of creditors, or apply for or consent to
    the appointment of a receiver or trustee for it or for a substantial part of its property or
    business, or such a receiver or trustee shall otherwise be appointed. Under such
    circumstances, the Company shall have an opportunity to cure within sixty (60) days.

                           (vi) Judgments. Any money judgment, writ or similar process shall
    be entered or filed against the Company or any subsidiary of the Company or any of its
    property or other assets for more than $100,000, and shall remain unvacated, unbonded or
    unstayed for a period of twenty (20) days unless otherwise consented to by the Holder,
    which consent will not be unreasonably withheld.

                          (vii) Bankruptcy. Bankruptcy, insolvency, reorganization or
    liquidation proceedings or other proceedings, voluntary or involuntary, for relief under any
    bankruptcy law or any law for the relief of debtors shall be instituted by or against the
    Company or any subsidiary of the Company. Under such circumstances, the Company shall
    have an opportunity to cure within sixty (60) days.

                           (viii) Delisting or Trading of Common Stock. The Company shall
    fail to maintain the listing or quotation of its Common Stock minimally on a Trading
    Market.

                           (ix) Failure to Comply with the Exchange Act. The Company shall
    fail to comply with the reporting requirements of the Exchange Act and/or the Company
    shall cease to be subject to the reporting requirements of the Exchange Act.

                         (x) Liquidation. Any dissolution, liquidation, or winding up of
    Borrower or any substantial portion of its business or assets.

                          (xi) Cessation of Operations. Any cessation of operations by
    Borrower or Borrower admits it is otherwise generally unable to pay its debts as such debts
    become due, provided, however, that any disclosure of the Company’s ability to continue
    as a “going concern” shall not be an admission that the Company cannot pay its debts as
    they become due.

                           (xii) Intentionally omitted.

                           (xiii) Intentionally omitted.




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                          (xiv) Other Obligations. The occurrence of any default under any
    agreement or obligation of the Company that is not cured within ten (10) days that could
    reasonably be expected to have a Material Adverse Effect.

                           (xv) Default under Transaction Documents or Other Material
    Agreement. A default or event of default (subject to any grace or cure period provided in
    the applicable agreement, document or instrument) shall occur under (A) this Note, the
    warrant or the securities purchase agreement or any of the other agreements entered into
    by the parties related to the purchase of this Note (collectively, the “Transaction
    Documents”), or (B) the Other Notes or any other material agreement, lease, document or
    instrument to which Company or any Subsidiary is obligated (and not covered by clause
    (vi) below), which in the case of subsection (B) would reasonably be expected to have a
    Material Adverse Effect.

                          (xvi) Default under Mortgage or Other Agreement of Indebtedness.
    Company or any Subsidiary shall default on any of its obligations under any mortgage,
    credit agreement or other facility, indenture agreement, factoring agreement or other
    instrument under which there may be issued, or by which there may be secured or
    evidenced, any indebtedness for borrowed money or money due under any long term
    leasing or factoring arrangement that (a) involves an obligation greater than $100,000,
    whether such indebtedness now exists or shall hereafter be created, and (b) results in such
    indebtedness becoming or being declared due and payable prior to the date on which it
    would otherwise become due and payable.

                          (xvii) Intentionally omitted.

                          (xviii) Failure to Meet the Requirements under Rule 144. Company
    does not meet the current public information requirements under Rule 144.

                           (xix) Failure to Maintain Intellectual Property. The failure by
    Company or any material Subsidiary to maintain any material intellectual property rights,
    personal, real property, equipment, leases or other assets which are necessary to conduct
    its business (whether now or in the future) and such breach is not cured with twenty (20)
    days after written notice to the Company from the Holder.

                          (xx) Trading Suspension. A Commission or judicial stop trade order
    or suspension from a Trading Market.

                          (xxi) Intentionally omitted.

                         (xxii) Failure to Provide Required Notification of a Material Event.
    A failure by Company to notify Holder of any material event of which Company is
    obligated to notify Holder pursuant to the terms of this Note or any other Transaction
    Document.


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                                (xxiii) Invalidity or Unenforceability of Transaction Documents.
        Any material provision of any Transaction Document shall at any time for any reason
        (other than pursuant to the express terms thereof) cease to be valid and binding on or
        enforceable against the Company, or the validity or enforceability thereof shall be
        contested by Company, or a proceeding shall be commenced by Company or any
        governmental authority having jurisdiction over Company or Holder, seeking to establish
        the invalidity or unenforceability thereof, or Company shall deny in writing that it has any
        liability or obligation purported to be created under any Transaction Document.

                                (xxiv) Intentionally omitted.

                         (b) Redemption Right. At any time after the Holder becoming aware of an
Event of Default, the Required Holders may require the Company to redeem (an “Event of Default
Redemption”) all or any portion of the Notes by delivering written notice thereof (the “Event of
Default Redemption Notice”) to the Company, which Event of Default Redemption Notice shall
indicate the portion of this Note and the Other Notes the Required Holders are electing to require
the Company to redeem. Each portion of this Note and the Other Notes subject to redemption by
the Company pursuant to this Section 5(b) shall be redeemed by the Company in cash by wire
transfer of immediately available funds at a price equal to (i) the Principal Amount, plus (ii) all
Interest then accrued on the Principal Amount from the date of the Note to the Event of Default,
plus (iii) the Amendment Fee, plus (iv) interest on the Principal Amount calculated from the Event
of Default at the greater of the Default Interest Rate or the maximum rate permitted under
applicable law (the “Event of Default Redemption Price”), plus (v) liquidated damages of
$750,000, plus (vi) an amount in cash equal to 1% of the Event of Default Redemption Price for
each 30 day period during which redemptions fail to be made; provided, however, in the event that
the Company does not have sufficient funds to pay 100% of the relevant Event of Default
Redemption Price to the Holders of all of the Notes, the Company shall pay a pro rata portion of
the Event of Default Redemption Price to each such Holder based on the proportion that the
Principal Amount of each of the Notes bears to the aggregate Principal Amount of all of the Notes.
To the extent redemptions required by this Section 5(b) are deemed or determined by a court of
competent jurisdiction to be prepayments of the Note by the Company, such redemptions shall be
deemed to be voluntary prepayments. Notwithstanding anything to the contrary in this Section 5,
but subject to Section 3(b)(ii) and 3(d), until the Event of Default Redemption Price payable in
respect of each of the Notes (together with any interest thereon) is paid in full, the Conversion
Amount submitted for redemption under this Section 5(b) (together with any interest thereon) may
be converted, in whole or in part, by the Holder into Common Stock pursuant to Section 3. The
parties hereto agree that in the event of the Company's redemption of any portion of the Note under
this Section 5(b), the Holder's damages would be uncertain and difficult to estimate because of the
parties' inability to predict future interest rates and the uncertainty of the availability of a suitable
substitute investment opportunity for the Holder. Accordingly, any Event of Default redemption
premium due under this Section 5(b) is intended by the parties to be, and shall be deemed, a
reasonable estimate of the Holder's actual loss of its investment opportunity and not as a penalty.
                 (6)     RIGHTS UPON FUNDAMENTAL TRANSACTION.



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                       (a) If, at any time while this Note is outstanding, (i) the Company effects a
Fundamental Transaction, then, upon any subsequent conversion of this Note, the Holder shall
have the right to receive, for each Conversion Share that would have been issuable upon such
conversion immediately prior to the occurrence of such Fundamental Transaction, the same kind
and amount of securities, cash or property as it would have been entitled to receive upon the
occurrence of such Fundamental Transaction if it had been, immediately prior to such Fundamental
Transaction, the holder of one (1) share of Common Stock (the “Alternate Consideration”). For
purposes of any such conversion, the determination of the Conversion Price shall be appropriately
adjusted to apply to such Alternate Consideration based on the amount of Alternate Consideration
issuable in respect of one (1) share of Common Stock in such Fundamental Transaction, and the
Company shall apportion the Conversion Price among the Alternate Consideration in a reasonable
manner reflecting the relative value of any different components of the Alternate Consideration. If
holders of Common Stock are given any choice as to the securities, cash or property to be received
in a Fundamental Transaction, then the Holder shall be given the same choice as to the Alternate
Consideration it receives upon any conversion of this Debenture following such Fundamental
Transaction. To the extent necessary to effectuate the foregoing provisions, any successor to the
Company or surviving entity in such Fundamental Transaction shall issue to the Holder a new
debenture consistent with the foregoing provisions and evidencing the Holder’s right to convert
such debenture into Alternate Consideration. The terms of any agreement pursuant to which a
Fundamental Transaction is effected shall include terms requiring any such successor or surviving
entity to comply with the provisions of this Section 6(a) and insuring that this Note (or any such
replacement security) will be similarly adjusted upon any subsequent transaction analogous to a
Fundamental Transaction.

          (7) DISTRIBUTION OF ASSETS; RIGHTS UPON ISSUANCE OF PURCHASE
RIGHTS AND OTHER CORPORATE EVENTS.

                        (a) Distribution of Assets. If the Company shall declare or make any
dividend or other distributions of its assets (or rights to acquire its assets) to any or all holders of
shares of Common Stock, by way of return of capital or otherwise (including without limitation,
any distribution of cash, stock or other securities, property, options, evidence of Indebtedness or
any other assets by way of a dividend, spin off, reclassification, corporate rearrangement, scheme
of arrangement or other similar transaction) (the “Distributions”), then the Holder will be entitled
to such Distributions as if the Holder had held the number of shares of Common Stock acquirable
upon complete conversion of this Note (without taking into account any limitations or restrictions
on the convertibility of this Note) immediately prior to the date on which a record is taken for such
Distribution or, if no such record is taken, the date as of which the record holders of Common
Stock are to be determined for such Distributions and the portion of such Distribution shall be held
in abeyance for the Holder.

                       (b) Purchase Rights. If at any time the Company grants, issues or sells any
Options, Convertible Securities or rights to purchase stock, warrants, securities or other property
pro rata to the record holders of any class of Common Stock (the “Purchase Rights”), then the
Holder will be entitled to acquire or receive, as applicable, upon the terms applicable to such
Purchase Rights, the aggregate Purchase Rights which the Holder could have acquired if the
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Holder had held the number of shares of Common Stock acquirable upon complete conversion of
this Note (without taking into account any limitations or restrictions on the convertibility of this
Note) immediately prior to the date on which a record is taken for the grant, issuance or sale of
such Purchase Rights, or, if no such record is taken, the date as of which the record holders of
shares of Common Stock are to be determined for the grant, issue or sale of such Purchase Rights.

                         (c) Other Corporate Events. In addition to and not in substitution for any
other rights hereunder, prior to the occurrence or consummation of any Fundamental Transaction
pursuant to which holders of shares of Common Stock are entitled to receive securities, cash, assets
or other property with respect to or in exchange for shares of Common Stock (a “Corporate
Event”), the Company shall make appropriate provision to ensure that, and any applicable
Successor Entity or Successor Entities shall ensure that, and it shall be a required condition to the
occurrence or consummation of such Corporate Event that, the Holder will thereafter have the right
to receive upon conversion of this Note at any time after the occurrence or consummation of the
Corporate Event, shares of Common Stock or Successor Capital Stock or, if so elected by the
Holder, cash in lieu of the shares of Common Stock (or other securities, cash, assets or other
property) purchasable upon the conversion of this Note prior to such Corporate Event, such shares
of stock, securities, cash, assets or any other property whatsoever (including warrants or other
purchase or subscription rights and any shares of Common Stock) which the Holder would have
been entitled to receive upon the occurrence or consummation of such Corporate Event or the
record, eligibility or other determination date for the event resulting in such Corporate Event, had
this Note been converted immediately prior to such Corporate Event or the record, eligibility or
other determination date for the event resulting in such Corporate Event (without regard to any
limitations on conversion of this Note). Provision made pursuant to the preceding sentence shall
be in a form and substance satisfactory to the Holder. The provisions of this Section 7 shall apply
similarly and equally to successive Corporate Events.

               (8)     RIGHTS UPON ISSUANCE OF OTHER SECURITIES.

                (A) Adjustment of Conversion Price upon Subdivision or Combination of Common
       Stock. If the Company at any time on or after the Issuance Date subdivides (by any stock
       split, stock dividend, recapitalization or otherwise) one or more classes of its outstanding
       shares of Common Stock into a greater number of shares, the Conversion Price in effect
       immediately prior to such subdivision will be proportionately reduced. If the Company at
       any time on or after the Issuance Date combines (by combination, reverse stock split or
       otherwise) one or more classes of its outstanding shares of Common Stock into a smaller
       number of shares, the Conversion Price in effect immediately prior to such combination
       will be proportionately increased.

              (B) Voluntary Adjustment by Company. The Company may at any time during the
       term of this Note, with the prior written consent of the Holder, reduce the then current
       Conversion Price to any amount and for any period of time deemed appropriate by the
       Board of Directors of the Company.



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               (9) NONCIRCUMVENTION. The Company hereby covenants and agrees that the
Company will not, by amendment of its Certificate of Incorporation, Bylaws or through any
reorganization, transfer of assets, consolidation, merger, scheme of arrangement, dissolution, issue
or sale of securities, or any other voluntary action, avoid or seek to avoid the observance or
performance of any of the terms of this Note, and will at all times in good faith carry out all of the
provisions of this Note and take all action as may be required to protect the rights of the Holder of
this Note.

               (10)    Intentionally omitted.

               (11) VOTING RIGHTS. The Holder shall have no voting rights as the holder of
this Note, except as required by law and as expressly provided in this Note.

               (12)    COVENANTS.

                       (a) Incurrence of Indebtedness. So long as this Note is outstanding, the
Company shall not, and the Company shall not permit any of its Subsidiaries to, directly or
indirectly, incur or guarantee, assume or suffer to exist any Indebtedness, other than Permitted
Indebtedness.

                        (b) Existence of Liens. So long as this Note is outstanding, the Company
shall not, and the Company shall not permit any of its Subsidiaries to, directly or indirectly, allow
or suffer to exist any Liens other than Permitted Liens.

                       (c) Change in Nature of Business. The Company shall not make, or permit
any of its Subsidiaries to make, any change in the nature of its business. The Company shall not
modify its corporate structure or purpose.

                        (d) Intellectual Property. The Company shall not, and the Company shall
not permit any of its Subsidiaries, directly or indirectly, to encumber or allow any Liens on, any
of its own or its licensed copyright rights, copyright applications, copyright registrations and like
protections in each work of authorship and derivative work, whether published or unpublished,
any patents, patent applications and like protections, including improvements, divisions,
continuations, renewals, reissues, extensions, and continuations-in-part of the same, trademarks,
service marks and, to the extent permitted under applicable law, any applications therefor, whether
registered or not, and the goodwill of the business of the Company and its Subsidiaries connected
with and symbolized thereby, know-how, operating manuals, trade secret rights, rights to
unpatented inventions, and any claims for damage by way of any past, present, or future
infringement of any of the foregoing, other than Permitted Liens.

                        (e) Preservation of Existence, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, its existence, rights and
privileges, and become or remain, and cause each of its Subsidiaries to become or remain, duly
qualified and in good standing in each jurisdiction in which the character of the properties owned
or leased by it or in which the transaction of its business makes such qualification necessary.
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                       (f) Maintenance of Properties, Etc. The Company shall maintain and
preserve, and cause each of its Subsidiaries to maintain and preserve, all of its properties which
are necessary or useful in the proper conduct of its business in good working order and condition,
ordinary wear and tear excepted, and comply, and cause each of its Subsidiaries to comply, at all
times with the provisions of all leases to which it is a party as lessee or under which it occupies
property, so as to prevent any loss or forfeiture thereof or thereunder.

                       (g) Maintenance of Insurance. The Company shall maintain, and cause each
of its Subsidiaries to maintain insurance with responsible and reputable insurance companies or
associations (including, without limitation, comprehensive general liability, hazard, rent and
business interruption insurance) with respect to its properties (including all real properties leased
or owned by it) and business, in such amounts and covering such risks as is required by any
governmental authority having jurisdiction with respect thereto or as is carried generally in
accordance with sound business practice by companies in similar businesses similarly situated.

                        (h) Transactions with Affiliates. The Company shall not, nor shall it permit
any of its Subsidiaries to, enter into, renew, extend or be a party to, any transaction or series of
related transactions (including, without limitation, the purchase, sale, lease, transfer or exchange
of property or assets of any kind or the rendering of services of any kind) with any Affiliate, except
in the ordinary course of business in a manner and to an extent consistent with past practice and
necessary or desirable for the prudent operation of its business, for fair consideration and on terms
no less favorable to it or its Subsidiaries than would be obtainable in a comparable arm's length
transaction with a Person that is not an Affiliate thereof.

                       (i) Corporate Changes. The Company shall not change its corporate name,
legal form or jurisdiction of formation without twenty (20) days’ prior written notice to Holder.
Company shall not enter into or be party to a Fundamental Transaction unless in violation of
Section 6 hereof. Company shall not relocate its chief executive office or its principal place of
business unless it has provided prior written notice to Holder.

                       (j) Reserved.

                       (k) Charter Amendments. The Company shall not amend its charter
documents, including, without limitation, its certificate of incorporation and bylaws, in any manner
that materially and adversely affects any rights of the Holder.

                      (l) Repurchase. The Company shall not repay, repurchase or offer to repay,
repurchase or otherwise acquire more than a de minimis number of shares of its Common Stock
or common stock equivalents other than as to the Conversion Shares as permitted or required under
the Transaction Documents.

                     (m) Redemption. The Company shall not redeem, defease, repurchase,
repay or make any payments in respect of, by the payment of cash or cash equivalents (in whole
or in part, whether by way of open market purchases, tender offers, private transactions or
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otherwise), all or any portion of any Indebtedness (other than the Note if on a pro-rata basis),
whether by way of payment in respect of principal of (or premium, if any) or interest on, such
Indebtedness, the foregoing restriction shall also apply to Permitted Indebtedness from and after
the occurrence of an Event of Default.

                         (n) Declaration. The Company shall not declare or make any dividend or
other distribution of its assets or rights to acquire its assets to holders of shares of Common Stock,
by way of return of capital or otherwise including, without limitation, any distribution of cash,
stock or other securities, property or options by way of a dividend, spin off, reclassification,
corporate rearrangement, scheme of arrangement or other similar transaction.

                        (o) The Company shall not enter into any agreement with respect to any of
the foregoing.

              (13)     TRANSFER. This Note and any shares of Common Stock issued upon
conversion of this Note may be offered, sold, assigned or transferred according to the Purchase
Agreement.

                 (14)   REISSUANCE OF THIS NOTE.

                     (a) Transfer. If this Note is to be transferred, the Holder shall instruct the
Company who the new Holder will be and this Note will be automatically cancelled. The
Company will issue and deliver the new Note within two (2) days of such notice.

                        (b) Lost, Stolen or Mutilated Note. Upon receipt by the Company of
evidence reasonably satisfactory to the Company of the loss, theft, destruction or mutilation of this
Note, and, in the case of loss, theft or destruction, of any indemnification undertaking by the Holder
to the Company in customary form and, in the case of mutilation, upon surrender and cancellation
of this Note, the Company shall execute and deliver to the Holder a new Note (in accordance with
Section 14(d)) representing the then outstanding Principal amount of the Note.

                      (c) Note Exchangeable for Different Denominations. This Note is
exchangeable, upon the surrender hereof by the Holder at the principal office of the Company, for
a new Note or Notes (in accordance with Section 14(d) representing in the aggregate the
outstanding Principal of this Note, and each such new Note will represent such portion of such
outstanding Principal as is designated by the Holder at the time of such surrender.

                          (d) Issuance of New Notes. Whenever the Company is required to issue a
new Note pursuant to the terms of this Note, such new Note (i) shall be of like tenor with this Note,
(ii) shall represent, as indicated on the face of such new Note, the Principal remaining outstanding
(or in the case of a new Note being issued pursuant to Section 14(a) or Section 14(c), the Principal
designated by the Holder which, when added to the principal represented by the other new Notes
issued in connection with such issuance, does not exceed the Principal remaining outstanding
under this Note immediately prior to such issuance of new Notes), (iii) shall have an issuance date,
as indicated on the face of such new Note, which is the same as the Issuance Date of this Note,
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(iv) shall have the same rights and conditions as this Note, and (v) shall represent accrued and
unpaid Interest on the Principal and Interest of this Note, from the Issuance Date.

                (15) REMEDIES, CHARACTERIZATIONS, OTHER OBLIGATIONS,
BREACHES AND INJUNCTIVE RELIEF. The remedies provided in this Note shall be
cumulative and in addition to all other remedies available under this Note and any of the other
Transaction Documents, at law or in equity (including a decree of specific performance and/or
other injunctive relief), and nothing herein shall limit the Holder's right to pursue actual and
consequential damages for any failure by the Company to comply with the terms of this Note.
Amounts set forth or provided for herein with respect to payments, conversion, redemption and
the like (and the computation thereof) shall be the amounts to be received by the Holder and shall
not, except as expressly provided herein, be subject to any other obligation of the Company (or the
performance thereof). The Company acknowledges that a breach by it of its obligations hereunder
will cause irreparable harm to the Holder and that the remedy at law for any such breach may be
inadequate. The Company therefore agrees that, in the event of any such breach or threatened
breach, the Holder shall be entitled, in addition to all other available remedies, to an injunction
restraining any breach, without the necessity of showing economic loss and without any bond or
other security being required.

                (16) PAYMENT OF COLLECTION, ENFORCEMENT AND OTHER COSTS. If
(a) this Note is placed in the hands of an attorney for collection or enforcement or is collected or
enforced through any legal proceeding or the Holder otherwise takes action to collect amounts due
under this Note or to enforce the provisions of this Note or (b) there occurs any bankruptcy,
reorganization, receivership of the Company or other proceedings affecting Company creditors'
rights and involving a claim under this Note, then the Company shall pay the costs and expenses
incurred by the Holder for such collection, enforcement or action or in connection with such
bankruptcy, reorganization, receivership or other proceeding, including, but not limited to,
attorneys' fees and disbursements.

                (17) CONSTRUCTION; HEADINGS. This Note shall be deemed to be jointly
drafted by the Company and the Holder and shall not be construed against any person as the drafter
hereof. The headings of this Note are for convenience of reference and shall not form part of, or
affect the interpretation of, this Note.

                (18) FAILURE OR INDULGENCE NOT WAIVER. No failure or delay on the part
of the Holder in the exercise of any power, right or privilege hereunder shall operate as a waiver
thereof, nor shall any single or partial exercise of any such power, right or privilege preclude other
or further exercise thereof or of any other right, power or privilege.

                (19) DISPUTE RESOLUTION. In the case of a dispute as to the determination of
the arithmetic calculation of the Conversion Rate, the Conversion Price or any Redemption Price,
the Company shall submit the disputed determinations or arithmetic calculations via facsimile or
electronic mail within one (1) Business Days of receipt, or deemed receipt, of the Conversion
Notice or Redemption Notice or other event giving rise to such dispute, as the case may be, to the
Holder. If the Holder and the Company are unable to agree upon such determination or calculation
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within two (2) Business Days of such disputed determination or arithmetic calculation being
submitted to the Holder, then the Company shall, within two (2) Business Days submit via
facsimile or electronic mail the disputed arithmetic calculation of the Conversion Rate, Conversion
Price or any Redemption Price to an independent, outside accountant, selected by the Holder and
approved by the Company, such approval not to be unreasonably withheld, conditioned or delayed.
The Company, at the Company's expense, shall cause the accountant to perform the determinations
or calculations and notify the Company and the Holder of the results no later than five (5) Business
Days from the time it receives the disputed determinations or calculations. Such accountant's
determination or calculation shall be binding upon all parties absent demonstrable error.

               (20)    NOTICES; PAYMENTS.

                        (a) Notices. All notices, demands, requests, consents, approvals, and other
communications required or permitted hereunder shall be in writing and, unless otherwise
specified herein, shall be (i) personally served, (ii) deposited in the mail, registered or certified,
return receipt requested, postage prepaid, (iii) delivered by reputable air courier service with
charges prepaid, or (iv) transmitted by hand delivery, telegram, facsimile, or electronic mail,
addressed as set forth below or to such other address as such party shall have specified most
recently by written notice. Any notice or other communication required or permitted to be given
hereunder shall be deemed effective (a) upon hand delivery or delivery by facsimile, with accurate
confirmation generated by the transmitting facsimile machine, at the address or number designated
below (if delivered on a business day during normal business hours where such notice is to be
received), or the first business day following such delivery (if delivered other than on a business
day during normal business hours where such notice is to be received), or (b) upon receipt, when
sent by electronic mail (provided confirmation of transmission is electronically generated and keep
on file by the sending party), or (c) on the second business day following the date of mailing by
express courier service, fully prepaid, addressed to such address, or upon actual receipt of such
mailing, whichever shall first occur. The addresses for such communications shall be: (i) if to
Borrower, to: Proton Green LLC at 4531 Park Lane, Dallas, Texas 75220, Steven E. Looper,
sel@protongreen.com; (ii) if to the Holder, to: the address and fax number indicated on the
Purchase Agreement. Without limiting the generality of the foregoing, the Company shall give
written notice to the Holder (i) immediately upon any adjustment of the Conversion Price, setting
forth in reasonable detail, and certifying, the calculation of such adjustment and (ii) at least twenty
(20) days prior to the date on which the Company closes its books or takes a record (A) with
respect to any dividend or distribution upon the Common Stock, (B) with respect to any pro rata
subscription offer to holders of Common Stock or (C) for determining rights to vote with respect
to any Fundamental Transaction, dissolution or liquidation, provided in each case that such
information shall be made known to the public prior to or in conjunction with such notice being
provided to the Holder.

                       (b) Payments. Whenever any payment of cash is to be made by the
Company to any Person pursuant to this Note, such payment shall be made in lawful money of the
United States of America by a check drawn on the account of the Company and sent via overnight
courier service to such Person at such address as previously provided to the Company in writing;
provided, that the Holder may elect to receive a payment of cash via wire transfer of immediately
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available funds by providing the Company with prior written notice setting out such request and
the Holder's wire transfer instructions. Whenever any amount expressed to be due by the terms of
this Note is due on any day, which is not a Business Day, the same shall instead be due on the next
succeeding day, which is a Business Day.

               (21) CANCELLATION. After all Principal and other amounts at any time owed on
this Note have been paid in full, this Note shall automatically be deemed canceled, shall be
surrendered to the Company for cancellation and shall not be reissued.

               (22) WAIVER OF NOTICE. To the extent permitted by law, the Company hereby
waives demand, notice, protest and all other demands and notices in connection with the delivery,
acceptance, performance, default or enforcement of this Note.

                 (23) GOVERNING LAW; JURISDICTION; JURY TRIAL. All questions
concerning the construction, validity, enforcement and interpretation of this Note shall be
governed by and construed and enforced in accordance with the internal laws of the State of New
York, without regard to the principles of conflicts of law thereof. The Company agrees that all
legal proceedings concerning the interpretations, enforcement and defense of the transactions
contemplated by this Note (whether brought against the Company, the Holder or their respective
affiliates, directors, officers, shareholders, employees or agents) shall be commenced exclusively
in the state and federal courts sitting in the City of New York, County of New York. The Company
hereby irrevocably submits to the exclusive jurisdiction of the state and federal courts sitting in
the City of New York, Borough of Manhattan for the adjudication of any dispute hereunder or in
connection herewith or with any transaction contemplated hereby or discussed herein, and hereby
irrevocably waives, and agrees not to assert in any suit, action or proceeding, any claim that it is
not personally subject to the jurisdiction of any such court, that such suit, action or proceeding is
improper or is an inconvenient venue for such proceeding. The Company hereby irrevocably
waives personal service of process and consents to process being served in any such suit, action or
proceeding by mailing a copy thereof via registered or certified mail or overnight delivery (with
evidence of delivery) to it at the address in effect for notices to it under the Purchase Agreement
and agrees that such service shall constitute good and sufficient service of process and notice
thereof. Nothing contained herein shall be deemed to limit in any way any right to serve process
in any other manner permitted by law. If the Company or a Holder shall commence an action or
proceeding to enforce any provisions of the Note, then the prevailing party in such action or
proceeding shall be reimbursed by the other party for its reasonable attorneys’ fees and other costs
and expenses incurred with the investigation, preparation and prosecution of such action or
proceeding. IN ANY ACTION, SUIT, OR PROCEEDING IN ANY JURISDICTION
BROUGHT BY ANY PARTY AGAINST ANY OTHER PARTY, THE COMPANY
KNOWINGLY AND INTENTIONALLY, TO THE GREATEST EXTENT PERMITTED
BY APPLICABLE LAW, HEREBY ABSOLUTELY, UNCONDITIONALLY,
IRREVOCABLY AND EXPRESSLY WAIVES FOREVER TRIAL BY JURY.

               (24) SEVERABILITY. If any provision of this Note is prohibited by law or
otherwise determined to be invalid or unenforceable by a court of competent jurisdiction, the
provision that would otherwise be prohibited, invalid or unenforceable shall be deemed amended
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to apply to the broadest extent that it would be valid and enforceable, and the invalidity or
unenforceability of such provision shall not affect the validity of the remaining provisions of this
Note so long as this Note as so modified continues to express, without material change, the original
intentions of the parties as to the subject matter hereof and the prohibited nature, invalidity or
unenforceability of the provision(s) in question does not substantially impair the respective
expectations or reciprocal obligations of the parties or the practical realization of the benefits that
would otherwise be conferred upon the parties. The parties will endeavor in good faith negotiations
to replace the prohibited, invalid or unenforceable provision(s) with a valid provision(s), the effect
of which comes as close as possible to that of the prohibited, invalid or unenforceable provision(s).

               (25) DISCLOSURE. Upon receipt or delivery by the Company of any notice in
accordance with the terms of this Note, unless the Company has in good faith determined that the
matters relating to such notice do not constitute material, nonpublic information relating to the
Company or its Subsidiaries, the Company shall within one (1) Business Day after any such receipt
or delivery publicly disclose such material, nonpublic information on a Current Report on Form
6-K or otherwise. In the event that the Company believes that a notice contains material, nonpublic
information relating to the Company or its Subsidiaries, the Company so shall indicate to such
Holder contemporaneously with delivery of such notice, and in the absence of any such indication,
the Holder shall be allowed to presume that all matters relating to such notice do not constitute
material, nonpublic information relating to the Company or its Subsidiaries.

                (26) CERTAIN DEFINITIONS. For purposes of this Note, the following terms
shall have the following meanings:

                         (a) “Affiliate” means, with respect to any Person, any other Person that
directly or indirectly controls, is controlled by, or is under common control with, such Person, it
being understood for purposes of this definition that “control” of a Person means the power directly
or indirectly either to vote 10% or more of the stock having ordinary voting power for the election
of directors of such Person or direct or cause the direction of the management and policies of such
Person whether by contract or otherwise.

                       (b) “Attribution Parties” means, collectively, the following Persons and
entities: (i) any investment vehicle, including, any funds, feeder funds or managed accounts,
currently, or from time to time after the Issuance Date, directly or indirectly managed or advised
by the Holder's investment manager or any of its Affiliates or principals, (ii) any direct or indirect
Affiliates of the Holder or any of the foregoing, (iii) any Person acting or who could be deemed to
be acting as a Group together with the Holder or any of the foregoing and (iv) any other Persons
whose beneficial ownership of the Company's Common Stock would or could be aggregated with
the Holder's and the other Attribution Parties for purposes of Regulation 13D-G of the Exchange
Act.

                       (c) “Bloomberg” means Bloomberg Financial Markets.

                       (d) “Closing Date” shall have the meaning ascribed to such term in the
Purchase Agreement.
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                         (e) “Closing Bid Price” and “Closing Sale Price” means, for any security
as of any date, the last closing bid price and last closing trade price, respectively, for such security
on the Principal Market, as reported by Bloomberg, or, if the Principal Market begins to operate
on an extended hours basis and does not designate the closing bid price or the closing trade price,
as the case may be, then the last bid price or last trade price, respectively, of such security prior to
4:00 p.m., New York Time, as reported by Bloomberg, or, if the Principal Market is not the
principal securities exchange or trading market for such security, the last closing bid price or last
trade price, respectively, of such security on the principal securities exchange or trading market
where such security is listed or quoted for trading as reported by Bloomberg, or if the foregoing
do not apply, the last closing bid price or last trade price, respectively, of such security in the over-
the-counter market on the electronic bulletin board for such security as reported by Bloomberg,
or, if no closing bid price or last trade price, respectively, is reported for such security by
Bloomberg, the average of the bid prices, or the ask prices, respectively, of any market makers for
such security as reported in the OTC Link or “pink sheets” by OTC Markets Group Inc. (formerly
Pink OTC Markets Inc.). If the Closing Bid Price or the Closing Sale Price cannot be calculated
for a security on a particular date on any of the foregoing bases, the Closing Bid Price or the
Closing Sale Price, as the case may be, of such security on such date shall be the fair market value
as mutually determined by the Company and the Holder. If the Company and the Holder are unable
to agree upon the fair market value of such security, then such dispute shall be resolved pursuant
to Section 19. All such determinations to be appropriately adjusted for any stock dividend, stock
split, stock combination, reclassification or similar transaction during the applicable calculation
period.

                       (f) “Common Stock” the common stock of the Company, par value $0.001
per share, and any other class of securities into which such securities may hereafter be reclassified
or changed.

                      (g) “Convertible Securities” means any stock or securities (other than
Options) directly or indirectly convertible into or exercisable or exchangeable for shares of
Common Stock.

                        (h) “Default Interest Rate” means 18% per annum.

                        (i) “Equity Interests” means (a) all shares of capital stock (whether
denominated as common capital stock or preferred capital stock), equity interests, beneficial,
partnership or membership interests, joint venture interests, participations or other ownership or
profit interests in or equivalents (regardless of how designated) of or in a Person (other than an
individual), whether voting or non-voting and (b) all securities convertible into or exchangeable
for any of the foregoing and all warrants, options or other rights to purchase, subscribe for or
otherwise acquire any of the foregoing, whether or not presently convertible, exchangeable or
exercisable.

                     (j) “Exchange Act” means the Securities Exchange Act of 1934, as
amended, and the rules and regulations promulgated thereunder.
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                        (k) “Fundamental Transaction” means (A) that the Company shall,
directly or indirectly, including through Subsidiaries, Affiliates or otherwise, in one or more
related transactions, (i) consolidate or merge with or into (whether or not the Company is the
surviving corporation) another Subject Entity, or (ii) sell, assign, transfer, convey or otherwise
dispose of all or substantially all of the properties or assets of the Company or any of its “significant
subsidiaries” (as defined in Rule 1-02 of Regulation S-X) to one or more Subject Entities, or (iii)
make, or allow one or more Subject Entities to make, or allow the Company to be subject to or
have its Common Stock be subject to or party to one or more Subject Entities making, a purchase,
tender or exchange offer that is accepted by the holders of at least either (x) 50% of the outstanding
shares of Common Stock, (y) 50% of the outstanding shares of Common Stock calculated as if any
shares of Common Stock held by all Subject Entities making or party to, or Affiliated with any
Subject Entities making or party to, such purchase, tender or exchange offer were not outstanding;
or (z) such number of shares of Common Stock such that all Subject Entities making or party to,
or Affiliated with any Subject Entity making or party to, such purchase, tender or exchange offer,
become collectively the beneficial owners (as defined in Rule 13d-3 under the Exchange Act) of
at least 50% of the outstanding shares of Common Stock, or (iv) consummate a stock purchase
agreement or other business combination (including, without limitation, a reorganization,
recapitalization, spin-off or scheme of arrangement) with one or more Subject Entities whereby
such Subject Entities, individually or in the aggregate, acquire, either (x) at least 50% of the
outstanding shares of Common Stock, (y) at least 50% of the outstanding shares of Common Stock
calculated as if any shares of Common Stock held by all the Subject Entities making or party to,
or Affiliated with any Subject Entity making or party to, such stock purchase agreement or other
business combination were not outstanding; or (z) such number of shares of Common Stock such
that the Subject Entities become collectively the beneficial owners (as defined in Rule 13d-3 under
the Exchange Act) of at least 50% of the outstanding shares of Common Stock, or (v) reorganize,
recapitalize or reclassify its Common Stock, (B) that the Company shall, directly or indirectly,
including through Subsidiaries, Affiliates or otherwise, in one or more related transactions allow
any Subject Entity individually or the Subject Entities in the aggregate to be or become the
“beneficial owner” (as defined in Rule 13d-3 under the Exchange Act), directly or indirectly,
whether through acquisition, purchase, assignment, conveyance, tender, tender offer, exchange,
reduction in outstanding shares of Common Stock, merger, consolidation, business combination,
spin-off, scheme of arrangement, reorganization, recapitalization or reclassification or otherwise
in any manner whatsoever, of either (x) at least 50% of the aggregate ordinary voting power
represented by issued and outstanding Common Stock, (y) at least 50% of the aggregate ordinary
voting power represented by issued and outstanding Common Stock not held by all such Subject
Entities as of the date of this Note calculated as if any shares of Common Stock held by all such
Subject Entities were not outstanding, or (z) a percentage of the aggregate ordinary voting power
represented by issued and outstanding shares of Common Stock or other equity securities of the
Company sufficient to allow such Subject Entities to effect a statutory short form merger or other
transaction requiring other stockholders of the Company to surrender their shares of Common
Stock without approval of the stockholders of the Company or (C) directly or indirectly, including
through Subsidiaries, Affiliates or otherwise, in one or more related transactions, the issuance of
or the entering into any other instrument or transaction structured in a manner to circumvent, or
that circumvents, the intent of this definition in which case this definition shall be construed and
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implemented in a manner otherwise than in strict conformity with the terms of this definition to
the extent necessary to correct this definition or any portion of this definition which may be
defective or inconsistent with the intended treatment of such instrument or transaction.

                        (l) “GAAP” means United States generally accepted accounting principles,
consistently applied.

                     (m) “Group” means a “group” as that term is used in Regulation 13D-G of
the Exchange Act and as defined in Rule 13d-5 thereunder.

                      (n) “Holiday” means a day other than a Business Day or on which trading
does not take place on the Principal Market.

                        (o) RESERVED

                        (p) “Market Price” shall mean the lowest Closing Bid Price on the Closing
Date.
                        (q) “Notes” means this Note and the Other Notes.

                        (r) “OID” shall mean the Original Issue Discount, which is 35%.

                     (s) “Options” means any rights, warrants or options to subscribe for or
purchase shares of Common Stock or Convertible Securities.

                       (t) “Other Notes” means (i) the Second Amended and Restated Promissory
Convertible Note, dated as of the date hereof, made by the Company in favor of Kips Bay Select
LP in the principal amount of $3,513,469.00 (the “Kips Bay Note”), and (ii) the Amended and
Restated Promissory Convertible Note, dated as of the date hereof, made by the Company in favor
of Alpha Carta, Ltd. in the principal amount of $1,846,153.84 (the “AC Note”).

                       (u) “Parent Entity” of a Person means an entity that, directly or indirectly,
controls the applicable Person, including such entity whose common capital stock or equivalent
equity security is quoted or listed on a Trading Market (or, if so elected by the Holder, any other
market, exchange or quotation system), or, if there is more than one such Person or such entity,
the Person or entity designated by the Holder or in the absence of such designation, such Person
or such entity with the largest public market capitalization as of the date of consummation of the
Fundamental Transaction.

                      (v) “Permitted Indebtedness” means (i) Indebtedness evidenced by this
Note and the Other Notes; (ii) debt incurred to make acquisitions; (iii) trade payables incurred in
the ordinary course of business consistent with past practice, (iv) unsecured indebtedness not in
excess of $1,000,000 in the aggregate, and (v) Indebtedness secured by Permitted Liens.

                      (w) “Permitted Liens” means (i) any Lien for taxes not yet due or
delinquent or being contested in good faith by appropriate proceedings for which adequate reserves
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have been established in accordance with GAAP, (ii) any statutory Lien arising in the ordinary
course of business by operation of law with respect to a liability that is not yet due or delinquent,
(iii) any Lien created by operation of law, such as materialmen's liens, mechanics' liens and other
similar liens, arising in the ordinary course of business with respect to a liability that is not yet due
or delinquent or that are being contested in good faith by appropriate proceedings, (iv) Liens (A)
upon or in any equipment acquired or held by the Company or any of its Subsidiaries to secure the
purchase price of such equipment or Indebtedness incurred solely for the purpose of financing the
acquisition or lease of such equipment, or (B) existing on such equipment at the time of its
acquisition, provided that the Lien is confined solely to the property so acquired and improvements
thereon, and the proceeds of such equipment, (v) Liens incurred in connection with the extension,
renewal or refinancing of the Indebtedness secured by Liens of the type described in clause (iv)
above, provided that any extension, renewal or replacement Lien shall be limited to the property
encumbered by the existing Lien and the principal amount of the Indebtedness being extended,
renewed or refinanced does not increase, (vi) leases or subleases and licenses and sublicenses
granted to others in the ordinary course of the Company's business, not interfering in any material
respect with the business of the Company and its Subsidiaries taken as a whole, (vii) Liens in favor
of customs and revenue authorities arising as a matter of law to secure payments of custom duties
in connection with the importation of goods, (viii) Liens arising from judgments, decrees or
attachments in circumstances not constituting an Event of Default under Section 4(a)(viii) and (ix)
liens listed on Schedule 27(v) hereto, and (ix) Liens arising pursuant to the terms of the Notes.

                        (x) “Principal Market” means the OTCQB tier of the OTC Markets.

                    (y) “Redemption Dates” means, collectively, the Event of Default
Redemption Dates, and the Optional Redemption Dates, each of the foregoing, individually, a
Redemption Date.

                     (z) “Redemption Notices” means, collectively, the Event of Default
Redemption Notices, and the Optional Redemption Notices, each of the foregoing, individually, a
Redemption Notice.

                       (aa) “Redemption Price” means, 125% of the outstanding principal amount
of the Note together with accrued Interest thereon, which after an Event of Default shall be
calculated at the Default Rate.

                    (bb) “Related Fund” means, with respect to any Person, a fund or account
managed by such Person or an Affiliate of such Person.

                        (cc) “Required Holders” means any two (2) Holders of the Notes.

                        (dd) “Rule 144” shall have the meaning ascribed to such term in the
Purchase Agreement.

                        (ee) “SEC” means the United States Securities and Exchange Commission.


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                       (ff) “Securities Act” means the Securities Act of 1933, as amended, and the
rules and regulations promulgated thereunder.

                       (gg) “Subject Entity” means any Person, Persons or Group or any Affiliate
or associate of any such Person, Persons or Group.

                        (hh) “Successor Entity” means one or more Person or Persons (or, if so
elected by the Holder, the Company or Parent Entity) formed by, resulting from or surviving any
Fundamental Transaction or one or more Person or Persons (or, if so elected by the Holder, the
Company or the Parent Entity) with which such Fundamental Transaction shall have been entered
into.
                        (ii) “Trading Market” means any of the following markets or exchanges
on which the Common Stock is listed or quoted for trading on the date in question: the NYSE
American, the Nasdaq Capital Market, the Nasdaq Global Market, the Nasdaq Global Select
Market, the New York Stock Exchange, OTCQB or OTCQX (or any successors to any of the
foregoing).
                        (jj) “VWAP” means, for any date, the price determined by the first of the
following clauses that applies: (a) if the Common Stock is then listed or quoted on a Trading
Market, the daily volume weighted average price of the Common Stock for such date (or the
nearest preceding date) on the Trading Market on which the Common Stock is then listed or quoted
as reported by Bloomberg L.P. (based on a Trading Day from 9:30 a.m. New York City time to
4:02 p.m. New York City time); (b) if the Common Stock is not then listed or quoted for trading
on a Trading Market and if prices for the Common Stock are then reported on the OTC Pink (or a
similar organization or agency succeeding to its functions of reporting prices), the most recent bid
price per share of the Common Stock so reported; or (c) in all other cases, the fair market value of
a share of Common Stock as determined by an independent appraiser selected in good faith by the
Holders of a majority in interest of the Note then outstanding and reasonably acceptable to the
Company, the fees and expenses of which shall be paid by the Company.


                                    [Signature Page Follows]




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                IN WITNESS WHEREOF, the Company has caused this Note to be duly executed
as of the Issuance Date set out above.


                                                   Proton Green LLC,
                                                   formerly known as Plateau
                                                   Carbon, LLC

                                                   By: _______________________
                                                   Name:
                                                   Title:



AGREED AND APPROVED:


ALPHA CARTA, LTD.


By:____________________________
  Name Mark Azzopardi
  Title: Director




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                                           EXHIBIT I
                                       PROTON GREEN LLC
                                       CONVERSION NOTICE

Reference is made to the Amended and Restated Promissory Convertible Note (the “Note”) issued
to Alpha Carta, Ltd. (together with is designee or registered assigns, the “Holder”) by Proton
Green LLC (formerly known as Plateau Carbon, LLC) (the “Company”). In accordance with and
pursuant to the Note, the undersigned hereby elects to convert the Conversion Amount (as defined
in the Note) of the Note indicated below into shares of Common Stock of the Company, par value
$ 0.0001 per share (the “Common Stock”) of the Company, as of the date specified below.

         Date of
         Conversion:

         Aggregate Conversion Amount to be
         converted:

Please confirm the following information:

         Conversion Price:


         Number of shares of Common Stock to
         be issued:

Please issue the Common Stock into which the Note is being converted in the following name and
to the following address:

         Issue to:

         Facsimile Number and Electronic

         Mail:

         Authorization:
                      By:
                              Title:

Dated:
         Account
         Number:
         (if electronic book entry transfer)


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    Transaction Code
    Number:
    (if electronic book entry transfer)




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                                                                                                       EXHIBIT N

                                  PROFESSIONAL SERVICES AGREEMENT


       THIS AGREEMENT is between Alpha Carta Limited, and its subsidiaries and/or affiliates (collectively, the
“Company”) and BNW FAMILY OFFICE LLC, a Delaware limited liability company (the “Contractor”).

1.        ENGAGEMENT OF SERVICES. The Company may from time-to-time issue Project Assignments in the form
attached to this Agreement as Exhibit A. Subject to the terms of this Agreement, the Contractor will, to the best of its
ability, render the services set forth in the Project Assignments accepted by the Contractor (the “Projects”) by the
completion dates set forth therein. The manner and means by which the Contractor chooses to complete the Projects
are in the Contractor's sole discretion and control. The Contractor agrees to exercise the highest degree of
professionalism, and to utilize its expertise and creative talents in completing such Projects. The Contractor agrees to
provide its own equipment, tools, and other materials at its own expense. The Company will make its facilities and
equipment available to the Contractor when necessary. The Contractor shall perform the services necessary to
complete the Projects in a timely and professional manner consistent with industry standards, and at a location, place,
and time that the Contractor deems appropriate. The Contractor may not subcontract or otherwise delegate its
obligations under this Agreement without the Company's prior written consent. If the Contractor is not a natural
person, then before any employee or consultant of the Contractor performs services in connection with this Agreement,
the employee or consultant and the Contractor must have entered into a written agreement expressly for the benefit of
the Company and containing provisions substantially equivalent to this section and to Section 4 below.

2.        COMPENSATION. The Company will pay the Contractor a fee for services rendered under this Agreement as
set forth in Exhibit A, which sets forth the Project Assignment(s) undertaken by the Contractor. The Contractor will
be reimbursed for any reasonable expenses incurred in connection with the performance of services under this
Agreement provided that the Contractor obtains prior approval from the Company and submits verification of such
expenses as the Company may require. Upon termination of this Agreement for any reason, the Contractor will be
paid fees and expenses on a proportional basis as stated in the Project Assignment(s) for work, which is then in
progress, up to and including the effective date of such termination.

3.        INDEPENDENT CONTRACTOR RELATIONSHIP. The Contractor’s relationship with the Company will be that
of an independent contractor and nothing in this Agreement should be construed to create a partnership, joint venture,
or employer-employee relationship. The Contractor is not the agent of the Company and is not authorized to make
any representation, contract, or commitment on behalf of the Company. The Contractor will not be entitled to any of
the benefits that the Company may make available to its employees, such as group insurance, profit-sharing, or
retirement benefits. The Contractor will be solely responsible for all tax returns and payments required to be filed
with or made to any federal, state, or local tax authority with respect to the Contractor’s performance of services and
receipt of fees under this Agreement. The Company will regularly report amounts paid to the Contractor by filing a
Form 1099-MISC with the Internal Revenue Service as required by law. The Company will not withhold or make
payments for social security; make unemployment insurance or disability insurance contributions; or obtain worker’s
compensation insurance on the Contractor’s behalf. The Contractor agrees to accept exclusive liability for complying
with all applicable state and federal laws governing self-employed individuals, including obligations such as payment
of taxes, social security, disability, and other contributions based on fees paid to the Contractor, its agents, or
employees under this Agreement. The Contractor hereby agrees to indemnify and hold the Company harmless against
any and all such taxes or contributions, including penalties and interest.

4.       PROPRIETARY INFORMATION OBLIGATIONS AND INTELLECTUAL PROPERTY RIGHTS.

          4.1        Proprietary Information. The Contractor agrees, during the term of this Agreement and thereafter,
that it will take all steps reasonably necessary to hold the Company’s Proprietary Information in trust and confidence,
will not use Proprietary Information in any manner or for any purpose not expressly set forth in this Agreement, and
will not disclose any such Proprietary Information to any third party without first obtaining the Company’s express
written consent. By way of illustration but not limitation, “Proprietary Information” includes (a) trade secrets,
inventions, mask works, ideas, processes, formulas, source and object codes, data, programs, other works of
authorship, know-how, improvements, discoveries, developments, designs and techniques (hereinafter collectively
referred to as “Inventions”); (b) information regarding financial information, research, investment and fund strategies,
investors, marketing, business plans, budgets, suppliers and customers; and (c) information regarding the skills and
compensation of other employees and consultants of the Company. Notwithstanding the other provisions of this
Agreement, nothing received by the Contractor will be considered to be the Company’s Proprietary Information if
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(1) it has been published or is otherwise readily available to the public other than by a breach of this Agreement; (2) it
has been rightfully received by the Contractor from a third party without confidential limitations; (3) it has been
independently developed for the Contractor by personnel or agents having no access to the Company’s Proprietary
Information; or (4) it was known to the Contractor prior to its first receipt from the Company.

          4.2      Third Party Information. The Contractor understands that the Company has received and will in
the future receive from third parties confidential or proprietary information (“Third Party Information”) subject to a
duty on the Company’s part to maintain the confidentiality of such information and use it only for certain limited
purposes. The Contractor agrees to hold Third Party Information in confidence and not to disclose to anyone (other
than the Company’s personnel who need to know such information in connection with their work for the Company)
or to use, except in connection with the Contractor’s work for the Company, Third Party Information unless expressly
authorized in writing by an officer of the Company.

          4.3      No Conflict of Interest. The Contractor agrees, during the term of this Agreement, not to accept
work substantially similar to the Contractor’s work under this Agreement, without the Company’s prior written
consent. The Contractor warrants that, to the best of the Contractor’s knowledge, there is no other existing contract
or duty on the Contractor’s part that would conflict with or would be inconsistent with this Agreement, unless a copy
of such contract or a description of such duty is attached to this Agreement as Exhibit B. The Contractor further agrees
not to disclose to the Company, bring onto the Company’s premises, or induce the Company to use any confidential
information that belongs to anyone other than the Company or the Contractor.

5.        CONTRACTOR REPRESENTATIONS AND WARRANTIES. The Contractor hereby represents and warrants that
(a) the Company work product will be an original work of the Contractor; (b) the Contractor has full right and power
to enter into and perform this Agreement without the consent of any third party; and (c) should the Company permit
the Contractor to use any of the Company’s equipment, tools, or facilities during the term of this Agreement, such
permission shall be gratuitous and the Contractor shall be responsible for any injury or damage arising out of use of
such equipment, tools, or facilities.

6.        INDEMNIFICATION. The Company will indemnify, defend, and hold harmless the Contractor from any and
all claims, losses, liabilities, damages, expenses and costs (including attorneys’ fees and court costs) that result from
the Contractor’s engagement hereunder and/or provision of services under this Agreement, provided that such claims
are not the result of the Contractor’s breach of this Agreement, bad faith, willful misconduct, or gross negligence, and
provided further that the Contractor gives the Company written notice of any claim and the Company has the right to
participate in the defense of any such claim at its expense. The Contractor will indemnify and hold harmless the
Company, its officers, directors, employees, and agents from any and all claims, losses, liabilities, damages, expenses
and costs (including attorneys’ fees and court costs) that result from a breach or alleged breach of any obligation of or
agreement by the Contractor in this Agreement, provided that the Company gives the Contractor written notice of any
such claim and the Contractor has the right to participate in the defense of any such claim at its expense.

7.       TERMINATION.

         7.1      Termination by the Company. The Company may terminate this Agreement at its convenience
and without any breach by the Contractor upon ninety days (90) days’ prior written notice to the Contractor. The
Company may also terminate this Agreement immediately in its sole discretion upon the Contractor’s material breach
of Section 4 or Section 7.3, provided the Company has given the Contractor seven (7) days’ advance written notice
within which to cure such breach.

         7.2      Termination by the Contractor. The Contractor may terminate this Agreement at any time upon
ninety (90) days’ prior written notice to the Company.

         7.3       Noninterference with Business. During and for a period of one year immediately following
termination of this Agreement by either party, the Contractor agrees not to solicit or induce any employee, independent
contractor, client, or customer to terminate or breach an employment, contractual or other relationship with the
Company.




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         7.4      Return of Company Property. Upon termination of the Agreement or earlier as requested by the
Company, the Contractor will deliver to the Company any and all documents, together with all copies thereof, and
any other material containing or disclosing any Company work product, Third Party Information, or Proprietary
Information of the Company. The Contractor further agrees that any property situated on the Company's premises
and owned by the Company, including disks and other storage media, filing cabinets, or other work areas, is subject
to inspection by Company personnel at any time with or without notice.

8.       GENERAL PROVISIONS.

         8.1       Governing Law. This Agreement will be governed and construed in accordance with the laws of
the State of Illinois without regard to conflicts of law principles. The Contractor hereby expressly consents to the
personal jurisdiction of the state and federal courts located in Delaware for any lawsuit filed arising from or related to
this Agreement.

          8.2       Severability. In case any one or more of the provisions contained in this Agreement shall, for any
reason, be held to be invalid, illegal, or unenforceable in any respect, such invalidity, illegality, or unenforceability
shall not affect the other provisions of this Agreement, and this Agreement shall be construed as if such invalid, illegal,
or unenforceable provision had never been contained herein. Moreover, if any one or more of the provisions contained
in this Agreement shall for any reason be held to be excessively broad as to duration, geographical scope, activity, or
subject, it shall be construed by limiting and reducing it, so as to be enforceable to the extent compatible with the
applicable law as it shall then appear.

         8.3      No Assignment. This Agreement may not be assigned by the Contractor without the Company’s
prior written consent, and any such attempted assignment shall be void and of no effect.

         8.4      Notices. All notices, requests and other communications under this Agreement must be in writing,
and must be mailed by registered or certified mail, postage prepaid and return-receipt requested, by reputable national
overnight courier, delivery fee prepaid or delivered by hand to the party to whom such notice is required or permitted
to be given. If mailed, any such notice will be considered to have been given five (5) business days after it was mailed,
as evidenced by the postmark. If delivered by hand or overnight courier, any such notice will be considered to have
been given when received by the party to whom notice is given, as evidenced by written and dated receipt of the
receiving party.

          8.5      Injunctive Relief. A breach of any of the promises or agreements contained in this Agreement may
result in irreparable and continuing damage to the Company for which there may be no adequate remedy at law, and
the Company is therefore entitled to seek injunctive relief as well as such other and further relief as may be appropriate.

         8.6      Survival. The following provisions shall survive termination of this Agreement: Section 4,
Section 5, Section 6, and Section 7.3.

        8.7      Publicity. The Contractor agrees not to use any identification or reference to any trade name,
trademark, service mark, or symbol of the Company in any advertising or promotional activities without the
Company’s prior written consent.

         8.8      Waiver. No waiver by the Company of any breach of this Agreement shall be a waiver of any
preceding or succeeding breach. No waiver by the Company of any right under this Agreement shall be construed as
a waiver of any other right. The Company shall not be required to give notice to enforce strict adherence to all terms
of this Agreement.

         9.9      Entire Agreement. This Agreement, together with the Exhibits, is the final, complete, and
exclusive agreement of the parties with respect to the subject matter hereof and supersedes and merges all prior
discussions between us. No modification of or amendment to this Agreement, nor any waiver of any rights under this
Agreement, will be effective unless in writing and signed by the party to be charged. The terms of this Agreement
will govern all Project Assignments and services undertaken by the Contractor for the Company. In the event of any




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conflict between this Agreement and a Project Assignment, the Project Assignment shall control, but only with respect
to the services set forth herein.


         IN WITNESS WHEREOF, the parties have caused this Professional Services Agreement to be executed by their
duly authorized representative.



 COMPANY:                                                    CONTRACTOR:

 ALPHA CARTA LIMITED                                         BNW FAMILY OFFICE LLC, a Delaware limited
                                                             liability company

 By:
 Name: _____________________________________
            Mark Azzopardi                                   By:
 Title: ______________________________________
            Director                                         Name: Robert Brownell
                                                                   Manager, BNW Family Office, LLC
                                                             Its: ________________________________________




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                                                          EXHIBIT A

                                                 PROJECT ASSIGNMENT


Services: The Contractor will provide investment advisory and support services.

Payment of Fees. Contractor will receive a monthly rate of $40,000, during the Term of this Agreement. The Company may
pay the Contractor additional fees on a discretionary basis for exceptional services.

         Payment will be issued in arrears via wire transfer or check for services performed during the previous month.

         The Contractor must submit a monthly invoice of time worked for approval by the Company.

         The Contractor agrees to work on a schedule to be mutually agreed upon by the Contractor and the Company, to
          perform such services and to fulfill the Contractor’s obligations under this Agreement.

Term:

         January 1, 2023, through December 31, 2023, subject to renewal or earlier termination (as stated in Section 7 of this
          agreement).

Expenses: The Company will reimburse the Contractor for the following expenses:


         Reasonable out-of-pocket expenses incurred in connection with the provision of services under this Agreement.

         The Contractor shall promptly submit bills or receipts for such expenses to the Company for reimbursement. All
          expenses shall be incurred in accordance with the current policies and guidelines of the Company with respect
          thereto.

NOTE: This Project Assignment is governed by the terms of a Professional Services Agreement in effect between the
      Company and Contractor. In the event that any item in this Project Assignment is inconsistent with that Agreement,
      the terms of this Project Assignment shall govern, but only with respect to the services set forth in this Project
      Assignment.



   Signed:
               The Company                                            The Contractor
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                                        EXHIBIT B

                                 CONFLICT DISCLOSURE


Terra Carta Partners LLC
